                 Case 19-10655-JKO       Doc 148     Filed 11/04/19   Page 1 of 478



                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    Fort Lauderdale Division
                                     www.flsb.uscourts.gov

In re:
                                                              Case No. 19-10655-JKO
CONSUMER ADVOCACY
CENTER, INC.,                                                 Chapter 7

                  Debtor.
_________________________________/

         NOTICE OF FILING REGARDING PROCEEDINGS AGAINST RELATED
          ENTITIES AND INDIVIDUALS IN THE UNITED STATES DISTRICT
              COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

         Sonya S. Slott, as Chapter 7 Trustee (the “Trustee”) for Consumer Advocacy Center,

Inc., by and through her undersigned counsel, hereby gives notice of the commencement of the

following proceeding in the United States District Court for the Central District of California

captioned Bureau of Consumer Financial Protection, et al., v. Consumer Advocacy Center, Inc.,

True Count Staffing, Inc., Prime Consulting, LLC, Albert Kim, Kaine Wen, And Tuong Nguyen,

Defendants, and Infinite Management Corp., Hold the Door Corp. and TN Accounting, Inc.,

Relief Defendants Case No. 19-cv-01998-JVS. The Trustee also gives notice of the filing of the

following:

            I.     Ex Parte Temporary Restraining Order with Asset Freeze, Appointment of

                   Receiver, and other Equitable Relief, and Order to Show Cause Why a

                   Preliminary Injunction Should Not Issue, filed under temporary seal on October

                   21, 2019 [ECF No. 24], attached hereto as Exhibit “A”;

           II.     Complaint, filed under temporary seal, on October 21, 2019 [ECF No. 02],

                   attached hereto as Exhibit “B”;




[12339-001/3098728/1]
                 Case 19-10655-JKO        Doc 148     Filed 11/04/19     Page 2 of 478



          III.     Preliminary Report of Temporary Receiver, filed on November 1, 2019 [ECF No.

                   75], attached hereto as Exhibit “C”.

                                                Dated November 4, 2019.

                                                GENOVESE JOBLOVE & BATTISTA, P.A.
                                                Attorneys for Chapter 7 Trustee
                                                100 Southeast Second Street, Suite 4400
                                                Miami, Florida 33131
                                                Telephone: (305) 349-2300
                                                Facsimile: (305) 349-2310

                                                By:       /s/ Glenn D. Moses
                                                          Glenn D. Moses, Esq.
                                                          Fla. Bar No. 174556
                                                          gmoses@gjb-law.com
                                                          Heather L. Harmon, Esq.
                                                          Fla. Bar No. 013192
                                                          hharmon@gjb-law.com


                                   CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the
Court’s Case Management/Electronic Case Filing System upon all interested creditors and
parties registered to receive electronic notification on this matter (which is incorporated herein
by reference) on this 4th day of November, 2019.

                                                    By: /s/ Glenn D. Moses
                                                        Glenn D. Moses, Esq.




[12339-001/3098728/1]
                Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 3 of 478




                         EXHIBIT “A”




[12339-001/3098728/1]
Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 4 of 478
                Case 19-10655-JKO        Doc 148   Filed 11/04/19   Page 5 of 478




 1   5565, and the Telemarketing and Consumer Fraud and Abuse Prevention Act,
 2   15 U.S.C. §§ 6102(c)(2), 6105(d), based on Defendants’ violations of the CFPA
 3   and the Telemarketing Sales Rule (TSR), 16 C.F.R. pt. 310. The Complaint alleges
 4   that Defendants’ acts or practices violate these laws in connection with the
 5   marketing and sale of student-loan debt-relief services. The Complaint seeks
 6   preliminary and permanent injunctive relief, damages, rescission or reformation of
 7   contracts, the refund of monies paid, restitution, compensation for unjust
 8   enrichment, the appointment of a temporary Receiver, and other equitable relief, as
 9   well as civil money penalties. The Bureau has also moved for a temporary
10   restraining order pursuant to Rule 65(b) of the Federal Rules of Civil Procedure,
11   and an order to show cause why a preliminary injunction should not issue against
12   Defendants and Relief Defendants.
13                          FACTUAL AND LEGAL FINDINGS
14         Having considered the Complaint, ex parte motion, declarations, exhibits,
15   and memoranda filed in support of the Motion, the Court finds that:
16         1.     This Court has jurisdiction over the subject matter of this case, there is
17   good cause to believe that it will have jurisdiction over all the parties hereto, and
18   venue in this district is proper;
19         2.     There is good cause to believe that Defendants: (a) Consumer
20   Advocacy Center Inc., a California corporation, d/b/a Premier Student Loan
21   Center, (collectively CAC); (b) True Count Staffing Inc., a California Corporation,
22   d/b/a SL Account Management (collectively True Count); (c) Prime Consulting
23   LLC, a Wyoming limited liability corporation registered to operate in California
24   d/b/a Financial Preparation Services (collectively, Prime); (d) Albert Kim (aka
25   Albert King), an individual; (e) Kaine Wen (aka Wenting Kaine Dai, Wen Ting
26   Dai, Kaine Wen Dai), an individual; and (f) Tuong Nguyen (aka Tom Nelson), an
27   individual, have engaged and are likely to continue to engage in acts or practices
28   that violate the CFPA and the TSR. And, there is good cause to believe that Relief


                                           2
     _____________________________________________________________________________
                    TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                Case 19-10655-JKO       Doc 148    Filed 11/04/19   Page 6 of 478




 1   Defendants (a) Infinite Management Corp., a California corporation, formerly
 2   known as Infinite Management Solutions Inc., (b) Hold The Door, Corp., a
 3   California corporation, and (c) TN Accounting Inc., a California corporation, have
 4   received funds or assets and are likely to continue to receive funds or assets that
 5   can be traced directly to Defendants’ unlawful acts and practices. Plaintiff is
 6   therefore likely to prevail on the merits of this action;
 7         3.     There is good cause to believe that immediate and irreparable harm
 8   will result from Defendants’ ongoing violations of these laws unless Defendants
 9   and Relief Defendants are restrained and enjoined by Order of this Court;
10         4.     There is good cause to believe that immediate and irreparable damage
11   to the Court’s ability to grant effective final relief for consumers in the form of
12   monetary damages, restitution, and disgorgement or compensation for unjust
13   enrichment will occur from the transfer, dissipation, or other disposition or
14   concealment by Defendants and Relief Defendants of their assets or business
15   records unless Defendants and Relief Defendants are restrained and enjoined by
16   Order of this Court; and that in accordance with Rule 65(b) of the Federal Rules of
17   Civil Procedure, the interest of justice requires that Plaintiff’s application be
18   granted without prior notice to Defendants or Relief Defendants. Therefore, there
19   is good cause for relieving Plaintiff of the duty to provide Defendants and Relief
20   Defendants with prior notice of its motion;
21         5.     Good cause exists for appointing a temporary Receiver over True
22   Count and Prime; freezing Defendants and Relief Defendants assets except as set
23   forth below; permitting Plaintiff and the Receiver immediate access to True
24   Count’s and Prime’s business premises; and permitting Plaintiff and the Receiver
25   to take expedited discovery;
26         6.     Weighing the equities and considering Plaintiff’s likelihood of
27   ultimate success on the merits, a temporary restraining order with an asset freeze,
28



                                           3
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 7 of 478




 1   appointment of a temporary receiver, immediate access to business premises,
 2   limited expedited discovery, and other equitable relief is in the public interest;
 3         7.     The automatic stay of the Bankruptcy Code does not stay this civil
 4   action against CAC, which has filed for bankruptcy in United States Bankruptcy
 5   Court in the Southern District of Florida, Fort Lauderdale Division, Case No.
 6   10-10655, because the action falls within the police and regulatory power
 7   exception to the automatic stay set forth in 11 U.S.C. § 362(a), (b)(4);
 8         8.     This Court has authority to issue this order pursuant to 12 U.S.C.
 9   § 5565, Federal Rule of Civil Procedure 65; and
10         9.     As the Bureau is an agency of the United States, no security is
11   required for this Order. Fed. R. Civ. P. 65(c).
12                                      DEFINITIONS
13   For the purposes of this Order, the following definitions shall apply:
14         1.      “Assets” means any legal or equitable interest in, right to, or claim to
15   any real, personal, or intellectual property owned or controlled by, or held, in
16   whole or in part for the benefit of, or subject to access by any Defendant or Relief
17   Defendant, wherever located, whether in the United States or abroad. This
18   includes, but is not limited to, chattel, goods, instruments, equipment, fixtures,
19   general intangibles, effects, leaseholds, contracts, mail or other deliveries, shares of
20   stock, commodities, futures, inventory, checks, notes, accounts, credits, receivables
21   (as those terms are defined in the Uniform Commercial Code), funds, cash, and
22   trusts, including, but not limited to any trust held for the benefit of any Individual
23   Defendants’ minor children, or any of the Individual Defendants’ spouses. It shall
24
25
26
27
28



                                           4
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                 Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 8 of 478




 1   include both existing Assets and Assets acquired after the date of entry of this
 2   Order;
 3         2.      “Assisting Others” includes, but is not limited to
 4              a. providing paralegal or administrative support services;
 5              b. performing customer service functions including, but not limited to,
 6                 receiving or responding to Consumer complaints;
 7              c. formulating or providing, or arranging for the formulation or
 8                 provision of, any advertising or marketing material, including, but not
 9                 limited to, any telephone sales script, direct mail solicitation, or the
10                 text of any Internet website, email, or other electronic communication;
11              d. formulating or providing, or arranging for the formulation or
12                 provision of, any marketing support material or service, including but
13                 not limited to, web or Internet Protocol addresses or domain name
14                 registration for any Internet websites, affiliate marketing services, or
15                 media placement services;
16              e. providing names of, or assisting in the generation of, potential
17                 customers;
18              f. performing marketing, billing, or payment services of any kind;
19              g. acting or serving as an owner, officer, director, manager, or principal
20                 of any entity; and
21         3.      “Bankruptcy Proceeding” means In re Consumer Advocacy Center
22   Inc., Case No. 19-10655, currently pending in the United States Bankruptcy Court,
23   Southern District of Florida, Fort Lauderdale Division;
24         4.      “Chapter 7 Trustee” means Sonya Salkin Slott, the Trustee
25   appointed over Defendant Consumer Advocacy Center Inc. d/b/a Premier Student
26   Loan Center by the United States Bankruptcy Court, Southern District of Florida,
27   Fort Lauderdale Division in the Bankruptcy Proceeding and any successor trustee.
28



                                           5
     _____________________________________________________________________________
                    TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                  Case 19-10655-JKO    Doc 148    Filed 11/04/19   Page 9 of 478




 1         5.      “Consumer” means an individual or an agent, trustee, or
 2   representative acting on behalf of an individual;
 3         6.      “Debt” means any obligation or alleged obligation to pay money,
 4   whether or not such obligation has been reduced to judgment;
 5         7.      “Debt-Relief Product or Service” means any product, service, plan,
 6   or program represented, directly or by implication, to renegotiate, settle, or in any
 7   way alter the terms of payment or other terms of the Debt between a Consumer and
 8   one or more creditors or Debt collectors, including but not limited to, a reduction
 9   in the balance, interest rate, or fees owed by a Person to a creditor or Debt
10   collector;
11         8.      “Defendants” means the Corporate Defendants, Individual
12   Defendants, and Relief Defendants, individually, collectively, or in any
13   combination, and each of them by whatever names each might be known;
14                  a.   “Corporate Defendants” means Consumer Advocacy Center
15                  Inc., d/b/a Premier Student Loan Center, True Count Staffing Inc.,
16                  d/b/a SL Account Management, Prime Consulting LLC, d/b/a
17                  Financial Preparation Services, and any other name by which each
18                  Corporate Defendant may be known or operate;
19                  b.   “Individual Defendants” means Albert Kim (aka Albert King),
20                  Kaine Wen (aka Wenting Kaine Dai, Wen Ting Dai, Kaine Wen
21                  Dai), and Tuong Nguyen (aka Tom Nelson), and any other name by
22                  which each Individual Defendant may be known;
23                  c.   “Receivership Defendants” means True Count Staffing Inc.,
24                  d/b/a SL Account Management, Prime Consulting LLC, d/b/a
25                  Financial Preparation Services and their successors, assigns,
26                  affiliates, or subsidiaries, and each of them, by whatever names each
27                  may be known, provided that the Receiver has reason to believe they
28



                                           6
     _____________________________________________________________________________
                    TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                Case 19-10655-JKO     Doc 148    Filed 11/04/19    Page 10 of 478




 1                are owned or controlled in whole or in part by any of the
 2                Receivership Defendants;
 3                d.    “Relief Defendant” means Infinite Management Corp., f/k/a
 4                Infinite Management Solutions Inc., Hold The Door, Corp., TN
 5                Accounting Inc., and any other name by which each Relief Defendant
 6                may be known or operate; and
 7         9.     “Document” and “Electronically Stored Information” are
 8   synonymous in meaning and equal in scope to the usage of the terms in Rule 34(a)
 9   of the Federal Rules of Civil Procedure and include but are not limited to:
10                a.    the original or a true copy of any written, typed, printed,
11                electronically stored, transcribed, taped, recorded, filmed, punched,
12                or graphic matter or other data compilations of any kind, including,
13                but not limited to, letters, email or other correspondence, messages,
14                memoranda, paper, interoffice communications, notes, reports,
15                summaries, manuals, magnetic tapes or discs, tabulations, books,
16                records, checks, invoices, work papers, journals, ledgers, statements,
17                returns, reports, schedules, files, charts, logs, electronic files, stored
18                in any medium;
19                b.    any electronically created or stored information, including but
20                not limited to electronic mail, instant messaging, videoconferencing,
21                SMS, MMS, or other text messaging, and other electronic
22                correspondence (whether active, archived, unsent, or in an deleted
23                items folder), word processing files, spreadsheets, databases,
24                Document metadata, presentation files, and sound recordings,
25                whether stored on any cell phones, smartphones, flash drives,
26                personal digital assistants (“PDAs”), cards, desktop personal
27                computer and workstations, laptops, notebooks and other portable
28                computers, or other electronic storage media, backup disks and tapes,


                                           7
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                 Case 19-10655-JKO    Doc 148    Filed 11/04/19   Page 11 of 478




 1                 archive disks and tapes, and other forms of offline storage, whether
 2                 assigned to individuals or in pools of computers available for shared
 3                 use, or personally owned but used for work-related purposes, whether
 4                 stored on-site with the computer used to generate them, stored offsite
 5                 in another company facility, or stored, hosted, or otherwise
 6                 maintained off-site by a third party; and computers and related offsite
 7                 storage used by Defendants or Defendants’ participating associates,
 8                 which may include Persons who are not employees of the company
 9                 or who do not work on company premises; and
10         10.     “Electronic Data Host” means any Person or entity that stores, hosts,
11   or otherwise maintains electronically stored information;
12         11.     “Bankruptcy Estate” means the bankruptcy estate created within the
13   Bankruptcy Proceeding by operation of law pursuant to 11 U.S.C. § 541;
14         12.     “Financial Institution” means any bank, savings and loan institution,
15   credit union, or any financial depository of any kind, including, but not limited to,
16   any brokerage house, trustee, broker-dealer, escrow agent, title company,
17   commodity trading company, or precious metal dealer;
18         13.     “Person” means an individual, partnership, company, corporation,
19   association (incorporated or unincorporated), trust, estate, cooperative
20   organization, or other entity;
21         14.     “Plaintiff” or “Bureau” means the Bureau of Consumer Financial
22   Protection;
23         15.     “Receiver” means the temporary receiver appointed in Section XII of
24   this Order and any deputy receivers that shall be named by the temporary receiver;
25         16.     “Telemarketer” means any Person who, in connection with
26   Telemarketing, initiates or receives telephone calls to or from a customer or donor.
27   16 C.F.R. § 310.2(cc); and
28



                                           8
     _____________________________________________________________________________
                    TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                 Case 19-10655-JKO    Doc 148    Filed 11/04/19   Page 12 of 478




 1         17.     “Telemarketing” means a plan, program, or campaign (whether or
 2   not covered by the TSR, 16 C.F.R. Part 310) that is conducted to induce the
 3   purchase of goods or services or a charitable contribution by use of one or more
 4   telephones.
 5                                         ORDER
 6                      I. RESTRICTIONS ON ADVANCE FEES
 7         IT IS FURTHER ORDERED that, in connection with Telemarketing,
 8   Defendants and their successors, assigns, officers, agents, servants, employees, and
 9   attorneys, and those Persons in active concert or participation with any of them,
10   who receive actual notice of this Order by personal service, facsimile transmission,
11   email, or otherwise, whether acting directly or indirectly, are hereby temporarily
12   restrained and enjoined from requesting or receiving payment or fees or
13   consideration for any Debt-Relief Product or Service before:
14           A. They have negotiated, settled, reduced, or otherwise altered the terms of
15               at least one Debt pursuant to a settlement agreement, Debt management
16               plan, or other such valid contractual agreement executed by the
17               customer; and
18           B. The customer has made at least one payment pursuant to that
19               agreement.
20                       II. PROHIBITED REPRESENTATIONS
21         IT IS FURTHER ORDERED that Defendants and their successors,
22   assigns, officers, agents, servants, employees, and attorneys, and those Persons in
23   active concert or participation with any of them, who receive actual notice of this
24   Order by personal service, facsimile transmission, email, or otherwise, whether
25   acting directly or indirectly, in connection with the advertising, marketing,
26   promotion, offering for sale, sale, performance of any Debt-Relief Product or
27   Service, are hereby temporarily restrained and enjoined from falsely representing,
28   or from Assisting Others who are falsely representing, expressly or by implication,


                                           9
     _____________________________________________________________________________
                    TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                 Case 19-10655-JKO     Doc 148   Filed 11/04/19   Page 13 of 478




 1   any material aspect of any service performed by the Defendant or any other person,
 2   including, but not limited to:
 3         A. The nature, purpose, or any other material aspect of any fee collected by
 4               any Defendant or any other person;
 5         B. That any Defendant or any other Person will or likely will help obtain
 6               forgiveness of any loan under a federal student loan forgiveness program;
 7               and
 8         C. That any Defendant or any other Person will or likely will help obtain
 9               lower payments on any loan under a federal student loan repayment
10               program.
11        III.    PRESERVATION OF RECORDS AND TANGIBLE THINGS
12         IT IS FURTHER ORDERED that Defendants and their successors,
13   assigns, officers, agents, servants, employees, independent contractors, and
14   attorneys, and those Persons in active concert or participation with any of them,
15   who receive actual notice of this Order by personal service, facsimile transmission,
16   email, or otherwise, whether acting directly or indirectly are hereby temporarily
17   enjoined from destroying, erasing, mutilating, concealing, altering, transferring, or
18   otherwise disposing of, in any manner, directly or indirectly, any Documents or
19   records that relate to the business practices, or business or personal finances of any
20   Defendant, or other entity directly or indirectly under the control of any Defendant.
21                                     IV.   WEBSITES
22         IT IS FURTHER ORDERED that, immediately upon service of the Order
23   upon them and pending determination of Plaintiff’s request for a preliminary
24   injunction, (1) any Person hosting any Internet website for, or on behalf of, any
25   Defendant, and (2) Defendants and their successors, assigns, officers, agents,
26   servants, employees, independent contractors, and attorneys, and those Persons in
27   active concert or participation with any of them, who receive actual notice of this
28   order by personal service, facsimile transmission, email, or otherwise, whether


                                           10
     _____________________________________________________________________________
                       TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                   Case 19-10655-JKO    Doc 148    Filed 11/04/19   Page 14 of 478




 1   acting directly or through any corporation, subsidiary, division, or other device,
 2   shall:
 3            A. Prevent the destruction or erasure of any Internet website used by
 4               Defendants for the advertising, marketing, promotion, offering for sale,
 5               sale, or performance of any Debt-Relief Service, by preserving such
 6               website in the format in which it is maintained currently; and
 7            B. Immediately notify Plaintiff’s counsel, in writing, of any other Internet
 8               website operated or controlled by any Defendant.
 9                   V. INTERNET DOMAIN NAME REGISTRATIONS
10            IT IS FURTHER ORDERED that, pending determination of Plaintiff’s
11   request for a preliminary injunction, any domain name registrar shall provide
12   immediate notice to Plaintiff’s counsel of any Internet domain names registered or
13   controlled by any Defendants.
14                                    VI.   ASSET FREEZE
15            IT IS FURTHER ORDERED that Receivership Defendants, Individual
16   Defendants, or Relief Defendants, and their successors, assigns, officers, agents,
17   servants, employees, independent contractors, and attorneys, and all Persons
18   directly or indirectly under the control of any of them, including any Financial
19   Institution, and all other Persons in active concert or participation with any of
20   them, who receive actual notice of this Order by personal service, facsimile, email,
21   or otherwise, are hereby temporarily restrained and enjoined from directly or
22   indirectly:
23            A. Selling, liquidating, assigning, transferring, converting, loaning,
24               hypothecating, disbursing, gifting, conveying, encumbering, pledging,
25               concealing, dissipating, spending, withdrawing, or otherwise disposing of
26               any Asset that is:
27
28



                                           11
     _____________________________________________________________________________
                      TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 15 of 478




 1                1. owned or controlled, directly or indirectly, by any Defendant,
 2                   including, but not limited to those for which a Defendant is a
 3                   signatory on the account;
 4                2. held, in part or in whole, for the benefit of any Defendant
 5                3. in the actual or constructive possession of any Defendant; or
 6                4. in the actual or constructive possession of, or owned or controlled
 7                   by, or subject to access by, or belonging to, any corporation,
 8                   partnership, trust or other entity directly or indirectly owned,
 9                   managed or controlled by any Defendant; and
10         B. Opening, or causing to be opened, any safe deposit box, commercial mail
11             box, or storage facility belonging to, for the use or benefit of, controlled
12             by, or titled in the name of any Defendant or subject to access by any
13             Defendant;
14         C. Incurring charges or cash advances on any credit card, stored value card,
15             debit card, or charge card issued in the name, singly or jointly, of any
16             Defendant or any other entity directly or indirectly owned, managed, or
17             controlled by any Defendant;
18         D. Cashing any checks or depositing or processing any payment from any
19             Consumer, client, or customer of any Defendant; and
20         E. Incurring liens or encumbrances on real property, personal property, or
21             other Assets in the name, singly or jointly, of Defendants or of any
22             corporation, partnership, or other entity directly or indirectly owned,
23             managed, or controlled by any Defendant.
24         IT IS FURTHER ORDERED that the Assets affected by this Section shall
25   include: (a) all Assets of each Receivership Defendant, Individual Defendant, or
26   Relief Defendant, as of the time this Order is entered, and (b) those Assets
27   obtained or received after entry of this Order that are derived, directly or indirectly,
28   from the actions alleged in Plaintiff’s Complaint. This Section does not prohibit


                                           12
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
               Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 16 of 478




 1   transfers to the Receiver, as specifically required in Section XVI (Delivery of
 2   Receivership Property), nor does it prohibit the Repatriation of Foreign Assets, as
 3   specifically required in Section X of this Order.
 4                VII. RETENTION OF ASSETS AND RECORDS BY
 5            FINANCIAL INSTITUTIONS AND OTHER THIRD PARTIES
 6         IT IS FURTHER ORDERED that, except as otherwise ordered by this
 7   Court, any Financial Institution, brokerage, business entity, Electronic Data Host,
 8   payment processor, merchant bank, payment gateway, or Person served with a
 9   copy of this Order, or who otherwise has actual or constructive knowledge of this
10   Order, that has held, controlled, or maintained custody of any account, Document,
11   or Asset of, on behalf of, in the name of, for the benefit of, subject to withdrawal
12   by, subject to access or use by, or under the signatory power of any Defendant, or
13   other party subject to Section VI (Asset Freeze) above, or has held, controlled, or
14   maintained any such account, Document, or Asset shall:
15         A. Hold, preserve, and retain within such person’s control, and prohibit the
16             withdrawal, removal, alteration, assignment, transfer, pledge,
17             hypothecation, encumbrance, disbursement, dissipation, conversion, sale,
18             liquidation, or other disposal of such account, Document, or Asset held
19             by or under such person’s control, except (1) as directed by further order
20             of the Court; (2) as directed in writing by the Receiver regarding
21             accounts, Documents, or Assets held in the name of or benefit of any
22             Defendant; or (3) as directed in writing by the Chapter 7 Trustee
23             regarding accounts and Assets held in the name of or for the benefit of
24             the Bankruptcy Estate;
25         B. Provide the Receiver, the Receiver’s agents, Plaintiff, and Plaintiff’s
26             agents immediate access to Documents, including those electronically
27             stored, hosted, or otherwise maintained on behalf of Defendants, for
28             forensic imaging or copying;


                                           13
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 17 of 478




 1        C. Deny access to any safe deposit box, commercial mail box, or storage
 2           facility belonging to, for the use or benefit of, controlled by, or titled in
 3           the name of any Defendant, or subject to access by any Defendant or
 4           other party subject to Section VI (Asset Freeze) above, except that this
 5           subsection shall not limit the Receiver’s or Chapter 7 Trustee’s access to
 6           such places;
 7        D. Provide to Plaintiff’s counsel and the Receiver, within three business
 8           days of receiving a copy of this Order, a sworn statement setting forth:
 9              1. the identification of each account or Asset titled in the name,
10                 individually or jointly, or held on behalf of or for the benefit of,
11                 subject to withdrawal by, subject to access or use by, or under the
12                 signatory power of any Defendant, or other party subject to Section
13                 VI (Asset Freeze) above, whether in whole or in part;
14              2. the balance of each such account, or a description of the nature and
15                 value of such Asset, as of the close of business on the day on
16                 which this Order is served;
17              3. the identification of any safe deposit box, commercial mail box, or
18                 storage facility belonging to, for the use or benefit of, controlled
19                 by, or titled in the name of any Defendant, or subject to access by
20                 any Defendant, or other party subject to Section VI (Asset Freeze)
21                 above, whether in whole or in part;
22              4. if the account, safe deposit box, or other Asset has been closed or
23                 removed, the date closed or removed, the balance on said date, and
24                 the name or the Person or entity to whom such account or other
25                 Asset was remitted;
26              5. Subsection VII.D does not apply to the Chapter 7 Trustee; and
27        E. Provide to Plaintiff’s counsel and the Receiver, within three business
28           days of receiving a request, copies of all Documents pertaining to such


                                           14
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 18 of 478




 1           account or Asset, including but not limited to originals or copies of
 2           account applications, account statements, signature cards, checks, drafts,
 3           deposit tickets, transfers to and from the accounts, all other debit and
 4           credit instruments or slips, currency transaction reports, 1099 forms, and
 5           safe deposit box logs; provided that such institution or custodian may
 6           charge a reasonable fee;
 7        F. Cooperate with all reasonable requests of the Receiver relating to this
 8           Order’s implementation;
 9        G. The accounts subject to this provision include: (a) all Assets of each
10           Defendant deposited as of the time this Order is entered, and (b) those
11           Assets deposited after entry of this Order that are derived from the
12           actions alleged in Plaintiff’s Complaint. This Section does not include
13           Assets under the exclusive control of the Chapter 7 Trustee in the
14           Bankruptcy Proceeding. Further, this Section does not prohibit transfers
15           to the Receiver, as specifically required in Section XVI (Delivery of
16           Receivership Property), nor does it prohibit the Repatriation of Foreign
17           Assets, as specifically required in Section X of this Order; and
18        H. Plaintiff is granted leave, pursuant to Rule 45 of the Federal Rules of
19           Civil Procedure, to subpoena Documents immediately from any Financial
20           Institution, brokerage, business entity, Electronic Data Host, or Person
21           served with a copy of this Order that holds, controls, or maintains
22           custody of any account, Document, or Asset of, on behalf of, in the name
23           of, for the benefit of, subject to access or use by, or under the signatory
24           power of any Defendant or party subject to Section VI (Asset Freeze)
25           above, or has held, controlled, or maintained any such account,
26           Document, or Asset and such financial or brokerage institution, business
27           entity, Electronic Data Host or Person shall respond to such subpoena
28           within three business days after service.


                                           15
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
               Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 19 of 478




 1              VIII. FINANCIAL STATEMENTS AND ACCOUNTING
 2         IT IS FURTHER ORDERED that as set forth below, each Receivership
 3   Defendant, Individual Defendant, and Relief Defendant, within three (3) business
 4   days of service of this Order, shall prepare and deliver to Plaintiff’s counsel and to
 5   the Receiver:
 6         A. For each Individual Defendant, a completed financial statement accurate
 7             as of the date of service of this Order upon such Defendant on the form
 8             of Attachment A to this Order captioned “Individual Financial
 9             Statement”;
10         B. For each Receivership Defendant and Relief Defendant, a completed
11             financial statement accurate as of the date of service of this Order upon
12             such Defendant (unless otherwise agreed upon with Plaintiff’s counsel)
13             in the form of Attachment B to this Order captioned “Corporate Financial
14             Statement”;
15         C. A list of all officers and directors of the Receivership Defendants and
16             Relief Defendants and all other individuals or entities with authority to
17             direct the operations of each Receivership Defendant and Relief
18             Defendant or withdraw money from the account of such Defendant;
19         D. For each Receivership Defendant, Individual Defendant, and Relief
20             Defendant, a statement, verified under oath, of all payments, transfers, or
21             assignments of any Assets worth $5,000 or more since January 1, 2015.
22             Such statements shall include: (a) the amount transferred or assigned; (b)
23             the name of each transferee or assignee; (c) the date of the assignment or
24             transfer; and (d) the type and amount of consideration paid by or to the
25             Defendant. Each statement shall specify the name and address of each
26             Financial Institution at which Receivership Defendant, Individual
27             Defendant, or Relief Defendant, has accounts or safe deposit boxes; and
28



                                           16
     _____________________________________________________________________________
                     TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                Case 19-10655-JKO       Doc 148     Filed 11/04/19   Page 20 of 478




 1          E. For each Receivership Defendant, Individual Defendant, and Relief
 2              Defendant, a detailed accounting, verified under oath, of all gross and net
 3              profits obtained from, derived from, or related in any way to the offer for
 4              sale or sale of any Debt-Relief Product or Service since January 1, 2015.
 5                         IX.   CONSUMER CREDIT REPORTS
 6          IT IS FURTHER ORDERED that pursuant to Section 604(a)(1) of the Fair
 7   Credit Reporting Act, 15 U.S.C. § 1681b(a)(1), Plaintiff may obtain credit reports
 8   concerning any Defendant or Relief Defendant, and that, upon written request, any
 9   credit reporting agency from which such reports are requested shall provide them
10   to Plaintiff.
11                    X.     REPATRIATION OF FOREIGN ASSETS
12          IT IS FURTHER ORDERED that, within three business days following
13   the service of this Order, each Defendant shall:
14          A. Provide Plaintiff’s counsel and the Receiver with a full accounting,
15              verified under oath and accurate as of the date of this Order, of all Assets,
16              accounts, and Documents outside of the territory of the United States of
17              America that are held (1) by the Defendant; (2) for any Defendant’s
18              benefit or for the benefit of any corporation, partnership, asset protection
19              trust, or other entity that is directly or indirectly owned, managed, or
20              controlled by any Defendant; (3) in trust by or for any Defendant,
21              individually or jointly; or (4) under any Defendant’s direct or indirect
22              control, individually or jointly;
23          B. Transfer to the territory of the United States of America all Assets,
24              accounts, and Documents in foreign countries held (1) by any Defendant;
25              (2) for any Defendant’s benefit; (3) in trust by or for any Defendant,
26              individually or jointly; or (4) under any Defendant’s direct or indirect
27              control, individually or jointly;
28



                                           17
     _____________________________________________________________________________
                     TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
               Case 19-10655-JKO      Doc 148      Filed 11/04/19   Page 21 of 478




 1         C. Hold and retain all repatriated Assets, accounts, funds, and Documents,
 2             and prevent any transfer, disposition, or dissipation whatsoever of any
 3             such Assets, accounts, or Documents;
 4         D. Provide Plaintiff access to all records of accounts, Documents, or Assets
 5             of the Receivership Defendant, Individual Defendant, or Relief
 6             Defendant held by Financial Institutions or other third parties located
 7             outside the territorial United States of America by signing the Consent to
 8             Release of Financial Records attached to this Order as Attachment C. All
 9             repatriated Assets, accounts, and Documents are subject to Section VI
10             (Asset Freeze) of this Order; and
11         E. The same business day as any repatriation, (1) notify the Receiver and
12             counsel for Plaintiff of the name and location of the Financial Institution
13             or other entity that is the recipient of such Assets, accounts, and
14             Documents; and (2) serve this Order on any such Financial Institution or
15             other entity.
16               XI.    NONINTERFERENCE WITH REPATRIATION
17         IT IS FURTHER ORDERED that Defendants and their successors,
18   assigns, officers, agents, servants, employees, and attorneys, and those Persons in
19   active concert or participation with any of them, who receive actual notice of this
20   Order by personal service or otherwise, whether acting directly or indirectly, are
21   hereby temporarily restrained and enjoined from taking any action, directly or
22   indirectly, which may result in the hindrance of the repatriation required by Section
23   X of this Order, including, but not limited to:
24         A. Sending any statement, communication, letter, fax, email or wire
25             transmission, or telephoning or engaging in any other act, directly or
26             indirectly, that results in a determination by a foreign trustee or other
27             entity that a “duress” event has occurred under the terms of a foreign
28



                                           18
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
               Case 19-10655-JKO      Doc 148     Filed 11/04/19   Page 22 of 478




 1            trust agreement until such time that all Assets have been fully repatriated
 2            pursuant to Section X (Repatriation of Foreign Assets) of this Order; or
 3         B. Notifying any trustee, protector, or other agent of any foreign trust or
 4            other related entities of either the existence of this Order, or of the fact
 5            that repatriation is required pursuant to a court order, until such time that
 6            all Assets have been fully repatriated pursuant to Section X (Repatriation
 7            of Foreign Assets) of this Order.
 8             XII. APPOINTMENT OF A TEMPORARY RECEIVER
 9         IT IS FURTHER ORDERED that Thomas W. McNamara is appointed
10   temporary Receiver for the business activities of Receivership Defendants with the
11   full power of an equity receiver. The Receiver shall be the agent of this Court and
12   solely the agent of this Court in acting as Receiver under this Order. The Receiver
13   shall be accountable directly to this Court. The Receiver shall comply with all laws
14   and Local Rules of this Court governing federal equity receivers.
15       XIII. DUTIES AND AUTHORITIES OF TEMPORARY RECEIVER
16         IT IS FURTHER ORDERED that the Receiver is directed and authorized
17   to accomplish the following:
18         A. Assume full control of the Receivership Defendants by removing, as the
19            Receiver deems necessary or advisable, any director, officer, independent
20            contractor, employee, attorney, or agent of any of the Receivership
21            Defendants, including but not limited to any named Defendant, from
22            control of, management of, or participation in, the affairs of the
23            Receivership Defendants;
24         B. Take exclusive custody, control, and possession of all Assets and
25            Documents of, or in the possession, custody, or under the control of, the
26            Receivership Defendants, wherever situated. The Receiver will assume
27            control over the income and profits therefrom and all sums of money now
28            or hereafter due or owing to the Receivership Defendants. The Receiver


                                           19
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO        Doc 148   Filed 11/04/19   Page 23 of 478




 1           shall have full power to divert mail and to sue for, collect, receive, take
 2           into possession, hold, and manage all Assets and Documents of the
 3           Receivership Defendants and other Persons whose interests are now held
 4           by or under the direction, possession, custody, or control of the
 5           Receivership Defendants. Provided, however, however, that the Receiver
 6           will not attempt to collect or receive any amount from a Consumer if the
 7           Receiver or Plaintiff believes the Consumer was a victim of the unlawful
 8           conduct alleged in the complaint in this matter;
 9        C. Take all steps necessary to secure the business premises of the
10           Receivership Defendants. Such steps may include, but are not limited to,
11           the following as the Receiver deems necessary or advisable:
12              1. serving and filing this Order;
13              2. completing a written inventory of all Receivership Assets;
14              3. obtaining pertinent information from all employees and other
15                 agents of the Receivership Defendants, including but not limited
16                 to, the name, home address, social security number, job
17                 description, method of compensation, and all accrued and unpaid
18                 commissions and compensation of each such employee or agent,
19                 and all computer hardware and software passwords;
20              4. videotaping or photographing all portions of such business
21                 premises;
22              5. securing the location by changing the locks and alarm codes and
23                 disconnecting any internet access or other means of access to the
24                 computers, servers, internal networks, or other records maintained
25                 at that location;
26              6. requiring any Persons present on the premises at the time this
27                 Order is served to leave the premises, to provide the Receiver with
28                 proof of identification, or to demonstrate to the satisfaction of the


                                           20
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO      Doc 148   Filed 11/04/19   Page 24 of 478




 1                 Receiver that such Persons are not removing from the premises
 2                 Documents or Assets of the Receivership Defendants;
 3              7. requiring all employees, independent contractors, and consultants
 4                 of the Receivership Defendants to complete a questionnaire
 5                 submitted by the Receiver; and
 6        D. Conserve, hold, and manage all Receivership Defendants’ Assets, and
 7           perform all acts necessary or advisable to preserve the value of those
 8           Assets, in order to prevent any irreparable loss, damage, or injury to
 9           Consumers or to creditors of the Receivership Defendants, including, but
10           not limited to, obtaining an accounting of the Assets and preventing
11           transfer, withdrawal, or misapplication of Assets;
12        E. Liquidate any and all securities or commodities owned by or for the
13           benefit of the Receivership Defendants as the Receiver deems to be
14           advisable or necessary;
15        F. Take all steps necessary to prevent the modification, destruction, or
16           erasure of any web page or website registered to and operated, in whole
17           or in part, by any Defendant, and to provide access to all such web page
18           or websites to Plaintiff’s representatives, agents, and assistants, as well as
19           Defendants and their representatives;
20        G. Enter into contracts and purchase insurance as the Receiver deems to be
21           advisable or necessary;
22        H. Prevent the inequitable distribution of Assets and determine, adjust, and
23           protect the interests of Consumers and creditors who have transacted
24           business with the Receivership Defendants;
25        I. Manage and administer the business of the Receivership Defendants until
26           further order of this Court by performing all incidental acts that the
27           Receiver deems to be advisable or necessary, which includes retaining,
28           hiring, or dismissing any employees, independent contractors, or agents;


                                           21
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 25 of 478




 1        J. Choose, engage, and employ attorneys, accountants, appraisers, and other
 2           independent contractors and technical specialists, as the Receiver deems
 3           advisable or necessary in the performance of duties and responsibilities
 4           under the authority granted by this Order;
 5        K. Make payments and disbursements from the Receivership Defendants’
 6           estate that are necessary or advisable for carrying out the directions of, or
 7           exercising the authority granted by, this Order. The Receiver shall apply
 8           to the Court for prior approval of any payment of any Debt or obligation
 9           incurred by the Receivership Defendants prior to the date of entry of this
10           Order, except payments that the Receiver deems necessary or advisable
11           to secure Assets of the Receivership Defendants, such as rental
12           payments;
13        L. Determine and implement measures to ensure that the Receivership
14           Defendants comply with and prevent violations of this Order and all
15           other applicable laws, including, but not limited to, if appropriate,
16           revising sales materials and implementing monitoring procedures;
17        M. Institute, compromise, adjust, appear in, intervene in, or become party to
18           such actions or proceedings in state, federal, or foreign courts that the
19           Receiver deems necessary and advisable to preserve or recover the Assets
20           of the Receivership Defendants, or that the Receiver deems necessary and
21           advisable to carry out the Receiver’s mandate under this Order;
22        N. Defend, compromise, adjust, or otherwise dispose of any or all actions or
23           proceedings instituted in the past or in the future against the Receiver in
24           his or her role as Receiver, or against the Receivership Defendants, that
25           the Receiver deems necessary and advisable to preserve the Assets of the
26           Receivership Defendants or that the Receiver deems necessary and
27           advisable to carry out the Receiver’s mandate under this Order;
28



                                           22
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 26 of 478




 1        O. Continue and conduct the business of the Receivership Defendants in
 2           such manner, to such extent, and for such duration as the Receiver may in
 3           good faith deem to be necessary or appropriate to operate the business
 4           profitably and lawfully, if at all; provided, however, that the continuation
 5           and conduct of the business shall be conditioned upon the Receiver’s
 6           good faith determination that the businesses can be lawfully operated at a
 7           profit using the Assets of the Receivership Defendants’ estate;
 8        P. Take depositions and issue subpoenas to obtain Documents and records
 9           pertaining to the receivership estate and compliance with this Order.
10           Subpoenas may be served by agents or attorneys of the Receiver and by
11           agents of any process server retained by the Receiver;
12        Q. Open one or more bank accounts as designated depositories for funds of
13           the Receivership Defendants. The Receiver shall deposit all funds of the
14           Receivership Defendants in such a designated account and shall make all
15           payments and disbursements from the receivership estate from such
16           account(s);
17        R. Maintain accurate records of all receipts and expenditures that made as
18           Receiver;
19        S. Cooperate with reasonable requests for information or assistance from
20           any state or federal law enforcement agency;
21        T. If the Receiver identifies a nonparty entity as a Receivership Entity,
22           promptly notify the entity as well as the parties, and inform the entity that
23           it can challenge the Receiver’s determination by filing a motion with the
24           Court. Provided, however, that the Receiver may delay providing such
25           notice until the Receiver has established control of the nonparty entity
26           and its Assets and records, if the Receiver determines that notice to the
27           entity may result in the destruction of records, dissipation of Assets, or
28           any other obstruction of the Receiver’s control of the entity;


                                           23
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 27 of 478




 1          U. Maintain the chain of custody of all of Defendants’ records in their
 2             possession; and
 3          V. Notify all courts in which Receivership Defendants have litigation
 4             pending, that this case is pending, and request temporary stays, where
 5             appropriate, of those cases or any other necessary relief to preserve the
 6             rights of Consumers.
 7    XIV. IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS
 8          IT IS FURTHER ORDERED that Plaintiff, the Receiver, and their
 9   respective representatives, agents, contractors, or assistants, are permitted
10   immediate access to the Receivership Defendants’ business premises.
11          IT IS FURTHER ORDERED that Defendants and their successors,
12   assigns, officers, directors, agents, servants, employees, attorneys, and all other
13   Persons directly or indirectly, in whole or in part, under their control, and all other
14   Persons in active concert or participation with them, who receive actual notice of
15   this Order by personal service, facsimile, email, or otherwise, whether acting
16   directly or, shall:
17          A. Allow Plaintiff and the Receiver, and their respective representatives,
18             agents, attorneys, investigators, paralegals, contractors, or assistants,
19             including, but not limited to, federal, state, and local law enforcement
20             officers, including the United States Marshals Service, the Federal
21             Bureau of Investigation, the Internal Revenue Service, the Sheriff or
22             deputy of any county, and the Police Department or police officer of any
23             community, immediate access to:
24                 1. all of the Receivership Defendants’ business premises, including
25                    but not limited to:
26                         a. 173 Technology Dr. Suite 202, Irvine, CA 92618; 15261
27                            Laguna Canyon Road, Suite 200, Irvine, CA 92618; 8
28                            Hughes Parkway, Irvine, CA 92618;


                                           24
     _____________________________________________________________________________
                    TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 28 of 478




 1                     b. any storage facilities;
 2                     c. such other business locations that are wholly or partially
 3                          owned, rented, leased, or under the temporary or permanent
 4                          control of any Receivership Defendant; and
 5              2. any other premises where Receivership Defendants conduct
 6                 business, sales operations, or customer service operations;
 7              3. any premises where Documents related to the Receivership
 8                 Defendants’ businesses are stored or maintained, including but not
 9                 limited to a storage unit;
10              4. any premises where Assets belonging to any Receivership
11                 Defendant are stored or maintained;
12              5. any Documents located at any of the locations described in this
13                 Section; and
14        B. Immediately identify to Plaintiff’s counsel and the Receiver:
15              1. all of Defendants’ business premises and storage facilities;
16              2. any non-residence premises where any Defendant conducts
17                 business, sales operations, or customer service operations;
18              3. any non-residence premises where Documents related to the
19                 business, sales operations, or customer service operations of any
20                 Defendant are hosted, stored, or otherwise maintained, including
21                 but not limited to the name and location of any Electronic Data
22                 Hosts;
23              4. any non-residence premises where Assets belonging to any
24                 Defendant are stored or maintained; and
25        C. Provide Plaintiff and the Receiver, and their respective representatives,
26           agents, attorneys, investigators, paralegals, contractors, or assistants with
27           any necessary means of access to, copying of, and forensic imaging of
28           Documents, including, without limitation, identifying the locations of


                                           25
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 29 of 478




 1           Receivership Defendants’ business premises, keys and combinations to
 2           business premises locks, passwords to devices that hold Electronically
 3           Stored Information, computer access codes of all computers used to
 4           conduct Receivership Defendants’ business, access to (including but not
 5           limited to execution of any Documents necessary for access to and
 6           forensic imaging of) any data stored, hosted or otherwise maintained by
 7           an Electronic Data Host, and storage area access information.
 8        IT IS FURTHER ORDERED that:
 9        D. Plaintiff and the Receiver are authorized to employ the assistance of
10           federal, state, and local law enforcement officers, including, but not
11           limited to, the United States Marshals service, the United States Marshal
12           or Deputy United States Marshal, the Federal Bureau of Investigation, the
13           Internal Revenue Service, and the Sheriff or deputy of any county, and
14           the Police Department and police officer of any community, to effect
15           service, to implement peacefully the provisions of this Order, and to keep
16           the peace;
17        E. The assistance of law enforcement is highly advisable to ensure that this
18           Order is executed in an efficient, safe, and orderly manner. It is the
19           primary role and mission of the United States Marshals Service to
20           provide security and to obey, execute, and enforce all orders of the
21           United States District Courts and the United States Courts of Appeals as
22           provided by law. The United States Marshals Service shall execute all
23           lawful writs, process, and orders issued under the authority of the United
24           States, and shall command all necessary assistance to execute its duties.
25           The United States Marshals Service, the Federal Bureau of Investigation,
26           the Internal Revenue Service, or the local law enforcement is authorized
27           to use any reasonable force in the enforcement of this Order;
28



                                           26
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 30 of 478




 1        F. The Receiver shall immediately allow Plaintiff and its representatives,
 2           agents, contractors, or assistants into the premises and facilities described
 3           in this Section to inspect, inventory, image, and copy Documents relevant
 4           to any matter contained in this Order, wherever they may be situated. The
 5           Receiver may exclude Receivership Defendants, Individual Defendants,
 6           and Relief Defendants and their agents and employees from the business
 7           premises and facilities during the immediate access. No one shall
 8           interfere with Plaintiff’s or the Receiver’s inspection of Receivership
 9           Defendants’ premises or Documents;
10        G. The Receiver and Plaintiff shall have the right to remove any Documents,
11           including any devices containing Electronically Stored Information
12           related to Defendants’ business practices from the premises in order that
13           they may be inspected, inventoried, and copied. The materials so
14           removed shall be returned within five business days of completing said
15           inventory and copying. If any property, records, Documents, or computer
16           files relating to the Receivership Defendants’ finances or business
17           practices are located in the residence of any Individual Defendant or are
18           otherwise in the custody or control of any Defendant, then such
19           Defendant shall produce them to the Receiver within twenty-four hours
20           of service of this Order. In order to prevent the destruction of computer
21           data, upon service of this Order upon Defendants, any such computers
22           may be powered down (turned off) in the normal course for the operating
23           systems used on such computers and shall not be powered up or used
24           again until produced for copying and inspection, along with any codes
25           needed for access. Plaintiff’s and the Receiver’s representatives may also
26           photograph and videotape the inside and outside of all premises to which
27           they are permitted access by this Order, and all Documents and other
28           items found on such premises;


                                           27
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 31 of 478




 1        H. Plaintiff’s access to the Defendants’ Documents pursuant to this Order
 2           shall not provide grounds for any Defendant to object to any subsequent
 3           request for Documents served by Plaintiff; and
 4        I. The Receiver shall allow the Defendants and their representatives
 5           reasonable access to the premises of the Receivership Defendants. The
 6           purpose of this access shall be to inspect, inventory, and copy any and all
 7           Documents and other property owned by or in the possession of the
 8           Receivership Defendants, provided that those Documents and property
 9           are not removed from the premises. The Receiver shall have the
10           discretion to determine the time, manner, and reasonable conditions of
11           such access.
12        IT IS FURTHER ORDERED that:
13        J. The United States Marshals, the Federal Bureau of Investigation, the
14           Internal Revenue Service, or other local law enforcement officers are
15           authorized to escort Plaintiff, the Receiver, and Plaintiff’s and the
16           Receiver’s representatives and agents inside Defendants’ business
17           premises including, but not limited to, the locations identified in
18           Subsection XIV.A of this Order;
19        K. The United States Marshals, the Federal Bureau of Investigation, the
20           Internal Revenue Service, or other local law enforcement officers, and
21           those Persons acting under their supervision, including Plaintiff and its
22           representatives and attorneys are authorized and directed to serve this
23           Order along with any summons, complaint, motions, declarations, and
24           discovery requests on Defendants, including at the premises identified in
25           Subsection XIV.A of this Order;
26        L. Defendants and their employees, agents, and bookkeepers shall provide
27           immediate access to such locations to Plaintiff, the Receiver, the United
28           States Marshals Service, the Federal Bureau of Investigation, the Internal


                                           28
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO        Doc 148   Filed 11/04/19   Page 32 of 478




 1           Revenue Service, or other local law enforcement officers and to
 2           Plaintiff’s attorneys;
 3        M. Receivership Defendants, Individual Defendants, and Relief Defendants,
 4           and their employees, agents, and bookkeepers shall also immediately
 5           provide usernames and passwords to all computers and systems that store
 6           information concerning Defendants’ business operations; and
 7        N. Receivership Defendants, Individual Defendants, and Relief Defendants,
 8           and their employees shall surrender iPhone, Android, or other mobile
 9           access devices that contain information concerning Defendants’ business
10           operations to the Receiver or Plaintiff’s representatives.
11           XV. COOPERATION WITH TEMPORARY RECEIVER
12        IT IS FURTHER ORDERED that:
13        A. Receivership Defendants, Individual Defendants, and Relief Defendants
14           and their successors, assigns, officers, agents, directors, servants,
15           employees, salespersons, independent contractors, attorneys, and
16           corporations, and all other Persons or entities in active concert or
17           participation with them, who receive actual notice of this Order by
18           personal service or otherwise, whether acting directly or indirectly, or
19           any of them, shall fully cooperate with and assist the Receiver.
20           Receivership Defendants’, Individual Defendants’, and Relief
21           Defendants’ cooperation and assistance shall include, but not be limited
22           to:
23                 1. Providing any information to the Receiver that the Receiver deems
24                    necessary to exercising the authority and discharging the
25                    responsibilities of the Receiver under this Order, including but not
26                    limited to allowing the Receiver to inspect Documents and Assets
27                    and to partition office space;
28



                                           29
     _____________________________________________________________________________
                    TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 33 of 478




 1              2. Providing any username or password and executing any
 2                 Documents required to access any computer or electronic files in
 3                 any medium, including but not limited to Electronically Stored
 4                 Information stored, hosted, or otherwise maintained by an
 5                 Electronic Data Host;
 6              3. Advising all Persons who owe money to the Receivership
 7                 Defendants that all Debts should be paid directly to the Receiver;
 8                 and
 9        B. Receivership Defendants, Individual Defendants, and Relief Defendants
10           and their successors, assigns, officers, directors, agents, servants,
11           employees, attorneys, and all other Persons or entities directly or
12           indirectly, in whole or in part, under their control, and all other Persons in
13           active concert or participation with them, who receive actual notice of
14           this Order by personal service or otherwise, shall not interfere in any
15           manner, directly or indirectly with the custody possession, management,
16           or control by the Receiver of Assets and Documents, and are hereby
17           temporarily restrained and enjoined from directly or indirectly:
18              1. Transacting any of the business of the Receivership Defendants;
19              2. Destroying, secreting, erasing, mutilating, defacing, concealing,
20                 altering, transferring or otherwise disposing of, in any manner,
21                 directly or indirectly, any Documents or equipment of Defendants,
22                 including but not limited to contracts, agreements, Consumer files,
23                 Consumer addresses and telephone numbers, correspondence,
24                 advertisements, brochures, sales material, sales presentations,
25                 Documents evidencing or Defendants’ services, training materials,
26                 scripts, data, computer tapes, disks, or other computerized records,
27                 books, written or printed records, handwritten notes, telephone
28                 logs, “verification” or “compliance” tapes or other audio or video


                                           30
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO     Doc 148     Filed 11/04/19   Page 34 of 478




 1                 tape recordings, receipt books, invoices, postal receipts, ledgers,
 2                 personal and business canceled checks and check registers, bank
 3                 statements, appointment books, copies of federal, state or local
 4                 business or personal income or property tax returns, photographs,
 5                 mobile devices, electronic storage media, accessories, and any
 6                 other Documents, records or equipment of any kind that relate to
 7                 the business practices or business or personal finances of the
 8                 Defendants or any other entity directly or indirectly under the
 9                 control of the Defendants;
10              3. Transferring, receiving, altering, selling, encumbering, pledging,
11                 assigning, liquidating, or otherwise disposing of any Assets owned,
12                 controlled, or in the possession or custody of, or in which an
13                 interest is held or claimed by, the Receivership Defendants, or the
14                 Receiver;
15              4. Excusing Debts owed to the Receivership Defendants;
16              5. Failing to notify the Receiver of any Asset, including accounts, of
17                 a Receivership Defendant held in any name other than the name of
18                 the Receivership Defendant, or by any Person or entity other than
19                 the Receivership Defendant, or failing to provide any assistance or
20                 information requested by the Receiver in connection with
21                 obtaining possession, custody, or control of such Assets;
22              6. Failing to create and maintain books, records, and accounts which,
23                 in reasonable detail, accurately, fairly, and completely reflect the
24                 incomes, assets, disbursements, transactions and use of monies by
25                 the Defendants or any other entity directly or indirectly under the
26                 control of the Defendants;
27              7. Doing any act or refraining from any act whatsoever to interfere
28                 with the Receiver’s taking custody, control, possession, or


                                           31
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
               Case 19-10655-JKO        Doc 148    Filed 11/04/19   Page 35 of 478




 1                      managing of the Assets or Documents subject to this Receivership;
 2                      or to harass or to interfere with the Receiver in any way; or to
 3                      interfere in any manner with the exclusive jurisdiction of this Court
 4                      over the Assets or Documents of the Receivership Defendants; or
 5                      to refuse to cooperate with the Receiver or the Receiver’s duly
 6                      authorized agents in the exercise of their duties or authority under
 7                      any Order of this Court; and
 8                8. Filing, or causing to be filed, any petition on behalf of the
 9                      Receivership Defendants for relief under the United States
10                      Bankruptcy Code, 11 U.S.C. § 101 et seq., or of any similar
11                      insolvency proceeding on behalf of the Receivership Defendants,
12                      without prior approval of the Receiver and the Court.
13                XVI. DELIVERY OF RECEIVERSHIP PROPERTY
14         IT IS FURTHER ORDERED that immediately upon service of this Order
15   upon them or upon their otherwise obtaining actual knowledge of this Order (or
16   within a period permitted by the Receiver), Defendants, and any other Person or
17   entity, including but not limited to Financial Institutions and Electronic Data Hosts,
18   shall transfer or deliver access to possession, custody, and control of the following
19   to the Receiver:
20         A. All Assets held by or for the benefit of the Receivership Defendants;
21         B. All Documents of the Receivership Defendants, including but not limited
22            to books and records of accounts, all financial and accounting records,
23            balance sheets, income statements, bank records (including monthly
24            statements, canceled checks, records of wire transfers, records of ACH
25            transactions, and check registers), client or customer lists, title
26            Documents and other papers;
27         C. All Assets belonging to members of the public now held by the
28            Receivership Defendants;


                                           32
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 36 of 478




 1         D. All keys, computer and other passwords, user names, entry codes,
 2             combinations to locks required to open or gain or secure access to any
 3             Assets or Documents of or pertaining to the Receivership Defendants,
 4             wherever located, including, but not limited to, access to their business
 5             premises, means of communication, accounts, computer systems (onsite
 6             and remote), Electronic Data Hosts, or other property;
 7         E. All Assets and Documents belonging to other Persons or entities whose
 8             interests are under the direction, possession, custody, or control of the
 9             Receivership Entities; and
10         F. Information identifying the accounts, employees, properties, or other
11             Assets or obligations of the Receivership Defendants.
12         IT IS FURTHER ORDERED that, in the event any Person or entity fails to
13   deliver or transfer immediately any Asset or otherwise fails to comply with any
14   provision of this Section, the Receiver may file ex parte with the court an Affidavit
15   of Non-Compliance regarding the failure. Upon filing of the affidavit, the Court
16   may authorize, without additional process or demand, Writs of Possession or
17   Sequestration or other equitable writs requested by the Receiver. The writs shall
18   authorize and direct the United States Marshal, any Deputy United States Marshal,
19   the Federal Bureau of Investigation, the Internal Revenue Service, or any sheriff or
20   deputy sheriff of any county to seize the Asset, Document, or other thing and to
21   deliver it to the Receiver.
22             XVII. COMPENSATION FOR TEMPORARY RECEIVER
23         IT IS FURTHER ORDERED that the Receiver and all personnel hired by
24   the Receiver as herein authorized, including counsel to the Receiver and
25   accountants, are entitled to reasonable compensation for the performance of duties
26   pursuant to this Order, and for the cost of actual out-of-pocket expenses incurred
27   by them, from the Assets now held by or in the possession or control of, or which
28   may be received by, the Receivership Defendants. The Receiver shall file with the


                                           33
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 37 of 478




 1   Court and serve on the parties periodic requests for the payment of such reasonable
 2   compensation, with the first such request filed no more than sixty (60) days after
 3   the date of this Order. The Receiver shall not increase the hourly rates used as the
 4   bases for such fee applications without prior approval of the Court.
 5                XVIII.        TEMPORARY RECEIVER’S REPORTS
 6          IT IS FURTHER ORDERED that the Receiver shall report to this Court
 7   on or before the date set for the hearing to Show Cause regarding the Preliminary
 8   Injunction, regarding: (1) the steps taken by the Receiver to implement the terms of
 9   this Order; (2) the value of all liquidated and unliquidated Assets of the
10   Receivership Defendants; (3) the sum of all liabilities of the Receivership
11   Defendants; (4) the steps the Receiver intends to take in the future to (a) prevent
12   any diminution in the value of Assets of the Receivership Defendants, (b) pursue
13   receivership Assets from third parties, and (c) adjust the liabilities of the
14   Receivership Defendants, if appropriate; (5) the Receiver’s assessment of whether
15   the business can be operated in compliance with this Order; and (6) any other
16   matters that the Receiver believes should be brought to the Court’s attention.
17   Provided, however, that if any of the required information would hinder the
18   Receiver’s ability to pursue receivership assets, the portions of the Receiver’s
19   report containing such information may be filed under seal and not served on the
20   parties.
21               XIX. WITHDRAWAL OF TEMPORARY RECEIVER
22          IT IS FURTHER ORDERED that the Receiver and any professional
23   retained by the Receiver, including but not limited to his or her attorneys and
24   accountants, be and are hereby authorized to reasonably withdraw from his or her
25   respective appointments or representations and apply for payment of their
26   professional fees and costs at any time after the date of this Order by sending
27   written notice seven days prior to the date of the intended withdrawal to the Court
28   and to the parties along with a written report reflecting the Receiver’s work,


                                           34
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
               Case 19-10655-JKO      Doc 148   Filed 11/04/19   Page 38 of 478




 1   findings, and recommendations, as well as an accounting for all funds and Assets
 2   in possession or control of the Receiver. The Receiver shall be exonerated and the
 3   receivership deemed closed seven days from the date of the mailing of such notice
 4   of withdrawal. The Court will retain jurisdiction to consider the fee applications,
 5   report, and accounting submitted by the Receiver and the professionals. The
 6   written notice shall include an interim report indicating the Receiver’s actions and
 7   reflect the knowledge gained along with the fee applications of the Receiver and
 8   his or her professionals. The report shall also contain the Receiver’s
 9   recommendations, if any.
10              XX. TEMPORARY RECEIVER’S BOND/LIABILITY
11         IT IS FURTHER ORDERED that no bond shall be required in connection
12   with the appointment of the Receiver. Except for an act of gross negligence, the
13   Receiver and the professionals shall not be liable for any loss or damage suffered
14   by any of the Defendants, their officers, agents, servants, employees, and attorneys
15   or any other person, by reason of any act performed or omitted to be performed by
16   the Receiver and the professionals in connection with the discharge of his or her
17   duties and responsibilities, including but not limited to their withdrawal from the
18   case under Section XIX.
19               XXI.      PROHIBITION ON RELEASE OF CONSUMER
20                                    INFORMATION
21         IT IS FURTHER ORDERED that, except as required by a law
22   enforcement agency, law, regulation, or court order, Defendants, and their
23   successors, assigns, officers, agents, servants, employees, and attorneys, and all
24   other Persons in active concert or participation with any of them, who receive
25   actual notice of this Order by personal service or otherwise, are temporarily
26   restrained and enjoined from disclosing, using, or benefitting from Consumer
27   information, including the name, address, telephone number, email address, social
28   security number, other identifying information, or any data that enables access to a


                                           35
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
               Case 19-10655-JKO        Doc 148   Filed 11/04/19   Page 39 of 478




 1   Consumer’s account (including a credit card, bank account, or other financial
 2   account), of any person, which any Defendant obtained prior to entry of this Order
 3   in connection with any Debt-Relief Product or Service.
 4                              XXII. STAY OF ACTIONS
 5         IT IS FURTHER ORDERED that:
 6         A. Except by leave of this Court, during pendency of the Receivership
 7            ordered herein, Defendants are hereby stayed from taking any action for,
 8            against, on behalf of, or in the name of any of the following: the
 9            Receivership Defendants, any of their subsidiaries, affiliates,
10            partnerships, Assets, Documents, or the Receiver or the Receiver’s duly
11            authorized agents acting in their capacities as such. Such hereby-stayed
12            actions include, but are not limited to, the following:
13               1. Commencing, prosecuting, continuing, entering, or enforcing any
14                   suit or proceeding, except that such actions may be filed to toll any
15                   applicable statute of limitations;
16               2. Attempting to foreclose, forfeit, alter, or terminate any interest in
17                   any Asset, whether such acts are part of a judicial proceeding, are
18                   acts of self-help, or otherwise;
19               3. Executing, issuing, serving, or causing the execution, issuance, or
20                   service of, any legal process, including, but not limited to,
21                   attachments, garnishments, subpoenas, writs of replevin, writs of
22                   execution, or any other form of process whether specified in this
23                   Order or not; or
24               4. Doing any act or thing whatsoever to interfere with the Receiver
25                   taking custody, control, possession, or management of the Assets
26                   or Documents subject to the Receivership, or to harass or interfere
27                   with the Receiver in any way, or to interfere in any manner with
28



                                           36
     _____________________________________________________________________________
                  TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
               Case 19-10655-JKO       Doc 148   Filed 11/04/19   Page 40 of 478




 1                   the exclusive jurisdiction of this Court over the Assets or
 2                   Documents of the Receivership Defendants; and
 3         B. This Section does not stay:
 4                1. The commencement or continuation of a criminal action or
 5                   proceeding;
 6                2. The commencement or continuation of an action or proceeding by
 7                   a state bar association to enforce its police or regulatory power;
 8                3. The commencement or continuation of an action or proceeding by
 9                   a governmental unit to enforce such governmental unit’s police or
10                   regulatory power;
11                4. The enforcement of a judgment, other than a money judgment,
12                   obtained in an action or proceeding by a governmental unit to
13                   enforce such governmental unit’s police or regulatory power;
14                5. The Bankruptcy Proceeding; or
15                6. The issuance to a Receivership Defendant of a notice of tax
16                   deficiency; and
17         C. Except as otherwise provided in this Order, all Persons and entities in
18            need of Documentation from the Receiver shall in all instances first
19            attempt to secure such information by submitting a formal written request
20            to the Receiver, and, if such request has not been responded to within
21            thirty days of receipt by the Receiver, any such Person or entity may
22            thereafter seek an Order of this Court with regard to the relief requested.
23                 XXIII.       LIMITED EXPEDITED DISCOVERY
24         IT IS FURTHER ORDERED that Plaintiff is granted leave to conduct
25   certain expedited discovery, and that, commencing with the time and date of this
26   Order, in lieu of the time periods, notice provisions, and other requirements of
27   Rules 19, 26, 30, 34, and 45 of the Federal Rules of Civil Procedure, and
28   applicable Local Rules, Plaintiff and the Receiver are granted leave to:


                                           37
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
              Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 41 of 478




 1        A. Take the deposition, on three days’ notice, of any Person or entity,
 2           whether or not a party, for the purpose of discovering: (1) the nature,
 3           location, status, and extent of Assets of Defendants or their affiliates or
 4           subsidiaries; (2) the nature, location, and identity of participants in and
 5           extent of Defendants’ business transactions and operations; (3)
 6           Documents reflecting Defendants’ business transactions and operations;
 7           and (4) compliance with this Order. The limitations and conditions set
 8           forth in Rules 30(a)(2) and 31(a)(2) of the Federal Rules of Civil
 9           Procedure regarding subsequent depositions shall not apply to
10           depositions taken pursuant to this Section. In addition, any such
11           depositions taken pursuant to this Section shall not be counted toward the
12           ten deposition limit set forth in Rules 30(a)(2)(A)(i) and 31(a)(2)(A)(i) of
13           the Federal Rules of Civil Procedure and shall not preclude Plaintiff from
14           subsequently deposing the same Person or entity in accordance with the
15           Federal Rules of Civil Procedure. Service of discovery upon a party,
16           taken pursuant to this Section, shall be sufficient if made by facsimile,
17           email or by overnight delivery. Any deposition taken pursuant to this
18           Subsection that has not been reviewed and signed by the deponent may
19           be used by any party for purposes of the preliminary injunction hearing;
20        B. Serve upon parties requests for production or inspection of Documents,
21           or interrogatories that require production, inspection, or interrogatory
22           responses within three calendar days of service, and may serve subpoenas
23           upon non-parties that direct production, inspection, or responses to
24           interrogatories within five calendar days of service, for the purpose of
25           discovering: 1) the nature, location, status, and extent of Assets of
26           Defendants or their affiliates or subsidiaries; (2) the nature, location,
27           identify of participants, and extent of Defendants’ transactions; (3)
28           Documents reflecting Defendants’ business transactions and operations;


                                           38
     _____________________________________________________________________________
                 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                Case 19-10655-JKO      Doc 148    Filed 11/04/19     Page 42 of 478




 1             and (4) enforcing compliance with this Order, provided that twenty-four
 2             hours’ notice shall be deemed sufficient for the production of any such
 3             Documents that are maintained or stored only as electronic data;
 4         C. Serve deposition notices and other discovery requests upon the parties to
 5             this action by facsimile or overnight courier, and take depositions by
 6             telephone or other remote electronic means;
 7         D. If a Defendant fails to appear for a properly noticed deposition or fails to
 8             comply with a request for production or inspection, seek to prohibit that
 9             Defendant from introducing evidence at any subsequent hearing;
10         E. Any expedited discovery taken pursuant to this Section is in addition to,
11             and is not subject to, the limits on discovery set forth in the Federal Rules
12             of Civil Procedure and the Local Rules of this Court. The expedited
13             discovery permitted by this Section does not require a meeting or
14             conference of the parties, pursuant to Fed. R. Civ. P. 26(d) & (f); and
15         F. The Parties are exempted from making initial disclosures under Fed. R.
16             Civ. P. 26(a)(1) until further order of this Court.
17                               XXIV.         MONITORING
18         IT IS FURTHER ORDERED that Plaintiff’s agents or representatives may
19   contact Defendants directly or anonymously for the purpose of monitoring
20   compliance with this Order, and may tape record any oral communications that
21   occur in the course of such contacts.
22              XXV. DEFENDANTS’ DUTY TO DISTRIBUTE ORDER
23         IT IS FURTHER ORDERED that Defendants shall immediately provide a
24   copy of this Order to each affiliate, subsidiary, division, sales entity, successor,
25   assign, officer, director, employee, independent contractor, client company,
26   Electronic Data Host, agent, authorized signatory to bank accounts, attorney,
27   spouse, and representative of Defendants and shall, within three calendar days
28   from the date of entry of this Order, provide Plaintiff’s counsel with a sworn


                                           39
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 43 of 478




 1   statement that: (a) confirms that Defendants have provided copies of the Order as
 2   required by this Section and (b) lists the names and addresses of each entity or
 3   Person to whom Defendants provided a copy of the Order. Furthermore,
 4   Defendants shall not take any action that would encourage officers, agents,
 5   directors, employees, salespersons, independent contractors, attorneys,
 6   subsidiaries, affiliates, successors, assigns, or other Persons or entities in active
 7   concert or participation with Defendants to disregard this Order or believe that they
 8   are not bound by its provisions. This Section does not apply to the Chapter 7
 9   Trustee.
10       XXVI.          DURATION OF TEMPORARY RESTRAINING ORDER
11         IT IS FURTHER ORDERED that the Temporary Restraining Order
12   granted herein shall expire on the 4th day of November, 2019, 4:00 o’clock p.m.,
13   unless within such time, the Order, for good cause shown, is extended with the
14   consent of the parties, or for an additional period not to exceed fourteen calendar
15   days, or unless it is further extended pursuant to Rule 65 of the Federal Rules of
16   Civil Procedure.
17     XXVII.        ORDER TO SHOW CAUSE REGARDING PRELIMINARY
18                                         INJUNCTION
19         IT IS FURTHER ORDERED that, pursuant to Rule 65(b) of the Federal
20   Rules of Civil Procedure, each of the Defendants shall appear before this Court on
21   the 4th day of November, 2019 at 3:00 o’clock p.m., to show cause, if there is any,
22   why this Court should not enter a preliminary injunction enjoining the violations of
23   law alleged in Plaintiff’s Complaint, continuing the freeze of their Assets, and
24   imposing such additional relief as may be appropriate.
25      XXVIII.      SERVICE OF PLEADINGS, MEMORANDA AND OTHER
26                                          EVIDENCE
27         IT IS FURTHER ORDERED that Defendants shall file any answering
28   affidavits, pleadings, or legal memoranda with the Court and serve the same on


                                           40
     _____________________________________________________________________________
                    TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
               Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 44 of 478




 1   Plaintiff’s counsel no later than five business days prior to the preliminary
 2   injunction hearing in this matter. Plaintiff may file responsive or supplemental
 3   pleadings, materials, affidavits, or memoranda with the Court and serve the same
 4   on counsel for Defendants no later than noon one business day prior to the
 5   preliminary injunction hearing in this matter. Provided that service shall be
 6   performed by personal or overnight delivery, facsimile, e-filing, or email, and
 7   Documents shall be delivered so that they shall be received by the other parties no
 8   later than noon (PT) on the appropriate dates listed in this Section.
 9          XXIX.        LIVE TESTIMONY; WITNESS IDENTIFICATION
10         IT IS FURTHER ORDERED that the question of whether this Court
11   should enter a preliminary injunction pursuant to Rule 65 of the Federal Rules of
12   Civil Procedure enjoining the Defendants during the pendency of this action shall
13   be resolved on the pleadings, declarations, exhibits, and memoranda filed by, and
14   oral argument of, the parties. Live testimony shall be heard only on further order of
15   this Court on motion filed with the Court and served on counsel for the other
16   parties at least five business days prior to the preliminary injunction hearing in this
17   matter. Such motion shall set forth the name, address, and telephone number of
18   each proposed witness, a detailed summary or affidavit disclosing the substance of
19   each proposed witness’ expected testimony, and an explanation of why the taking
20   of live testimony would be helpful to this Court. Any papers opposing a timely
21   motion to present live testimony or to present live testimony in response to live
22   testimony presented by another party shall be filed with this Court and served on
23   the other parties at least three business days prior to the preliminary injunction
24   hearing in this matter. Provided that service shall be performed by personal or
25   overnight delivery or by facsimile, e-filing, or email, and Documents shall be
26   delivered so that they shall be received by the other parities no later than 4 p.m.
27   (PT) on the appropriate dates listed in this Section. Provided further, however, that
28   an evidentiary hearing on Plaintiff’s request for a preliminary injunction is not


                                           41
     _____________________________________________________________________________
                    TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
               Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 45 of 478




 1   necessary unless Defendants demonstrate that they have, and intend to introduce,
 2   evidence that raises a genuine issue of material fact.
 3   XXX. CORRESPONDENCE WITH PLAINTIFF BUREAU OF CONSUMER
 4                               FINANCIAL PROTECTION
 5         IT IS FURTHER ORDERED that, for the purposes of this Order, because
 6   mail addressed to the Bureau is subject to delay due to heightened security
 7   screening, all correspondence and service of pleadings on Plaintiff Bureau of
 8   Consumer Financial Protection shall be sent either via electronic submission
 9   through the court’s electronic filing system or via commercial overnight express
10   delivery to:
11         Bureau of Consumer Financial Protection
12         Office of Enforcement
13         1700 G Street, NW
14         Washington, DC 20552
15         ATTN: Sarah Preis
16         Email: Sarah.Preis@cfpb.gov
17                       XXXI.        SERVICE OF THIS ORDER
18         IT IS FURTHER ORDERED that copies of this Order may be served by
19   facsimile transmission, email, personal or overnight delivery, or US Mail, by
20   Plaintiff’s agents and employees or any local, state, or federal law enforcement
21   agency or by private process server, upon any Financial Institution or other entity
22   or Person that may have possession, custody, or control of any Documents or
23   Assets of any Defendant, or that may otherwise be subject to any provision of this
24   Order. Service upon any branch, subsidiary, affiliate, or office shall effect service
25   upon the entire entity.
26
27
28



                                           42
     _____________________________________________________________________________
                    TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
               Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 46 of 478




 1                   XXXII.       RETENTION OF JURISDICTION
 2         IT IS FURTHER ORDERED that this Court shall retain jurisdiction of
 3   this matter for all purposes of construction, modification, and enforcement of this
 4   Order.
 5
 6   SO ORDERED, this 21st day of October, 2019, at 4:00 p.m. (PDT).
 7
 8
 9
10                                                United States District Court Judge
11                                                James V Selna
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                           43
     _____________________________________________________________________________
                   TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 47 of 478




                                         Attachment A

                                Individual Financial Statement

Instructions:
1     Complete all items. Enter “None” or “N/A” (“Not Applicable”) where appropriate. If
you cannot fully answer a question, explain why.
2    “Dependents” include your live-in companion, dependent children, or any other person,
whom you or your spouse (or your children’s other parent) claimed or could have claimed as a
dependent for tax purposes at any time during the past five years.
3      “Assets” and “Liabilities” include ALL assets and liabilities, located within the United
States or elsewhere, whether held individually or jointly.
4     Attach continuation pages as needed. On the financial disclosure form, state next to the
Item number that the Item is being continued. On the continuation page(s), identify the Item
number(s) being continued.
5     Type or print legibly.
6     Initial each page in the space provided in the lower right corner.
7     Sign and date the completed financial disclosure form on the last page.



Penalty for False Information:
Federal law provides that any person may be imprisoned for not more than five years, fined, or
both, if such person in any:
(a) “matter within the jurisdiction of the executive, legislative, or judicial branch of the
Government of the United States, knowingly and willfully (1) falsifies, conceals or covers up by
any trick, scheme, or device a material fact; (2) makes any false, fictitious or fraudulent
statement or representation; or (3) makes or uses any false writing or document knowing the
same to contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);
(2) “statement under penalty of perjury as permitted under section 1746 of title 28, United
States Code, willfully subscribes as true any material matter which he does not believe to be
true” (18 U.S.C. § 1621); or
                                                                                            Att. A
                                                                               To Proposed TRO
                                                                  [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148   Filed 11/04/19   Page 48 of 478



(3) “(...statement under penalty of perjury as permitted under section 1746 of title 28, United
States Code) in any proceeding before or ancillary to any court or grand jury of the United
States knowingly makes any false material declaration or makes or uses any other
information...knowing the same to contain any false material declaration.” (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may
be not more than the greater of (i) $250,000 for an individual or $500,000 for a corporation, or
(ii) if the felony results in pecuniary gain to any person or pecuniary loss to any person other
than the defendant, the greater of twice the gross gain or loss. 18 U.S.C. § 3571.




2                                                                         Initials _____
                                                                                        Att. A
                                                                             To Proposed TRO
                                                                  [Filed Under Temporary Seal]
                Case 19-10655-JKO     Doc 148   Filed 11/04/19   Page 49 of 478



                             BACKGROUND INFORMATION

Item 1. Information About You

Your Full Name ______________________________________________ Social Security No.
___________________

Place of Birth _________________________ Date of Birth _______________ Drivers License
No. _______________

Current Address ______________________________________________________ From
(Date) _________________

Rent or Own? _________ Telephone No. _________________________ Facsimile No.
_________________________

E-Mail Address _____________________________________ Internet Home Page
____________________________

Previous Addresses for past five years:

Address___________________________________________ Rent or Own?________
From/Until_________________

Address___________________________________________ Rent or Own?________
From/Until_________________

Identify any other name(s) and/or social security number(s) you have used, and the time
period(s) during which they were

used_________________________________________________________________________
_______________

Marital Status: ______________________ (i.e., Married, Single, Divorced, Widowed,
Separated)

3                                                                        Initials _____
                                                                                       Att. A
                                                                            To Proposed TRO
                                                                 [Filed Under Temporary Seal]
                Case 19-10655-JKO    Doc 148   Filed 11/04/19   Page 50 of 478



Item 2. Information About Your Spouse or Live-In Companion

Spouse/Companion's Name _____________________________________ Social Security No.
___________________

Place of Birth _________________________________________ Date of Birth
_______________________________

Identify any other name(s) and/or social security number(s) your spouse/companion has used,
and the time period(s) during

which they were used
________________________________________________________________________

Address (if different from yours)
_____________________________________________________________________

From (Date) _________________________ Rent or Own?___________ Telephone
No._________________________

Employer’s Name and Address
______________________________________________________________________

Job Title _______________________ Years in Present Job _________ Annual Gross
Salary/Wages $______________


Item 3. Information About Your Previous Spouse

Previous Spouse’s Name & Address
__________________________________________________________________

___________________________________ Social Security No. _________________ Date of
Birth _______________



4                                                                       Initials _____
                                                                                      Att. A
                                                                           To Proposed TRO
                                                                [Filed Under Temporary Seal]
               Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 51 of 478



Item 4. Contact Information

Name & Address of Nearest Living Relative or Friend
___________________________________________________

____________________________________________________________ Telephone No.
______________________

Item 5. Information About Dependents Who Live With You

Name ______________________________________________ Date of Birth
________________________________

Relationship _________________________________________ Social Security No.
____________________________

Name ______________________________________________ Date of Birth
________________________________

Relationship _________________________________________ Social Security No.
____________________________

Name ______________________________________________ Date of Birth
________________________________

Relationship _________________________________________ Social Security No.
____________________________

Item 6. Information About Dependents Who Do Not Live With You

Name & Address
___________________________________________________________________________
_____

Date of Birth __________________ Relationship ____________________ Social Security
No.___________________

5                                                                     Initials _____
                                                                                    Att. A
                                                                         To Proposed TRO
                                                              [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 52 of 478



Name Address
___________________________________________________________________________
_______

Date of Birth __________________ Relationship ____________________ Social Security
No.__________________

Name & Address
___________________________________________________________________________
_____

Date of Birth __________________ Relationship ____________________ Social Security
No.__________________

Item 7. Employment Information

Provide the following information for this year-to-date and for each of the previous five full
years, for each company of which you were a director, officer, employee, agent, contractor,
participant or consultant at any time during that period. “Income” includes, but is not limited to,
any salary, commissions, draws, consulting fees, loans, loan payments, dividends, royalties or
other benefits for which you did not pay (e.g., health insurance premiums, automobile lease or
loan payments) received by you or anyone else on your behalf.

Company Name & Address
________________________________________________________________________

Dates Employed: From (Month/Year) ________________________ To (Month/Year)
_________________________

Positions Held with Beginning and Ending Dates
________________________________________________________

Income Received: This year-to-date: $______________________ _______:
$______________________

                   20_____: $______________________ _______:
                   $______________________
6                                                                           Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
              Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 53 of 478




                _______: $______________________ _______:
                $______________________

Company Name & Address
________________________________________________________________________

Dates Employed: From (Month/Year) ________________________ To (Month/Year)
_________________________

Positions Held with Beginning and Ending Dates
________________________________________________________

Income Received: This year-to-date: $______________________ _______:
$______________________

                20_____: $______________________ _______:
           $______________________

                _______: $______________________ _______:
           $______________________

Company Name & Address
________________________________________________________________________

Dates Employed: From (Month/Year) ________________________ To (Month/Year)
_________________________

Positions Held with Beginning and Ending Dates
________________________________________________________

Income Received: This year-to-date: $______________________ _______:
$______________________

                20_____: $______________________ _______:
           $______________________

7                                                                    Initials _____
                                                                                   Att. A
                                                                        To Proposed TRO
                                                             [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 54 of 478



                  _______: $______________________ _______:
             $______________________

Item 8. Pending Lawsuits Filed by You or Your Spouse

List all pending lawsuits that have been filed by you or your spouse in court or before an
administrative agency.
(List lawsuits that resulted in final judgments or settlements in Items 16 and 25).

Opposing Party’s Name & Address
___________________________________________________________________

Court’s Name & Address
___________________________________________________________________________

Docket No. _________________ Relief Requested ____________________ Nature of Lawsuit
___________________

____________________________________ Status
______________________________________________________

Item 9. Pending Lawsuits Filed Against You or Your Spouse

List all pending lawsuits that have been filed against you or your spouse in court or before an
administrative agency.
(List lawsuits that resulted in final judgments or settlements in Items 16 and 25).

Opposing Party’s Name & Address
___________________________________________________________________

Court’s Name & Address
___________________________________________________________________________

Docket No. _________________ Relief Requested ____________________ Nature of Lawsuit
___________________

____________________________________ Status
8                                                                          Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
             Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 55 of 478



______________________________________________________




9                                                                   Initials _____
                                                                                  Att. A
                                                                       To Proposed TRO
                                                            [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148   Filed 11/04/19   Page 56 of 478



Item 10. Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by you, your
spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any
of your dependents. On a separate page, describe the contents of each box.

Owner’s Name        Name & Address of Depository Institution                                Box
No.
________________    _______________________________________________
     ________________________

___________________________________________________________
     ______________________

Item 11. Business Interests

List all businesses for which you, your spouse, or your dependents are an officer or director.

Business’ Name & Address
________________________________________________________________________

Business Format (e.g., corporation) __________________________ Description of Business
_____________________

______________________________ Position(s) Held, and By Whom
_______________________________________

Business’ Name & Address
________________________________________________________________________

Business Format (e.g., corporation) __________________________ Description of Business
_____________________

______________________________ Position(s) Held, and By Whom
_______________________________________

Business’ Name & Address
10                                                                         Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
               Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 57 of 478



________________________________________________________________________

Business Format (e.g., corporation) __________________________ Description of Business
_____________________

______________________________ Position(s) Held, and By Whom
_______________________________________




11                                                                    Initials _____
                                                                                    Att. A
                                                                         To Proposed TRO
                                                              [Filed Under Temporary Seal]
                Case 19-10655-JKO     Doc 148   Filed 11/04/19   Page 58 of 478



              FINANCIAL INFORMATION: ASSETS AND LIABILITIES

REMINDER: “Assets” and “Liabilities” include ALL assets and liabilities, located within
the United States or elsewhere, whether held individually or jointly.

Item 12. Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking
accounts, savings accounts, and certificates of deposit, held by you, your spouse, or your
dependents, or held by others for the benefit of you, your spouse, or your dependents. The term
“cash” includes currency and uncashed checks.

Cash on Hand $____________________________ Cash Held For Your Benefit
$____________________________

Name on Account Name & Address of Financial Institution                      Account No.
     Current Balance

_________________ __________________________________________________
_______________ $__________

_________________ __________________________________________________
_______________ $__________

_________________ __________________________________________________
_______________ $__________

_________________ __________________________________________________
_______________ $__________

_________________ __________________________________________________
_______________ $__________

_________________ __________________________________________________
_______________ $__________


12                                                                       Initials _____
                                                                                       Att. A
                                                                            To Proposed TRO
                                                                 [Filed Under Temporary Seal]
                 Case 19-10655-JKO       Doc 148    Filed 11/04/19   Page 59 of 478



Item 13. U.S. Government Securities

List all U.S. Government securities, including but not limited to, savings bonds, treasury bills,
and treasury notes, held by you, your spouse, or your dependents, or held by others for the
benefit of you, your spouse, or your dependents.

Name on Account Type of Obligation             Security Amount       Maturity
Date ____________________ ________________________         $________________
      _____________

___________________ ________________________                         $________________
     _____________

___________________ _________________________                        $________________
     _____________

Item 14. Publicly Traded Securities and Loans Secured by Them

List all publicly traded securities, including but not limited to, stocks, stock options, registered
and bearer bonds, state and municipal bonds, and mutual funds, held by you, your spouse, or
your dependents, or held by others for the benefit of you, your spouse, or your dependents.

Issuer _______________________________ Type of Security __________________ No. of
Units Owned ________

Name on Security _________________ Current Fair Market Value $______ Loan(s) Against
Security $__________

Broker House, Address _____________________________________________ Broker
Account No. ____________




13                                                                            Initials _____
                                                                                            Att. A
                                                                                 To Proposed TRO
                                                                      [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 60 of 478



Item 15. Other Business Interests

List all other business interests, including but not limited to, non-public corporations,
subchapter-S corporations, limited liability corporations (“LLCs”), general or limited
partnership interests, joint ventures, sole proprietorships, and oil and mineral leases, held by
you, your spouse, or your dependents, or held by others for the benefit of you, your spouse, or
your dependents.

Business Format _____________________________ Business’ Name &
Address____________________________

_________________________________________________________________________
Ownership % ________

Owner (e.g., self, spouse) ________________________________ Current Fair Market Value
$_________________


Item 16. Monetary Judgments or Settlements Owed to You, Your Spouse, or Your
Dependents

List all monetary judgments or settlements owed to you, your spouse, or your dependents.

Opposing Party’s Name &
Address__________________________________________________________________

Court’s Name & Address __________________________________________________

Docket No. _______________ Nature of Lawsuit ______________________________

Date of Judgment _______________ Amount $____________

Item 17. Other Amounts Owed to You, Your Spouse, or Your Dependents

List all other amounts owed to you, your spouse, or your dependents.

Debtor’s Name, Address, & Telephone No.
14                                                                         Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148   Filed 11/04/19   Page 61 of 478



_________________________________________________________

Original Amount Owed $_____________ Current Amount Owed $____________ Monthly
Payment $____________

Item 18. Life Insurance Policies

List all life insurance policies held by you, your spouse, or your dependents.

Insurance Company’s Name, Address, & Telephone
No._________________________________________________

Insured ________________________ Beneficiary _______________________ Face Value
$___________________

Policy No. _________________ Loans Against Policy $________________ Surrender Value
$_________________

Insurance Company’s Name, Address, & Telephone
No.________________________________________________

Insured ________________________ Beneficiary _______________________ Face Value
$___________________

Policy No. _________________ Loans Against Policy $________________ Surrender Value
$__________________




15                                                                         Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 62 of 478



Item 19. Deferred Income Arrangements

List all deferred income arrangements, including but not limited to, deferred annuities, pensions
plans, profit-sharing plans, 401(k) plans, IRAs, Keoghs, and other retirement accounts, held by
you, your spouse, or your dependents, or held by others for the benefit of you, your spouse, or
your dependents.

Name on Account _________________________ Type of Plan ___________________ Date
Established _________

Trustee or Administrator’s Name, Address & Telephone
No.______________________________________________

Account No. ______________________ Surrender Value $___________________


Name on Account _________________________ Type of Plan ___________________ Date
Established__________

Trustee or Administrator’s Name, Address & Telephone
No.______________________________________________

Account No. ______________________ Surrender Value $___________________

Item 20. Personal Property

List all personal property, by category, whether held for personal use or for investment,
including but not limited to, furniture and household goods of value, computer equipment,
electronics, coins, stamps, artwork, gemstones, jewelry, bullion, other collectibles, copyrights,
patents, and other intellectual property, held by you, your spouse, or your dependents, or held
by others for the benefit of you, your spouse, or your dependents.

Property Category        Name of Owner              Property Location Acquisition Current
(e.g., artwork, jewelry)                                              Cost        Value
___________________ __________________              _______________$_________$________

___________________ __________________              _______________$_________$________
16                                                                         Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 63 of 478




___________________ __________________              _______________$_________$________

___________________ __________________              _______________$_________$________

___________________ __________________              _______________$_________$________

Item 21. Cars, Trucks, Motorcycles, Boats, Airplanes, and Other Vehicles

List all cars, trucks, motorcycles, boats, airplanes, and other vehicles owned or operated by you,
your spouse, or your dependents, or held by others for the benefit of you, your spouse, or your
dependents.

Vehicle Type __________________ Make ____________________ Model
______________________ Year_______

Registered Owner’s Name __________________________ Registration State &
No.__________________________

Address of Vehicle’s Location
_____________________________________________________________________

Purchase Price $_______________Current Value $_______________ Account/Loan
No._______________________

Lender’s Name and
Address______________________________________________________________________
_

Original Loan Amount $______________ Current Loan Balance $______________ Monthly
Payment $_________

Mileage ________________ Current condition of car ________________________ Purchase
date ______________


Vehicle Type __________________ Make ____________________ Model
17                                                                         Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 64 of 478



______________________ Year ______

Registered Owner’s Name __________________________ Registration State & No.
_________________________

Address of Vehicle’s Location
_____________________________________________________________________

Purchase Price $_______________Current Value $_______________ Account/Loan
No._______________________

Lender’s Name and
Address______________________________________________________________________
_

Original Loan Amount $______________ Current Loan Balance $______________ Monthly
Payment $_________

Mileage ________________ Current condition of car ________________________ Purchase
date ______________

Item 22. Real Property

List all real estate held by you, your spouse, or your dependents, or held by others for the
benefit of you, your spouse, or your dependents.

Type of Property________________________________ Property’s
Location_______________________________

Name(s) on Title and Ownership
Percentages__________________________________________________________

Acquisition Date________________ Purchase Price $____________________ Current Value
$_________________

Basis of Valuation_______________________________________ Loan or Account
No._______________________
18                                                                          Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
              Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 65 of 478




Lender’s Name and
Address______________________________________________________________________
_

Current Balance On First Mortgage $__________________ Monthly Payment $__________

Other Loan(s) (describe)_________________________________________ Current Balance
$_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent
Received $___________

Type of Property________________________________ Property’s
Location_______________________________

Name(s) on Title and Ownership
Percentages__________________________________________________________

Acquisition Date________________ Purchase Price $____________________ Current Value
$_________________

Basis of Valuation_______________________________________ Loan or Account
No._______________________

Lender’s Name and
Address______________________________________________________________________
_

Current Balance On First Mortgage $__________________ Monthly Payment $__________

Other Loan(s) (describe)_________________________________________ Current Balance
$_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent
Received $___________

19                                                                   Initials _____
                                                                                   Att. A
                                                                        To Proposed TRO
                                                             [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 66 of 478



Item 23. Other Assets

List all other assets not identified above, held by you, your spouse, or your dependents,
including but not limited to, patents, and other intellectual property, and cryptocurrency and
other virtual currencies.

Description                   Location                                               Acquisition
Current
                                                           Cost     Value
____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

Item 24. Credit Cards

List each credit card held by you, your spouse, or your dependents. Also list any other credit
cards that you, your spouse, or your dependents use.

Name of Credit Card (e.g., Visa,       Account No.                 Name(s) on Current
     Minimum
MasterCard, Department Store)                              Account      Balance         Monthly
Payment

_______________________ __________________ _________________ $____________
$________________

20                                                                         Initials _____
                                                                                          Att. A
                                                                               To Proposed TRO
                                                                    [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 67 of 478



_______________________ __________________ _________________ $____________
$________________

_______________________ __________________ _________________ $____________
$________________

_______________________ __________________ _________________ $____________
$________________

_______________________ __________________ _________________ $____________
$________________

_______________________ __________________ _________________ $____________
$________________

Item 25. Taxes Payable

List all taxes, such as income taxes or real estate taxes, owed by you, your spouse, or your
dependants.

Type of Tax                   Amount Owed                Year Incurred
_______________________________ $__________________________
___________________

_______________________________ $__________________________
___________________

_______________________________ $__________________________
___________________

_______________________________ $__________________________
___________________

Item 26. Judgments or Settlements Owed

List all judgments or settlements owed by you, your spouse, or your dependents.

21                                                                         Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 68 of 478



Opposing Party’s Name &
Address__________________________________________________________________

Court’s Name & Address____________________________________________________

Docket No._____________ Nature of Lawsuit_______________________________________

Date______________ Amount $______________


Item 27. Other Loans and Liabilities

List all other loans or liabilities in your, your spouse’s, or your dependents’ names.

Name & Address of Lender/Creditor
________________________________________________________________

Nature of Liability___________________________________ Name(s) on
Liability__________________________

Date of Liability___________________ Amount Borrowed $________________ Current
Balance $______________

Payment Amount $_____________________ Frequency of Payment_____________________

Name & Address of Lender/Creditor
________________________________________________________________

Nature of Liability_____________________________________ Name(s) on
Liability_________________________

Date of Liability___________________ Amount Borrowed $________________ Current
Balance $______________

Payment Amount $_____________________ Frequency of Payment_____________________


22                                                                          Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
     Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 69 of 478




23                                                          Initials _____
                                                                          Att. A
                                                               To Proposed TRO
                                                    [Filed Under Temporary Seal]
                 Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 70 of 478



                           OTHER FINANCIAL INFORMATION

Item 28. Tax Returns

List all federal tax returns that were filed during the last three years by or on behalf of you, your
spouse, or your dependents. Provide a copy of each signed tax return that was filed during the
last three years, including amendments (if any).

Tax Year        Name(s) on Return                                  Refund
Expected ___________
____________________________________________________________ $_______________

___________ ____________________________________________________________
$_______________

___________ ____________________________________________________________
$_______________




24                                                                           Initials _____
                                                                                           Att. A
                                                                                To Proposed TRO
                                                                     [Filed Under Temporary Seal]
                 Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 71 of 478



Item 29. Applications for Credit

List all applications for bank loans or other extensions of credit that you, your spouse, or your
dependents have submitted within the last two years. Provide a copy of each application,
including all attachments.

Name(s) on Application   Name & Address of Lender
________________________
____________________________________________________________

________________________
____________________________________________________________

Item 30. Trusts and Escrows

List all funds or other assets that are being held in trust or escrow by any person or entity for
you, your spouse, or your dependents. Also list all funds or other assets that are being held in
trust or escrow by you, your spouse, or your dependents, for any person or entity. Provide
copies of all executed trust documents.

Trustee or Escrow Agent’s               Date         Grantor             Beneficiaries
      Present Market
Name & Address                   Established                                              Value of
Assets

______________________________ ______________ _________________ ______________
$______________

______________________________ ______________ _________________ ______________
$______________

______________________________ ______________ _________________ ______________
$______________

______________________________ ______________ _________________ ______________
$______________

25                                                                           Initials _____
                                                                                          Att. A
                                                                               To Proposed TRO
                                                                    [Filed Under Temporary Seal]
                 Case 19-10655-JKO      Doc 148   Filed 11/04/19   Page 72 of 478



______________________________ ______________ _________________ ______________
$______________

Item 31. Transfers of Assets

List each person to whom you have transferred, in the aggregate, more than $2,500 in funds or
other assets during the previous three years by loan, gift, sale, or other transfer. For each such
person, state the total amount transferred during that period.

Transferee’s Name, Address, & Relationship          Property     Aggregate Transfer          Type
                                              of Transfer Transferred Value Date
                                                    (e.g., Loan, Gift)

______________________________________ ________________ $____________
__________ _______________

______________________________________ ________________ $____________
__________ _______________

______________________________________ ________________ $____________
__________ _______________

______________________________________ ________________ $____________
__________ _______________

______________________________________ ________________ $____________
__________ _______________


Item 32. Foreign Assets and Liabilities

In any location outside of the United States, do you, or your spouse, or your dependents have
any of the following:

Do you, your spouse, or your dependents have, in any location outside of the United States, any
assets not otherwise identified in this disclosure (including, but not limited to real estate, bank
accounts, investments, or other financial products)?
26                                                                          Initials _____
                                                                                          Att. A
                                                                               To Proposed TRO
                                                                    [Filed Under Temporary Seal]
                 Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 73 of 478




                                                                                 Yes/No

Do you, your spouse or your dependents have, in any location outside of the United States, any
liabilities not otherwise identified in this disclosure (including, but not limited to liens, credit
card debt or other financial obligations)?

                                                                                 Yes/No

If yes, to any of the above, please separately list below each asset and liability category, their
location, the acquisition cost and current value. Please include a copy of all Reports of Foreign
Bank and Financial Accounts (FBAR) filings.

Asset Category                     Asset Location                                Acquisition
      Current
                                                         Cost      Value
____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

Liability Category          Liability Location                                   Acquisition
       Current
                                                         Cost      Value
____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

27                                                                           Initials _____
                                                                                           Att. A
                                                                                To Proposed TRO
                                                                     [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 74 of 478



____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________


Item 33. Foreign Positions

Do you, your spouse, or your dependents hold any corporate office or partnership in any entity
located outside the United States? Yes/No

Are you, your spouse, or your dependents the trustee of any trust or similar entity outside the
United States? Yes/No

If yes to any of the above, please separately list below the name of the entity or trust, the
country under which such entity or trust is organized and your position with such entity or trust.
Please include a copy of all organizing documents for each such corporation, partnership or
trust.

Name of Entity or Trust  Country
________________________
____________________________________________________________

________________________
____________________________________________________________
Item 34. Credit Report

Provide a copy of you and your spouse’s most recent credit report, within the last 60 days upon
receipt of this form, from a credit bureau.

                          SUMMARY FINANCIAL SCHEDULES

Item 35. Combined Balance Sheet for You, Your Spouse, and Your Dependents

 ASSETS                                           LIABILITIES
 Cash on Hand (Item                               Credit Cards (Item 23)
28                                                                         Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
                 Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 75 of 478




 12)

 Cash in Financial                             Motor Vehicles -
 Institutions (Item 12)                        Liens (Item 21)
 U.S. Government                               Real Property -
 Securities (Item 13)                          Encumbrances (Item
                                               22)
 Publicly Traded                               Loans Against
 Securities (Item 14)                          Publicly Traded
                                               Securities (Item 14)
 Other Business                                Taxes Payable (Item
 Interests (Item 15)                           24)
 Judgments or                                  Judgments or
 Settlements Owed to                           Settlements Owed
 You (Item 16)                                 (Item 25)
 Other Amounts Owed
 to You (Item 17)
 Surrender Value of                            Other Loans and
 Life Insurance (Item                          Liabilities (Item 26)
 18)
 Deferred Income
 Arrangements (Item
 19)
 Personal Property                             Other Liabilities
 (Item 20)                                     (Itemize):

 Motor Vehicles (Item
 21)

 Real Property (Item
 22)



 Other Assets
 (Itemize):
29                                                                        Initials _____
                                                                                         Att. A
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
     Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 76 of 478




30                                                          Initials _____
                                                                          Att. A
                                                               To Proposed TRO
                                                    [Filed Under Temporary Seal]
                Case 19-10655-JKO     Doc 148   Filed 11/04/19   Page 77 of 478



Item 36. Combined Average Monthly Income and Expenses for You, Your Spouse, and
Your Dependents for
the Last 6 Months

Provide the average monthly income and expenses for you, your spouse, and your dependents
for the last 6 months. Do not include credit card payments separately; rather, include credit
card expenditures in the appropriate categories.




31                                                                       Initials _____
                                                                                       Att. A
                                                                            To Proposed TRO
                                                                 [Filed Under Temporary Seal]
                         Case 19-10655-JKO         Doc 148      Filed 11/04/19   Page 78 of 478




     INCOME                                              EXPENSES
     Salary - After Taxes                $___________    Mortgage Payments for Residence(s)                 $___________
     Fees, Commissions, and              $___________                                                       $___________
                                                         Property Taxes for Residence(s)
     Royalties
                                                         Rental Property Expenses, Including
     Interest                            $___________    Mortgage Payments, Taxes, and Insurance            $___________
                                                         Car or Other Vehicle Lease or Loan
     Dividends and Capital Gains         $___________    Payments                                           $___________
     Gross Rental Income                 $___________    Food Expenses                                      $___________
     Profits from Sole Proprietorships   $___________    Clothing Expenses                                  $___________
     Distributions from Partnerships,
     S-Corporations, and LLCs            $___________    Utilities                                          $___________
     Distributions from Trusts and
     Estates                             $___________    Medical Expenses, Including Insurance              $___________
     Distributions from Deferred
     Income Arrangements                 $___________    Other Insurance Premiums                           $___________
     Social Security Payments            $___________    Other Transportation Expenses                      $___________
     Alimony/Child Support               $___________                                                       $___________
                                                         Other Household Expenses
     Received
     Gambling Income                     $___________    Other Expenses (Itemize)
     Other Income (Itemize)                              _________________________________                  $___________
     __________________________          $___________    _________________________________                  $___________
     __________________________          $___________    _________________________________                  $___________
     __________________________          $___________    _________________________________                  $___________
     Total Income                        $ ___________   Total Expenses                                     $___________




32                                                                                         Initials _____
                                                                                                               Att. A
                                                                                                    To Proposed TRO
                                                                                         [Filed Under Temporary Seal]
                  Case 19-10655-JKO    Doc 148   Filed 11/04/19   Page 79 of 478



                                        ATTACHMENTS

Item 37. Documents Attached to this Financial Disclosure Form

Indicate whether the below documents are being submitted with the financial disclosure form.

Item No. Document        Description of Document
Relates To

Item 27.          Tax Returns                                               Yes/No
Item 28.          Applications of Credit                                         Yes/No
Item 31.          Reports of Foreign Bank & Financial Account Filings                 Yes/No
Item 32.          Credit Report                                                  Yes/No

List any other documents and forms as well as the item number, in the financial form, the document
relates to and a description of the document.

Item No. Document         Description of Document
Relates To
______________
      _______________________________________________________________________

______________
     _______________________________________________________________________

______________
     _______________________________________________________________________

______________
     _______________________________________________________________________

______________
     _______________________________________________________________________

______________
     _______________________________________________________________________

WARNING:
33                                                                      Initials _____
                                                                                             Att. A
                                                                                  To Proposed TRO
                                                                       [Filed Under Temporary Seal]
                  Case 19-10655-JKO      Doc 148   Filed 11/04/19   Page 80 of 478



I am submitting this financial disclosure form with the understanding that it may affect action by the
Bureau of Consumer Financial Protection or a federal court. The responses I have provided to the
items above are true and contain all the requested facts and information of which I have notice or
knowledge. I have provided all requested documents in my custody, possession, or control. I further
declare that I have no assets, owned either directly or indirectly (including owned by my spouse or
dependents), or income of any nature other than as shown in, or attached to, this statement. I
understand that the Bureau of Consumer Financial Protection is a federal agency and that this
financial disclosure form is being submitted in connection with a matter within its jurisdiction. I
understand that a false, fictitious, or fraudulent statement or representation on this form, or the
concealment of any material fact is a violation of Federal law and could result in criminal prosecution,
and significant civil penalties. I understand that a false statement is punishable under 18 U.S.C. §§
1001 and 3571 by imprisonment of not more than five years and/or a fine of up to $250,000.

Executed on:
______________________                                    _________________________________

(Date)                                                    Signature




34                                                                        Initials _____
                                                                                               Att. A
                                                                                    To Proposed TRO
                                                                         [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 81 of 478


                                          Attachment B

                                Corporate Financial Statement


Instructions:
1     Complete all items. Enter “None” or “N/A” (“Not Applicable”) where appropriate. If
you cannot fully answer a question, explain why.
2     In completing this financial disclosure form, “the corporation” refers not only to this
corporation but also to each of its predecessors that are not named defendants in this action.
3     When an Item asks for information about assets or liabilities “held by the corporation,”
include ALL such assets and liabilities, located within the United States or elsewhere, held by
the corporation or held by others for the benefit of the corporation.
4     Attach continuation pages as needed. On the financial disclosure form, state next to the
Item number that the Item is being continued. On the continuation page(s), identify the Item
number being continued.
5     Type or print legibly.
6      The corporation’s Chief Executive Officer and its Chief Financial Officer (or their
equivalents in a non-public company or an entity without such named positions) must sign and
date the completed financial disclosure form on the last page and initial each page in the space
provided in the lower right corner.



Penalty for False Information:
Federal law provides that any person may be imprisoned for not more than five years, fined, or
both, if such person in any:

(a) “matter within the jurisdiction of the executive, legislative, or judicial branch of the
Government of the United States, knowingly and willfully – (1) falsifies, conceals or covers up
by any trick, scheme, or device a material fact; (2) makes any false, fictitious or fraudulent
statement or representation; or (3) makes or uses any false writing or document knowing the
same to contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);
(2) “statement under penalty of perjury as permitted under section 1746 of title 28, United
States Code, willfully subscribes as true any material matter which he does not believe to be
                                                                                            Att. B
                                                                               To Proposed TRO
                                                                  [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148   Filed 11/04/19   Page 82 of 478
true” (18 U.S.C. § 1621); or
(3) “(...statement under penalty of perjury as permitted under section 1746 of title 28, United
States Code) in any proceeding before or ancillary to any court or grand jury of the United
States knowingly makes any false material declaration or makes or uses any other
information...knowing the same to contain any false material declaration.” (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may
be not more than the greater of (i) $250,000 for an individual or $500,000 for a corporation, or
(ii) if the felony results in pecuniary gain to any person or pecuniary loss to any person other
than the defendant, the greater of twice the gross gain or loss. 18 U.S.C. § 3571.




2                                                                 Initials ______   ______

                                                                                         Att. B
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148   Filed 11/04/19   Page 83 of 478
                             BACKGROUND INFORMATION

Item 1. General Information
Corporation’s Full Name
___________________________________________________________________________
Primary Business Address ______________________________________________________
From (Date) _________
Telephone No. _____________________________ Fax No.
_____________________________

E-Mail Address________________________ Internet Home
Page________________________

 All other current addresses & previous addresses for past five years, including post office boxes
and mail drops:

Address____________________________________________________________
From/Until____________________

Address____________________________________________________________
From/Until____________________

Address____________________________________________________________
From/Until____________________

All predecessor companies for past five years:

Name & Address _________________________________________________________
From/Until ______________

Name & Address _________________________________________________________
From/Until ______________

Name & Address _________________________________________________________
3                                                                 Initials ______   ______

                                                                                         Att. B
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
               Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 84 of 478
From/Until ______________
Item 2. Legal Information

Federal Taxpayer ID No. _________________________ State & Date of Incorporation
_________________________

State Tax ID No. ____________________ State ________________ Profit or Not For Profit
_____________________

Corporation’s Present Status: Active ________________ Inactive _______________
Dissolved __________________

If dissolved: Date dissolved _________________________ By Whom
______________________________________

Reasons
_____________________________________________________________________________
____________

Fiscal Year-End (Mo./Day) ________________ Corporation’s Business Activities
_____________________________
Item 3. Registered Agent
Name of Registered Agent
__________________________________________________________________________

Address __________________________________________________________ Telephone
No. __________________




4                                                             Initials ______   ______

                                                                                     Att. B
                                                                          To Proposed TRO
                                                               [Filed Under Temporary Seal]
                 Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 85 of 478
Item 4. Principal Stockholders

List all persons and entities that own at least 5% of the corporation’s stock.

Name                              Address                                   % Owned

______________________            ___________________________________ __________

______________________            ___________________________________ __________

______________________            ___________________________________ __________

Item 5. Board Members

List all members of the corporation’s Board of Directors.

Name                              Address                                   % Owned        Term
(From/Until)

                                                                                      __________
       __________

                                                                                      __________
       __________

                                                                                      __________
       __________

Item 6. Officers

List all of the corporation’s officers, including de facto officers (individuals with significant
management responsibility whose titles do not reflect the nature of their positions).

Name                              Address                                   % Owned

                                                                                      __________

                                                                                      __________
5                                                                   Initials ______    ______

                                                                                           Att. B
                                                                                To Proposed TRO
                                                                     [Filed Under Temporary Seal]
                 Case 19-10655-JKO      Doc 148   Filed 11/04/19   Page 86 of 478


                                                                                     __________

Item 7. Businesses Related to Corporation

List all corporations, partnerships, and other business entities in which this corporation has an
ownership interest.

Name                             Address                           Business Activities
     % Owned
______________________    ___________________________                      _____________
     _________ __________


       ______________________          __________


       ______________________          __________

State which of these businesses, if any, has ever transacted business with the corporation
_______________________




6                                                                  Initials ______    ______

                                                                                          Att. B
                                                                               To Proposed TRO
                                                                    [Filed Under Temporary Seal]
                 Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 87 of 478
Item 8. Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation’s
principal stockholders, board members, or officers (i.e., the individuals listed in Items 4 - 6
above) have an ownership interest.

Individual’s Name         Business Name       Address        Business Activities
      % Owned
___________________       ___________________      _________________
      ________________________

___________________      ____________________ _________________
     ________________________

                                                            _________________
       ________________________

State which of these businesses, if any, have ever transacted business with the corporation
_______________________

Item 9. Related Individuals

List all related individuals with whom the corporation has had any business transactions during
the three previous fiscal years and current fiscal year-to-date. A “related individual” is a
spouse, sibling, parent, or child of the principal stockholders, board members, and officers (i.e.,
the individuals listed in Items 4 - 6 above).

Name                             Address                            Relationship
       Business Activities
                                                                            _____________      ____
       _________________

                                                                            _________________
       _________________

                                                                            __________________
       _________________

7                                                                   Initials ______   ______

                                                                                           Att. B
                                                                                To Proposed TRO
                                                                     [Filed Under Temporary Seal]
                 Case 19-10655-JKO      Doc 148   Filed 11/04/19   Page 88 of 478
Item 10. Outside Accountants

List all outside accountants retained by the corporation during the last three years.

Name                             Firm Name                         Address
     CPA/PA?
______________________    ___________________________                      _____________
     _________ __________

______________________   ___________________________
     ______________________   __________

______________________   ___________________________
     ______________________   __________

Item 11. Corporation’s Recordkeeping

List all individuals within the corporation with responsibility for keeping the corporation’s
financial books and records for the last three years.
Name                      Address                      Telephone Number         Position(s)
Held
                                                                     _____________ ____
       ________________

                                                                           _____________      ____
       ________________

                                                                           _____________      ____
       ________________




8                                                                  Initials ______   ______

                                                                                          Att. B
                                                                               To Proposed TRO
                                                                    [Filed Under Temporary Seal]
                 Case 19-10655-JKO      Doc 148   Filed 11/04/19   Page 89 of 478
Item 12. Attorneys

List all attorneys retained by the corporation during the last three years.
Name                              Firm Name                               Address

      _________________________

______________________   ___________________________________
     _________________________

______________________   ___________________________________
     _________________________

Item 13. Pending Lawsuits Filed By Corporation

List all pending lawsuits that have been filed by the corporation in court or before an
administrative agency.
(List lawsuits that resulted in final judgments or settlements in favor of the corporation in Item
25).

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
Address______________________________________________________________________
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________

____________________________________
Status______________________________________________________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
Address______________________________________________________________________
9                                                                  Initials ______   ______

                                                                                          Att. B
                                                                               To Proposed TRO
                                                                    [Filed Under Temporary Seal]
                 Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 90 of 478
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________

____________________________________
Status______________________________________________________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
Address______________________________________________________________________
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________

____________________________________
Status______________________________________________________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
Address______________________________________________________________________
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________

____________________________________
Status______________________________________________________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
10                                                              Initials ______   ______

                                                                                      Att. B
                                                                           To Proposed TRO
                                                                [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 91 of 478
Address______________________________________________________________________
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________

____________________________________
Status______________________________________________________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
Address______________________________________________________________________
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________

____________________________________
Status______________________________________________________

Item 14. Current Lawsuits Filed Against Corporation

List all pending lawsuits that have been filed against the corporation in court or before an
administrative agency.
(List lawsuits that resulted in final judgments, settlements, or orders in Items 26 - 27).

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
Address______________________________________________________________________
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________

11                                                                 Initials ______   ______

                                                                                         Att. B
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
              Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 92 of 478
____________________________________
Status______________________________________________________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
Address______________________________________________________________________
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________

____________________________________
Status______________________________________________________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
Address______________________________________________________________________
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________

____________________________________
Status______________________________________________________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
Address______________________________________________________________________
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________
12                                                           Initials ______   ______

                                                                                   Att. B
                                                                        To Proposed TRO
                                                             [Filed Under Temporary Seal]
                Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 93 of 478


____________________________________
Status______________________________________________________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
Address______________________________________________________________________
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________

____________________________________
Status______________________________________________________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name &
Address______________________________________________________________________
_____

Docket No._________________ Relief Requested____________________ Nature of
Lawsuit____________________

____________________________________
Status______________________________________________________

Item 15. Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date _________________ Termination Date _________________ Docket No.
__________________

If State Court: Court & County _______________________ If Federal Court: District
13                                                                Initials ______   ______

                                                                                        Att. B
                                                                             To Proposed TRO
                                                                  [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 94 of 478
__________________________

Disposition
_____________________________________________________________________________
_________

Item 16. Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the
       corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents of each box.

Owner’s Name                    Name and Address of Depository Institution Box No.

                                                                                        __________

                                                                                        __________

                                                                                        __________




14                                                                 Initials ______   ______

                                                                                         Att. B
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
                 Case 19-10655-JKO       Doc 148    Filed 11/04/19   Page 95 of 478


                                 FINANCIAL INFORMATION

REMINDER: When an Item asks for information about assets or liabilities “held by the
corporation,” include ALL such assets and liabilities, located within the United States or
elsewhere, held by the corporation or held by others for the benefit of the corporation.


Item 17. Tax Returns

List all federal and state corporate tax returns filed for the last three complete fiscal years.
Attach copies of all returns.

 Federal/State/Both Tax Year Tax Due             Tax Paid      Tax Due      Tax Paid      Preparer’s
                             Federal             Federal       State        State         Name




Item 18. Financial Statements

List all financial statements that were prepared for the corporation’s last three complete fiscal
years and for the current fiscal year-to-date. Attach copies of all statements, providing audited
statements if available.

 Year            Balance          Profit and        Cash Flow        Changes in         Audited?
                 Sheet            Loss              Statement        Owner’s
                                  Statement                          Equity




15                                                                   Initials ______   ______

                                                                                            Att. B
                                                                                 To Proposed TRO
                                                                      [Filed Under Temporary Seal]
     Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 96 of 478




16                                                  Initials ______   ______

                                                                          Att. B
                                                               To Proposed TRO
                                                    [Filed Under Temporary Seal]
Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 97 of 478
                 Case 19-10655-JKO      Doc 148   Filed 11/04/19   Page 98 of 478
List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills,
or treasury notes, held by the corporation. Also list all publicly traded securities, including but
not limited to, stocks, stock options, registered and bearer bonds, state and municipal bonds,
and mutual funds, held by the corporation.

Issuer _________________________________ Type of Security/Obligation
__________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity
Date _______________

Issuer _________________________________ Type of Security/Obligation
__________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity
Date _______________




18                                                                 Initials ______   ______

                                                                                          Att. B
                                                                               To Proposed TRO
                                                                    [Filed Under Temporary Seal]
                 Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 99 of 478


Item 22. Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property________________________________ Property’s
Location__________________________________

Name(s) on Title and Ownership
Percentages___________________________________________________________

Current Value $____________________ Loan or Account No.
__________________________

Lender’s Name and
Address______________________________________________________________________
___

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current
Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent
Received $_____________

Type of Property________________________________ Property’s
Location__________________________________

Name(s) on Title and Ownership
Percentages___________________________________________________________

Current Value $____________________ Loan or Account No.
__________________________

Lender’s Name and
Address______________________________________________________________________
___
19                                                                  Initials ______   ______

                                                                                           Att. B
                                                                                To Proposed TRO
                                                                     [Filed Under Temporary Seal]
                Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 100 of 478


Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current
Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent
Received $_____________

Item 23. Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the
corporation, including but not limited to, inventory, machinery, equipment, furniture, vehicles,
customer lists, computer software, patents, other
intellectual property, cryptocurrencies., and other virtual currencies.

Property Category                  Property Location                                   Acquisition
     Current
                                                         Cost      Value
____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________




20                                                                Initials ______   ______

                                                                                         Att. B
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
                 Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 101 of 478
Item 24. Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for
the corporation.

Trustee or Escrow Agent’s                      Description and Location of Assets
      Present Market
Name & Address                                                                        Value of Assets

______________________________________
_______________________________________ $_________________

______________________________________
_______________________________________ $_________________

______________________________________
_______________________________________ $_________________

______________________________________
_______________________________________ $_________________

______________________________________
_______________________________________ $_________________

______________________________________
_______________________________________ $_________________

______________________________________
_______________________________________ $_________________


Item 25. Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party’s Name &
Address___________________________________________________________________

21                                                                  Initials ______     ______

                                                                                           Att. B
                                                                                To Proposed TRO
                                                                     [Filed Under Temporary Seal]
               Case 19-10655-JKO    Doc 148   Filed 11/04/19   Page 102 of 478
Court’s Name & Address____________________________________________________
Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________
Amount $____________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name & Address____________________________________________________
Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________
Amount $____________

Item 26. Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the
corporation.

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name & Address____________________________________________________
Docket No._____________

Nature of Lawsuit_______________________________________ Date______________
Amount $______________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name & Address____________________________________________________
Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________
Amount $____________

22                                                             Initials ______   ______

                                                                                      Att. B
                                                                           To Proposed TRO
                                                                [Filed Under Temporary Seal]
                Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 103 of 478
Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name & Address____________________________________________________
Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________
Amount $____________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name & Address____________________________________________________
Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________
Amount $____________

Opposing Party’s Name &
Address___________________________________________________________________

Court’s Name & Address____________________________________________________
Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________
Amount $____________

Item 27. Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state
government entities.

Name of Agency ___________________________________________ Contact Person
__________________________

Address _____________________________________________________________ Telephone
No. _______________

23                                                                Initials ______   ______

                                                                                         Att. B
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
                Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 104 of 478
Agreement Date ______________ Nature of Agreement
__________________________________________________

Item 28. Credit Cards

List all of the corporation’s credit cards and store charge accounts and the individuals
authorized to use them.

Name of Credit Card or Store                         Names of Authorized Users and Positions
Held

______________________________________
     __________________________________________

______________________________________
     __________________________________________

_____________________________________
     __________________________________________




24                                                                 Initials ______   ______

                                                                                          Att. B
                                                                               To Proposed TRO
                                                                    [Filed Under Temporary Seal]
                Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 105 of 478
Item 29. Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly
compensated employees, independent contractors, and consultants (other than those individuals
listed in Items 5 and 6 above), for the two previous fiscal years and current fiscal year-to-date.
“Compensation” includes, but is not limited to, salaries, commissions, consulting fees, bonuses,
dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits” include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums,
whether paid directly to the individuals, or paid to others on their behalf.

Name/Position                   Current Fiscal             1 Year Ago 2 Years Ago
    Compensation or
                          Year-to-Date                                              Type of Benefits

_____________________________ $____________ $___________ $____________
___________________________

_____________________________ $____________ $___________ $____________
___________________________

_____________________________ $____________ $___________ $____________
___________________________

_____________________________ $____________ $___________ $____________
___________________________

_____________________________ $____________ $___________ $____________
___________________________

Item 30. Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in
Items 5 and 6, for the current fiscal year-to-date and the two previous fiscal years.
“Compensation” includes, but is not limited to, salaries, commissions, consulting fees,
dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits” include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums,
whether paid directly to the individuals, or paid to others on their behalf.

25                                                                Initials ______     ______

                                                                                         Att. B
                                                                              To Proposed TRO
                                                                   [Filed Under Temporary Seal]
             Case 19-10655-JKO   Doc 148    Filed 11/04/19   Page 106 of 478


Name/Position              Current Fiscal            1 Year Ago 2 Years Ago
    Compensation or
                      Year-to-Date                                             Type of Benefits

_____________________________ $____________ $___________ $____________
___________________________

_____________________________ $____________ $___________ $____________
___________________________

_____________________________ $____________ $___________ $____________
___________________________

_____________________________ $____________ $___________ $____________
___________________________

_____________________________ $____________ $___________ $____________
___________________________

_____________________________ $____________ $___________ $____________
___________________________

_____________________________ $____________ $___________ $____________
___________________________




26                                                           Initials ______     ______

                                                                                    Att. B
                                                                         To Proposed TRO
                                                              [Filed Under Temporary Seal]
                Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 107 of 478
Item 31. Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary
course of business, during the previous three years, by loan, gift, sale, or other transfer.

Transferee’s Name, Address, & Relationship       Property        Aggregate   Transfer
                                    Type of Transfer Transferred       Value       Date
                                    (e.g., Loan, Gift)

______________________________________ ________________ $____________
__________ _________________

______________________________________ ________________ $____________
__________ _________________

______________________________________ ________________ $____________
__________ _________________

______________________________________ ________________ $____________
__________ _________________

______________________________________ ________________ $____________
__________ _________________

Item 32. Foreign Assets and Liabilities

Does the corporation have, in any location outside of the United States, any assets not otherwise
identified in this disclosure (including but not limited to real estate, bank accounts, investments,
or other financial products)?
                                                                                              Yes/N
                                                                                        o

Does the corporation have, in any location outside of the United States, any liabilities not
otherwise identified in this disclosure (including but not limited to liens, credit card debt, or
other financial obligations)?
                                                                                               Yes/N
                                                                                        o

27                                                                 Initials ______   ______

                                                                                          Att. B
                                                                               To Proposed TRO
                                                                    [Filed Under Temporary Seal]
                 Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 108 of 478
If yes, please separately list below each asset and liability category, their location, the
acquisition cost and current value. Please include a copy of all Reports of Foreign Bank and
Financial Accounts (FBAR) filings.

Asset Category                    Asset Location            Acquisition Current
                                                            Cost        Value
____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

Liability Category                Liability Location
Acquisition Current
                                                           Cost        Value
____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________

____________________________ _____________________________________________
$__________ $_________




28                                                              Initials ______   ______

                                                                                       Att. B
                                                                            To Proposed TRO
                                                                 [Filed Under Temporary Seal]
                Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 109 of 478


Item 33. Foreign Positions

Does the corporation hold any corporate office or partnership in any entity located outside the
United States?      Yes/No
Is the corporation the trustee of any trust or similar entity outside the United States?
             Yes/No

If yes to any of the above, please separately list below the name of the entity or trust and the
country under which such entity or trust is located. Please include a copy of all organizing
documents for each such corporation, partnership or trust.

Name of the Entity or Trust        Country
______________________________________
_______________________________________

______________________________________
_______________________________________

______________________________________
_______________________________________

______________________________________
_______________________________________


Item 34. Credit Report

Provide a copy of the corporation’s most recent credit report, within the last 60 days upon
receipt of this form, from a credit bureau.

Item 35. Documents Attached to Financial Disclosure Form

Indicate whether the below documents are being submitted with the financial disclosure form.

Item 17.            Tax Returns                                                       Yes/No
Item 18.            Financial Statements                                                   Yes/No
Item 32.            Reports of Foreign Bank & Financial Account Filings
29                                                                  Initials ______     ______

                                                                                          Att. B
                                                                               To Proposed TRO
                                                                    [Filed Under Temporary Seal]
                Case 19-10655-JKO    Doc 148    Filed 11/04/19   Page 110 of 478
      Yes/No
Item 33.           Credit Report                                                      Yes/No

List any other documents and forms as well as the item number, in the financial form, the
document relates to and a description of the document.

Item No. Document         Description of Document
Relates To
______________
      _______________________________________________________________________

______________
     _______________________________________________________________________

______________
     _______________________________________________________________________

______________
     _______________________________________________________________________

______________
     _______________________________________________________________________

______________
     _______________________________________________________________________




30                                                               Initials ______   ______

                                                                                        Att. B
                                                                             To Proposed TRO
                                                                  [Filed Under Temporary Seal]
                 Case 19-10655-JKO     Doc 148    Filed 11/04/19   Page 111 of 478


WARNING:
“The Corporation” submits this financial disclosure form with the understanding that it may
affect action by the Bureau of Consumer Financial Protection or a federal court. The responses
the Corporation has provided to the items above are true and contain all the requested facts and
information of which the Corporation has notice or knowledge. The Corporation has provided
all requested documents in its custody, possession, or control. The Corporation further declares
that it has no assets, owned either directly or indirectly, or income of any nature other than as
shown in, or attached to, this statement. The Corporation understands that the Bureau of
Consumer Financial Protection is a federal agency and that this financial disclosure form is
being submitted in connection with a matter within its jurisdiction. The Corporation
understands that a false, fictitious, or fraudulent statement or representation on this form, or the
concealment of any material fact is a violation of Federal law and could result in criminal
prosecution, and significant civil penalties. The Corporation understands that a false statement
is punishable under 18 U.S.C. §§ 1001 and 3571 by imprisonment of not more than five years
and/or a fine of up to $250,000.


Executed on:
______________________
      _________________________________
(Date)                                                      Signature

                                                     _________________________________
                                                     [Name of Chief Executive Officer, Chief
                                                     Executive Officer of [name of
                                                     respondent/corporation]


Executed on:
______________________
      _________________________________
(Date)                                                      Signature

                                                     _________________________________
                                                     [Name of Chief Financial Officer, Chief
                                                     Financial Officer of [name of
                                                     respondent/corporation]
31                                                                  Initials ______   ______

                                                                                           Att. B
                                                                                To Proposed TRO
                                                                     [Filed Under Temporary Seal]
     Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 112 of 478




32                                                  Initials ______   ______

                                                                           Att. B
                                                                To Proposed TRO
                                                     [Filed Under Temporary Seal]
          Case 19-10655-JKO     Doc 148   Filed 11/04/19   Page 113 of 478



                                  Attachment C

                    Consent to Release of Financial Records

I,_________________________________________, of
___________________________________________ (City, State), do hereby
direct any bank, saving and loan association, credit union, depository institution,
finance company, commercial lending company, credit card processor, credit card
processing entity, automated clearing house, network transaction processor, bank
debit processing entity, brokerage house, escrow agent, money market or mutual
fund, title company, commodity trading company, trustee, or person that holds,
controls, or maintains custody of assets, wherever located, that are owned or
controlled by me or at which there is an account of any kind upon which I am
authorized to draw, and its officers, employees, and agents, to disclose all
information and deliver copies of all documents of every nature in its possession or
control which relate to the said accounts to any attorney of the Bureau of
Consumer Financial Protection, and to give evidence relevant thereto, in the matter
of the Bureau of Consumer Financial Protection et al., v. Consumer Advocacy
Center Inc., et al., now pending in the United States District Court for the Central
District of California, and this shall be irrevocable authority for so doing.

This direction is intended to apply to the laws of countries other than the Unites
States of America which restrict or prohibit disclosure of bank or other financial
information without the consent of the holder of the account, and shall be
construed as consent with respect hereto, and the same shall apply to any of the
accounts for which I may be a relevant principal.

Dated:____________________________________

Signature:_________________________________

Printed Name:______________________________




                                                                            Att. C
                                                                 To Proposed TRO
                                                      [Filed Under Temporary Seal]
               Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 114 of 478




                         EXHIBIT “B”




[12339-001/3098728/1]
    Case 19-10655-JKO       Doc 148    Filed 11/04/19   Page 115 of 478


Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 1 of 49 Page ID #:11
          Case 19-10655-JKO        Doc 148      Filed 11/04/19       Page 116 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 2 of 49 Page ID #:12


1    BUREAU OF CONSUMER FINANCIAL PROTECTION
     SARAH PREIS (D.C. Bar No. 997387)
2    (Pro Hac Vice application pending)
     Tel.: (202)-435-9318 / Email: sarah.preis@cfpb.gov
3    JESSE STEWART (N.Y. Bar No. 5145495)
     (Pro Hac Vice application pending)
4    Tel: (202)-435-9651 / Email: jesse.stewart@cfpb.gov
     1700 G Street, NW
5    Washington, DC 20552
     Fax: (202) 435-5471
6
  LEANNE E. HARTMANN (CA Bar No. 264787)
7 (Local Counsel for the Bureau of Consumer Financial Protection)
  301 Howard Street, Suite 1200
8 San Francisco, CA 94105
  Email: leanne.hartmann@cfpb.gov/Fax: (415) 844-9788
9
     Attorneys for Plaintiffs the Bureau of Consumer Financial Protection
10
   THE STATE OF MINNESOTA
11 EVAN ROMANOFF (Attorney Reg. No. 0398223)
   (Pro Hac Vice application pending)
12 Assistant Attorney General
   445 Minnesota Street, Suite 1200
13 St. Paul, MN 55101-2130
   Tel.: (651) 757-1454/Email: evan.romanoff@ag.state.mn.us
14
     Attorneys for Plaintiff the State of Minnesota
15
     THE STATE OF NORTH CAROLINA
16   M. LYNNE WEAVER (N.C. Bar No. 19397)
     (Pro Hac Vice application pending)
17   MICHAEL T. HENRY (N.C. Bar No. 35338)
     (Pro Hac Vice application pending)
18   North Carolina Department of Justice
     114 W. Edenton Street
19   Raleigh, NC 27602
     Tel.: (919) 716-6000 / Fax: (919) 716-6050
20   Emails: lweaver@ncdoj,gov/mhenry@ncdoj.gov
21   Attorneys for Plaintiff the State of North Carolina
22   THE PEOPLE OF THE STATE OF CALIFORNIA
     MICHAEL N. FEUER, City Attorney (CA Bar No. 111529)
23   MARY CLARE MOLIDOR, Chief Assistant City Attorney, (CA Bar No. 82404)
     CHRISTINA V. TUSAN, Supervising Deputy City Attorney (CA Bar No. 192203)
24   OFFICE OF THE CITY ATTORNEY
     200 N. Main Street, 500 City Hall East
25   Los Angeles, California 90012-4131
     Tel: (213) 978-8707/Fax: (213) 978-8112
26   Emails: christina.tusan@lacity.org / william.pletcher@lacity.org
27   Attorneys for Plaintiff the People of the State of California
28   //


                                              1
                           COMPLAINT [FILED UNDER TEMPORARY SEAL]
         Case 19-10655-JKO       Doc 148     Filed 11/04/19    Page 117 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 3 of 49 Page ID #:13


1                          UNITED STATES DISTRICT COURT
2                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
3 Bureau of Consumer Financial           )    Case No:
  Protection; State of Minnesota, by its )
4 Attorney General, Keith Ellison;       )
  State of North Carolina, ex rel.       )    COMPLAINT
5 Joshua H. Stein, Attorney General;     )
  and The People of The State of         )    [FILED UNDER TEMPORARY
6 California, Michael N. Feuer, Los      )    SEAL]
  Angeles City Attorney,                 )
 7                                       )
           Plaintiffs,                   )
 8                                       )
           v.                            )
 9                                       )
   Consumer Advocacy Center Inc., d/b/a )
10 Premier Student Loan Center; True     )
   Count Staffing Inc., d/b/a SL Account )
11 Management; Prime Consulting LLC, )
   d/b/a Financial Preparation Services; )
12 Albert Kim, a/k/a Albert King; Kaine )
   Wen, a/k/a Wenting Kaine Dai, Wen )
13 Ting Dai, and Kaine Wen Dai; and      )
   Tuong Nguyen, a/k/a Tom Nelson,       )
14                                       )
          Defendants, and                )
15                                       )
   Infinite Management Corp., f/k/a      )
16 Infinite Management Solutions Inc.;   )
   Hold The Door, Corp.; and TN          )
17 Accounting Inc.,                      )
                                         )
18                                       )
          Relief Defendants.             )
19                                       )
                                         )
20                                       )
                                         )
21                                       )
                                         )
22
23                                    INTRODUCTION
24         1.    The Bureau of Consumer Financial Protection (Bureau) brings this action
25   under §§ 1031, 1036(a), 1054, and 1055 of the Consumer Financial Protection Act of
26   2010 (CFPA), 12 U.S.C. §§ 5531, 5536(a), 5564 & 5565; and under and the
27   Telemarketing and Consumer Fraud and Abuse Prevention Act (Telemarketing Act), 15
28   U.S.C. §§ 6101-6108, and its implementing regulation, the Telemarketing Sales Rule


                                            2
                         COMPLAINT [FILED UNDER TEMPORARY SEAL]
         Case 19-10655-JKO           Doc 148      Filed 11/04/19      Page 118 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 4 of 49 Page ID #:14


1    (TSR), 16 C.F.R. Part 310. The Bureau brings this action in connection with the offer and
2    sale of debt-relief services by Defendants Consumer Advocacy Center Inc., d/b/a Premier
3    Student Loan Center; True Count Staffing Inc., d/b/a SL Account Management; Prime
4    Consulting LLC, d/b/a Financial Preparation Services (collectively, Student Loan Debt
5    Relief Companies); and Defendants Albert Kim, Kaine Wen, and Tuong Nguyen
6    (collectively, Individual Defendants).
7          2.     The State of Minnesota, by its Attorney General, brings this enforcement
8    action to, among other things, obtain temporary, preliminary, and permanent injunctive
9    relief, restitution, and civil penalties for Defendants’ acts or practices in violation of the
10   Minnesota Prevention of Consumer Fraud Act (MNCFA), Minn. Stat. §§ 325F.68-.694;
11   the Minnesota Uniform Deceptive Trade Practices Act (MNDTPA), Minn. Stat. §§
12   325D.43-.48; and the Telemarketing Act, 15 U.S.C. §§ 6101-6108, and its implementing
13   regulation, the TSR, 16 C.F.R. Part 310, in connection with Defendants’ offer and sale of
14   student loan debt relief services.
15         3.     The State of North Carolina, by its Attorney General, brings this
16   enforcement action to, among other things, obtain temporary, preliminary, and permanent
17   injunctive relief, restitution, and civil penalties for Defendants’ acts or practices in
18   violation of North Carolina’s Debt Adjusting Act, N.C. Gen. Stat. § 14-423, et seq.,
19   (NCDAA); North Carolina’s Unfair and Deceptive Practices Act, N.C. Gen. Stat. § 75-
20   1.1 (NCUDPA); North Carolina’s Telephonic Seller Registration Act, N.C. Gen. Stat. §
21   66-260, et seq. (NCTSRA); and the Telemarketing Act, 15 U.S.C. §§ 6101-6108, and its
22   implementing regulation, the TSR, 16 C.F.R. Part 310, in connection with Defendants’
23   offer and sale of student loan debt relief services.
24         4.     The People of the State of California (collectively with the States of
25   Minnesota and North Carolina, “the States”), by and through Michael N. Feuer, Los
26   Angeles City Attorney, bring this enforcement action to, among other things, obtain
27   temporary, preliminary, and permanent injunctive relief, restitution, and civil penalties
28   for Defendants’ acts or practices in violation of California’s Business and Professions


                                               3
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
         Case 19-10655-JKO          Doc 148     Filed 11/04/19     Page 119 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 5 of 49 Page ID #:15


1    Code section 17200 et seq. (the “Unfair Competition Law,” or “UCL”) and the
2    Telemarketing Act, 15 U.S.C. §§ 6101-6108, and its implementing regulation, the TSR,
3    16 C.F.R. Part 310, in connection with Defendants’ offer and sale of student loan debt
4    relief services.
5           5.     Defendants engage in an ongoing, unlawful student-loan debt-relief business
6    that harms consumers nationwide by charging consumers unlawful advance fees and
7    misrepresenting the terms and conditions of their services.
8           6.     The Bureau and the States bring this action to stop Defendants’ unlawful
9    conduct, obtain relief for harmed consumers, and impose civil money penalties on
10   Defendants for their unlawful actions.
11          7.     The Bureau and the States also bring this action against Infinite Management
12   Corporation, Hold the Door, Corp., and TN Accounting Inc., as Relief Defendants.
13                                          OVERVIEW
14          8.     Since at least 2015, Defendants have operated a debt-relief enterprise that
15   has deceived thousands of federal-student-loan borrowers and collected over $71 million
16   in illegal advance fees, in violation of the TSR, the CFPA, the MNCFA, the MNDTPA,
17   the NCDAA, the NCUDPA, the NCTSRA, and the UCL. Unless otherwise noted, all
18   references to “borrowers” and “consumers” in this Complaint include California,
19   Minnesota, and North Carolina borrowers and consumers.
20          9.     Defendants purported to help federal-student-loan borrowers obtain loan
21   forgiveness or lower monthly payments through programs administered by the U.S.
22   Department of Education (DOE).
23          10.    In fact, Defendants deceived consumers, including by misrepresenting that
24   consumers would qualify for loan forgiveness in a matter of months, when forgiveness
25   takes at least 10 years of on-time payments and is determined by DOE; that consumers
26   were approved for lower monthly payments on their student loans, when consumers had
27   not yet been approved or when the new payment amount was approved based on false
28   information; and that consumers’ lower payments would be permanent when in fact they


                                               4
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
         Case 19-10655-JKO          Doc 148      Filed 11/04/19      Page 120 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 6 of 49 Page ID #:16


1    are subject to change based on changes in the consumers’ family size, income, and
2    marital status.
3          11.    Defendants also falsely told consumers, or led consumers to believe, that the
4    consumers’ payments to the companies would go toward paying consumers’ student loan
5    balances.
6          12.    When describing the services offered to consumers, Defendants failed to
7    inform consumers that it was their practice to request that consumers’ loans be placed
8    into forbearance or that interest would continue to accrue during the forbearance period,
9    thereby increasing consumers’ overall loan balances.
10         13.    When describing the services offered to consumers, Defendants failed to
11   inform consumers that it was their practice to submit false information about consumers’
12   income, family size, and marital status on loan adjustment applications in order to try to
13   qualify consumers for lower monthly payments.
14         14.    Defendants charged consumers an initial fee, typically totaling about $900-
15   $1,300 for Defendants’ services. This initial fee was typically levied well before
16   consumers had been accepted to and made a payment under their new loan agreement, in
17   violation of the TSR.
18         15.    Defendants conducted this operation using a network of several interrelated
19   companies and over a dozen unregistered and fictitious business names. These entities
20   operated as a common enterprise controlled by the individual defendants, rendering each
21   jointly and severally liable for the illegal acts of all Defendants.
22                                JURISDICTION AND VENUE
23         16.    This Court has subject-matter jurisdiction over this action because it is
24   brought under federal consumer financial law, 12 U.S.C. § 5565(a)(1), presents a federal
25   question, 28 U.S.C. § 1331, and is brought by an agency of the United States, 28 U.S.C.
26   § 1345. This Court has supplemental jurisdiction over the States’ claims pursuant to 28
27   U.S.C. § 1367.
28         17.    Venue is proper in this district pursuant to 12 U.S.C. § 5564(f) because


                                                5
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
         Case 19-10655-JKO          Doc 148      Filed 11/04/19         Page 121 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 7 of 49 Page ID #:17


1    Defendants are located, reside, or do business in this district.
2                                             PARTIES
3          18.     The Bureau is an independent agency charged with enforcing violations of
4    Federal consumer financial laws. 12 U.S.C. § 5491(a). The Bureau has independent
5    litigating authority, 12 U.S.C. § 5564(a)-(b), including the authority to enforce the
6    CFPA’s prohibitions on unfair, deceptive, and abusive acts or practices, 12 U.S.C. §§
7    1031, 1036, and the TSR as it applies to persons subject to the CFPA, 15
8    U.S.C. §§6102(c), 6105(d).
9          19.     The Bureau has authority to bring civil actions against persons violating
10   federal consumer-financial laws and to “seek all appropriate legal and equitable relief
11   including a permanent or temporary injunction as permitted by law.” 12 U.S.C.
12   § 5564(a).
13         20.     Keith Ellison, Attorney General of the State of Minnesota, is authorized
14   under Minnesota Statutes chapter 8; the MNCFA, Minn. Stat. § 325F.69, et seq.; the
15   MNDTPA, Minn. Stat. § 325D.44, et seq.; the Telemarketing Act, 15 U.S.C. § 6103(a);
16   and has common law authority, including parens patriae authority, to bring this action on
17   behalf of the State of Minnesota and its citizens to enforce Minnesota law.
18         21.     The State of North Carolina is acting through its Attorney General Joshua H.
19   Stein, pursuant to authority granted by Chapters 14, 66, 75, and 114 of the North Carolina
20   General Statutes, and the Telemarketing Act, 15 U.S.C. § 6103(a).
21         22.     Michael N. Feuer, City Attorney for the City of Los Angeles, is authorized
22   under California Business and Professions Code section 17200 et seq. (the “Unfair
23   Competition Law,” or “UCL”) and the Telemarketing Act, 15 U.S.C. § 6103(a) and
24   (f)(2), to bring this civil law enforcement action on behalf of the People of the State of
25   California.
26         23.     Defendant Consumer Advocacy Center Inc. (CAC) is a California
27   corporation formed on August 6, 2014, and it has held itself out as doing business at the
28   following addresses: 173 Technology Drive, Suite 202, Irvine, CA 92618; 29901 Santa


                                              6
                           COMPLAINT [FILED UNDER TEMPORARY SEAL]
         Case 19-10655-JKO            Doc 148   Filed 11/04/19     Page 122 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 8 of 49 Page ID #:18


1    Margarita Pkwy, Suite 200F, Rancho Santa Margarita, CA 92688; 8 Hughes Parkway,
2    Irvine, CA 92618; 5350 E Suncrest Rd., Anaheim, CA 92807; and 24852 Acropolis Dr.,
3    Mission Viejo, CA 92691.
4           24.    CAC has held itself out as doing business as Premier Student Loan Center.
5           25.    CAC has transacted its student-loan debt-relief business in the Central
6    District of California since at least November 2015.
7           26.    On January 16, 2019, CAC filed for protection under chapter 11 of the
8    Bankruptcy Code in the United States Bankruptcy Court for the Southern District of
9    Florida. See In re Consumer Advocacy Center, Inc., No. 19-10655-BKC-JKO (Bankr.
10   S.D. Fla.).
11          27.    Defendant True Count Staffing Inc. (True Count) registered as a California
12   corporation on February 13, 2017, and it has held itself out as doing business at the
13   following addresses: 173 Technology Dr., Ste 202, Irvine, CA 92618; 777 E. Sierra
14   Madre Ave, Azusa, CA 91702; 8 Hughes Parkway, Irvine, CA 92618; and 7545 Irvine
15   Center Drive, Suite 200, PMB #108, Irvine, CA, 92618.
16          28.    True Count has held itself out as doing business as SL Account
17   Management.
18          29.    Defendant Prime Consulting LLC (Prime) is a Wyoming limited-liability
19   company that registered with the California Secretary of State on April 25, 2018, and it
20   has held itself out as doing business at 11932 Klingerman Street, Suite 3, El Monte, CA,
21   91732 and 7545 Irvine Center Drive, Suite 200, Room 108, Irvine, CA, 92618.
22          30.    Prime has held itself out as doing business as Financial Preparation Services.
23          31.    Defendant Albert Kim (a/k/a Albert King) is CAC’s primary owner and
24   founder. Kim is a resident of the State of California and performed work for CAC while
25   residing in this jurisdiction.
26          32.    Kim exercised substantial control over CAC’s business practices.
27          33.    Kim exercised managerial responsibility for CAC and participated in the
28   conduct of its affairs.


                                                  7
                               COMPLAINT [FILED UNDER TEMPORARY SEAL]
         Case 19-10655-JKO            Doc 148   Filed 11/04/19     Page 123 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 9 of 49 Page ID #:19


1           34.    Defendant Kaine Wen (a/k/a Wenting Kaine Dai, Wen Ting Dai) is True
2    Count’s primary owner and founder and has also been an owner and manager of CAC.
3    Wen incorporated True Count and has served as its chief executive officer, director,
4    partner, and president.
5           35.    Wen exercised substantial control over True Count’s business practices.
6           36.    Wen exercised managerial responsibility for True Count and participated in
7    the conduct of its affairs.
8           37.    Wen exercised managerial responsibility for CAC and participated in the
9    conduct of its affairs.
10          38.    Defendant Tuong Nguyen (a/k/a Tom Nelson) served as CAC’s controller
11   and as True Count’s secretary.
12          39.    Nguyen exercised managerial responsibility for CAC and participated in the
13   conduct of its affairs.
14          40.    Nguyen exercised managerial responsibility for True Count and participated
15   in the conduct of its affairs.
16          41.    Relief Defendant Infinite Management Corp., f/k/a Infinite Management
17   Solutions Inc. (Infinite Management) registered as a California corporation on September
18   8, 2016, and it has held itself out as doing business at 9228 City Lights Drive, Aliso
19   Viejo, CA, 92656.
20          42.    Kim served as Infinite Management’s registered agent and president, and he
21   is the sole signatory on a bank account belonging to it.
22          43.    Relief Defendant Hold the Door Corp. (Hold the Door) registered as a
23   California corporation on December 30, 2016, and it listed its address as 777 E. Sierra
24   Madre Ave, Azusa, CA 91702. It described its business type as “consulting services” in
25   corporate filings with the California Secretary of State.
26          44.    Hold the Door was incorporated by Wen, and he has served as its sole
27   corporate officer.
28          45.    Relief Defendant TN Accounting Inc. (TN Accounting) is a California


                                                  8
                               COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO           Doc 148      Filed 11/04/19    Page 124 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 10 of 49 Page ID #:20


1     corporation that filed its Articles of Incorporation with the California Secretary of State
2     on February 8, 2017, and it has listed its principal place of business address of 1704 S.
3     Granada Ave, Alhambra, CA 91801 in corporate filings with the Secretary of State.
4             46.    Nguyen has served as TN Accounting’s president and sole corporate officer.
5                                                FACTS
6                       Student Loan Forgiveness and Repayment Programs
7             47.    DOE administers several federal student-loan repayment programs. Some
8     potentially offer lower monthly loan payments. Others allow consumers who make the
9     requisite qualifying payments over a period ranging from 10 to 25 years (and who meet
10    other eligibility criteria) to obtain loan forgiveness.
11            48.    One such program is the income-driven repayment (IDR) program. IDR
12    plans may lower consumers’ monthly payments to more affordable amounts based on the
13    consumers’ income and family size. Consumers enrolled in IDR plans who make
14    qualifying payments may also have their outstanding student-loan balances forgiven after
15    20-25 years.
16            49.    Under another program, the Public Service Loan Forgiveness program,
17    consumers who work full-time for a qualifying public-service employer, make 120
18    qualifying payments, and meet other eligibility criteria, can apply to have their
19    outstanding student-loan balances forgiven after 10 years.
20            50.    Because a borrower’s income and family size can fluctuate over the life of
21    the loan, consumers are required to recertify their eligibility for IDR programs on an
22    annual basis. Variables such as marital status and tax-filing status (single, married filing
23    separately, married filing jointly) may affect how DOE calculates monthly payment
24    amounts. As a result, monthly payments under the IDR programs can vary from year to
25    year.
26                            The Student Loan Debt Relief Companies
27            51.    CAC began offering student-loan debt-relief services purporting to lower
28    consumers’ monthly loan payments and obtain loan forgiveness through enrollment in


                                                9
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO         Doc 148     Filed 11/04/19     Page 125 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 11 of 49 Page ID #:21


1     loan forgiveness or IDR plans as early as November 2015.
2           52.    Initially, CAC’s internal structure included sales, processing, and customer-
3     service departments.
4           53.    The sales department fielded incoming consumer calls, made outbound
5     marketing calls, and enrolled consumers in the Student Loan Debt Relief Companies’
6     services by providing consumers with contracts for electronic signature during sales calls.
7           54.    The processing department charged consumers the initial advance fees, and
8     prepared and submitted forbearance, loan-consolidation, and IDR requests to consumers’
9     student-loan servicers. The consumer’s student-loan servicer then evaluated the requests.
10          55.    In March 2018, Kim and Wen moved CAC’s processing and customer-
11    service operations into a new entity, True Count.
12          56.    As part of this shift, CAC’s processing and customer-service departments
13    physically moved to a new office location.
14          57.    CAC continued to handle sales, while True Count took over preparing and
15    submitting loan-consolidation and IDR-plan applications and collecting payments from
16    consumers (including from consumers who had enrolled for services with CAC).
17          58.    As early as April 2018, CAC transferred its sales functions to a new entity,
18    Prime, which ultimately assumed CAC’s role as the main sales company enrolling
19    consumers for True Count’s services.
20                            Debt Relief Sales and Business Practices
21          59.    The Student Loan Debt Relief Companies marketed their debt-relief services
22    through inbound and outbound calls, websites, social media, and direct mail.
23          60.    When consumers called the front-end sales company (CAC or Prime), the
24    consumer first spoke with a sales representative.
25          61.    Sales representatives instructed consumers on how to create an ID and
26    password for consumers’ online accounts with Federal Student Aid (FSA), an office of
27    DOE, if the consumer had not previously done so. The sales representatives then
28    instructed the consumer to provide the sales representative with the consumer’s FSA ID


                                                10
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148     Filed 11/04/19      Page 126 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 12 of 49 Page ID #:22


1     and password.
2           62.    Sales representatives downloaded student-loan data from the consumer’s
3     online FSA account into the company’s customer–relationship-management system.
4           63.    Sales representatives often stated that there was an urgent need to sign up for
5     the respective Student Loan Debt Relief Company’s services.
6           64.    For example, some sales representatives told consumers that they had a
7     limited time in which they could apply for an IDR program.
8           65.    At times, sales representatives represented that the respective Student Loan
9     Debt Relief Company was affiliated with DOE.
10                                   Representations about Fees
11          66.    During sales calls, sales representatives made affirmative representations or
12    material omissions about the purpose of the fees paid by consumers to the Student Loan
13    Debt Relief Companies.
14          67.    Sales representatives frequently represented that the fees would be applied to
15    the balance of consumers’ student loans.
16          68.    In fact, all monies paid by the consumers to the Student Loan Debt Relief
17    Companies were fees retained by the companies and were not remitted to student-loan
18    servicers to be applied toward consumers’ loan balances.
19          69.    Sales representatives frequently represented that fees paid to the Student
20    Loan Debt Relief Companies would be the only payments consumers would owe on their
21    student loans after being accepted into a DOE repayment program.
22          70.    In fact, the fees paid to the Student Loan Debt Relief Companies were in
23    addition to, and did not relieve consumers of, their obligation to pay their student loans.
24          71.    Sales representatives frequently represented to consumers that the fees
25    charged by the Student Loan Debt Relief Companies were necessary to participate and
26    remain enrolled in a loan-forgiveness or IDR program.
27          72.    In fact, consumers can apply free of charge for loan forgiveness or IDR
28    programs, either through their student-loan servicer or directly to the DOE.


                                               11
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO           Doc 148     Filed 11/04/19      Page 127 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 13 of 49 Page ID #:23


1           73.    Moreover, consumers can recertify annually their eligibility to remain
2     enrolled in their IDR plans through their student-loan servicer for free.
3                             Representations about Loan Forgiveness
4           74.    The Student Loan Debt Relief Companies’ sales representatives often told
5     consumers that they were qualified or approved for loan forgiveness.
6           75.    Sales representatives frequently represented to consumers that they can get
7     consumers’ student loans forgiven in whole or in part shortly after enrolling in the
8     respective Student Loan Debt Relief Company’s services.
9           76.    The DOE’s loan forgiveness programs require anywhere from 10-25 years
10    of qualifying payments, as well as satisfaction of other eligibility criteria, to qualify for
11    loan forgiveness.
12          77.    Only the DOE can approve consumers for loan forgiveness.
13          78.    Because only the DOE can approve consumers for loan forgiveness, and
14    only after a consumer makes qualifying monthly payments over a period ranging from 10
15    to 25 years, the Student Loan Debt Relief Companies’ representations to consumers that
16    all or part of their loans would be forgiven upon payment of enrollment fees were false.
17                        Representations about Lower Monthly Payments
18          79.    The Student Loan Debt Relief Companies’ sales representatives often told
19    consumers that they qualified or were approved for a specific lower monthly payment.
20          80.    In fact, the new, lower monthly payment amount identified by sales
21    representatives was often calculated based on an incorrect family size, income, or marital
22    status.
23          81.    Sales representatives often represented that consumers’ lower monthly
24    payment would be in place over the life of the loan.
25          82.    In fact, monthly payment amounts are determined by student loan servicers
26    and can fluctuate year to year depending on changes in consumers’ income, family size,
27    or marital status, and it is therefore not possible to determine a set monthly payment for
28    an IDR plan for the life of the loan.


                                                12
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
            Case 19-10655-JKO         Doc 148     Filed 11/04/19     Page 128 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 14 of 49 Page ID #:24


1           Preparing and Submitting Forbearance Requests and IDR Plan Applications
2             83.    Following an initial sales call, consumers who purchased the Student Loan
3     Debt Relief Companies’ services were assigned to a company representative called a
4     “processor.”
5             84.    Processors conducted a “welcome call” during which they typically asked
6     consumers for proof of income and, at times, verified certain information.
7             85.    Following the welcome call, processors submitted forbearance requests to
8     student-loan servicers on behalf of consumers.
9             86.    Processors typically asked for a forbearance period of three months in the
10    forbearance requests they submitted.
11            87.    If a servicer approves a forbearance request, the consumer is excused from
12    making his or her monthly student loan payments during the period of forbearance. But
13    interest on the consumer’s student loan accrues during the period of forbearance and may
14    be added to the principal balance.
15            88.    Typically, consumers were not informed during sales calls or the welcome
16    call that processors would submit forbearance requests on their behalf.
17            89.    Typically, consumers were not informed during sales calls or the welcome
18    call that interest on the consumer’s student loan accrues during the period of forbearance
19    and may be added to the principal balance.
20            90.    In fact, most consumers did not ask the Student Loan Debt Relief
21    Companies for forbearance requests, and many consumers were not aware that the
22    Student Loan Debt Relief Companies submitted forbearance requests to their student loan
23    servicers on their behalf.
24            91.    Processors signed the forbearance requests in the consumer’s name so that it
25    appeared the request was submitted by the consumer.
26            92.    Many consumers were unaware the fees they paid to the Student Loan Debt
27    Relief Companies were not paying down their student loans.
28    ///


                                                13
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO           Doc 148     Filed 11/04/19    Page 129 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 15 of 49 Page ID #:25


1             Submitting Consolidation and IDR Requests with False Information
2           93.      Processors submitted IDR applications to servicers on behalf of consumers
3     with false information about consumers’ income, family size, or marital status.
4           94.      For consumers who did not provide proof of income to the Student Loan
5     Debt Relief Companies, processors frequently listed those consumers as unemployed on
6     their IDR applications, even when the consumers were employed at the time.
7           95.      Processors frequently submitted IDR applications to consumers’ student
8     loan servicers that listed consumers’ family sizes greater than the consumers’ actual
9     family size.
10          96.      Processors frequently submitted IDR applications to consumers’ student
11    loan servicers that listed consumers as single, even if the consumer had informed the
12    Student Loan Debt Relief Companies that he or she was married.
13          97.      When submitting IDR applications to consumers’ student loan servicers,
14    processors typically changed consumers’ email address to an email address created by the
15    Student Loan Debt Relief Company in order to temporarily divert all email
16    correspondence from the consumer’s student-loan servicer to the Student Loan Debt
17    Relief Company.
18          98.      When submitting IDR applications to consumers’ student-loan servicers,
19    processors typically changed consumers’ mailing address to a mailing address used by
20    the Student Loan Debt Relief Company in order to temporarily divert all postal mail from
21    the consumer’s student-loan servicer to the Student Loan Debt Relief Company.
22          99.      After receiving confirmation from a consumer’s student loan servicer that a
23    consumer’s loan consolidation or IDR application had been approved, processors
24    typically logged back into the consumer’s loan account and changed the consumers email
25    and mailing address back to the consumer’s actual information.
26          100. The Student Loan Debt Relief Companies’ practice of diverting
27    correspondence to consumers from the consumers’ student-loan servicers helped conceal
28    the Student Loan Debt Relief Companies’ practice of submitting false information to


                                                14
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148     Filed 11/04/19    Page 130 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 16 of 49 Page ID #:26


1     student loan servicers.
2                 Representations about and Collection of Fees from Consumers
3             101. The Student Loan Debt Relief Companies typically collected enrollment fees
4     from consumers before consumers had been approved for a loan consolidation or an IDR
5     plan.
6             102. The Student Loan Debt Relief Companies collected monthly fees, typically
7     ranging from $10-$42, before submitting the consumer’s corresponding annual IDR plan
8     recertification.
9             103. At all times material to this Complaint, the Student Loan Debt Relief
10    Companies did not track whether consumers had made an initial payment on an adjusted
11    loan.
12            104. As early as April 2018, the Student Loan Debt Relief Companies’ contracts
13    began including a section entitled “No Advance Fees.”
14            105. The section of the Student Loan Debt Relief Companies’ contract entitled
15    “No Advance Fees” states that the company “does not take any advance fees from Client”
16    and further provides that consumer fees will be held in an independent third party “trust
17    account” and not paid to the company until the consumer “has received a consolidation,
18    adjustment, or otherwise satisfactory result” and makes one payment “towards such.”
19            106. At all times material to this Complaint, the Student Loan Debt Relief
20    Companies did not use trust accounts to hold fees collected from consumers before
21    placing consumers into loan repayment plans.
22            107. Rather, fees collected from consumers by the Student Loan Debt Relief
23    Companies were directly deposited into the companies’ bank accounts and commingled
24    with company assets.
25            108. The Defendants have collected over $71 million in illegal advance fees from
26    thousands of consumers nationwide.
27                               Roles of the Individual Defendants
28            109. Albert Kim (a/k/a Albert King) is CAC’s primary owner and manager.


                                                15
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO         Doc 148       Filed 11/04/19   Page 131 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 17 of 49 Page ID #:27


1           110. Kim was in the office frequently and helped manage CAC’s and True
2     Count’s day-to-day operations.
3           111. Kim oversaw CAC’s marketing.
4           112. Kim signed CAC’s merchant-account applications or agreements with at
5     least three different payment processors.
6           113. At times, Kim personally responded to consumers’ complaints.
7           114. Kim has controlled CAC’s bank accounts, and he has been an authorized
8     user on CAC’s and True Count’s bank accounts.
9           115. When Kim applied for a merchant account on CAC’s behalf in or about July
10    2017, he agreed to maintain fraud and chargebacks below certain levels.
11          116. Monthly account statements sent to CAC’s corporate address for that
12    merchant account identify tens of thousands of dollars in chargebacks and hundreds of
13    thousands of dollars in consumer refunds between August 2017 and March 2019.
14          117. After CAC filed for bankruptcy, Kim personally generated marketing leads
15    for Prime.
16          118. Kaine Wen served as CAC’s owner, managing partner, and general counsel.
17          119. CAC’s 2016 tax returns and U.K. registration documents list Wen as CAC’s
18    50% owner.
19          120. Wen made capital contributions to CAC in October 2015 that accounted for
20    75% of capital contributions by members at that time.
21          121. Wen participated in the decision to move CAC’s processing functions to
22    True Count.
23          122. Wen personally guaranteed True Count’s lease agreement.
24          123. Wen set up payment-processing agreements for True Count.
25          124. Wen corresponded with payment processors regarding True Count’s
26    excessive chargeback rates.
27          125. Wen represented to a payment processor that True Count “understands,
28    currently fully complies with, and during the term of the Agreement will fully comply


                                              16
                           COMPLAINT [FILED UNDER TEMPORARY SEAL]
            Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 132 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 18 of 49 Page ID #:28


1     with” the TSR, CFPA, and “all other applicable federal, state, and local laws, rules, and
2     regulations.”
3            126. Wen has been an authorized user on CAC’s, Premier Student Loan Center’s,
4     True Count’s, and Hold the Door’s bank accounts.
5            127. Wen was also a point of contact or signed for at least three merchant
6     accounts for CAC and at least one merchant account for True Count.
7            128. Tuong Nguyen served as the controller and provided accounting services for
8     CAC.
9            129. Nguyen was responsible for paying CAC’s bills, reviewed its bank
10    statements, and was a signatory on several of CAC’s bank accounts.
11           130. At times, Nguyen also responded to consumer complaints, and was listed as
12    a point of contact for CAC’s d/b/a, Premier Student Loan Center, in the Bureau’s
13    consumer-complaint portal.
14           131. True Count identified Nguyen as its secretary in select dealings with banks.
15           132. Nguyen was a point of contact for at least two of CAC’s merchant accounts
16    and one of True Count’s merchant accounts.
17           133. In January 2018, Nguyen signed a letter to a payment processor
18    acknowledging CAC had incurred “excessive chargebacks” during “December/2017.”
19           134. Nguyen also acknowledged that the top chargeback reasons included fraud.
20           135. Nguyen incorporated TN Accounting and served as its president and sole
21    corporate officer.
22           136. Nguyen has been a signatory on a bank account held by TN Accounting.
23           137. TN Accounting’s primary source of income is over $225,000 from CAC and
24    True Count from March 2017 through December 2018.
25           138. Nguyen was also an authorized user on bank accounts held by CAC, Premier
26    Student Loan Center, and True Count.
27    ///
28    ///


                                               17
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148      Filed 11/04/19   Page 133 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 19 of 49 Page ID #:29


1         The Student Loan Debt Relief Companies Operate as a Common Enterprise
2           139. CAC, True Count, and Prime shared employees, customers, scripts, and
3     training materials, and they used the same database to store consumers’ information and
4     track aspects of their business activity.
5           140. CAC, True Count, and Prime shared the proceeds of the debt-relief
6     enterprise.
7           141. For example, since April 2018, True Count, acting as the purported “billing
8     department” for CAC and Prime, has transferred at least $12 million to CAC and at least
9     $25 million to Prime.
10          142. CAC lent hundreds of thousands of dollars to True Count without interest or
11    any written agreement.
12          143. CAC stated in a lease guarantee that it had a “financial interest” in True
13    Count.
14          144. CAC guaranteed at least one lease on behalf of Prime Consulting and two
15    leases on behalf of True Count.
16          145. CAC, True Count, and Prime have used overlapping addresses to carry out
17    the debt-relief operation.
18          146. For example, addresses True Count identifies as its business addresses are
19    also business addresses for CAC, Prime, and Hold the Door.
20          147. To market their debt-relief services to consumers, CAC, True Count, and
21    Prime shared over a dozen fictitious names, including but not limited to South Coast
22    Financial Center, Direct Account Services, Financial Loan Advisors, Account
23    Preparation Services, Administrative Financial, Tangible Savings Solutions, Coastal
24    Shores Financial Group, First Choice Financial Centre (a/k/a First Choice Financial
25    Center), Administrative Account Services, Primary Account Solutions, Prime Document
26    Services, Financial Accounting Center, Doc Management Solutions, First Priority LLC,
27    ALW Loans Administrative Accounting Center, Best Choice Financial Center, First
28    Document Services, Global Direct Accounting Solutions, Keystone Document Center,


                                                 18
                              COMPLAINT [FILED UNDER TEMPORARY SEAL]
            Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 134 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 20 of 49 Page ID #:30


1     Pacific Palm Financial Group, Pacific Shores Advisory, Sequoia Account Management,
2     Signature Loan Solutions, Yellowstone Account Services, EDU Doc Support,
3     ClearStudentLoanDebt, and Clear Student Loan Debt.
4            148. The websites for Doc Management Solutions, Financial Accounting Center,
5     Prime Document Services, Primary Account Solutions, Administrative Account Services,
6     South Coast Financial Center, First Choice Financial Center, Coastal Shores Financial
7     Group, Tangible Savings Solutions, Administrative Financial, Account Preparation
8     Services, Financial Loan Advisors, and Direct Account Services are nearly identical.
9                            Transfer of Assets to Relief Defendants
10           149. Defendants Wen, Kim, and Nguyen direct and control Relief Defendants
11    Hold the Door, Infinite Management, and TN Accounting, respectively.
12           150. Wen, Kim, and Nguyen are the signatories on bank accounts for the
13    respective companies and thus control the flow of money into and out of their corporate
14    accounts.
15           151. From 2017 to 2019, payments from CAC or True Count made up most or
16    almost all the income of Hold the Door, Infinite Management, and TN Accounting.
17           152. Monies were transferred from Hold the Door, Infinite Management, and TN
18    Accounting to the respective individuals’ personal accounts or to pay their personal
19    expenses.
20           153. Hold the Door made over $200,000 in direct transfers to Wen’s personal
21    bank accounts, and it made payments for purchases of art and for Wen’s Tesla and
22    Mercedes Benz automobiles.
23           154. Infinite Management made more than $300,000 in payments to pay Kim’s
24    personal credit cards, wedding expenses, dental expenses, and to purchase luxury cars.
25           155. TN Accounting transferred over $100,000 to Nguyen’s personal bank
26    accounts and made payments on Nguyen’s personal credit cards and Tesla.
27    ///
28    ///


                                              19
                           COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148      Filed 11/04/19      Page 135 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 21 of 49 Page ID #:31


1                                     LEGAL BACKGROUND
2                                               The TSR
3           156. The TSR defines “debt relief service” as “any program or service
4     represented, directly or by implication, to renegotiate, settle, or in any way alter the terms
5     of payment or other terms of the debt between a person and one or more unsecured
6     creditors or debt collectors, including, but not limited to, a reduction in the balance,
7     interest rate, or fees owed by a person to an unsecured creditor or debt collector.” 16
8     C.F.R. § 310.2(o).
9           157. The TSR defines a “seller” as “any person who, in connection with a
10    telemarketing transaction, provides, offers to provide, or arranges for others to provide
11    goods or services to the customer in exchange for consideration.” 16 C.F.R. § 310.2(dd).
12          158. The TSR defines “telemarketer” as “any person who, in connection with
13    telemarketing, initiates or receives telephone calls to or from a customer.” 16 C.F.R.
14    § 310.2(ff).
15          159. The TSR defines “telemarketing” in relevant part as “a plan, program, or
16    campaign which is conducted to induce the purchase of goods or services . . . by use of
17    one or more telephones and which involves more than one interstate telephone call.” 16
18    C.F.R. § 310.2(gg).
19          160. The Student Loan Debt Relief Companies offer services to renegotiate,
20    settle, or alter the terms of payments of consumers’ federal student loans by submitting
21    requests for loan forgiveness or IDR plans to consumers’ student-loan servicers.
22          161. The Student Loan Debt Relief Companies offered and provided these
23    services to consumers nationwide using the telephones and employed more than one
24    interstate telephone call.
25          162. The Student Loan Debt Relief Companies offered and provided these
26    services to consumers in exchange for payment of enrollment and monthly fees in
27    connection with a telemarketing transaction.
28          163. The Student Loan Debt Relief Companies are each a “telemarketer” or


                                                20
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO            Doc 148    Filed 11/04/19      Page 136 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 22 of 49 Page ID #:32


1     “seller” offering a “debt relief service” under the TSR.
2           164. Kim arranged for CAC to provide debt-relief services to consumers in
3     exchange for consideration and personally generated marketing leads for Prime. Kim is a
4     “telemarketer” or “seller” offering a “debt relief service” under the TSR. 16 C.F.R.
5     § 310.2(dd), (ff), (o).
6           165. Wen arranged for CAC and True Count to provide debt-relief services to
7     consumers in exchange for consideration. Wen is a “seller” offering a “debt relief
8     service” under the TSR. 16 C.F.R. § 310.2(dd), (o).
9           166. Nguyen arranged for CAC and True Count to provide debt-relief services to
10    consumers in exchange for consideration. Nguyen is a “seller” offering a “debt relief
11    service” under the TSR. 16 C.F.R. § 310.2(dd), (o).
12                                             The CFPA
13          167. Sections 1031 and 1036(a)(1)(B) of the CFPA, 12 U.S.C. §§ 5531,
14    5536(a)(1)(B), prohibit “covered person[s]” from engaging in any “unfair, deceptive, or
15    abusive act or practice.”
16          168. The Student Loan Debt Relief Companies are each “covered persons” under
17    the CFPA because they offer or provide consumer-financial products or services,
18    including financial-advisory services such as assisting consumers with debt-management
19    or debt-settlement and modifying the terms of any extension of credit. 12 U.S.C.
20    § 5481(5), (6), (15)(A)(viii).
21          169. Section 1002(25) of the CFPA defines the term “related person” to mean
22    “any director, officer, or employee charged with managerial responsibility for, or
23    controlling shareholder of,” or “any . . . other person . . . who materially participates in
24    the conduct of the affairs of” a non-bank provider of a consumer-financial product or
25    service. 12 U.S.C. § 5481(25)(C). Section 1002(25) further provides that a “related
26    person” shall be “deemed to mean a covered person for all purposes of any provision of
27    Federal consumer financial law.” 12 U.S.C. § 5481(25)(B).
28          170. Kim is a “related person” and “covered person” under the CFPA because he


                                                   21
                                COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO         Doc 148      Filed 11/04/19     Page 137 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 23 of 49 Page ID #:33


1     is CAC’s owner and officer and has managerial responsibility for CAC. He controlled
2     CAC’s bank accounts, oversaw CAC’s sales and marketing, entered into contractual
3     relationships on CAC’s behalf with payment processors, and responded to certain
4     consumer complaints.
5           171. Wen is a “related person” and “covered person” under the CFPA because he
6     is True Count’s owner and officer, has been an owner and manager of CAC, and has had
7     managerial responsibility for both companies. He was involved in making decisions for
8     CAC, including the decision to shift CAC’s processing function to True Count, entered
9     into contractual relationships on behalf of True Count with payment processors, and was
10    a signatory on True Count’s bank accounts.
11          172. Nguyen is a “related person” and “covered person” under the CFPA because
12    he is an officer of CAC and True Count and has managerial responsibility for CAC , and
13    because he materially participated in the conduct of the Student Loan Debt Relief
14    Companies. He managed CAC’s finances and responded to consumers’ complaints on
15    CAC’s behalf. He also was the point of contact for several of CAC’s and True Count’s
16    merchant accounts.
17                                            COUNT I
18                               By the Bureau and the States
                    (Advance Fees in Violation of the TSR – Enrollment Fees)
19                                     (All Defendants)
20          173. The allegations in paragraphs 1-166 are incorporated by reference.
21          174. Under the TSR, it is an abusive act or practice for a seller or telemarketer to
22    request or receive payment of any fee or consideration for any debt-relief services unless
23    and until (A) the seller or telemarketer has renegotiated, settled, reduced, or otherwise
24    altered the terms of at least one debt pursuant to a settlement agreement, debt-
25    management plan, or other such valid contractual agreement executed by the customer;
26    and (B) the customer has made at least one payment pursuant to that settlement
27    agreement, debt-management plan, or other valid contractual agreement between the
28    customer and the creditor or debt collector. 16 C.F.R. § 310.4(a)(5)(i)(A)-(B).


                                               22
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
            Case 19-10655-JKO       Doc 148      Filed 11/04/19     Page 138 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 24 of 49 Page ID #:34


1            175. In the course of providing, offering to provide, or arranging for others to
2     provide debt-relief services, Defendants charged and collected from consumers
3     enrollment fees before consumers had been approved for IDR plans and before
4     consumers had made any payments toward such IDR plans, in violation of the TSR. 16
5     C.F.R. § 310. 4(a)(5)(i)(A)-(B).
6            176. Moreover, because the IDR plans in which consumers were placed often
7     were based on false information about consumers’ family size, income, and marital status
8     that the Defendants submitted to consumers’ student-loan servicers, none of the payments
9     made by consumers in these plans were made pursuant to a “valid contractual agreement”
10    within the meaning of the TSR and thus were collected in violation of the TSR. 16 C.F.R.
11    § 310.4(a)(5)(i)(A)-(B)
12                                            COUNT II
13                               By the Bureau and the States
                      (Advance Fees in Violation of the TSR – Monthly Fees)
14                                      (All Defendants)
15           177. The allegations in paragraphs 1-166 are incorporated by reference.
16           178. In the course of providing, offering to provide, or arranging for others to
17    provide debt-relief services, the Defendants charged and collected from consumers
18    monthly fees before consumers had completed their annual recertifications of eligibility
19    for IDR plans and before consumers had made any payments toward such recertified IDR
20    plans, in violation of the TSR. 16 C.F.R. § 310. 4(a)(5)(i)(A)-(B).
21           179. Moreover, because the IDR plans in which consumers were placed often
22    were based on false information about consumers’ family size, income, and marital status
23    that Defendants submitted to consumers’ student-loan servicers, none of the payments
24    made by consumers in these plans were made pursuant to a “valid contractual agreement”
25    within the meaning of the TSR and thus were collected in violation of the TSR. 16 C.F.R.
26    § 310.4(a)(5)(i)(A)-(B).
27    ///
28    ///


                                               23
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148      Filed 11/04/19      Page 139 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 25 of 49 Page ID #:35


1                                              COUNT III
2                                  By the Bureau and the States
                               (Misrepresentations About Material
3                        Aspects of Their Services in Violation of the TSR)
                                         (All Defendants)
4
5           180. The allegations in paragraphs 1-166 are incorporated by reference.
6           181. It is a deceptive practice under the TSR for a seller or telemarketer to
7     misrepresent any material aspect of the efficacy of their services and to misrepresent any
8     material aspect of a debt-relief service. 16 C.F.R. § 310.3(a)(2)(iii), (x).
9           182. Among other things, Defendants misrepresented, directly or indirectly,
10    expressly or by implication that:
11                 a.     fees paid by consumers were payments toward the consumer’s
12          outstanding loan debt;
13                 b.     fees paid by consumers reflected the adjusted amount of the
14          consumers’ periodic payments toward their outstanding loan balance;
15                 c.     consumers’ loans would be forgiven in whole or in part shortly after
16          enrolling in Student Loan Debt Relief Companies’ services;
17                 d.     consumers were eligible or approved for lower monthly payments,
18          including where such payment amounts had been calculated based on an incorrect
19          family size, income, or marital status; and
20                 e.     consumers’ monthly payment amount had been lowered for the life of
21          the repayment plan; and
22                 f.     any fees collected would be held in trust accounts maintained by a
23          third-party account provider until the Student Loan Debt Relief Companies had
24          performed certain services.
25          183. Defendants also failed to inform consumers that:
26                 a.      it was Defendants’ practice to submit forbearance requests on behalf
27          of consumers; and
28                 b.     it was Defendants’ practice to falsify consumers’ family size, marital


                                                24
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148      Filed 11/04/19      Page 140 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 26 of 49 Page ID #:36


1            status, and income to consumers’ student-loan servicers.
2                  Defendants’ acts or practices, as set forth in this paragraph, are deceptive
3            acts or practices that violate the TSR, 16 C.F.R. 310.3(a)(2)(iii), (x).
4                                              COUNT IV
5                                 By the Bureau and the States
                          (Substantial Assistance in Violation of the TSR)
6                                    (Individual Defendants)
7            184. The allegations in paragraphs 1-166 are incorporated by reference.
8            185. The TSR prohibits any person from providing “substantial assistance or
9     support to any seller or telemarketer when that person knows or consciously avoids
10    knowing that the seller or telemarketer is engaged in any act that engages in deceptive or
11    abusive conduct” under the Rule. 16 C.F.R. § 310.3(b).
12           186. Kim managed both CAC’s and True Count’s day-to-day operations. As
13    CAC’s co-owner and president, Kim oversaw CAC’s marketing and approved its sales
14    scripts.
15           187. Kim knew, or recklessly avoided knowing, the material misrepresentations
16    and omissions that CAC’s and True Count’s sales representatives and processors made to
17    consumers.
18           188. Kim knew, or recklessly avoided knowing, that the Student Loan Debt
19    Relief Companies charged and collected enrollment and monthly fees from consumers
20    before the companies had obtained loan-repayment plans for consumers and before
21    consumers had made their first payments toward such repayment plans.
22           189. Kim represented CAC in contractual relationships with payment processors.
23           190. As CAC’s point of contact on a merchant account where he agreed to keep
24    chargebacks and fraud below a certain level, Kim knew, or recklessly avoided knowing,
25    that the merchant’s monthly statements identified tens of thousands of dollars in
26    chargebacks and hundreds of thousands of dollars in consumer refunds between August
27    2017 and March 2019.
28           191. As CAC’s co-owner and officer and True Count’s owner and officer, Wen


                                                25
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO         Doc 148      Filed 11/04/19    Page 141 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 27 of 49 Page ID #:37


1     entered into payment-processing agreements on True Count’s behalf, including at least
2     one where he represented that True Count intended to fully comply with the TSR.
3           192. As a principal representative for CAC’s and True Count’s merchant
4     accounts and a signatory on the bank accounts from which refunds and chargebacks to
5     consumers were paid, Wen knew, or recklessly avoided knowing, CAC’s and True
6     Count’s high chargeback and refund rates, including that during at least one period, the
7     top chargeback reasons included “fraud.”
8           193. Wen knew, or recklessly avoided knowing, the material misrepresentations
9     and omissions that CAC’s and True Count’s sales representatives and processors made to
10    consumers.
11          194. Wen knew, or recklessly avoided knowing, that the Student Loan Debt
12    Relief Companies charged and collected enrollment and monthly fees from consumers
13    before the companies had obtained loan-repayment plans for consumers and before
14    consumers had made their first payments toward such repayment plans.
15          195. As an officer of CAC and True Count, Nguyen managed CAC’s finances,
16    served as a point of contact for several of CAC’s and True Count’s merchant accounts,
17    and responded to consumer complaints on CAC’s behalf.
18          196. Because he signed a January 2018 letter from CAC to a payment processor
19    in which he acknowledged that CAC had incurred excessive chargebacks and that fraud
20    was one of the top reasons for such chargebacks, Nguyen knew, or recklessly avoided
21    knowing, the material misrepresentations and omissions that CAC’s and True Count’s
22    sales representatives and processors made to consumers.
23          197. Nguyen knew, or recklessly avoided knowing, that the Student Loan Debt
24    Relief Companies charged and collected enrollment and monthly fees from consumers
25    before the companies had obtained loan-repayment plans for consumers and before
26    consumers had made their first payments toward such repayment plans.
27          198. Kim, Wen, and Nguyen provided substantial assistance to the Student Loan
28    Debt Relief Companies in their violations of the TSR.


                                              26
                           COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO            Doc 148    Filed 11/04/19     Page 142 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 28 of 49 Page ID #:38


1                                               COUNT V
2                                              By the Bureau
                                            (CFPA – Deception)
3                                             (All Defendants)
4             199. The allegations in paragraphs 1-155 and 167-172 are incorporated by
5     reference.
6             200. Among other things, Defendants misrepresented, directly or indirectly,
7     expressly or by implication that:
8                   a.     fees paid by consumers were payments toward the consumer’s
9             outstanding loan debt;
10                  b.     fees paid by consumers reflected the adjusted amount of the
11            consumers’ periodic payments toward their outstanding loan balance;
12                  c.     consumers’ loans would be forgiven in whole or in part following
13            payment of the initial enrollment fees;
14                  d.     consumers were eligible or approved for lower monthly payments,
15            including where such payment amounts have been calculated based on an incorrect
16            family size, income, or marital status;
17                  e.     consumers’ monthly payment amounts had been lowered for the life
18            of the repayment plan; and
19                  f.     any fees collected would be held in trust accounts maintained by a
20            third-party account provider until the Student Loan Debt Relief Companies had
21            performed certain services.
22            201. The Student Loan Debt Relief Companies also failed to inform consumers
23    that:
24                  a.     it was Defendants’ practice to submit forbearance requests on behalf
25            of consumers; and
26                  b.     it was Defendants’ practice to falsify consumers’ family size, marital
27            status, and income to consumers’ student-loan servicers and the consequences for
28            consumers of that practice.


                                                27
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
            Case 19-10655-JKO         Doc 148     Filed 11/04/19     Page 143 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 29 of 49 Page ID #:39


1              202. The Student Loan Debt Relief Companies’ representations were material and
2     likely to mislead consumers acting reasonably under the circumstances.
3              203. Among other things, Kim generated marketing leads for Prime, approved
4     sales scripts for CAC, and managed day-to-day operations for CAC and True Count. He
5     was also aware of CAC’s and True Count’s high chargeback and consumer-refund rates.
6     He participated directly in these representations or had the authority to control them as
7     CAC’s co-owner and president and had knowledge of these representations, was
8     recklessly indifferent to the truth or falsity of the misrepresentations, or was aware of a
9     high probability of fraud along with an intentional avoidance of the truth.
10             204. Among other things, Wen managed payment-processor relationships on
11    behalf of True Count, was a signatory on True Count’s bank accounts, and was aware of
12    CAC’s and True Count’s high chargeback and consumer-refund rates. He participated
13    directly in these representations or had the authority to control them as CAC’s co-owner
14    and president and True Count’s owner and president and had knowledge of these
15    representations, was recklessly indifferent to the truth or falsity of the misrepresentations,
16    or was aware of a high probability of fraud along with an intentional avoidance of the
17    truth.
18             205. Among other things, Nguyen managed CAC’s finances, responded to
19    consumer complaints, and served as point of contact on several of CAC’s and True
20    Count’s merchant accounts. He was aware of CAC’s and True Count’s high chargeback
21    and consumer-refund rates. He participated directly in these representations or had the
22    authority to control them and had knowledge of these representations, was recklessly
23    indifferent to the truth or falsity of the misrepresentations, or was aware of a high
24    probability of fraud along with an intentional avoidance of the truth.
25             206. Defendants have therefore engaged in deceptive acts or practices in violation
26    of §§ 1031 and 1036 of the CFPA, 12 U.S.C. §§ 5531, 5536.
27    ///
28    ///


                                                 28
                              COMPLAINT [FILED UNDER TEMPORARY SEAL]
            Case 19-10655-JKO       Doc 148      Filed 11/04/19     Page 144 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 30 of 49 Page ID #:40


1                                            COUNT VI
2                                         By the Bureau
                         (Substantial Assistance in Violation of the CFPA)
3                                    (Individual Defendants)
4            207. The allegations in paragraphs 1-155 and 167-172 are incorporated by
5     reference.
6            208. Section 1036(a)(3) of the CFPA prohibits any person from “knowingly or
7     recklessly provid[ing] substantial assistance to a covered person or service provider in
8     violation of the provisions of section 1031” and states that “the provider of such
9     substantial assistance shall be deemed to be in violation of that section to the same extent
10    as the person to whom such assistance is provided.” 12 U.S.C. § 5536(a)(3).
11           209. As CAC’s co-owner and president, and as someone who managed the day-
12    to-day operations of CAC and True Count and who generated marketing leads for Prime,
13    Kim knowingly or recklessly provided substantial assistance to the Student Loan Debt
14    Relief Companies in their deceptive acts or practices.
15           210. As CAC’s co-owner and True Count’s owner and president who was aware
16    that high chargeback and consumer refund rates were attributable at least in part to fraud,
17    Wen knowingly or recklessly provided substantial assistance to the Student Loan Debt
18    Relief Companies in their deceptive acts or practices.
19           211. As an individual responsible for managing CAC’s finances and responding
20    to consumers’ complaints on behalf of CAC and who was aware that the Student Loan
21    Debt Relief Companies’ high chargeback and consumer-refund rates were attributable at
22    least in part to fraud, Nguyen knowingly or recklessly provided substantial assistance to
23    the Student Loan Debt Relief Companies in their deceptive acts or practices.
24           212. The Individual Defendants thus provided substantial assistance to the
25    Student Loan Debt Relief Companies in their deceptive acts or practices, in violation of §
26    1036(a)(3) of the CFPA. 12 U.S.C. § 5563(a)(3).
27    ///
28    ///


                                               29
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
            Case 19-10655-JKO       Doc 148      Filed 11/04/19      Page 145 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 31 of 49 Page ID #:41


1                                            COUNT VII
2                                        By the Bureau
                             CFPA Violation Based on Violation of TSR
3                                       (All Defendants)
4            213. The allegations in paragraphs 1-172 are incorporated by reference.
5            214. The Bureau is authorized to enforce the Telemarketing Act with respect to
6     the offering or provision of a consumer-financial product or service subject to the CFPA.
7     15 U.S.C. § 6105(d).
8            215. Defendants’ violations of the TSR are treated as violations of a rule under §
9     1031 of the CFPA. 15 U.S.C. § 6102(c).
10           216. Because Defendants are “covered persons” who violated the TSR by
11    charging and collecting illegal advance fees from consumers and engaging in deceptive
12    conduct, they violated § 1036(a)(1)(A) of the CFPA. 12 U.S.C. § 5536(a)(1)(A).
13                                          COUNT VIII
14                                  By the Bureau and the States
                                         (Relief Defendants)
15
16           217. The allegations in paragraphs 1-216 are incorporated by reference.
17           218. Relief Defendants Hold the Door, Infinite Management, and TN Accounting
18    have received, directly or indirectly, funds or other assets from Defendants that are
19    traceable to funds obtained from consumers through the deceptive and unlawful practices
20    described herein.
21           219. The Relief Defendants are not bona fide purchasers with legal or equitable
22    title to the funds or other assets received from Defendants.
23           220. The Relief Defendants would be unjustly enriched if not required to disgorge
24    funds or the value of the benefits received as a result of Defendants’ unlawful acts or
25    practices.
26           221. The Relief Defendants therefore hold funds and assets in constructive trust
27    for the benefit of the Student Loan Debt Relief Companies’ customers.
28    ///


                                                30
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148     Filed 11/04/19      Page 146 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 32 of 49 Page ID #:42


1                                             COUNT IX
2                                    By the State of Minnesota
                                 Prevention of Consumer Fraud Act
3                                   Minn. Stat. § 325F.69, et seq.
                                          (All Defendants)
4
5           222. The allegations in paragraphs 1-198 and 217-221 are incorporated by
6     reference.
7           223. Minnesota Statutes section 325F.69, subdivision 1 reads:
8                  The act, use, or employment by any person of any fraud, false pretense, false
9                  promise, misrepresentation, misleading statement or deceptive practice, with
10                 the intent that others rely thereon in connection with the sale of any
11                 merchandise, whether or not any person has in fact been misled, deceived, or
12                 damaged thereby, is enjoinable as provided in section 325F.70.
13          224. The term “merchandise” within the meaning of Minnesota Statutes section
14    325F.69 includes services. See Minn. Stat. § 325F.68, subd. 2.
15          225. The term “person” includes “any natural person or legal representative,
16    partnership, corporation (domestic and foreign), company, trust, business entity, or
17    association, and any agent, employee, salesperson, partner, officer, director, member,
18    stockholder, associate, trustee, or cestui que thereof.” Minn. Stat. § 325F.68, subd. 3.
19    Defendants are “persons” within the meaning of the statute.
20          226. Defendants have repeatedly violated Minnesota Statutes section 325F.69,
21    subdivision 1, by engaging in the deceptive and fraudulent practices described in this
22    Complaint, with the intent that others rely thereon in connection with the sale of their
23    student loan debt relief services. This conduct includes, but is not limited to:
24                 a.     Misrepresenting to consumers that Defendants could forgive
25          consumers’ loans and otherwise misrepresenting their ability to reduce or eliminate
26          student loan debt;
27                 b.     Misrepresenting to consumers that the consumers were “approved” for
28          student loan relief, and otherwise misrepresenting their ability to qualify borrowers


                                               31
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
            Case 19-10655-JKO        Doc 148     Filed 11/04/19      Page 147 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 33 of 49 Page ID #:43


1            for government programs;
2                  c.     Misrepresenting and falsely leading consumers to believe that
3            Defendants would apply payments made to it to consumers’ loans;
4                  d.     Misrepresenting and falsely leading consumers to believe that fees
5            paid by consumers reflected the adjusted amount of the consumers’ periodic
6            payments toward their outstanding loan balance;
7                  e.     Misrepresenting to consumers that the amount owed on their student
8            loans would be reduced;
9                  f.     Misrepresenting to consumers that their loans would be forgiven in
10           whole or in part following payment of the enrollment fees;
11                 g.     Misrepresenting to consumers that their monthly student loan payment
12           amount had been lowered for the life of the repayment plan;
13                 h.     Misrepresenting to consumers that fees collected would be held in
14           trust accounts maintained by a third-party account provider until the Student Loan
15           Debt Relief Companies had performed certain services;
16                 i.     Misleading consumers to believe that Defendants are tied to or have a
17           relationship with the federal government or a particular federal debt relief plan;
18                 j.     Misrepresenting government programs and payment plan terms to
19           consumers; and
20                 k.     The other practices described in this Complaint.
21           227. Due to the deceptive and fraudulent conduct described in this Complaint,
22    Minnesota consumers have made payments to Defendants for services that they otherwise
23    would not have purchased, thereby causing harm to those consumers.
24           228. Defendants’ conduct, practices, and actions described in this Complaint
25    constitute multiple, separate violations of Minnesota Statutes section 325F.69.
26    ///
27    ///
28    ///


                                               32
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO           Doc 148      Filed 11/04/19    Page 148 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 34 of 49 Page ID #:44


1                                               COUNT X
2                                    By the State of Minnesota
                               Uniform Deceptive Trade Practices Act
3                                   Minn. Stat. § 325F.43, et seq.
                                         (All Defendants)
4
5           229. The allegations in paragraphs 1-198 and 217-221 are incorporated by
6     reference.
7           230. Minnesota Statutes section 325D.44, subdivision 1 provides, in part that:
8                  A person engages in a deceptive trade practice when, in the course of
9                  business, vocation, or occupation, the person:
10                 ***
11                 (2) causes likelihood of confusion or of misunderstanding as to the source,
12                 sponsorship, approval, or certification of goods or services;
13                 ***
14                 (5)    represents that goods or services have sponsorship, approval,
15                 characteristics, ingredients, uses, benefits, or quantities that they do not have
16                 or that a person has a sponsorship, approval, status, affiliation, or connection
17                 that the person does not have;
18                 ***
19                 (7)    represents that goods or services are of a particular standard [or]
20                 quality . . . if they are of another;
21                 ***
22                 (9) advertises goods or services with intent not to sell them as advertised;
23                 [or]
24                 ***
25                 (13) engages in any other conduct which similarly creates a likelihood of
26                 confusion or of misunderstanding.
27          231. Defendants are “persons” within the meaning of the statute.
28



                                               33
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148      Filed 11/04/19    Page 149 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 35 of 49 Page ID #:45


1           232. Defendants have repeatedly violated Minnesota Statutes section 325D.44,
2     subdivision 1, by, in the course of business, engaging in the deceptive and fraudulent
3     practices described in this Complaint that caused a likelihood of confusion or of
4     misunderstanding among consumers in connection with the sale of Defendants’ student
5     loan debt relief services, including by making false, deceptive, fraudulent, and/or
6     misleading representations to consumers regarding its advertised services. These
7     practices include but are not limited to:
8                  a.     Misrepresenting to consumers that Defendants could forgive
9                  consumers’ loans and otherwise misrepresenting their ability to reduce or
10                 eliminate student loan debt;
11                 b.     Misrepresenting to consumers that the consumers were “approved” for
12                 student loan relief, and otherwise misrepresenting their ability to qualify
13                 borrowers for government programs;
14                 c.     Misrepresenting and falsely leading consumers to believe that
15                 Defendants would apply payments made to it to consumers’ loans;
16                 d.     Misrepresenting and falsely leading consumers to believe that fees
17                 paid by consumers reflected the adjusted amount of the consumers’ periodic
18                 payments toward their outstanding loan balance;
19                 e.     Misrepresenting to consumers that the amount owed on their student
20                 loans would be reduced;
21                 f.     Misrepresenting to consumers that their loans would be forgiven in
22                 whole or in part following payment of the enrollment fees;
23                 g.     Misrepresenting to consumers that their monthly student loan payment
24                 amount had been lowered for the life of the repayment plan;
25                 h.     Misrepresenting to consumers that fees collected would be held in
26                 trust accounts maintained by a third-party account provider until the Student
27                 Loan Debt Relief Companies had performed certain services;
28



                                               34
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148     Filed 11/04/19     Page 150 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 36 of 49 Page ID #:46


1                  i.      Misleading consumers to believe that Defendants are tied to or have a
2                  relationship with the federal government or a particular federal debt relief
3                  plan;
4                  j.      Misrepresenting government programs and payment plan terms to
5                  consumers; and
6                  k.      The other practices described in this Complaint.
7           233. Due to the deceptive and fraudulent conduct described in this Complaint,
8     Minnesota consumers have made payments to Defendants for services that they otherwise
9     would not have purchased, thereby causing harm to those consumers.
10          234. Defendants’ conduct, practices, and actions described in this Complaint
11    constitute multiple, separate violations of Minnesota Statutes section 325D.44.
12                                               Count XI
13                                   By the State of North Carolina
                                   North Carolina Debt Adjusting Act
14                                  N.C. Gen. Stat. § 14-423, et seq.
                                            (All Defendants)
15
16          235. The allegations in paragraphs 1-198 and 217-221 are incorporated by
17    reference.
18          236. Defendants are engaged in illegal “debt adjusting” as that term is defined in
19    Article 56 of Chapter 14 of the North Carolina General Statutes. Specifically, N.C. Gen.
20    Stat. § 14-423(2) defines “debt adjusting” as any of the following:
21                       “Debt adjusting” means entering into or making a
                   contract, express or implied, with a particular debtor whereby
22                 the debtor agrees to pay a certain amount of money periodically
                   to the person engaged in the debt adjusting business and that
23                 person, for consideration, agrees to distribute, or distributes the
                   same among certain specified creditors in accordance with a
24                 plan agreed upon.
25                       Debt adjusting includes the business or practice of any
                   person who holds himself out as acting or offering or
26                 attempting to act for consideration as an intermediary between a
                   debtor and his creditors for the purpose of settling,
27                 compounding, or in any way altering the terms of payment of
                   any debt of a debtor, and to that end receives money or other
28                 property from the debtor, or on behalf of the debtor, for the


                                                35
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO           Doc 148      Filed 11/04/19      Page 151 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 37 of 49 Page ID #:47


1                  payment to, or distribution among, the creditors of the debtor.
2                         Debt adjusting also includes the business or practice of
                   debt settlement . . . whereby any person holds himself or herself
3                  out as acting for consideration as an intermediary between a
                   debtor and the debtor’s creditors for the purpose of reducing,
4                  settling, or altering the terms of the payment of any debt of the
                   debtor, whether or not the person distributes the debtor’s funds
5                  or property among the creditors, and receives a fee or other
                   consideration for reducing, settling, or altering the terms of the
6                  payment of the debt in advance of the debt settlement having
                   been completed or in advance of all the services agreed to
7                  having been rendered in full.
8           237. Debt adjusting is prohibited by N.C. Gen. Stat. § 14-424, which provides
9     that “[i]f any person shall engage in, or offer to or attempt to, engage in the business or
10    practice of debt adjusting, or if any person shall hereafter act, offer to act, or attempt to
11    act as a debt adjuster, he shall be guilty of a Class 2 misdemeanor.”
12          238. Defendants’ offering and purported rendering of debt adjusting services to
13    North Carolina’s debt adjusting statute. Specifically:
14                 a.     Defendants have entered into contracts with North Carolina student
15          loan debtors whereby the debtors agree to pay certain amounts of money
16          periodically to Defendants, and Defendants, for consideration, represent or imply
17          that they will distribute debtors’ money among debtors’ student loan servicers or
18          lenders and/or DOE in accordance with a plan agreed upon.
19                 b.     Defendants have engaged, and are engaged in, the business or practice
20          of holding themselves out as acting or offering or attempting to act for
21          consideration, as an intermediary between North Carolina student loan debtors and
22          their servicers or lenders and/or DOE for the purpose of settling, compounding, or
23          altering the terms of payment of the student loan debts of the debtors, and to that
24          end receive money from the debtors, or on behalf of the debtors, for the payment
25          to, or distribution among, the student loan creditors of the debtors.
26                 c.     Defendants have engaged, and are engaging in, a business or practice
27          in which they hold themselves out as acting or offering or attempting to act, for
28          consideration, as an intermediary between North Carolina student loan debtors and


                                                36
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148     Filed 11/04/19      Page 152 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 38 of 49 Page ID #:48


1           their student loan servicers or lenders and/or DOE for the purpose of reducing,
2           settling, or altering the terms of payment of North Carolina debtors’ student loan
3           debts, and defendants receive a fee in advance of the debt settlements having been
4           completed or in advance of all the services agreed to having been rendered in full.
5           239. Pursuant to N.C. Gen. Stat. § 14-425, the Attorney General is authorized to
6     seek (a) injunctive relief to enjoin Defendants from the continuation of any debt adjusting
7     activities or the offering of any debt adjusting services in North Carolina; (b) the
8     disgorgement of all monies unlawfully collected by Defendants from North Carolina
9     consumers; (c) the appointment of a receiver to assist in the recovery of funds unlawfully
10    collected by Defendants and to ensure their return to consumers; and (d) the assessment
11    of civil penalties under N.C. Gen. Stat. § 75-15.2 and attorneys’ fees for the State under
12    N.C. Gen. Stat. § 75-16.1.
13                                              Count XII
14                                 By the State of North Carolina
                          North Carolina Unfair and Deceptive Practices Act
15                                    N.C. Gen. Stat. § 75-1.1
                                          (All Defendants)
16
17          240. The allegations in paragraphs 1-198, 217-221, and 235-239 are incorporated
18    by reference.
19          241. In the course of soliciting and promoting their student loan debt relief
20    services to North Carolina consumers, in entering into agreements with North Carolina
21    consumers to provide such services, and in either performing or failing to meaningfully
22    perform those services, defendants have engaged in unfair and deceptive acts and
23    practices in trade or commerce in violation of N.C. Gen. Stat. § 75-1.1.
24          242. Defendants are engaged in trade or commerce in the State of North Carolina.
25          243. Defendants’ unfair or deceptive acts and practices include, but are not
26    limited to, the following:
27                 a.     Engaging in violations of the TSR, as set forth supra, which are
28          specifically prohibited by 16 C.F.R. Part 310;


                                               37
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO              Doc 148     Filed 11/04/19     Page 153 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 39 of 49 Page ID #:49


1                 b.          Engaging in illegal debt adjusting activities, as set forth supra, which
2           are specifically prohibited by N.C. Gen. Stat. 14-423, et seq.;
3                 c.          Failing to register as a telephonic seller under North Carolina’s
4           Telephonic Seller Registration Act, N.C. Gen. Stat §§ 66-260 and 66-261, as set
5           forth infra; and
6                 d.          Making deceptive and misleading representations to consumers,
7           including but not limited to:
8     Misrepresenting to consumers that Defendants could forgive consumers’ loans and
9     otherwise misrepresenting Defendants’ ability to reduce or eliminate student loan debt;
10                       i.      Misrepresenting to consumers that the consumers were “approved”
11                               for student loan relief, and otherwise misrepresenting their ability
12                               to qualify borrowers for government programs;
13                      ii.      Misrepresenting and falsely leading consumers to believe that
14                               Defendants would apply payments made to Defendants to the
15                               consumers’ outstanding loans;
16                     iii.      Misrepresenting and falsely leading consumers to believe that fees
17                               paid by consumers reflected the adjusted amount of the consumers’
18                               periodic payments toward their outstanding loan balance;
19                     iv.       Misrepresenting to consumers that the amount owed on their
20                               student loans would be reduced if students signed up for the
21                               Student Loan Debt Relief Companies’ services;
22                      v.       Misrepresenting to consumers that their loans would be forgiven in
23                               whole or in part shortly after enrolling in the Student Loan Debt
24                               Relief Companies’ services;
25                     vi.       Misrepresenting to consumers that their monthly student loan
26                               payment amount had been lowered for the life of the repayment
27                               plan;
28                     vii.      Misrepresenting that consumers were eligible or approved for
                                 lower monthly payments, including where such payment amounts
                                                   38
                                COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148      Filed 11/04/19     Page 154 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 40 of 49 Page ID #:50


1                             had been calculated based on an incorrect family size, income, or
2                             marital status;
3                     viii.   Misrepresenting to consumers that fees collected would be held in
4                             trust accounts maintained by a third-party account provider until
5                             the Student Loan Debt Relief Companies had performed certain
6                             services;
7                      ix.    Misleading consumers to believe that the Student Loan Debt Relief
8                             Companies are tied to or have a relationship with the federal
9                             government or a particular federal debt relief plan;
10                      x.    Failing to inform consumers that it was their practice to submit
11                            false information about consumers’ income, family size, and
12                            marital status on loan adjustment applications in order to try to
13                            qualify consumers for lower monthly payments;
14                     xi.    Misrepresenting government programs and payment plan terms to
15                            consumers; and
16                    xii.    The other practices described in this Complaint.
17          244. The Attorney General is authorized to seek an injunction against
18    Defendants’ practices under N.C. Gen. Stat. § 75-14, the restoration of any moneys
19    obtained by defendants from North Carolina consumers as well as the cancellation of
20    defendants’ contracts with North Carolina consumers under N.C. Gen. Stat. § 75-15.1,
21    civil penalties under N.C. Gen. Stat. § 75-15.2, and attorneys’ fees under N.C. Gen. Stat.
22    § 75-16.1.
23                                              Count XIII
24                               By the State of North Carolina
                         North Carolina Telephonic Seller Registration Act
25                                   N.C. Gen. Stat. § 66-260
                                         (All Defendants)
26
27          245. The allegations in paragraphs 1-198, 217-221, and 235-244 are incorporated
28    by reference.


                                                 39
                              COMPLAINT [FILED UNDER TEMPORARY SEAL]
             Case 19-10655-JKO       Doc 148      Filed 11/04/19     Page 155 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 41 of 49 Page ID #:51


1             246. North Carolina’s Telephonic Seller Registration Act, N.C. Gen. Stat §§ 66-
2     260 and 66-261, requires any non-exempt person engaged in telephonic solicitations
3     directed to North Carolina consumers to: (a) register with the North Carolina Secretary of
4     State not less than 10 days before commencing telephone solicitations; (b) provide
5     specified information on a form provided by the Secretary of State that contains the
6     notarized signature of each principal of the telephonic seller; and (c) pay a $100.00 filing
7     fee.
8             247. Pursuant to N.C. Gen. Stat. § 66-261(c), a registration of a telephonic seller
9     is valid for one year from the effective date of the provision of all required information,
10    and may be renewed annually by making the filing required by N.C. Gen. Stat. § 66-262,
11    and paying the filing fee of $100.00.
12            248. Defendants are a “telephonic seller” as defined in N.C. Gen. Stat. § 66-
13    260(11), as defendants have caused directly, or through employees or agents, telephone
14    solicitations or attempted telephone solicitations to occur, and Defendants are not exempt
15    from the Act.
16            249. Defendants have engaged in violations of the Telephonic Seller Registration
17    Act, N.C. Gen. Stat. § 66-260, et seq., by failing to register with the North Carolina
18    Secretary of State as a telephonic seller; by failing to provide the North Carolina
19    Secretary of State with the information mandated by N.C. Gen. Stat. § 66-262; by failing
20    to pay the filing fee of $100.00; and by failing to register in each year defendants have
21    engaged in telephonic solicitations.
22            250. N.C. Gen. Stat. § 66-266(a) provides that any violation of the Telephonic
23    Seller Registration Act “shall constitute an unfair and deceptive trade practice in violation
24    of N.C. Gen. Stat. §75-1.1.”
25            251. N.C. Gen. Stat. § 66-266(c) further provides that the remedies and penalties
26    available under the section “shall be supplemental to others available under the law, both
27    civil and criminal.”
28            252. Pursuant to N.C. Gen. Stat. §§ 66-266(b), in an action by the Attorney


                                                40
                             COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO           Doc 148     Filed 11/04/19     Page 156 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 42 of 49 Page ID #:52


1     General against a telephonic seller for violation of the Telephonic Seller Registration Act,
2     or for any other act or practice by a telephonic seller constituting a violation of N.C. Gen.
3     Stat. § 75-1.1, the court may impose civil penalties of up to $25,000 for each violation
4     involving North Carolina purchasers or prospective purchasers who are 65 years of age or
5     older.
6                                              Count XIV
7                               By the People of the State of California
                                 California Unfair Competition Law
8                               Cal. Bus. & Prof. Code § 17200 et seq.
                                           (All Defendants)
9
10             253. The People of the State of California re-allege and incorporate herein
11    paragraphs 1 through 221 of this Complaint.
12             254. California’s UCL, Business and Professions Code section 17200, prohibits
13    any “unlawful, unfair or fraudulent business act[s] or practice[s].” Cal. Bus. & Prof. Code
14    § 17200.
15             255. Section 17203 of the UCL provides that “(a)ny person performing or
16    proposing to perform an act of unfair competition within this state may be enjoined in
17    any court of competent jurisdiction.” Section 17203 also permits recovery of any
18    “interest in money or property, real or personal” acquired by a violation of the UCL. Cal.
19    Bus. & Prof. Code § 17203.
20             256. Section 17206, subdivision (a), of the UCL provides that any person
21    violating Section 17200 “shall be liable for a civil penalty not to exceed two thousand
22    five hundred dollars ($2,500) for each violation, which shall be assessed and recovered in
23    a civil action brought in the name of the [P]eople of the State of California . . . by any
24    city attorney of a city having a population in excess of 750,000,” thereby authorizing the
25    City Attorney of Los Angeles, which has a population in excess of 750,000, to bring such
26    an action. Cal. Bus. & Prof. Code § 17206.
27             257. Under the UCL’s Section 17205, these remedies and penalties are
28    “cumulative to each other and to the remedies or penalties available under all other laws


                                                 41
                              COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO              Doc 148     Filed 11/04/19     Page 157 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 43 of 49 Page ID #:53


1     of this state.” Cal. Bus. & Prof. Code § 17205.
2           258. Defendants are all “persons” within the meaning of UCL. Cal. Bus. & Prof.
3     Code § 17201.
4           259. “Unlawful” acts or practices, “unfair” acts or practices, and “fraudulent” acts
5     or practices each independently violate Section 17200. Beginning no later than 2015, and
6     continuing to the present, Defendants, and each of them, have repeatedly violated the
7     UCL by engaging in “unlawful, unfair, or fraudulent business act[s] or practice[s]” with
8     the sale of their purported student loan debt settlement services. Cal. Bus & Prof Code §
9     17200. These violations include, but are not limited to:
10             a. Violating the UCL through the following unlawful acts or practices
11                     committed against California consumers, including in the City and County
12                     of Los Angeles:
13                i.      As to Defendants CAC, True Count, Infinite Management, Hold the
14                        Door, TN Accounting, Albert Kim, Kaine Wen and Tuong Nguyen
15                        violating California Financial Code § 12000 et seq., the California Check
16                        Sellers, Bill Payers and Proraters Law, by acting as a check seller, bill
17                        payer, or prorater without first obtaining a license from the California
18                        Commissioner of Business Oversight. Cal. Fin. Code § 12200;
19                           1. As alleged in Paragraphs 8, 9, 23, 25, 27-31, 41, 43, 45 and 47-148
20                              of this Complaint, California consumers have provided funds to
21                              Defendants based upon assurances and representations that
22                              Defendants will assist them in reducing or otherwise managing
23                              their student loan debts and/or negotiate with their creditors and
24                              distribute payments.
25                           2. Defendants are not licensed by the California Corporations
26                              Commissioner as required by Financial Code § 12000 et seq.
27               ii.      Violating California Financial Code section 28100, et seq., the California
28                        Student Loan Servicing Act, which requires Student Loan Servicers to be


                                                  42
                               COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO            Doc 148       Filed 11/04/19   Page 158 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 44 of 49 Page ID #:54


1                        licensed to lawfully operate, by engaging in the business of servicing
2                        student loans in California without obtaining a license as required under
3                        the Act;
4                           1. Defendants are “persons” under the Student Loan Servicing Act.
5                              Cal. Fin. Code § 28104, subd. (j).
6                           2. As alleged in Paragraphs 8, 9, 23, 25, 27-31, 41, 43, 45 and 47-148
7                              of this Complaint, Defendants have engaged in the business of
8                              servicing student loans in California. Cal. Fin. Code § 28104,
9                              subds. (f), (g), (l), (m), (n).
10                          3. Defendants have never obtained a license to service student loans
11                             as required under the California Student Loan Servicing Act. Cal.
12                             Fin. Code § 28102, subd. (a).
13             iii.      Violating the Telemarketing Sales Rule (“TSR”), which is specifically set
14                       forth in 16 C.F.R. Part 310, as alleged in Paragraphs 8-15, 53, 57, 59, 66,
15                       88-89, 156-166, 173-176 (Count I - Advance Fees in Violation of the
16                       TSR – Enrollment Fees), 177-179 (Count II - Advance Fees in Violation
17                       of the TSR – Monthly Fees), 180-183 (Count III - Misrepresentations
18                       About Material Aspects of Their Services in Violation of the TSR), and
19                       184-198 (Count IV - Substantial Assistance in Violation of the TSR); and
20             iv.       Violating the Consumer Financial Protection Act of 2010 (CFPA), 12
21                       U.S.C. §§ 5531 et seq., as alleged in Paragraphs 8-148, 167-172, 199-206
22                       (Count V- CFPA – Deception), 207-212 (Count VI - Substantial
23                       Assistance in Violation of the CFPA), and 213-216 (Count VII - CFPA
24                       Violation Based on Violation of TSR), as set forth in this Complaint.
25             b. Defendants also violated the UCL through the following unlawful,
26                    fraudulent and/or unfair acts or practices committed against California
27                    consumers, including consumers in the City of Los Angeles:
28



                                                 43
                              COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO         Doc 148     Filed 11/04/19      Page 159 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 45 of 49 Page ID #:55


1                i.   Misrepresenting to consumers that Defendants could forgive consumers’
2                     loans and otherwise misrepresenting Defendants’ ability to reduce or
3                     eliminate student loan debt;
4               ii.   Misrepresenting to consumers that the consumers were “approved” for
5                     student loan relief, and otherwise misrepresenting their ability to qualify
6                     borrowers for government programs;
7              iii.   Misrepresenting and falsely leading consumers to believe that Defendants
8                     would apply payments made to Defendants to the consumers’
9                     outstanding loans;
10             iv.    Misrepresenting and falsely leading consumers to believe that fees paid
11                    by consumers reflected the adjusted amount of the consumers’ periodic
12                    payments toward their outstanding loan balance;
13              v.    Misrepresenting to consumers that the amount owed on their student
14                    loans would be reduced if students signed up for Student Loan Debt
15                    Relief Companies’ services;
16             vi.    Misrepresenting to consumers that their loans would be forgiven in whole
17                    or in part shortly after enrolling in Student Loan Debt Relief Companies’
18                    services;
19             vii.   Misrepresenting to consumers that their monthly student loan payment
20                    amount had been lowered for the life of the repayment plan;
21            viii.   Misrepresenting that consumers were eligible or approved for lower
22                    monthly payments, including where such payment amounts had been
23                    calculated based on an incorrect family size, income, or marital status;
24             ix.    Misrepresenting to consumers that fees collected would be held in trust
25                    accounts maintained by a third-party account provider until the Student
26                    Loan Debt Relief Companies had performed certain services;
27              x.    Misleading consumers to believe that the Student Loan Debt Relief
28                    Companies are tied to or have a relationship with the federal government


                                              44
                           COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO              Doc 148       Filed 11/04/19   Page 160 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 46 of 49 Page ID #:56


1                          or a particular federal debt relief plan;
2               xi.        Failing to inform consumers that it was their practice to submit false
3                          information about consumers’ income, family size, and marital status on
4                          loan adjustment applications in order to try to qualify consumers for
5                          lower monthly payments;
6              xii.        Misrepresenting government programs and payment plan terms to
7                          consumers; and
8             xiii.        The other practices described in this Complaint.
9           260. Due to the deceptive and fraudulent conduct described in this Complaint,
10    California consumers have made payments to Defendants for services that they otherwise
11    would not have purchased, thereby causing harm to those consumers.
12          261. Defendants’ conduct, practices, and actions described in this Complaint
13    constitute multiple, separate violations of California Business and Professions Code
14    section 17200.
15                                         DEMAND FOR RELIEF
16          262. WHEREFORE, the Bureau and the States request, under 12 U.S.C.
17    §§ 5538(a), 5565(a); Minn. Stat. §§ 8.31, 325D.45, and 325F.70; the State of Minnesota’s
18    common law authority, including parens partiae authority; N.C. Gen. Stat. §§ 14-424,
19    75-14, 75-15.1, 75-16.1, and 66-266; and Cal. Bus. & Prof. Code §§ 17200 et seq. that
20    the Court:
21                    a.      award the Bureau and the States such preliminary and injunctive and
22          ancillary relief as may be necessary to avert the likelihood of consumer injury
23          during the pendency of this action, including but not limited to a temporary and
24          preliminary injunction, an order freezing assets, immediate access to business
25          premises, and appointment of a Receiver against Defendants and Relief
26          Defendants;
27                    b.      permanently enjoin Defendants from committing future violations of
28          the TSR, the CFPA, the MNCFA, the MNDTPA, the NCDAA, the NCUDPA, the


                                                    45
                                 COMPLAINT [FILED UNDER TEMPORARY SEAL]
          Case 19-10655-JKO          Doc 148     Filed 11/04/19     Page 161 of 478


     Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 47 of 49 Page ID #:57


1           NCTSRA, and the UCL, and enter such other injunctive relief as appropriate;
2                 c.      permanently enjoin Defendants from the advertisement, marketing,
3           promotion, offering for sale, or selling of any consumer-financial product or
4           service, including but not limited to any debt relief service;
5                 d.      grant additional injunctive relief as the Court may deem to be just and
6           proper;
7                 e.      award damages and other monetary relief against Defendants and
8           Relief Defendants as the Court finds necessary to redress injury to consumers
9           resulting from Defendants’ violations of the CFPA, the TSR, the MNCFA, the
10          MNDTPA, the NCDAA, the NCUDPA, and the NCTSRA, including but not
11          limited to rescission or reformation of contracts, the refund of monies paid,
12          restitution, disgorgement or compensation for unjust enrichment;
13                f.      award restitution against Defendants and Relief Defendants as the
14          Court finds necessary to redress injury to consumers resulting from Defendants’
15          violations of the UCL;
16                g.      award the Bureau and the States civil money penalties;
17                h.      award the Bureau and the States the costs of bringing this action, as
18          well as such other and additional relief as the Court may determine to be just and
19          proper; and
20                i.      award the States the costs of investigation and attorneys’ fees.
21
22    Dated: October __, 2019
23                                           Respectfully submitted,
24
                                             CARA PETERSEN
25                                           Acting Enforcement Director
26                                           DEBORAH MORRIS
                                             Deputy Enforcement Director
27
28



                                               46
                            COMPLAINT [FILED UNDER TEMPORARY SEAL]
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 162 of 478


Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 48 of 49 Page ID #:58
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 163 of 478


Case 8:19-cv-01998-JVS-JDE Document 2 Filed 10/21/19 Page 49 of 49 Page ID #:59
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 164 of 478


Case 8:19-cv-01998-JVS-JDE Document 2-1 Filed 10/21/19 Page 1 of 3 Page ID #:60
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 165 of 478


Case 8:19-cv-01998-JVS-JDE Document 2-1 Filed 10/21/19 Page 2 of 3 Page ID #:61
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 166 of 478


Case 8:19-cv-01998-JVS-JDE Document 2-1 Filed 10/21/19 Page 3 of 3 Page ID #:62
               Case 19-10655-JKO   Doc 148   Filed 11/04/19   Page 167 of 478




                         EXHIBIT “C”




[12339-001/3098728/1]
        Case 19-10655-JKO      Doc 148     Filed 11/04/19   Page 168 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 1 of 39 Page ID #:4056



    1 Sanjay Bhandari (SBN 181920)
      sbhandari@mcnamarallp.com
    2 Edward Chang (SBN 268204)
      echang@mcnamarallp.com
    3 McNamara Smith LLP
      655 West Broadway, Suite 1600
    4 San Diego, California 92101
      Telephone: 619-269-0400
    5 Facsimile: 619-269-0401
    6 Attorneys for Temporary Receiver,
      Thomas W. McNamara
    7
    8
    9                      UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
  12 Bureau of Consumer Financial Protection;      Case No. 8:19-cv-01998-JVS (JDEx)
     State of Minnesota, by its Attorney
  13 General, Keith Ellison; State of North        PRELIMINARY REPORT OF
     Carolina, ex rel. Joshua H. Stein, Attorney   TEMPORARY RECEIVER
  14 General; and The People of The State of
     California, Michael N. Feuer, Los Angeles     JUDGE:     Hon. James V. Selna
  15 City Attorney,                                CTRM:      10C
  16                     Plaintiffs,
  17         v.
  18 Consumer Advocacy Center Inc., d/b/a
     Premier Student Loan Center; True Count
  19 Staffing Inc., d/b/a SL Account
     Management; Prime Consulting LLC,
  20 d/b/a Financial Preparation Services;
     Albert Kim, a/k/a Albert King; Kaine
  21 Wen, a/k/a Wenting Kaine Dai, Wen Ting
     Dai, and Kaine Wen Dai; and Tuong
  22 Nguyen, a/k/a Tom Nelson,
  23                     Defendants, and
  24 Infinite Management Corp., f/k/a Infinite
     Management Solutions Inc.; Hold The
  25 Door, Corp.; and TN Accounting Inc.,
  26                     Relief Defendants.
  27
  28
                                                      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO                  Doc 148          Filed 11/04/19            Page 169 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 2 of 39 Page ID #:4057



    1                                          TABLE OF CONTENTS
    2                                                       Contents
   3 I. INTRODUCTION .................................................................................................. 1
     II. RECEIVERSHIP ACTIVITIES ........................................................................... 2
   4        A.  Immediate Access ................................................................................. 2
                1.     15261 Laguna Canyon Rd, Suite 200, Irvine, CA...................... 2
   5            2.     173 Technology Drive, Suite 202, Irvine, CA............................ 4
                3.     8 Hughes Parkway, Suite 210, Irvine, CA.................................. 4
   6        B.  Bank Accounts ...................................................................................... 5
            C.  Documents/Information/Electronic Data .............................................. 6
   7        D.  Accounting ............................................................................................ 7
            E.  Notice to Consumers ............................................................................. 7
   8 III. DEFENDANTS’ PIVOT TOWARD COMPLIANCE IN AUGUST 2019........ 7
     IV. DEFENDANTS COLLECT UNLAWFUL ADVANCE FEES ....................... 11
   9        A.  The Law – Telemarketing Sales Rule (16 C.F.R. § 310.4(a)(5)) ....... 11
            B.  Defendants Collect Advance Fees ...................................................... 12
  10        C.  No Valid Escrow or Trust Procedure .................................................. 12
     V. TRUSTED ACCOUNT SERVICES .................................................................. 14
  11        A.  Defendants Establish Trusted Account Services ................................ 15
                1.     Incorporation............................................................................. 15
  12            2.     Website ..................................................................................... 16
            B.  Defendants’ First Attempt to Secure Payment Processing for
  13            Trusted Account Services ................................................................... 17
            C.  Defendants Deceive DebtPayPro to Get Trusted Account
  14            Services on the Platform ..................................................................... 18
            D.  Defendants Purloined Legitimate Third Party Companies’
  15            Methods and Documents to Establish Trusted Account Services ...... 19
            E.  Defendants Own and Control the Trusted Account Services
  16            Bank Accounts .................................................................................... 20
            F.  Defendants Arrange Trusted Account Services Payment
  17            Processing through Jimmy Lai and National Merchant Center .......... 21
            G.  Defendants’ Assertion that Trusted Account Services Is a Third
  18            Party Dedicated Account Provider Is False ........................................ 23
     VI. STUDENT LOAN DEBT RELIEF – THE SALES PITCH AND
  19        PROCESS ...................................................................................................... 25
            A.  Leads ................................................................................................... 26
  20        B.  Sales Tactics ........................................................................................ 26
            C.  Enrollment Fees .................................................................................. 28
  21        D.  Customer Service and Processing ....................................................... 29
            E.  Compliance ......................................................................................... 32
  22        F.  Complaints .......................................................................................... 32
     VII. FINANCIAL INFORMATION ....................................................................... 35
  23 VIII. CAN THE BUSINESSES BE OPERATED LAWFULLY AND
            PROFITABLY?............................................................................................. 36
  24
  25
  26
  27
  28
                                                             i      Case No. 8:19-cv-01998-JVS (JDEx)
                                                     PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148      Filed 11/04/19     Page 170 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 3 of 39 Page ID #:4058



    1                                           I.
    2                                    INTRODUCTION
    3        I was appointed Temporary Receiver for the business activities of
    4 Receivership Defendants True Count Staffing Inc., d/b/a SL Account Management
    5 (“True Count”) and Prime Consulting LLC, d/b/a Financial Preparation Services
    6 (“Prime Consulting”) by the Temporary Restraining Order (“TRO”) entered
    7 October 21, 2019. 1 Defendant Consumer Advocacy Center Inc., d/b/a Premier
    8 Student Loan Center (“CAC”), which is in bankruptcy, is not a Receivership
    9 Defendant. Albert Kim, Kaine Wen, and Tuong Nguyen are named Individual
  10 Defendants.
  11         By this Preliminary Report, I convey to the Court my team’s preliminary
  12 observations and initial actions.
  13         Our onsite review of operations has identified the basic realities of the
  14 student loan debt relief business of Receivership Defendants:
  15            x The overall enterprise secured more than 170,000 customers and more
  16               than $71 million in gross revenue. But, 70% of these customers
  17               cancelled their enrollments. See Exhibit 1.
  18            x Historically, the sales process to secure consumers with student loan
  19               debt relief has included hard sell tactics and misrepresentations
  20               prohibited by the TRO which have misled and confused consumers.
  21            x Beginning in late August 2019, Defendants pivoted to a more
  22               compliant process, but based on recent documents and consumer
  23    1
       Receivership Defendants are defined in the TRO to mean True Count and Prime
  24 Consulting “and their successors, assigns, affiliates, or subsidiaries, and each of
     them, by whatever names each may be known, provided that the Receiver has
  25 reason to believe they are owned or controlled in whole or in part by any of the
     Receivership Defendants.” See TRO, Definitions, pages 6-7.
  26
     On October 25, 2019, pursuant to Section XIII(T) of the TRO we gave notice to
  27 the parties that First Priority LLC, Horizon Consultants LLC, and TAS 2019 LLC
     d/b/a Trusted Account Services qualify as Receivership Defendants. No party has
  28 challenged that determination.
                                                1       Case No. 8:19-cv-01998-JVS (JDEx)
                                         PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148      Filed 11/04/19    Page 171 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 4 of 39 Page ID #:4059



    1               complaints, this pivot was not comprehensive and, of course, it did not
    2               remedy prior unlawful practices.
    3             x Defendants collect consumer fees in advance without complying with
    4               the Telemarketing Sales Rule, which renders the entire business
    5               unlawful. The August 2019 pivot included representations that fees
    6               would be deposited to a “dedicated customer account” at third party
    7               Trusted Account Services and only paid out when work was
    8               completed. But, this appears to be a new deception designed to create
    9               the appearance of a procedure consistent with the Telemarketing Sales
  10                Rule “escrow exception” to the advance fee prohibition. Not only is
  11                 Trusted Account Services not an independent third party, I have
  12                 determined that it is a Receivership Defendant.
  13                                           II.
  14                            RECEIVERSHIP ACTIVITIES
  15         A.      Immediate Access
  16         As authorized by the TRO (Section XIV, page 24), we took control and
  17 exclusive custody of Defendants’2 three business premises in Irvine, California on
  18 October 23, 2019, commencing at approximately 10:30 a.m. At each location, we
  19 received support from law enforcement officers. After securing each site, we
  20 provided access to counsel and other representatives of Plaintiffs and retained
  21 locksmiths who changed all exterior locks.
  22                1.     15261 Laguna Canyon Rd, Suite 200, Irvine, CA
  23         This 22,000 square foot space, bearing a nondescript “Prime Consulting”
  24 sign, comprises the entire second floor of a two-story building in an upscale office
  25 ///
  26
        2
  27   “Defendants” means collectively the Corporate Defendants, Individual
     Defendants and Relief Defendants, individually, collectively, or in any
  28 combination. TRO, Definitions at p. 6.
                                               2       Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 172 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 5 of 39 Page ID #:4060



    1 park. Prime Consulting is the lessee at a monthly rent of approximately $65,000.
    2 Exhibit 2 is a schematic of the space and an inventory of the property on site.
    3        At our arrival, we encountered an active operation with approximately
    4 130 personnel on site, many of whom appeared to be either brand new hires
    5 commencing training or prospects on site for job interviews. None of the
    6 Individual Defendants were present.
    7        Given the large number of people, many with minimal history with the
    8 business, it was a challenge to assemble them as a group and secure their
    9 cooperation. While several supervisors were on site, they were not cooperative;
  10 they did not assist during our effort to explain the receivership situation and secure
  11 TRO-required questionnaires from employees. 3 We ultimately imposed order,
  12 secured questionnaires from those employees who were cooperative, and met with
  13 a small number of sales personnel.
  14         The premises are built out to support a large telephone sales operation. The
  15 open floor space includes nearly 150 individual workstations equipped with
  16 telephones, computers, and monitors and organized in a pod-type system with each
  17 pod housing 12-15 sales workstations and one team leader. At our arrival,
  18 97 workstations appeared to be currently active. The walls are adorned with
  19 multiple big screen TVs and the usual accoutrements of sales boiler rooms,
  20 including white boards tracking the daily “closings” of each sales agent,
  21 motivational sales posters, and instructions to “close” the sale. See Section VI
  22 below for a summary of the sales operation.
  23         The space also includes a large conference room, eleven interior offices,4
  24
        3
  25   Two of the supervisors who refused to cooperate and complete questionnaires –
     Compliance Manager Nicole Balestreri and HR Director Shirena Hulzar – did,
  26 however, file declarations in connection with Defendants’ opposition to a
     Preliminary Injunction.
  27 4
       The interior offices are allocated to Human Resources (2), Training (4), the Floor
  28 Manager and his staff (2), a Compliance Manager, Information Technology, and
     Marketing. The marketing office is occupied by Pub Club Leads, allegedly a third
                                              3       Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19      Page 173 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 6 of 39 Page ID #:4061



    1 and four exterior offices.5
    2               2.    173 Technology Drive, Suite 202, Irvine, CA
    3        This suite of approximately 15,000 square feet is subleased by Defendant
    4 CAC from a neighboring company at a monthly rent of approximately $18,000.
    5        The site has capacity for nearly 120 staff with 4 individual exterior offices.
    6 At our arrival, approximately 60 employees were on site: 2 managers (the
    7 Customer Support Manager and the head of “Junior Processing”); 10-15 members
    8 of the Customer Service team; 10-15 members of the Junior Processing Team; and
    9 30 temporary employees, just recently hired for the reverification campaign
  10 described below. Two other managers (Adon Janse and Isabel Banda) with offices
  11 at this site were both at the Hughes location, conducting hiring and training of
  12 temporary employees for the reverification campaign.
  13         Nearly all employees at this site were cooperative, completed questionnaires,
  14 and responded to our questions.
  15         Exhibit 3 is a schematic of the office and an inventory of the property on
  16 site.
  17                3.    8 Hughes Parkway, Suite 210, Irvine, CA
  18         This site is an approximately 10,000 square foot suite in a two-story building
  19 in an office park leased by True Count at a monthly rate of approximately $10,000.
  20 A small sign for “SL Account Management” is posted on the front door.
  21         About a dozen people were present – most were temporary staff from
  22 AppleOne, a staffing agency regularly used by Receivership Defendants, on their
  23 first day of training for the reverification campaign.
  24         The suite consists of seven rooms built out along the windows (only one in
  25
     party firm to which Defendants have subcontracted advertising and lead
  26 generation.
        5
  27  The exterior offices are allocated to operations/accounting (with 9 workstations),
     employee Le Ho (aka Calvin Ho) and one office each to Individual Defendants
  28 Tuong Nguyen (aka Tom Nelson) and Albert Kim.
                                              4       Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO         Doc 148     Filed 11/04/19     Page 174 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 7 of 39 Page ID #:4062



    1 active use) and a large open area with approximately 120 cubicles (almost all of
    2 which were out of use).6, 7
    3           Exhibit 4 is a schematic of the space and an inventory of the property on
    4 site.8
    5           B.    Bank Accounts
    6           Immediately after receiving the TRO, Plaintiffs and the Receiver served the
    7 asset freeze on banks and other financial institutions where Defendants were
    8 known to maintain accounts. In the brief time since the TRO was entered, we have
    9 received the following information as to frozen accounts:
  10                                                                             Balance
                   Account Name        Financial Institution      Acct. No.      Frozen
  11
            First Priority LLC        JPMorgan Chase Bank           8566        $159,457.33
  12        First Priority LLC            Sunwest Bank              0992          $4,534.25
  13        Hold The Door Corp.
            (Relief Defendant)             Wells Fargo              7284         $53,634.41
  14
            Horizon Consultants LLC       Sunwest Bank              1069       $707,127.02
  15        Infinite Management Corp. JPMorgan Chase Bank           3880         $40,628.40
  16        Prime Consulting LLC      JPMorgan Chase Bank           0325       $517,412.78
  17        Prime Consulting LLC          Sunwest Bank              1026         $10,000.00
            TAS 2019 LLC                 HSBC Bank USA              3327      $2,870,097.75
  18
            TAS 2019 LLC                 HSBC Bank USA              0413          $3,096.99
  19
        6
  20  One of the rooms was set up as a training room and was in use when we arrived.
     Another office was occupied by Ms. Banda (HR), and another appeared to be in
  21 occasional use by IT personnel. The rest seemed to be unoccupied. Nearly all the
     cubicles were equipped with computer monitors, but many lack an actual
  22 computer, and appear to have been out of use for some time.
     7
  23   Both IT personnel (Keneth Hu and Mr. Vu) listed 8 Hughes as their principal
     office, but Mr. Hu told us that IT had offices in each location, and determined
  24 where they would spend each day based on the support requests it needed to
     address. Next to the IT office in the corner of 8 Hughes, we found a room
  25 containing a large rack of computer equipment apparently running bitcoin mining
     computations as a personal hobby of Mr. Hu. With Mr. Hu’s consent, we turned
  26 that equipment off.
        8
  27   At all three locations, we observed thousands of unopened letters from various
     student loan servicers and the Department of Education addressed to customers but
  28 sent to Defendants’ various mail drops.
                                                5       Case No. 8:19-cv-01998-JVS (JDEx)
                                         PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO          Doc 148     Filed 11/04/19    Page 175 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 8 of 39 Page ID #:4063



    1
                                                                                 Balance
    2            Account Name           Financial Institution     Acct. No.      Frozen
            TN Accounting Inc. (Relief
    3
            Defendant)                 JPMorgan Chase Bank          7163         $18,461.53
    4       True Count Staffing Inc.        BNY Mellon              2000          $2,824.83
    5       True Count Staffing Inc.   JPMorgan Chase Bank          1126          $8,887.95
    6       True Count Staffing Inc.       Sunwest Bank             2499        $364,355.56
            True Count Staffing Inc.        Wells Fargo             7276          $1,500.00
    7
            TOTAL                                                             $4,762,018.80
    8
    9            C.    Documents/Information/Electronic Data
  10             Upon taking possession of each of the three offices, we confirmed the hard
  11 copy documents onsite were secure. We retained a computer forensic firm to
  12 supervise Plaintiffs’ computer forensics experts in making images of selected
  13 desktop computers.
  14       Receivership Defendants utilize multiple cloud computing services –
  15 Microsoft Office 365 for email; Intuit QuickBooks Online for accounting; and
  16 DebtPayPro for their customer relationship management database (CRM). Despite
  17 some initial difficulty, we ultimately secured access, via the administrative
                                                                                9
  18 credentials, to most of the email accounts attached to the active domains and to
                                                               10
  19 QuickBooks Online for most of the Receivership Defendants. DebtPayPro
                                              11
  20 immediately suspended the CRM accounts.
        9
  21      slaccountmgmt.com, financialpreparationservices.com, processingsupport.com,
        and studentservicesplus.com.
  22    10
        We do not yet have QuickBooks access for Receivership Defendants First
  23 Priority, Horizon Consultants, or Trusted Account Services.
        11
  24       DebtPayPro also suspended the CRM database for EDU Doc Support – a related
        entity identified by Plaintiffs. When EDU Doc Support complained that their
  25    account should not be locked, we asked them to provide additional information to
        determine whether they are a related entity (i.e., owner’s name, type of business,
  26    location, etc.). To date, EDU Doc Support has not provided any information.
        Based on a review of their website (www.edudocsupport.com), they also provide
  27    student loan debt relief services. Until EDU Doc Support demonstrates that they
        are not related to the common enterprise, we are not comfortable taking its
  28    DebtPayPro account off suspension.
                                                 6       Case No. 8:19-cv-01998-JVS (JDEx)
                                          PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 176 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 9 of 39 Page ID #:4064



    1        Receivership Defendants employed CallerReady for telephone services.
    2 CallerReady’s counsel has confirmed they have preserved call recordings and are
    3 cooperating with the Receiver.
    4        D.    Accounting
    5        Our forensic accountant, Lisa Jones, is in the process of reviewing available
    6 financial records, which include QuickBooks records, bank statements, and
    7 merchant account statements for True Count and Prime Consulting. Based on the
    8 information available to date, she has prepared a Receivership Initial Account
    9 Records Review report attached as Exhibit 5. She has confirmed Defendants took
  10 in more than $71 million in gross deposits from consumer payments from January
  11 2016 to August 2019. We have also identified accountants who have provided
  12 bookkeeping and tax preparation services for Receivership Defendants in the past.
  13 We will follow up with them to secure relevant records and tax returns.
  14         E.     Notice to Consumers
  15         We added an outgoing telephone greeting to the Receivership Defendants’
  16 telephone numbers noting the suspension of operations and strongly encouraging
  17 customers to contact their student loan servicers. We have also placed a notice on
  18 the Receiver’s website and will use that as a vehicle to communicate with
  19 consumers.
  20                                           III.
  21                               DEFENDANTS’ PIVOT
  22                    TOWARD COMPLIANCE IN AUGUST 2019
  23         As important context for this receivership, we must note Defendants’
  24 operation has attracted significant state and federal regulatory attention over the
  25 last several years. Defendants failed to comply with fundamental regulations for
  26 telemarketing sales, including the prohibition of advance fees. Only beginning in
  27 August 2019 did Defendants initiate any material changes to their operations and
  28 then only after the regulators were knocking at the door.
                                              7       Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 177 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 10 of 39 Page ID #:4065



    1         As alleged in Plaintiffs’ submissions to the Court and reflected in CAC’s
    2 bankruptcy filings, Defendants’ regulatory exposure was highlighted by a
    3 $31 million bankruptcy claim by the State of Minnesota and by the CFPB’s
    4 issuance on September 10, 2018 of a civil investigative demand (“CID”) to
    5 Defendant CAC.
    6         Around the time of the CID, CAC shifted operations and assets to other
    7 Receivership Defendants – the sales operations were transferred to Prime
    8 Consulting and the customer base and revenue stream were shifted to True Count.
    9 CAC then filed bankruptcy in Florida in January 2019 with the goal, according to
   10 the testimony of Individual Defendant Albert Kim, to avoid the regulatory
   11 enforcement agencies which were circling. Because of concerns about false
   12 statements in its filings, the bankruptcy court later appointed a trustee over CAC’s
   13 bankruptcy estate.
   14         The CFPB’s and the states’ investigation of Defendants proceeded despite
   15 the bankruptcy. In July 2019, the CFPB took the investigative testimony of at least
   16 two former employees.12 Individual Defendants Kaine Wen and Albert Kim were
   17 aware of this testimony and they contacted one of the witnesses just before his
   18 scheduled appearance.
   19         Defendants appear to have reached a tipping point after the Wall Street
   20 Journal published an article highly critical of their practices on August 26, 2019,
   21 which was immediately emailed to Individual Defendants Albert Kim and Kaine
   22 Wen. See Exhibit 6.
   23         A day after the Wall Street Journal article ran, management 13 convened an
   24 emergency meeting which resulted in a decision to immediately suspend all sales
   25
        12
   26      Excerpts of the testimony of these former employees – Maxwell Camp and
        Jovani Ortoro – are attached as Exhibits 33 and 34 to Plaintiffs’ TRO Application.
   27 13
         This meeting of management included Kaine Wen, Albert Kim, Isabel Banda,
   28 Sal Avila, Kenny Nguyen, and Eric Ortiz.
                                               8       Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19    Page 178 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 11 of 39 Page ID #:4066



    1 efforts. Defendants announced to employees that “effective immediately all sales
    2 and marketing will be paused until further notice.” The stated purpose of this
    3 pause, projected to last approximately three weeks, was that “[d]uring this period
    4 the company and each department will work on re-training, compliance, and
    5 policies. In addition, each department will work together to address any and all
    6 mistakes on all client files.” See Exhibit 7.
    7        The sales pause was broadcast on the Financial Preparation Services website
    8 on August 28, 2019. 14 Human Resources emailed customer service personnel on
    9 August 28, 2018 to alert them that there was a new script to follow and instructed
   10 them to tell customers as follows:
   11               “[W]e are upgrading our technology and other systems to
                    ensure that clients have received and continue to receive
   12               high-quality services from us. While our acceptance of
                    new clients has been temporarily put on pause, we are
   13               absolutely continuing to work with current clients who
                    have paid at least one installment for our services.”
   14
   15 See Exhibit 8. 15
   16        At the outset of the sales pause, management identified prohibited practices
   17 that would be subject to a new “zero tolerance” policy.16 We located a flyer
   18 reciting these new policies posted just outside the “Junior Processing” department
   19 14
         The “ATTENTION ALL CUSTOMERS” notice recited that as of that date
   20 Financal Preparation Services “will be integrating new operational changes” and
      had “decided to temporarily pause our acceptance of new clients while
   21 undertak[ing] this integration.” See Exhibit 8.
        15
   22    The email also instructed that customers needing more information be told (1)
      “We are working on a variety of upgrades, including the way we process payments
   23 and other operational processes”; and (2) “Improved quality control to ensure that
      100% of our customers received the services that they paid for and are in the right
   24 loan modification, repayment, or forgiveness plan.” If a customer wanted to
      cancel, customer service should “process the cancellation without hesitation.”
   25 16
         These prohibited practices included: Accessing NSLDS (National Student Loan
   26 Data System); accessing FSA (Federal Student Aid); changing FS (family size);
      signing documents on behalf of clients; misrepresentation of the company
   27 (Example: we work with the DOE/servicer); submitting clients as unemployed on
      annual recertifications; and final pay without ROA [release of
   28 authorization]/confirmation documents uploaded. See Exhibits 7 and 9.
                                              9       Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO        Doc 148     Filed 11/04/19     Page 179 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 12 of 39 Page ID #:4067



    1 with a character wagging his fingers, “Ah, Ah, Ah, You Didn’t Say the Magic
    2 Words.” See Exhibit 9.
    3         During this sales pause (August 29, 2019 to September 30, 2019),
    4 Defendants took some steps toward compliance, including new sales scripts and
    5 training, a reverification campaign, and new claims about not accepting advanced
    6 fees. See Section VI.E “Compliance” below. A new dba “Student Services Plus”
    7 was also launched as Defendants’ public face for new customers, replacing
    8 Financial Preparation Services which had been featured prominently in the Wall
    9 Street Journal article. The launch of a new dba was consistent with Defendants’
   10 practice of deploying multiple generic-sounding business names. 17
   11         The business changes implemented after the Wall Street Journal article
   12 could fairly be interpreted as a mad scramble to correct illegal practices to stave off
   13 potential regulatory, civil, and possibly criminal liability. Or, the changes might be
   14 a sincere effort to embrace compliance. But as Receiver, I need not reach a
   15 definitive conclusion on such internal motivations, which do not impact my
   16 determination, as detailed below, that the Receivership Defendants operated
   17 unlawfully even after the August pivot and the businesses cannot operate profitably
   18 and lawfully using the assets of the Receivership Estate going forward.
   19         With this history as context, we present below a summary of the operations
   20 as we found them.
   21
        17
   22      At the time of immediate access, we found lists identifying employee teams,
        each with a different, and very generic, company name including: Premier Student
   23   Loan Center; Financial Preparation Services; South Coast Financial Center; Direct
        Account Services; Financial Loan Advisors; Account Preparation Services;
   24   Administrative Financial; Tangible Savings Solutions; Coastal Shores Financial
        Group; First Choice Financial Centre; Administrative Account Services; Primary
   25   Account Solutions; Prime Document Services; Financial Accounting Center; Doc
        Management Solutions; Sequoia Account Management; Pacific Palm Financial
   26   Group; Pacific Shores Advisory; First Document Services; Keystone Document
        Center; Administrative Accounting Center; Global Direct Accounting Services;
   27   Signature Loan Solutions; Best Choice Financial Center; Yellowstone Account
        Services; Regional Accounting Center; and Financial Direct Services. See
   28   Exhibit 10.
                                               10      Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO         Doc 148     Filed 11/04/19     Page 180 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 13 of 39 Page ID #:4068



    1                                            IV.
    2              DEFENDANTS COLLECT UNLAWFUL ADVANCE FEES
    3         The Telemarketing Sales Rule prohibition of such fees is a significant
    4 structural obstacle to this business succeeding as a lawful enterprise. The well-
    5 documented policy goal of the advance fee rule is to deter telemarketing
    6 opportunists from entering the debt relief business by removing a critical lure of
    7 such businesses – instant cash flow from susceptible consumers. Without that cash
    8 flow, the financial rationale for the business expires. Even with a TSR-compliant
    9 escrow, the impact on cash flow of deferring actual collection until the TSR pre-
   10 conditions are met is significant.
   11         Defendants’ current position, which is that their collection of advance fees is
   12 now lawful because the fees go to dedicated client accounts provided by third-
   13 party Trusted Account Services, is an ill-conceived effort to invoke the escrow
   14 exception to the TSR’s advance fee prohibition.
   15         A.      The Law – Telemarketing Sales Rule (16 C.F.R. § 310.4(a)(5))
   16         The Telemarketing Sales Rule (16 C.F.R. § 310, “TSR”) expressly prohibits
   17 the collection of advance fees for any debt relief service. See 16 C.F.R.
   18 § 310.4(a)(5). The full text is complex, but at its core, it prohibits requesting or
   19 receiving payment of any fee unless and until (A) the telemarketer has settled at
   20 least one debt pursuant to an agreement executed by the customer, and (B) the
   21 customer has made at least one payment pursuant to that agreement.
   22         The TSR includes a very narrow exception (the “Escrow Exception”) which
   23 permits the collection of advance fees if the funds are placed in a dedicated
   24 escrow-type account that meets five specific requirements, namely:
   25              x The account is at an insured financial institution;
   26              x The customer owns those funds and is paid accrued interest;
   27              x The account holder is not owned or controlled by the debt relief
   28                 servicer;
                                                11      Case No. 8:19-cv-01998-JVS (JDEx)
                                         PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 181 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 14 of 39 Page ID #:4069



    1             x The account holder does not give or accept any referral fees; and
    2             x The customer may withdraw from the debt relief service at any time
    3                without penalty and, upon withdrawal, must receive all funds in the
    4                account, except for compliant advance fees, within seven days of the
    5                withdrawal request.
    6        B.      Defendants Collect Advance Fees
    7        Consumer payments for Defendants’ services have been and continue to be
    8 collected long before any work has been completed or the customer has made a
    9 first payment on a new renegotiated plan. During the initial sales call, Defendants
   10 acquire the customer’s payment information and schedule the first payment, which
   11 is generally processed almost immediately after the customer executes the Services
   12 Agreement.
   13        The recurring monthly “recertification fee” is by definition collected in
   14 advance for 12 months before the annual recertification process even commences.
   15        C.      No Valid Escrow or Trust Procedure
   16        In four years of operation, Defendants have not had escrow or trust
   17 procedures which could lawfully invoke the TSR’s Escrow Exception.18
   18 Consumer payments have been collected and deposited directly to Defendants’
   19 bank accounts. Nearly $71 million have flowed directly to Defendants in this
   20 manner.
   21        Despite these immediate deposit procedures, Defendants have for years
   22 falsely trumpeted the absence of advance fees. A standard “No Advance Fees”
   23 provision of the form contract recites: A “third-party dedicated account provider
   24 (“DAP”) [will be used] to collect and deposit payments that Client has agreed to
   25
        18
   26   There are two very minor exceptions. Defendants contracted with third party
      dedicated account holders Reliant Account Management and Account
   27 Management Plus for a very short time. As best we can discern this was done so
      Defendants could steal these companies’ trade practices, methods, and documents.
   28 (Discussion below).
                                               12      Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 182 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 15 of 39 Page ID #:4070



    1 make with company . . . and to deposit and hold Client’s funds in a trust account
    2 established and serviced by the DAP. The DAP will not disburse any Client fees
    3 until Client has received a consolidation, adjustment, or otherwise satisfactory
    4 result, and Client completes one payment towards such.”19
    5        Now, Defendants have introduced Trusted Account Services into this “No
    6 Advance Fees” misrepresentation. The October 21, 2019 Sales Script in use at the
    7 time of the TRO proclaims:
    8            x “Our fees will be placed into your own Dedicated Client Account and
    9               these funds belong to you at all times. Your dedicated account
   10               provider is Trusted Account Services, and they will only release our
   11               fees after the Department of Education approves your Income Driven
   12               Repayment Program every year.” See Exhibit 11.
   13            x “As noted earlier on the call, all payments to us will be placed into
   14               your Dedicated Client Account. Any time before completion of the
   15               work, you can cancel and get your funds back. Your funds will only
   16               be released to us after we prove to you and Trusted Account Services
   17               that we have completed the work . . . .” See Exhibit 11.
   18        The “Compliance Call Script” within the Sales Script further recites:
                  “Do you understand that our company does not take any
   19             upfront fees, and that your payments to us will be placed
                  into your own Dedicated Client Account for your benefit
   20             until we successfully complete our work for you?” If the
                  consumer responds No, then the script continues: “It is
   21             very important to us your money is protected. You are
                  making payments for our fees to your own Dedicated
   22             Client Account held by a non-related company (like a trust
                  company). Your payments will be released to our
   23             company only after the Department of Education accepts
                  your program/plan. That money belongs to you at all
   24             times and you can ask for it back prior to completion of
                  our work.”
   25
   26
        19
   27    The consumer declarations filed by plaintiffs in connection with the TRO
      Motion include these underlying contracts. See, e.g., Pl. Exhibit 52, attachment A,
   28 p. 1466, para. 4. See also Pl. Exhibit 53, attachment A, para. 4.
                                              13      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 183 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 16 of 39 Page ID #:4071



    1 See Exhibit 11 (emphasis in original). Even if Defendants followed procedures as
    2 described in the scripts, they do not comply with the specific requirements of the
    3 TSR. 20
    4        Defendants’ fundamental misrepresentation is that a Dedicated Client
    5 Account has been set up with a third party: Trusted Account Services. Our
    6 investigation has revealed that Trusted Account Services is not a third party, but an
    7 appendage of Defendants’ operation which is maintained in-house by a very
    8 narrow group of insiders. Hence, Trusted Account Services does not provide
    9 Defendants cover that they are in compliance with the TSR.
   10        Given the complex history of Defendants’ deep deception as to Trusted
   11 Account Services, we present below as Section V a summary of Trusted Account
   12 Services’ formation and implementation based on the materials available to us
   13 from the immediate access.
   14                                          V.
   15                         TRUSTED ACCOUNT SERVICES
   16        Trusted Account Services (sometimes referred to as TAS) is not an
   17 independent third-party provider of dedicated client accounts. Rather, it was
   18 created and is beneficially owned and controlled by the Defendants who have
   19 closely guarded their ownership secret. The truth was shared with only a handful
   20 of Defendants’ high-level and trusted employees, who, in turn, relied on internal IT
   21 personnel and IT contractors located in Vietnam to build the Trusted Account
   22 Services facade.21
   23   20
         TSR prohibits the release of fees from the consumer’s trust account until (A) the
   24 telemarketer has settled at least one debt pursuant to an agreement executed by the
      customer, and (B) the customer has made at least one payment pursuant to that
   25 agreement. Defendants’ script ignores the one payment requirement, stating that
      funds will be released “only after Department of Education accepts your
   26 program/plan,” not after the plan has been accepted and one payment has been
      made as the TSR requires.
   27 21
         Outside the C-suite executives and IT functionaries, employees within
   28 Defendants’ companies were fed the party line about Trusted Account Services.
      Despite that, however, some employees we interviewed – who were mid-level
                                              14      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO      Doc 148     Filed 11/04/19     Page 184 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 17 of 39 Page ID #:4072



    1        Because Trusted Account Services is owned and controlled by the Individual
    2 Defendants and affiliated with the Receivership Defendants – and indeed is part of
    3 the Defendants’ student loan debt relief common enterprise – I have determined it
    4 is a Receivership Defendant.
    5        Once Trusted Account Services was operational, it was touted as the
    6 independent provider of dedicated client accounts for Receivership Defendants, all
    7 in an effort to create the appearance of an escrow procedure compliant with the
    8 TSR advance fee rule.
    9        A.     Defendants Establish Trusted Account Services
   10               1.    Incorporation
   11        The Trusted Account Services entity, TAS 2019 LLC (“TAS 2019”), was
   12 incorporated on March 20, 2019 as a Wyoming entity through an anonymous
   13 process using a local registered agent. The Wyoming Secretary of State does not
   14 provide information beyond the name of the registered agent – this allowed
   15 Defendants to conceal their involvement.
   16        The address listed for Trusted Account Services on its website is 109 E. 17th
   17 Street Suite 5656, Cheyenne, WY which is simply a virtual office that accepted
   18 mail and provided the false appearance of an actual operating company. The
   19 Wyoming virtual office was rented in the name of Trusted Account Services and
   20 Kenny Huang and was instructed to forward Trusted Account Services mail to an
   21 address in Huntington Beach, CA – 17011 Beach Blvd, Suite 900. See Exhibit 12.
   22 The Beach Blvd location is yet another virtual office/mail drop arranged and paid
   23 for by Defendants’ employees, including operations manager Calvin Ho, in the
   24 name of Trusted Account Services and Kenny Huang. See Exhibit 13.
   25        The TAS 2019 incorporation documents we recently secured identify Kenny
   26 Huang as the managing member of the LLC. We believe Kenny Huang is or was
   27
      managers and line employees – noted they were suspicious about the independence
   28 of Trusted Account Services.
                                             15      Case No. 8:19-cv-01998-JVS (JDEx)
                                      PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 185 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 18 of 39 Page ID #:4073



    1 an employee of the Defendants or perhaps was simply acting as a “front” for the
    2 Defendants in their effort to secure merchant payment processing. 22 During a
    3 phone call with Kenny Huang at 6:12 p.m. on October 30, 2019, I directly asked
    4 him if he was the owner of TSA 2019, and he responded “yes” twice, but then
    5 would not answer further questions and has not responded to our several calls since
    6 then.
    7               2.    Website
    8         On March 20, 2019, Defendants also registered a website –
    9 trustedaccountservices.com. Although the domain is registered anonymously with
   10 internet domain registrar GoDaddy, our investigation indicates that Defendants
   11 control the Trusted Account Services server and website. We discovered
   12 correspondence between Defendants’ employees Calvin Ho and Thein Nguyen
   13 discussing, evaluating and revising the initial content for this website. We also
   14 located the GoDaddy and TAS domain credentials (username and password) in
   15 Individual Defendant Albert Kim’s Dropbox.
   16         Defendants also controlled the Trusted Account Services email system. In a
   17 Customer Service Manager’s workstation, we located the Outlook password for
   18 email account studentloanmanagement@trustedaccountservices.com. See
   19 Exhibit 14. That email mailbox was only recently created (October 13th), but had
   20 already received several hundred emails from customers. Although they were
   21 addressed to a Trusted Account Services account, these emails were regularly
   22 reviewed and responded to by Defendants’ employees.
   23   22
         We found an IRS W-4 form completed in the name of Kenny Huang at
   24 Defendants’ Laguna Canyon office. Trusted Account Services merchant account
      application documents purportedly completed by Kenny Huang reflect he is
   25 employed by the U.S. Department of Labor. Regardless of where Mr. Huang is
      employed, we believe he was acting as a “front” or nominee used to establish TAS
   26 2019, open bank accounts, and most importantly obtain merchant account payment
      processing. Defendants have used other employees, for example, Keneth Hu
   27 (discussed below), to act as “front” for Defendants’ merchant account applications.
      In Mr. Hu’s case, he opened a Horizon Consultants LLC d/b/a Premier Student
   28 Loan Center merchant account.
                                              16      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO        Doc 148    Filed 11/04/19    Page 186 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 19 of 39 Page ID #:4074



    1        B.        Defendants’ First Attempt to Secure Payment Processing for
    2                  Trusted Account Services
    3        In February 2019, even before the Trusted Account Services name had been
    4 selected, Defendants sought a payment processing vendor for the new venture.
    5 They began discussions with Donald Cook, a broker who seems to cater to high-
    6 risk clients. On February 26, Cook told the Individual Defendants Wen and
    7 Nguyen and senior employee Calvin Ho that he could secure processing services,
    8 but warned they needed a third party intermediary for client funds. See
    9 Exhibit 15. 23
   10        Not long after the entity was incorporated, Kaine Wen (copying the other
   11 Individual Defendants and Calvin Ho) notified Donald Cook that TAS 2019 LLC
   12 would be the processing applicant with Kenny Huang as the owner. See
   13 Exhibit 18. Cook responded by email to Kenny Huang (who Mr. Cook understood
   14 was an employee of the Defendants) with more requests for information. In
   15 response, Kaine Wen, who had been copied on the email, forwarded Cook’s
   16 requests to his operations manager Calvin Ho to complete (which he did). 24 While
   17 he was able to secure some payment processing for Defendants, Cook terminated
   18 the relationship after a falling out with Defendants. As a result, Trusted Account
   19 Services was left without payment processing capability, but the void was later
   20 filled by Jimmy Lai – a long-time associate of the Defendants, discussed below.
   21 ///
   22 ///
   23
      23
   24    A few days later, on March 3, Calvin Ho emailed the Individual Defendants a
      flow chart for a new “DAP” [dedicated account provider] intermediary, Exhibit 16,
   25 and on March 11, he emailed his technical team a list of desired functions for the
      DAP intermediary, which for the first time he identifies as Trusted Account
   26 Services. Exhibit 17.
        24
   27    Kenny Huang was purported to be using the email TAS2019@gmail.com, but in
      fact Kaine Wen actually controlled that email account and used it frequently
   28 (posing as Kenny Huang) in communications with vendors.
                                               17      Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19    Page 187 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 20 of 39 Page ID #:4075



    1        C.     Defendants Deceive DebtPayPro to Get Trusted Account Services
    2               on the Platform
    3        For Trusted Account Services to function, it had to be integrated with
    4 Defendants’ customer relation management (CRM) software, provided by
    5 DebtPayPro. Kaine Wen along with Calvin Ho orchestrated a ruse to get Trusted
    6 Account Services accepted and integrated in the DebtPayPro CRM database. They
    7 went to great lengths to posture Trusted Account Services as a real and
    8 independent company, including creating fictional characters to interact with DPP
    9 via email and over the telephone.
   10        On May 1, 2019, Kaine Wen emailed DebtPayPro’s support team, writing:
   11               “Please provide detailed answers and explanations to the
                    following questions from Trusted Account Services. We
   12               are testing out their dedicated account provider services
                    (same services as Reliant Account Management or
   13               Account Management Plus). Thank you in advance.
                           1.    How can we integrate with DPP?
   14                      2.    Do you have any document that details what
                    information we need to receive from DPP’s end or pass to
   15               DPP from our end?
                           3.    Do you have any API to use for integration?
   16                      4.    How can we manage the transactions and
                    clients between our systems and DPP?”
   17
   18 See Exhibit 19 (emphasis added)
   19        The questions posed by Kaine Wen did not, however, originate from Trusted
   20 Account Services, but were crafted by Defendants’ IT employee 25 who had been
   21 tasked to integrate Trusted Account Services into the DebtPayPro platform. See
   22 Exhibit 20.
   23        Kaine Wen created these questions and the lead-in to them to paint the
   24 mirage of Trusted Account Services as a separate company. When DebtPayPro
   25 support staff followed up with a request for the company’s website and the name
   26 of a direct contact there, Calvin Ho responded with a link to the website
   27 25
         We believe the Vietnam company, Processing Service Co., Ltd., is owned by
   28 Calvin Ho’s mother. It received nearly $600,000 from Horizon Consultants.
                                              18      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 188 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 21 of 39 Page ID #:4076



    1 (https://trustedaccountservices.com) and an email address
    2 (technicalsupport@tasportal.com). See Exhibit 19. DebtPayPro support then
    3 asked, “[i]s there a person there you’ve been working with that I can ask reach
    4 [sic] out to specifically?” Id. Calvin Ho responded with a name: Michael Tabin
    5 (michaelt@trustedaccountservices.com) whose signature listed him as Trusted
    6 Account Services’ Chief Technology Officer. Id. We believe, however, that
    7 “Michael Tabin” is a fictional name invented by Kaine Wen and Calvin Ho to deal
    8 with DebtPayPro.
    9         On May 23, Ho emailed the group – addressing both DebtPayPro and
   10 “Michael” – to ask how the integration was proceeding and when Defendants
   11 could begin using Trusted Account Services. Id. DebtPayPro responded that they
   12 were still reviewing the API documentation and drafting a scope of work proposal
   13 and quote. Id. Throughout the email chain with DebtPayPro, Wen and Ho
   14 maintained the deception that they were Trusted Account Services. Trusted
   15 Account Services was ultimately accepted by DebtPayPro – which gave
   16 Defendants the ability to process consumer payments through Trusted Account
   17 Services on the DebtPayPro platform.
   18         D.    Defendants Purloined Legitimate Third Party Companies’
   19               Methods and Documents to Establish Trusted Account Services
   20         Our review also revealed that in establishing Trusted Account Services,
   21 Defendants just copied the methods, operations and documents of other such
   22 providers like Reliant Account Management (“RAM”) and Account Management
   23 Plus (“AMP”). Defendants had their IT contractor in Vietnam copy wholesale the
   24 practices and documents (generally word-for-word) of RAM and AMP which were
   25 then only slightly modified and rebranded as Trusted Account Services materials.
   26 We located in Defendants’ team management software, Monday.com (which is
   27 used to monitor IT and operations projects), a project associated with the creation
   28 of Trusted Account Services. The Defendants’ Monday.com platform includes
                                              19      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO        Doc 148     Filed 11/04/19    Page 189 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 22 of 39 Page ID #:4077



    1 tasks such as “Figure AMP’s services charges to find a processing comp for TAS”
    2 and “Create a new agreement based on RAM Authorization Form,” as well as
    3 “Build database for TAS” and “Revise TAS Contents.” See Exhibit 21.26 This
    4 “creative” history demonstrates that Trusted Account Services was hatched by
    5 Defendants, complete with intellectual property thievery.
    6        E.      Defendants Own and Control the Trusted Account Services Bank
    7                Accounts
    8        Defendants opened Trusted Account Services bank accounts at HSBC Bank
    9 shortly after TAS 2019 was incorporated. While we have not yet received a
   10 fullsome response from HSBC, we found the following documents at the Laguna
   11 Canyon offices which show Defendants own and control these HSBC accounts:
   12             x An HSBC account statement for Trusted Account Services for
   13                September/October 2019 was found in a back corner office (where
   14                Defendants’ operations/accounting were located).
   15             x Two large packages of Trusted Account Services HSBC business
   16                checks were found in a safe in the same office. Although Kenny
   17                Huang is the signatory on the account, the checks were mailed to the
   18                home address of Defendants’ accounting employee, Thu Quach. Ms.
   19                Quach labeled the two accounts as an operating account and a client
   20                funds account.
   21             x One sheet of checks were pre-signed via a signature stamp in the
   22                name of Kenny Huang. See Exhibit 22. We later found the stamp in
   23                the safe in Ms. Quach’s office.
   24
        26
   25    Notably, Defendants contracted with both RAM and AMP for a short period of
      time. For example, Defendants entered into a contract in November 2018 with
   26 RAM, but the relationship terminated in roughly March of 2019 – Defendants
      having used RAM for only a couple of dozen customers (out of the Defendants’
   27 roughly 50,000 active customers). But in doing so, Defendants learned the
      methods of these third party dedicated account provider companies and accessed
   28 their agreements and contracts which the Defendants promptly plagiarized.
                                               20      Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO        Doc 148     Filed 11/04/19    Page 190 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 23 of 39 Page ID #:4078



    1             x We also found Costco receipts, dated September 10, 2019, for two
    2                orders of Trusted Account Services HSBC checks. The checks had
    3                been mailed to Ms. Quach’s home.
    4             x The address on the checks is the Beach Blvd. virtual office for Trusted
    5                Account Services, which was opened under Kenny Huang’s name but
    6                which Defendants arranged.
    7        F.      Defendants Arrange Trusted Account Services Payment
    8                Processing through Jimmy Lai and National Merchant Center
    9        Once Defendants integrated Trusted Account Services into the DebtPayPro
   10 platform, they still needed a payment processing vendor. Defendants had been on
   11 alert for payment processing options for several months. See Exhibit 23. When
   12 the arrangement with Donald Cook fell apart, the Defendants went back to Jimmy
   13 Lai, who, like Cook, acts as a middle man between high-risk merchants and
   14 payment processors. 27 He has worked with Defendants on numerous occasions to
   15 secure payment processing for their various entities.
   16        Defendants did not have to present an elaborate charade of Trusted Account
   17 Services’ independence with Jimmy Lai. Lai was in on the lie. He understood that
   18 Defendants owned and controlled TAS 2019 and that Kenny Huang was a front.
   19 He had worked with Defendants for years and, in fact, had previously executed
   20 nearly this exact “front” scam with Defendants.
   21        In late 2018, Lai worked with Individual Defendants Wen and Nguyen to
   22 use a front – this time Keneth Hu, an IT employee of Defendants – to apply for a
   23 merchant processing account in the name of Horizon Consultants LLC d/b/a
   24 Premier Student Loan Center. Hu claimed to be the 100% owner of Horizon
   25 Consultants for purposes of the application – but all involved understood that
   26
        27
   27   In this instance it is unclear whether Lai was acting as a broker or as an
      employee of National Merchant Center, as we see that he uses a National Merchant
   28 email address in connection with Trusted Account Services.
                                               21      Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO      Doc 148     Filed 11/04/19     Page 191 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 24 of 39 Page ID #:4079



    1 Defendants own and control the company. When the application was finalized – in
    2 Keneth Hu’s name and containing all of his personal information – Lai sent it to
    3 Individual Defendants Wen and Nguyen, not Hu, with a note: “Please review for
    4 accuracy, sign and return.” Kaine Wen then forwarded the application on to Hu
    5 with instructions, “Please sign on page 6 (twice) and page 7.” See Exhibit 24.
    6 Horizon Consultants’ merchant application was approved and it proceeded to run
    7 consumer charges through the account. See Exhibit 25.
    8        Eight months later, Defendants approached Lai about filing another
    9 application package using a “front” – this time for Trusted Account Services. Lai
   10 was happy to oblige. On June 19, Lai submitted an application for TAS 2019 with
   11 National Merchant Center with Kenny Huang as the “front” – listed as the 100%
   12 owner. See Exhibit 26. Six days later, the associate director of underwriting wrote
   13 to Lai and identified a number of holes in the application. Lai simply forwarded
   14 the email with a one sentence introduction: “Kaine/Kenny, There are a lot of things
   15 missing that we need to obtain before we can send to First Data for review and
   16 approval.” Id. The application was revised and submitted on July 1. See
   17 Exhibit 27. Again, Kenny Huang was the “front,” listed as the owner of TAS
   18 2019. On July 9, Lai forwarded the final application for signature, listing Kenny
   19 Huang as the 100% owner. But Lai did not send the application to Kenny Huang;
   20 he sent it only to Kaine Wen with the instruction to “[p]lease execute with Wet
   21 Signature.” See Exhibit 28.
   22        National Merchant Center accepted the application – an application that
   23 Kaine Wen, Kenny Huang and Jimmy Lai knew was false. Processing for Trusted
   24 Account Services began on September 12 and by the end of the month more than
   25 $800,000 in consumer funds had been processed. Another $2,000,000 in consumer
   26 charges were processed before the TRO was issued.28
   27 28
         Based upon information contained in the Trusted Account Services portal that
   28 Defendants’ employees control, more than 56,000 separate transactions were
      processed in the roughly six weeks of operation. Indeed, it appears that all of
                                              22      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19    Page 192 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 25 of 39 Page ID #:4080



    1        G.     Defendants’ Assertion that Trusted Account Services Is a Third
    2               Party Dedicated Account Provider Is False
    3        In Defendants’ Response to the Order to Show Cause, they assert that
    4 Trusted Account Services is a “third party” which is “a dedicated account provider
    5 that provides escrow services” and that “[n]o Defendant or Relief Defendant owns
    6 or controls (or has ever owned or controlled) [Trusted Account Services].”
    7 Response at pp. 9-10. Each of these assertions is based entirely on the declaration
    8 of Jimmy Lai attached to the Response. Mr. Lai’s declaration is riddled with
    9 extraordinary falsehoods.
   10        As discussed above, Mr. Lai was a long-time payment processing broker for
   11 the Defendants and was instrumental on at least two occasions in obtaining
   12 merchant accounts for Defendants using “fronts” or nominees, including Trusted
   13 Account Services. Nevertheless, Mr. Lai now claims that Trusted Account
   14 Services is not, and was never, owned or controlled by any Defendant or Relief
   15 Defendant (¶ 6). This claim is belied by substantial evidence as described above.
   16 Mr. Lai also claims he is the majority owner of TAS 2019 and has been since
   17 September 1, 2019 (¶ 1), and that since his involvement with Trusted Account
   18 Services, its connection to Defendants has been limited to software integration
   19 (¶ 6). These claims are inconsistent with the facts described above and any number
   20 of objective post-September 1, 2019 facts:
   21             x On September 9, 2019, two Merchant Account Change Request
   22               Forms for Trusted Account Services were filed with National
   23               Merchant Center (a company at which Mr. Lai is or was employed).
   24               The owner of Trusted Account Services is listed as Kenny Huang and
   25               a signature in that name appears on the forms. See Exhibit 29. The
   26
   27
      Defendants customers’ payment processing was transferred to Trusted Account
   28 Services without notice to customers.
                                              23      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO      Doc 148     Filed 11/04/19      Page 193 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 26 of 39 Page ID #:4081



    1              email listed for Mr. Huang, tas2019llc@gmail.com, is controlled by
    2              Kaine Wen.
    3           x A Trusted Account Services voided check was attached to the
    4              September 9th Merchant Account Change Request Forms. The
    5              address listed on the check is Kenny Huang’s home address. Id.
    6           x Also included with the Merchant Account Change Request Forms was
    7              a letter from HSBC, dated September 9, 2019, reflecting that
    8              TAS 2019 and Kenny Huang established a business account with the
    9              bank. Id.
   10           x On September 10, 2019, Defendants’ employees ordered new HSBC
   11              Trusted Account Services checks and had them mailed to an
   12              employee’s home.
   13           x On September 19, 2019, National Merchant Center ran another check
   14              on the Wyoming Secretary of State site to confirm that TAS 2019
   15              remained active at the mail drop in Wyoming. See Exhibit 30.
   16           x On September 20, 2019, a Trusted Account Services mail drop
   17              invoice in the amount of $125 for October 2019 was forwarded to an
   18              employee of Defendants for payment.
   19           x National Merchant Center sent a “card processing statement” for the
   20              period of September 1 to September 30, 2019 to Kenny Huang at the
   21              mail drop in Wyoming. See Exhibit 31.
   22           x In early October, National Merchant Center mailed the Trusted
   23              Account Services September processing statement to Kenny Huang at
   24              the mail drop in Wyoming (the address listed on the Wyoming
   25              Secretary of State site). See Exhibit 32.
   26           x We located the check stub for the last customer refund check written
   27              on the Trusted Account Services HSBC business account at the
   28
                                             24      Case No. 8:19-cv-01998-JVS (JDEx)
                                      PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 194 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 27 of 39 Page ID #:4082



    1               Laguna Canyon office; the check was written on October 4 using a
    2               signature stamp in the name of Kenny Huang.
    3            x On October 7, 2019, National Merchant Center forwarded the
    4               TAS 2019 September statements to Jimmy Lai at his
    5               swiftpaymentsinc.com and his nationalmerchant.com addresses.
    6               (Again, it is unclear if Mr. Lai continues to work at National
    7               Merchant Center.) Within eight minutes of getting the statements, Lai
    8               forwarded them to Defendant Nguyen. See Exhibit 33.
    9            x Two days ago, Wednesday, October 30 at 6:12 p.m., in a short
   10               telephone call with me, Kenny Huang claimed (twice) that he owns
   11               TAS 2019. Mr. Huang asked to see the TRO before having any
   12               further conversation. The TRO was provided. Mr. Huang has not
   13               responded to our emails or telephone calls since.
   14 We noticed and served a deposition notice on Mr. Lai on Tuesday, October 29, for
   15 a Friday, November 1 deposition. (That deposition is now set for Tuesday,
   16 November 5.)
   17                                          VI.
   18                        STUDENT LOAN DEBT RELIEF –
   19                       THE SALES PITCH AND PROCESS
   20        Defendants’ acceptance of advance fees in violation of the TSR dooms the
   21 business from the start.29 But, the analysis of whether this business can continue
   22 lawfully and profitably does not hang entirely on advance fees. We identified
   23 fundamental flaws in the tactics deployed to secure customers which have left
   24 consumers feeling confused and misled. See Section VI.F “Complaints” below.
   25        Defendants’ student loan debt relief business is built on a challenging
   26 premise: identify and target consumers with student loan debt to sell them a
   27 29
         Even advance fees collected through TSR-compliant escrow would pose serious
   28 challenges to financial sustainability – see discussion below.
                                              25      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148      Filed 11/04/19     Page 195 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 28 of 39 Page ID #:4083



    1 utilitarian service they can do themselves (by filling out Department of Education
    2 forms or with the assistance of resources available from the DOE, DOE-approved
    3 loan servicers, and other consumer-friendly resources. And do this in an
    4 environment that is heavily regulated to protect consumers and prohibits advance
    5 fees until the work is completed and accepted by consumers. By any definition,
    6 this is not a promising business model for a lawful operator, and this reality is
    7 borne out by Defendants’ 70% cancellation rate. See Exhibit 1.
    8         A.    Leads
    9         New customers are secured by the telemarketing sales team by calls to and
   10 from consumer “leads.” Lead generation has been managed by Pub Club Leads
   11 (“Pub Club”), the marketing business which operated from an interior office at the
   12 Laguna Canyon site. Pub Club was tasked to generate “Billable Leads” based on
   13 parameters set forth in time-specific orders from Prime Consulting. Pub Club did
   14 this by retaining and managing multiple sub-vendors who deployed various data
   15 mining techniques. Pub Club was compensated by a percentage of the total
   16 “advertising buy” for each of the Orders. Our review indicates that for the period
   17 October 2018 to October 2019, Pub Club received approximately $9 million from
   18 Prime Consulting. Pub Club also received approximately $5 million from Horizon
   19 Consultants between March 2019 and September 2019.
   20         B.    Sales Tactics
   21         Defendants’ new “zero tolerance compliance” protocols, announced in
   22 August 2019, are themselves confirmation of bad practices that historically
   23 permeated the sales process. See Exhibit 7. One such practice related to family
   24 size where sales agents, with or without the customer’s assistance, inflated family
   25 size to secure lower payments. In one recorded telephone call from July 25, 2019,
   26 that we reviewed, the sales advisor added the customer’s two dogs to increase
   27 family size. In June 2019, a customer service manager identified an issue
   28 internally that customers felt “scammed” because they were paying $1,300 when
                                               26      Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 196 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 29 of 39 Page ID #:4084



    1 Defendants do “very little.” See Exhibit 34. In April, 2019, Individual Defendant
    2 Nguyen internally reported that he had done a small audit on family size and found
    3 that 6 out of 10 failed with “All fake FS.” See Exhibit 35.
    4        Our review of the Laguna Canyon site confirmed the obvious reality that
    5 Defendants were in the sales business with sales personnel incentivized to sell:
    6           x The Sales Department was physically structured to maximize results
    7               with sales agents organized in pods headed by a Team Leader, each
    8               with a separate white board to track results and weekly goals.
    9           x Sales advisors (who were retitled Student Loan Specialists on
   10               September 30, 2019) were paid weekly with an hourly minimum
   11               ($12-$15 per hour) and a commission based on a percentage (18%-
   12               22%) of the dollar value of closed deals after the enrollment payment
   13               cleared. The applicable percentage was determined by the advisor’s
   14               rank, which was based on total revenue from sales over the previous
   15               four weeks. See Exhibit 36.
   16           x Sales advisors were also paid bonuses through various “performance
   17               sprints”, including special bonuses for same day closings/payments
   18               and 5 deals in a day. The big producers even got to participate in
   19               raffles for laptops, gaming consoles, headphones and movie tickets.
   20               See Exhibit 37.
   21           x The overriding mission was to “Close.” A big screen TV in the main
   22               room ranked the highest closers. Inspirational signs promoted
   23               “Always Be Closing” and “Assume the Close.”
   24            x Sales advisors were exhorted to complete the “Hard Close,”
   25               sometimes called “Same Days,” by manufacturing a need to close
   26               now. Rebuttals to customers wanting to “call back” included “the
   27               government is very strict” and the “system does not allow me to keep
   28               your application open.” See Exhibit 38.
                                              27      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 197 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 30 of 39 Page ID #:4085



    1        Absent aggressive real time supervision, these incentives created an
    2 atmosphere where sales agents are tempted to do whatever necessary to “close”
    3 and get their commissions and bonuses.
    4        We reviewed scripts, training materials, and sales directives found at each
    5 workstation in the Sales Department. After August 2019, the Sales Scripts were
    6 revised several times, but even the most recent Sales Script – October 21, 2019
    7 (Exhibit 11) – may confuse consumers about the services and the related fees, and
    8 creates the impression that fees paid to Defendants would be credited to their loan.
    9 This confusion is reflected in consumer complaints. See Section VI.F
   10 “Complaints” below.
   11        C.     Enrollment Fees
   12        “Enrollment Fees” (now called “Initial Fees”) were a key component of the
   13 sales process and engendered significant confusion among customers. The most
   14 recent schedule includes three tiers based on the customers student loan balance.
   15 The “Initial Fee” was set at $1,545 (loan balance above $40,000), $1,395 (loan
   16 balance $25,000-$40,000), and $1,245 (loan balance $9,000 – $25,000).30 The
   17 standard payment plan was five monthly payments (six with manager approval).
   18 Consumers who agreed to immediately pay in full were rewarded with a $100
   19 discount and sales advisors received bonuses. The fee structure with the
   20 corresponding monthly payment amounts and related commissions were published
   21 in materials and on white boards around the office. See Exhibit 36.
   22        All customers were also charged a recurring monthly “recertification fee”
   23 ($22, $32, or $42) as required by most repayment plans. This recertification fee
   24 created residual monthly cash flow for Defendants with no immediate benefit to
   25 the customer and was paid out well before the annual recertification application
   26 was actually prepared or even due.
   27 30
         Fee amounts have varied over time with $1,750 being the highest level we
   28 identified.
                                              28      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO        Doc 148    Filed 11/04/19    Page 198 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 31 of 39 Page ID #:4086



    1        Fee payment schedules were entered into DebtPayPro and monthly auto
    2 payments were pulled from customer accounts. The recertification fee was
    3 scheduled to be charged in the month after receipt of the final payment on the
    4 Initial Fee.31
    5        D.        Customer Service and Processing
    6        At the time of the TRO, customer service operated from the 173 Technology
    7 Drive site. In early October 2019, Defendants actually laid off the entire
    8 processing department as a prelude to outsourcing processing functions to an
    9 offshore vendor.32
   10        The Customer Service Team was primarily tasked to handle complaints from
   11 consumers, the BBB, and regulators. Internal protocols emphasized, however, that
   12 representatives were to answer the phone generically as “customer
   13 service/customer support” and to give the appearance of being a “third party.”33
   14        Scripts and instructions found on site confirmed complaints were a big part
   15 of the business. Written instructions found in Customer Service cubicles identified
   16 two primary goals (1) retain the customer by resolving the issue and (2) mitigate
   17 the fallout from customers likely to complain to outsiders. “Retention Policies”
   18
        31
   19    For example, the DPP file for customer L. Burdick (loan balance $40,303)
      shows enrollment on October 4, 2019 with the Initial Fee of $1,245 scheduled out
   20 at 5 monthly payments of $249 commencing October 4, 2019, completing
      February 4, 2020, and the $42 monthly recertification fee scheduled to commence
   21 March 4, 2020 and running through September 4, 2029.
        32
   22    Historically, the primary processing functions were to pick up the customer
      “file” from the sales agent once the agreement was signed. From there, processing
   23 finalized data collection on income and other matters, secured customer signatures
      on the necessary documents and commenced the processing of enrollment fees.
   24 33
         The customer service representatives were provided scripted language: “We are
   25 a third party customer service department that takes care of customer support for
      many different companies. It looks like you have been working with (insert
   26 appropriate name here: SL Account Management, Premier Student Loan Center,
      Financial Preparation Services, Financial Loan Advisors, and Tangible Saving
   27 Solutions.).” They were also instructed not to acknowledge any of Defendants’
      name changes or that customer service was part of any of those companies. See
   28 Exhibit 39.
                                              29      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19      Page 199 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 32 of 39 Page ID #:4087



    1 directed that full refunds be given to consumers likely to complain to the BBB,
    2 regulators, or enforcement authorities. See Exhibit 40.
    3         Customer Service also maintained a list of 20 “Disposition Codes” which
    4 highlight the level of customer confusion. These codes included “Fees not
    5 Explained to Me,” “Program not Explained Correctly,” and “Payments did not go
    6 toward my Student Loan Payment.” See Exhibit 41.
    7         During September and October 2019, a primary activity at the Technology
    8 Drive site was a reverification campaign supposedly designed to confirm the data
    9 on more than 40,000 files and have customers sign new documentation. This
   10 campaign was implemented by personnel from Junior Processing, Customer
   11 Service, and approximately 30 temporary workers who made outbound calls to
   12 customers based on a script. After verifying identity, the customer was directed to
   13 a website to verify and initial a series of compliance questions and provide fresh
   14 signatures on documents signed at their original enrollment. This campaign also
   15 introduced customers for the first time to Trusted Account Services and directed
   16 them to sign a contract with Trusted Account Services.34, 35
   17
   18 34
         In this regard, the reverification script included Compliance Questions,
   19 Paragraph 10 of which provides:
   20         x “Do you understand that your monthly recertification assistance fee to us
                will be placed into your own Dedicated Client Account held for your
   21           benefit until we successfully complete our work for you?”
   22         x “You are making payments for our fees to your own Dedicated Client
                Account held by a non-related company (like a trust account) until
   23           your program is finalized and complete.”
   24         x “To fully emphasis we do not take upfront fees. That means that until
                your program is approved any payments you are making are going into a
   25           separate trust account for you until you are placed in the program initially
                outlined with the payment details initially discussed.”
   26
        See Exhibit 42 (Emphasis added).
   27 35
         Notably, Defendants unilaterally transferred all customer payment processing to
   28 Trusted Account Services in September 2019 without customer consent.
                                               30      Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO        Doc 148     Filed 11/04/19      Page 200 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 33 of 39 Page ID #:4088



    1         In their recent filings, Defendants cite a supposed 96% success rate in the
    2 reverification campaign as evidence that their customers were fully satisfied and
    3 re-executed agreements willingly. See, e.g., Defendants’ Response re: OSC at 8-9
    4 (citing Balestreri Decl. ¶ 12 & Ex. F). They claim this high success rate for the
    5 3,252 reverifications is “more statistically significant and a more accurate picture”
    6 than the customer complaints relied on by the CFPB because Defendants’
    7 “sampling of customers is random.” Id. at 8. This success figure is astounding and
    8 suspect, particularly in a business with a 70% customer cancellation rate.
    9         My investigation indicates, however, that the reverification campaign was
   10 not an objective scientific process confirming universally happy customers.
   11 Rather, it was a hastily organized exercise using temporary employees with little
   12 training to retroactively confirm data in old files, guided by a script that required
   13 more than 90 minutes of talk time to complete. In addition, Defendants’
   14 “sampling” does not appear random at all, but instead it appears Defendants
   15 cherry-picked the initial files to be reverified in order to achieve a higher success
   16 rate. Notes we found in the office of Mr. Ortiz, the head of Junior Processing,
   17 from a September 20, 2019 meeting with customer service managers Christian
   18 Sangalang and Adon Janse indicate that Mr. Ortiz’s team was assigned 2,800 files
   19 designated “High priority.” All of these had small “FS (family size),” between 1
   20 and 5 members, thus reducing the likelihood of prior family size inflation. The
   21 notes indicate that Mr. Janse stated that approximately 2% of these files “have
   22 issues” and that “Most clients will sign.” See Exhibit 43.
   23         Defendants also suggest that the reverification campaign reflected a
   24 “random” sampling of calls coming into customer service. This is, however,
   25 belied by the reverification scripts which state: “I am calling you today on a
   26 recorded line to ensure the accuracy of all details on your account. We are
   27 contacting all our existing clients to complete a routine follow up as part of our
   28 ///
                                               31      Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO         Doc 148     Filed 11/04/19     Page 201 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 34 of 39 Page ID #:4089



    1 newly required compliance policies and procedures.”36 See Exhibit 42.
    2         E.      Compliance
    3         Compliant practices did not come naturally to Defendants. Compliance
    4 concerns and procedures before the August pivot were sporadic. Beginning
    5 August, 2019, however, compliance efforts were upgraded, including:
    6              x The zero tolerance policies first announced in the August 27, 2019
    7                 Memo, were re-stated in various other formats. See Exhibit 44.
    8              x New Hires were run through a week of day-long training and
    9                 education sessions. See Exhibit 45.
   10              x The basic Sales Script was updated and revised multiple times
   11                 resulting in the current version of October 21, 2019. See Exhibit 11.
   12              x The 4 training rooms at the Laguna Canyon site, each outfitted with 4
   13                 workstations, were updated with new directives and information
   14                 posted above each workstation, including Rebuttals, Doc. Assistance,
   15                 File Accuracy, and Verbal Consent. See Exhibit 46.
   16         These are representative, but not exhaustive examples of compliance efforts
   17 after the August pivot. These moves were in the right direction, although some
   18 elements could be described as window dressing. Regardless of motivation or
   19 sincerity, however, compliance was on Defendants’ radar, beginning in August
   20 2019.
   21         F.      Complaints
   22         The ultimate gauge of whether consumers are confused or feel misled is to
   23 review the flow of complaints generated by those consumers. Defendants suggest
   24 that the August pivot has resulted in a compliant operation and claim a
   25
        36
   26    Customer service representatives were instructed that they could conduct the
      reverification during regular customer service calls, but when customers called
   27 with concerns about withdrawals made by a new entity (Trusted Account Services)
      they were told they would be receiving separate calls to reverify their information
   28 and sign contracts with Trusted Account Services.
                                                32      Case No. 8:19-cv-01998-JVS (JDEx)
                                         PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19     Page 202 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 35 of 39 Page ID #:4090



    1 96% satisfaction rate by customers contacted in the reverification campaign.
    2 While we did not have the time or resources to statistically sample all the data, we
    3 do have the ability to get a sense of the situation by reviewing Defendants’
    4 customer contacts post-pivot.
    5         We identified a Trusted Account Services email box
    6 studentloanmgmt@trustedaccountservices.com established around October 13,
    7 2019. Defendants controlled and monitored this email box. Defendants’
    8 employees reviewed and responded (as necessary) to customer inquiries.37 This
    9 has given us a discrete stream of inquiries to review – some 400 emails delivered
   10 since October 13 – which again, is obviously after the Defendants’ August pivot.
   11         We identified approximately 250 informational inquiries (e.g., requests for a
   12 return call or email, requests to update payment information, inquiries about the
   13 status of consumers’ application or the recertification process, etc.). One customer
   14 stated he was satisfied with Defendants’ service, but then asked for clarification
   15 why FedLoan was asking him for a large payment, thinking that the monthly $40
   16 payment handled his obligation.
   17         We identified approximately 150 troubling customer contacts – complaints
   18 of one kind or another. Some examples follow:
   19            x “The payments that are being taken each month are not the payments I
   20               agreed to and not an amount I can manage. I need to hear back from
   21               someone asap and get this resolved.” See Exhibit 47.
   22            x “If I’m paying $40/month, WHY has my student loan increased from
   23               $52k to $54k? . . . Instead of paying $52k to Nelnet, at the end of 240
   24               payments, I will pay a total of $10,555 to Premier Student Loans?
   25               Will the balance be expunged from my financial obligation?” See id.
   26
        37
   27    We have not yet been able to canvas all Defendants’ email accounts and
      therefore have not identified all mailboxes which might be receiving customer
   28 inquiries and complaints.
                                               33      Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO      Doc 148       Filed 11/04/19    Page 203 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 36 of 39 Page ID #:4091



    1           x “I have spoken to Navinet - who hlds my student loan perNavinet they
    2              have nothing from you concerning my student loan and they are now
    3              delinquent. I need answer’s and I am stoping Payment.” See id.
    4           x “This is a scam and I want all of my money returned or I am prepared
    5              to legal action. My student loans are still showing up as unpaid on my
    6              credit report.” See id.
    7           x “If I am going through this organization for my student loans, and if
    8              you are charging me $42.00 per month, I have two questions that are
    9              confusing me?
   10              1. My loan amount has increased by $5,000 since I turned my
   11              information over to you.
   12              2. Fed Loan just sent me an email saying they are going to deduct
   13              $131 from my account each month starting November.
   14              Can someone please explain all of this to me, and why did my amount
   15              increase?” See id.
   16           x “This is a scam. You’ve been reported. Stop contacting me.” See id.
   17           x “STOP TAKING THE AUTOMATIC PAYMENT IMMEDIATELY.
   18              I WANT A REFUND. The Department of Education called me – you
   19              are a fraud!” See id.
   20           x “I am just trying to figure out why I am still receiving bills from
   21              fedloan. They are saying I am behind and that i am not paying. I was
   22              told that I wouldn’t have to worry about them once I sign on with you
   23              guys. Can you please explain.” See id.
   24           x “This service was set up to help me with the payments at FEDLOAN
   25              SERVICING. I keep getting emails and phone calls saying my
   26              account is past due. Are the payments you’re pulling from my
   27              account not being sent to the FEDLOAN SERVICING?” See id.
   28
                                               34      Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO        Doc 148     Filed 11/04/19      Page 204 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 37 of 39 Page ID #:4092



    1             x “Who is this payment going to? I just logged into my FEdloan
    2                Servicing Account, and none of my $40 monthly payments are
    3                showed as posting to my actual student loans. I am wondering who I
    4                am paying?” See id.
    5             x “Why am I paying y’all money and fed loan servicing is reporting
    6                missed payments to the credit bureaus. It’s messing up my credit
    7                score and I really do not need that.” See id.
    8             x “Is Navient aware that I am paying my student loans through this
    9                company now?” See id.
   10         The volume of complaints (roughly 150) compared to the number of
   11 customer contacts (roughly 400) is very high – 40% of the people who contacted
   12 Defendants through the email box had a complaint. This paints a far different
   13 picture of customer satisfaction than that presented by the purported
   14 96% satisfaction rate in the reverification campaign. And these are customer
   15 initiated contacts, rather than outreach instituted by a reverification campaign.
   16         Beyond the volume of complaints, the content of the complaints is troubling.
   17 The complaint themes are consistent with the consumer declarations and the
   18 allegations made by the Plaintiffs. Pre-pivot or post-pivot, Defendants’ sales
   19 materials and tactics have left consumers confused and feeling misled, particularly
   20 about Defendants’ services, their fees, and whether the fees reduced their loan
   21 balances.
   22                                          VII.
   23                            FINANCIAL INFORMATION
   24         The Receiver’s forensic accountant, Lisa Jones, has prepared a Receivership
   25 Initial Account Records Review report based on available Receivership Defendant
   26 records which is attached as Exhibit 5.
   27 ///
   28 ///
                                               35      Case No. 8:19-cv-01998-JVS (JDEx)
                                        PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO       Doc 148     Filed 11/04/19    Page 205 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 38 of 39 Page ID #:4093



    1                                        VIII.
    2                     CAN THE BUSINESSES BE OPERATED
    3                        LAWFULLY AND PROFITABLY?
    4        Section XIII(O) (at page 23) of the TRO directs and authorizes the
    5 Temporary Receiver to continue and conduct the business of Receivership
    6 Defendants “conditioned on the Receiver’s good faith determination that the
    7 business can be lawfully operated at a profit using the Assets of the Receivership
    8 Defendants’ estate.” I conclude that the business cannot.
    9        These defendants chose to operate a highly-regulated and revenue-
   10 challenged business. The product is not unique or proprietary. The marketing
   11 costs to secure and retain customers are high, compounded by very high
   12 cancellation rates. Operating expenses, including commission for sales personnel,
   13 are high. And the TSR prohibits the collection of fees until the work is completed
   14 and the consumer makes the first payment.
   15        Even if Defendants were to activate a legitimate third party provider of
   16 dedicated accounts and fully comply with the TSR escrow exception, the impact on
   17 cash flow and sustainability would be enormous, all with the added administrative
   18 costs of the escrow procedure itself. And the business would still face the
   19 compliance challenges, and related new expenses, to re-invent a sales process free
   20 of tactics and procedures that leave consumers feeling confused and misled.
   21 Dated: November 1, 2019
   22
                                             By: /s/ Thomas W. McNamara
   23                                          Thomas W. McNamara
                                               Temporary Receiver
   24
   25
   26
   27
   28
                                              36      Case No. 8:19-cv-01998-JVS (JDEx)
                                       PRELIMINARY REPORT OF TEMPORARY RECEIVER
        Case 19-10655-JKO        Doc 148     Filed 11/04/19     Page 206 of 478


Case 8:19-cv-01998-JVS-JDE Document 75 Filed 11/01/19 Page 39 of 39 Page ID #:4094



    1                            CERTIFICATE OF SERVICE
    2         I hereby certify that on the 1st day of November 2019, I caused the foregoing
    3 to be electronically filed with the Clerk of the Court using the CM/ECF system,
    4 which will send notification of the filing to all participants in the case who are
    5 registered CM/ECF users.
    6
    7  /s/ Edward Chang
      Edward Chang
    8 Attorney for Temporary Receiver,
      Thomas W. McNamara
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                            Case No. 8:19-cv-01998-JVS (JDEx)
                                                                  CERTIFICATE OF SERVICE
      Case 19-10655-JKO       Doc 148      Filed 11/04/19    Page 207 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 1 of 101 Page ID
                                  #:4095


  1 Sanjay Bhandari (SBN 181920)
    sbhandari@mcnamarallp.com
  2 Edward Chang (SBN 268204)
    echang@mcnamarallp.com
  3 McNamara Smith LLP
    655 West Broadway, Suite 1600
  4 San Diego, California 92101
    Telephone: 619-269-0400
  5 Facsimile: 619-269-0401
  6 Attorneys for Receiver,
    Thomas W. McNamara
  7
  8                      UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
 11 Bureau of Consumer Financial Protection;       Case No. 8:19-cv-01998-JVS (JDEx)
    State of Minnesota, by its Attorney
 12 General, Keith Ellison; State of North         APPENDIX TO PRELIMINARY
    Carolina, ex rel. Joshua H. Stein, Attorney    REPORT OF RECEIVER
 13 General; and The People of The State of
    California, Michael N. Feuer, Los Angeles
 14 City Attorney,                                 JUDGE:     Hon. James V. Selna
                                                   CTRM:      10C
 15                     Plaintiffs,
 16        v.
 17 Consumer Advocacy Center Inc., d/b/a
    Premier Student Loan Center; True Count
 18 Staffing Inc., d/b/a SL Account
    Management; Prime Consulting LLC,
 19 d/b/a Financial Preparation Services;
    Albert Kim, a/k/a Albert King; Kaine
 20 Wen, a/k/a Wenting Kaine Dai, Wen Ting
    Dai, and Kaine Wen Dai; and Tuong
 21 Nguyen, a/k/a Tom Nelson,
 22                     Defendants, and
 23 Infinite Management Corp., f/k/a Infinite
    Management Solutions Inc.; Hold The
 24 Door, Corp.; and TN Accounting Inc.,
 25                     Relief Defendants.
 26
 27
 28
                                              i        Case No. 8:19-cv-01998-JVS (JDEx)
                                      APPENDIX TO PRELIMINARY REPORT OF RECEIVER
      Case 19-10655-JKO               Doc 148           Filed 11/04/19              Page 208 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 2 of 101 Page ID
                                  #:4096


  1                                         INDEX OF EXHIBITS
  2    Tab                                           Description                                                  Page
  3     1    DebtPayPro Screenshot ..................................................................             1
  4
        2    15261 Laguna Canyon Road Schematic and Inventory .................                                   2
  5
  6     3    173 Technology Drive Schematic and Inventory ...........................                             4

  7     4    8 Hughes Parkway Schematic and Inventory ................................                            6
  8
        5    Report of Forensic Accountant .......................................................                8
  9
 10     6    Email re: Wall Street Journal Article (8/27/2019) .........................                          29
 11
        7    Email re: Sales Pause (8/27/2019) ..................................................                 49
 12
 13     8    Email re: Technology Upgrade Customer Service Script
             (8/28/2019) .....................................................................................    50
 14
        9    Zero Tolerance Policy Flyer ...........................................................              52
 15
 16    10    Spreadsheet of Company DBA’s....................................................                     53

 17    11    October 21, 2019 Sales Script ........................................................               54
 18
       12    Receipt for Purchase of 17011 Beach Blvd. Virtual Office
 19          (7/8/2019) .......................................................................................   67

 20    13    Email re: Billing Information for TAS (6/19/2019) .......................                            71
 21
       14    Handwritten Note re: TAS Outlook Credentials ............................                            77
 22
 23    15    Email re: ACH Processing for True Count (2/26/2019).................                                 78

 24    16    Email re: DAP Flowchart (3/3/2019) .............................................                     83
 25
       17    Email re: TAS Functions (3/11/2019) ............................................                     85
 26
 27    18    Email re: New TAS Processing Application (4/12/2019) ..............                                  87
 28
                                                       ii       Case No. 8:19-cv-01998-JVS (JDEx)
                                               APPENDIX TO PRELIMINARY REPORT OF RECEIVER
      Case 19-10655-JKO             Doc 148         Filed 11/04/19            Page 209 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 3 of 101 Page ID
                                  #:4097


  1
       Tab                                        Description                                             Page
  2
       19    Email re: TAS Integration with DebtPayPro (6/19/2019) ..............                         90
  3
  4    20    Email re: TAS Questions for DebtPayPro (4/24/2019) ..................                        102

  5    21    Monday.com Screenshots ...............................................................       103
  6
       22    Signed TAS Checks ........................................................................   107
  7
  8    23    Email re: ACH Processing for TAS (4/23/2019) ...........................                     108
  9
       24    Email re: Quantum ePay Processing for PSLC (12/11/2018) ........                             109
 10
 11    25    NMC Merchant Statement for Horizon Consultants LLC .............                             118
 12    26    Email re: TAS Application to First Data (6/25/2019) ..................                       125
 13
       27    Email re: TAS NMC Application (7/8/2019) ...............................                     128
 14
 15    28    Email re: Revised TAS NMC Application (7/9/2019) .................                           136
 16
       29    NMC Merchant Account Change Request Form (TAS) ..............                                142
 17
 18    30    Wyoming Secretary of State Business Entity Detail for TAS ......                             146
 19
       31    NMC Card Processing Statement for TAS....................................                    148
 20
 21    32    NMC Merchant Statement for TAS ..............................................                149

 22    33    Email re: TAS Merchant Statements (10/7/2019) ........................                       157
 23
       34    Instructions for Clients Already in a Repayment Plan ..................                      158
 24
 25    35    Email re: Sales Call Audits (4/16/2019) .......................................              160
 26
       36    Documents re: Sales Commission Structure .................................                   161
 27
 28    37    FPS Pay Structure and Bonuses ....................................................           175

                                                    iii       Case No. 8:19-cv-01998-JVS (JDEx)
                                             APPENDIX TO PRELIMINARY REPORT OF RECEIVER
      Case 19-10655-JKO              Doc 148          Filed 11/04/19             Page 210 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 4 of 101 Page ID
                                  #:4098


  1
       Tab                                         Description                                               Page
  2
       38    Hard Close Sales Script .................................................................       180
  3
  4    39    Email re: Name Change Reminder (2/6/2019) .............................                         182

  5    40    Retention Policies ..........................................................................   183
  6
       41    Customer Service Disposition Codes ............................................                 185
  7
  8    42    Reverify Campaign Scripting ........................................................            187
  9
       43    Handwritten Reverification Campaign Notes (9/17/2019) ..........                                191
 10
 11    44    FPS Sales Compliance Memo .......................................................               192
 12    45    New Hire Schedule ........................................................................      195
 13
       46    Rebuttals Script (9/22/2019) and Related Documents ..................                           198
 14
 15    47    Consumer Complaints ...................................................................         207
 16
      Dated: November 1, 2019                           McNamara Smith LLP
 17
 18                                                     By:       /s/ Thomas W. McNamara
                                                                  Court-appointed Receiver
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                     iv        Case No. 8:19-cv-01998-JVS (JDEx)
                                              APPENDIX TO PRELIMINARY REPORT OF RECEIVER
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 211 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 5 of 101 Page ID
                                  #:4099




                           EXHIBIT 1
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 212 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 6 of 101 Page ID
                                     #:4100




                                                                                   EXHIBIT 1
                                                                                     Page 1
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 213 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 7 of 101 Page ID
                                  #:4101




                           EXHIBIT 2
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 214 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 8 of 101 Page ID
                                     #:4102




                                                                                   EXHIBIT 2
                                                                                     Page 2
    Case 19-10655-JKO           Doc 148        Filed 11/04/19         Page 215 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 9 of 101 Page ID
                                  #:4103


     Bureau of Consumer Financial Protection, et al. v. Consumer Advocacy Center Inc.,
                        d/b/a Premier Student Loan Center et al.

                  U.S. District Court for the Central District of California
                           Case No. 8:19-cv-01998-JVS (JDEx)

                            Furniture and Equipment Inventory
                           15261 Laguna Canyon Rd., Suite 200

                    Item                                           Quantity
            All-in-one computer                                        7
                  Cabinets                                             4
                   Chairs                                            336
        Coffee makers and dispensers                                   5
            Cold brew dispenser                                       1
             Conference tables                                         2
                   Couch                                               3
                 Computers                                           267
                  Credenza                                             4
                  Cubicles                                           102
             Desk with credenza                                        1
                   Desks                                              58
                    Easel                                              1
                File cabinets                                         36
            Furmax gaming chair                                        1
                  Headsets                                           229
              Keyboards/mice                                         213
                   Laptop                                              1
                Microwaves                                             2
                 Mini-fridge                                           6
                  Monitors                                           504
                   Printer                                            12
               Reception desk                                          1
                Refrigerator                                           2
                  Shredder                                            1
                 Sofa chair                                           13
                    Stool                                             10
                   Tables                                              3
                Toaster oven                                           1
                     TV                                               11
              Vending machine                                          4
                Walkie-talkie                                          5
                Wall cabinet                                           1
              Water dispenser                                          2




                                                                                         EXHIBIT 2
                                                                                           Page 3
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 216 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 10 of 101 Page ID
                                   #:4104




                            EXHIBIT 3
Case 19-10655-JKO           Doc 148       Filed 11/04/19        Page 217 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 11 of 101 Page ID
                                      #:4105




                                                                                    EXHIBIT 3
                                                                                      Page 4
     Case 19-10655-JKO           Doc 148        Filed 11/04/19         Page 218 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 12 of 101 Page ID
                                   #:4106


      Bureau of Consumer Financial Protection, et al. v. Consumer Advocacy Center Inc.,
                         d/b/a Premier Student Loan Center et al.

                   U.S. District Court for the Central District of California
                            Case No. 8:19-cv-01998-JVS (JDEx)

                             Furniture and Equipment Inventory
                              173 Technology Drive, Suite 202

                     Item                                           Quantity
                    Chairs                                            150
             Computer monitors                                         93
                 Computers                                            111
                   Copiers                                              1
                   Couches                                              2
                  Credenzas                                             1
                    Desks                                             177
                File cabinets                                         11
                  Headsets                                            344
                 Metal Racks                                           3
            Office storage cabinet                                      1
                   Printers                                            4
              Projector screens                                         1
                Refrigerators                                           1
                 Televisions                                            2
             Vending machines                                           1
                White boards                                            8




                                                                                          EXHIBIT 3
                                                                                            Page 5
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 219 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 13 of 101 Page ID
                                   #:4107




                            EXHIBIT 4
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 220 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 14 of 101 Page ID
                                   #:4108




                                                                          EXHIBIT 4
                                                                            Page 6
     Case 19-10655-JKO           Doc 148        Filed 11/04/19         Page 221 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 15 of 101 Page ID
                                   #:4109


      Bureau of Consumer Financial Protection, et al. v. Consumer Advocacy Center Inc.,
                         d/b/a Premier Student Loan Center et al.

                   U.S. District Court for the Central District of California
                            Case No. 8:19-cv-01998-JVS (JDEx)

                             Furniture and Equipment Inventory
                               8 Hughes Parkway, Suite 210

                      Item                                          Quantity
                   Bookcase                                             1
                     Chairs                                           158
               Coffee machine                                           2
                  Computers                                            69
                    Copiers                                             4
            Cubicles with drawers                                     121
                     Desks                                             10
              Espresso machine                                          1
                 Fax machine                                            2
                 Filing cabinet                                        2
                   Headsets                                            77
                     Heater                                             1
      Keg fridge with Starbucks and Beer                                2
                  Keyboards                                            72
                     Laptop                                            1
                  Microwaves                                            2
                 Mini-speakers                                          6
                   Monitors                                           199
                     Phones                                            2
                Printers/copiers                                       13
                  Refrigerator                                          2
                      Safe                                             4
                   Shredders                                           6
                     Tables                                            17
                     Toaster                                            1
                      TVs                                              12
               Vending machine                                          1
               Water dispenser                                         2
                  White board                                          1




                                                                                          EXHIBIT 4
                                                                                            Page 7
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 222 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 16 of 101 Page ID
                                   #:4110




                            EXHIBIT 5
      Case 19-10655-JKO             Doc 148       Filed 11/04/19        Page 223 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 17 of 101 Page ID
                                   #:4111


     Bureau of Consumer Financial Protection, et al. v. Consumer Advocacy Center Inc., d/b/a
                             Premier Student Loan Center, et al.
                       Receivership Initial Accounting Records Review
                                   Lisa Jones, CIRA, CFE
                                      November 1, 2019

         On October 23, 2019, I, along with other members of the Receiver’s team, gained access
 to the office of Prime Consulting, LLC, located on Laguna Canyon Drive in Irvine, California.
 Two days later, defense counsel provided access to QuickBooks Online records for Prime
 Consulting, LLC doing business as Financial Preparation Services (“Prime Consulting”), and
 True Count Staffing, Inc. doing business as SL Account Management (“True Count” and
 collectively, “Receivership Defendants”). The Receivership Defendants had a separate online
 QuickBooks file for each entity. We received some bank statements from Sunwest Bank, but we
 have not yet received bank statements from other financial institutions. Below is my preliminary
 analysis of the Receivership Defendants’ financial records.

         Even though Receivership Defendants’ accounting personnel were not identified, I
 located the desks used by accounting personnel. There did not appear to be an organized filing
 system for the physical accounting documents. Based on my review of the QuickBooks files,
 there are no supporting documents electronically attached to the QuickBooks transactions. I
 understand that Receivership Defendants used DebtPayPro, a customer relationship management
 software; however, I have not yet attempted to reconcile transaction information in DebtPayPro
 with the data in QuickBooks.

         Defendants charged consumers an initial document preparation fee (approximately
 $1,500) for student loan debt relief services. The fee could be divided into four to six payments.
 After paying the initial document preparation fee in full, the consumers would then pay a
 monthly amount (between $10 and $42) for ten to twenty years, depending on the agreement, for
 the “annual recertification.” Based on my review of Receivership Defendants’ financial records
 to date, I have not discovered any evidence that any portion of consumers payments were paid to
 student loan servicers.

        Although there appear to be several entities intertwined with Prime Consulting and True
 Count, Defendants only provided the QuickBooks files for these two entities.

     1. Prime Consulting, LLC d/b/a Financial Preparation Services

        Based on the QuickBooks records and bank responses, Prime Consulting appears to have
 one bank account at Sunwest Bank and another bank account at JPMorgan Chase.

        The first QuickBooks transaction for Prime Consulting was a journal entry recorded on
 April 16, 2018. The journal entry recorded the purchase of an aged Wyoming Limited Liability
 Company to start a business. The first deposit was recorded on July 23, 2018, as an opening
 bank balance of $6,298. The last entry in QuickBooks was recorded on October 18, 2019. It
 appears that Defendants regularly downloaded data from their financial institutions into
 QuickBooks.



 1

                                                                                                 EXHIBIT 5
                                                                                                   Page 8
      Case 19-10655-JKO            Doc 148       Filed 11/04/19        Page 224 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 18 of 101 Page ID
                                   #:4112


       From September 24, 2018 through September 30, 2019, Prime Consulting recorded
 “Document Preparation Income” in the amount of $27,951,486 received from True Count.
 Almost 100% of Prime Consulting’s income was received from True Count.

        Prime Consulting’s largest expense was marketing and lead generation, totaling
 $15,716,412 or approximately 56% of Prime Consulting’s recorded income. Pub Club Leads
 was the largest lead generation vendor. From October 1, 2018 to October 16, 2019, Prime
 Consulting reported payments to Pub Club Leads in the amount of $9,480,555 or 40% of Prime
 Consulting’s recorded income.

        Mice and Men, LLC (“Mice and Men”) was Prime Consulting’s second largest vendor.
 Over a period of 18 days (December 10-28, 2018), Prime Consulting reported payments of
 $5,041,069 to Mice and Men. Mice and Men filed its Articles of Organization with the
 Wyoming Secretary of State on December 4, 2018, less than a week before it started receiving
 payments from Prime Consulting. Mice and Men is believed to be owned by Kaine Wen’s
 mother.

        Farrington Leads, Prime Consulting’s third largest vendor, was reportedly paid $743,111
 from September 24, 2018 through March 15, 2019. All of the transactions recorded for Pub Club
 Leads, Mice and Men, and Farrington Leads are recorded as advertising and marketing expenses.

         Payroll was another large expense for Prime Consulting, with wages and taxes totaling
 $9,028,656. While ADP processed payroll for Prime Consulting, we have not yet received
 detailed payroll records. Rent was also a large expense, totaling $747,617.

        Based on the QuickBooks Balance Sheet, Prime Consulting’s largest asset is cash in the
 bank accounts totaling $744,541. There are no liabilities recorded.

       Attached as Exhibit A is the Prime Consulting, LLC Profit and Loss Statement and
 Balance Sheet for all dates recorded in QuickBooks (April 16, 2018 to October 18, 2019).

     2. True Count Staffing, Inc. d/b/a SL Account Management

        Based on QuickBooks records and bank responses, there were eight bank accounts for
 True Count – Sunwest Bank (five accounts), BNY Mellon (one account), Wells Fargo (one
 account), and JPMorgan Chase (one account).

         The first entry in QuickBooks was a journal entry recorded on January 1, 2018. The last
 entry was recorded on October 23, 2019. It appears that Defendants regularly downloaded data
 from their financial institutions into QuickBooks. During this period, True Count recorded
 “Documentation Preparation Income” of $60,826,505, with refunds and allowances totaling
 $6,179,675, for a total income of $54,665,905. True Count transferred $27,951,486, over 50%
 of their total income to Prime Consulting.

          Per the QuickBooks records, True Count used three different merchant processors, with
 at least five different merchant identification numbers. Merchant processors often retain a
 percentage of the funds collected and hold them in a reserve account. Depending on the
 merchant processor’s policy, funds that have aged for a certain amount of time may be released

 2

                                                                                                 EXHIBIT 5
                                                                                                   Page 9
      Case 19-10655-JKO               Doc 148        Filed 11/04/19          Page 225 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 19 of 101 Page ID
                                   #:4113


 to the merchant. The reserve funds for each merchant processor have been recorded in
 QuickBooks. Below is a chart listing the income reported in QuickBooks, along with the reserve
 funds, for the three merchant processors.

                                                            Merchant          Amount       Reserve Funds
                                                          Identification   Collected per        per
            Entity                Merchant Processor        Number          QuickBooks      QuickBooks
 True Count Staffing, Inc.   Electronic Merchant Systems x5266              1,264,792.00     144,446.00
 True Count Staffing, Inc.   QuantumEPay                 x1149              5,831,782.00     283,971.00
 True Count Staffing, Inc.   QuantumEPay                 x1156                 95,923.00        5,232.00
 True Count Staffing, Inc.   National Merchant Center    x6283              9,444,870.00   2,202,411.00
 True Count Staffing, Inc.   National Merchant Center    x6317             40,948,033.00   2,073,160.00
                                                                           57,585,400.00   4,709,220.00
                                                                                                           

        While the QuickBooks records indicate that National Merchant Center is holding a
 combined amount of $4,275,571, National Merchant Center declares that it is holding reserves in
 the combined amount of $3,564,494. Additional analysis is necessary in order to determine the
 cause of the discrepancy.

        There is an additional merchant processing account recorded in True Count’s
 QuickBooks file that is not included in the above chart. On July 30, 2019, True Count began
 recording deposits from National Merchant Center for the merchant account ending x5962. This
 merchant account belongs to Horizon Consultants, LLC (“Horizon Consultants”). National
 Merchant Center had been depositing funds into the Horizon Consultants’ Sunwest Bank account
 from January 2019 through September 30, 2019, with one exception. In August 2019, there were
 no funds deposited in Horizon Consultants’ Sunwest bank account. Based on QuickBooks
 records, those deposits were re-routed to True Count’s JPMorgan Chase account. In September
 2019, National Merchant Center deposited $977,242 into True Count’s Chase Bank account. Per
 the QuickBooks data, the source of those funds was the Horizon Consultants’ merchant account.

        According to the National Merchant Center’s statement as of July 31, 2019 for Horizon
 Consultants, the 2019 gross sales to date was $10,517,043. True Count recorded “Document
 Preparation Income” relating to income from the Horizon Consulting merchant processing
 account in the amount of $2,840,786 for the period July 30, 2019 through September 26, 2019.

       True Count’s largest expenses reported were commission and referral fees paid to
 Consumer Advocacy Center, Inc. in the amount of $12,321,427 and to Prime Consulting in the
 amount of $27,951,486. True Count recorded payroll expenses in the amount of $4,872,313.
 ADP processed payroll for True Account; however, we have not yet received the payroll records.
 Merchant processing and gateway fees are another large expense, totaling $1,904,009.

        True Count’s QuickBooks records included an expense category named “1099s”. This
 category most likely includes consultant or other non-employee fees; however, the type of work
 performed by the consultants is not annotated. Expenses in this category total $1,993,867.
 Among the largest vendors in the “1099s” expense category, and the amounts reported, are Hold
 the Door Corp. ($1,007,940), Infinite Management Solutions ($627,367). Both of the entities are

 3

                                                                                                      EXHIBIT 5
                                                                                                       Page 10
      Case 19-10655-JKO             Doc 148       Filed 11/04/19        Page 226 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 20 of 101 Page ID
                                   #:4114


 Relief Defendants. Per the California Secretary of State Statement of Information filed in 2018,
 Kaine Wen is listed as the Chief Executive Officer, Secretary, and Chief Financial Officer of
 Hold the Door, Corp. Per the California Secretary of State Statement of Information filed in
 2019, Albert Kim is listed as the Chief Executive Officer, Secretary, and Chief Financial Officer
 of Infinite Management Solutions, Inc.

        There were recorded payments from True Count to TN Accounting, Inc., another Relief
 Defendant, for the period March 7, 2018 through October 3, 2019 totaling $298,883. Per the
 California Secretary of State Statement of Information filed in 2017, Tuong Nguyen is listed as
 the Chief Executive Officer, Secretary, and Chief Financial Officer of TN Accounting, Inc.

        Per the Balance Sheet, the largest asset is the funds in the merchant processor reserve
 accounts, totaling $4,709,221, followed by funds in the bank accounts totaling $322,718.

       Attached as Exhibit B is the True Count Staffing, Inc. Profit and Loss Statement and
 Balance Sheet for all dates recorded in QuickBooks (January 1, 2018 to October 23, 2019).

     3. Horizon Consultants, LLC

        The Receiver identified Horizon Consultants as a Receivership Defendant. Sunwest
 Bank provided Horizon Consultants’ bank statements, which indicate a monthly recurring
 payment to Intuit for a QuickBooks Online subscription beginning in February 2019 and
 continuing each month through September 2019. While access to Horizon Consultants’
 QuickBooks file was requested, it has not yet been made available.

         Horizon Consultants appears to be an aged shelf company. It appears that Universal
 Essence, LLC, a Wyoming LLC, was acquired and the name was changed to Horizon
 Consultants, LLC. Universal Essence, LLC was registered with the Wyoming Secretary of State
 on November 30, 2015. On October 3, 2018, the name was changed to Horizon Consultants,
 LLC and on October 22, 2018, Horizon Consultants, LLC filed its Application to Register a
 Foreign Limited Liability Company with the California Secretary of State. One of the reasons
 that aged shelf companies are purchased is to purport a longer company history, giving the
 appearance of a company’s longevity.

         The Sunwest Bank account appears to have been opened in November 2018. The first
 transactions began in January 2019. Based on the bank statements, it appears that there are
 deposits from National Merchant Center, a merchant processor, with the first deposit on January
 18, 2019. Below is a chart summarizing the deposits and withdrawals in the Horizon
 Consultants Sunwest Bank account for each month from January 2019 through September 2019.




 4

                                                                                                  EXHIBIT 5
                                                                                                   Page 11
     Case 19-10655-JKO            Doc 148       Filed 11/04/19       Page 227 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 21 of 101 Page ID
                                   #:4115


                    Sunwest Bank, Account No. x1069
                    January 1, 2019 through September 30, 2019
                    Month                     Deposits                 Withdrawals
                    January                     113,634.70              (4,113.15)
                    February                    311,612.29             (12,742.33)
                    March                     1,636,309.08          (1,249,585.46)
                    April                     1,857,183.95          (2,121,466.57)
                    May                       1,639,859.93            (949,114.43)
                    June                      1,417,541.48          (1,541,004.78)
                    July                      1,866,534.93            (173,902.27)
                    August                             -              (539,663.91)
                    September                    20,771.80            (325,671.42)
                            Total             8,863,448.16          (6,917,264.32)


         The balance in the Sunwest Bank account as of September 30, 2019 was $1,946,183.84.
 The funds coming into the Horizon Consultants bank account vastly increased from February
 2019 to March 2019, with March deposits reaching more than five times the amount deposited in
 the prior month.

         The withdrawals from the Horizon Consultants bank account primarily consist of
 merchant processor fees, chargebacks, and outgoing wires. Like the deposits into the account,
 the withdrawals also drastically increase from February 2019 to March 2019. While the deposits
 in March were five times the amount of deposits in February, the withdrawals in March are
 almost 100 times the amount withdrawn in February. Approximately 95% of the March
 withdrawals were outgoing wires. The chart below summarizes, by month, the total outgoing
 wires from the Horizon Consultants bank account.




 5

                                                                                             EXHIBIT 5
                                                                                              Page 12
      Case 19-10655-JKO             Doc 148       Filed 11/04/19        Page 228 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 22 of 101 Page ID
                                   #:4116


         Sunwest Bank, Account No. x1069
         January 1, 2019 through September 30, 2019
         Outgoing Wires
         Month                    Wires Out
         January                            -
         February                           -
         March                     1,192,886.15
         April                     1,958,136.20
         May                         784,118.16
         June                      1,396,319.31
         July                         48,545.65
         August                      513,107.16
         September                   210,807.80
                 Total             6,103,920.43




        One of the outgoing wires in August 2019, in the amount of $400,000, was sent to True
 Count’s Chase Bank account. Another wire in the amount of $78,500 was sent to True Count’s
 Sunwest Bank account in September 2019. From March through September, wires in the amount
 of $5,131,460 were sent to Pub Club Leads. A company by the name of Aftermath Labs was
 wired $48,546 in July 2019. Wires totaling $577,971 were sent to a processing services
 company in Vietnam, including a wire in the amount of 132,556 that was sent in October 2019.

        Per the National Merchant Center statement as of July 31, 2019, the 2019 gross
 reportable sales of Horizon Consultants totaled $10,517,043.12. Merchant fees, chargebacks,
 and other miscellaneous fees are deducted from the gross amount. Also, the reserve amount is
 deducted from the gross sales. The reserve amount for the period January 2019 through July
 2019 totals $1,357,244.16. This amount should increase with the addition of the August,
 September, and October sales. It is unclear why the reserve account for Horizon Consultants is
 recorded in the QuickBooks file for True Count.

     4. First Priority, LLC

        The Receiver also identified First Priority, LLC (“First Priority”) as a Receivership
 Defendant. At this time, we do not have QuickBooks records for this entity. My analysis is
 based on First Priority Sunwest Bank account statements.

         Like Horizon Consultants, it appears that an aged shelf company, BFF, LLC, was
 acquired and the name was changed to First Priority, LLC. BFF, LLC was registered with the
 Wyoming Secretary of State on October 23, 2012. The name was changed from BFF, LLC to
 First Priority, LLC on April 26, 2018. On May 17, 2018, First Priority filed its Application to
 Register a Foreign Limited Liability Company with the California Secretary of State.


 6

                                                                                                   EXHIBIT 5
                                                                                                    Page 13
          Case 19-10655-JKO                                     Doc 148   Filed 11/04/19   Page 229 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 23 of 101 Page ID
                                   #:4117


        First Priority opened a bank account with Sunwest Bank in November 2018. Activity in
 the account began in December 2018, but has been minimal since that time. The balance in the
 account, as of September 30, 2019, was $4,534.25. There has been no activity in the bank
 account since April 2019.

        There was a $2,000 mobile deposit in December 2019, along with deposits from Reliant
 Account Management (“RAM”), a payment processor, totaling $70.35. There were no other
 deposits until March 19, 2019, when a payment was received from RAM in the amount of
 $3,983.40. Most of the withdrawals were payments to RAM, with the exception of one check
 that was issued to First Priority in the amount of $1,200. The memo on the check reads,
 “Transfer to Chase First Priority LLC.”1 For the period December 2018 through September
 2019, based on the First Priority Sunwest Bank account statements, deposits total $6,053.75 and
 withdrawals total $1,519.50.

        5. Summary

         I have not yet received all of the relevant bank statements; therefore, a reconciliation of
 the data in the QuickBooks files with the bank statements has not yet been performed. Per the
 data in QuickBooks, the gross income for True Count totals $60,826,505 as of October 23, 2019.
 Per the merchant account statements, gross income for Horizon Consultants totals $10,517,043
 as of July 31, 2019. Over a period of less than two years, the combined gross income for these
 two entities totals 71,343,548.




 
 1
   JPMorgan Chase identified an account for First Priority and reported a balance of $159,457.33
 as of October 29, 2019. We have not yet received any bank statements from JPMorgan Chase.
 7

                                                                                                             EXHIBIT 5
                                                                                                              Page 14
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 230 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 24 of 101 Page ID
                                   #:4118




                       Exhibit A




                                                                          EXHIBIT 5
                                                                           Page 15
                 Case 19-10655-JKO             Doc 148         Filed 11/04/19            Page 231 of 478



                                             96!ÿ0"28#6"$ÿ%%0
        Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 25 of 101 Page ID
                                           #:4119

                                                   & '(7ÿ)*+ÿ% ,,
                                                          )##ÿ+12
                                                                                                                 -.-/0
123456
  74385629ÿ;<6=><>9?42ÿ123456
  @A63B                                                                                                         CDEEFGHH
  -<86ÿ@4829ÿI9>JJ?2Kÿ123                                                                                  LMDFECDNOPGNL

QR.IIÿ;R.S1-
TU=62V6V
 CHFFV
  @A<?V9?>2ÿW>XY6Z                                                                                               LHHGHH
  [6>\62ÿ0?KA9ÿ00@ÿ@42V8X9?2KÿI6<\?36V                                                                        CLDHHHGHH
  ]4V6=Aÿ0?\?4ÿ^4_X>2ÿ@42V8X9?2Kÿ@4<=                                                                        `HEDMNHGFE
  -<42ÿ@4<=4<>9?42                                                                                            LODLFFGHH
  aA62ÿ74KVÿSX_ÿ@4<=                                                                                          LNDCNEGHH
 /Y\6<9?V?2Kÿbÿc><B69?2K
 /X=A4269?3                                                                                                       NPNGHH
 ^;.ÿ06>YV                                                                                                     PNDPFLGHH
 @42V856<ÿ/Y\43>3_ÿ@6296<ÿ123                                                                                  NPDO`HGHH
 7d@ÿI3<8e                                                                                                      `DOOHGHH
 S>36e44B                                                                                                       CDHMMGLP
 S><<?2K942ÿ06>YV                                                                                             MN`DCCCGEL
 S?<V9ÿS?Y6X?9_ÿ06>YV                                                                                           LDMPOGHH
 S?\6ÿc><B69?2Kÿ06>YV                                                                                          FODHOHGHH
 S4<9<6VVÿ06>YV                                                                                                E`DMNHGOH
 15=6<?>Xÿ@>XXVÿ06>YV                                                                                          `FDP`EGEH
 06ÿ@X?Uÿ06>YV                                                                                                CCFDL`NGHH
 c?36ÿ/2Yÿc62                                                                                               EDHNCDHPFGHH
 ;<65?6<ÿI98Y629ÿ04>2Vÿ123                                                                                     LCDLMEGHH
 ;8eÿ@X8eÿ06>YV                                                                                             FDNOHDEEEGCC
 ^>2Bÿ@A><K6V
 Q>96f>_                                                                                                          NEGHH
 ^>2Bÿ@A><K6VÿbÿS66V                                                                                           LDLFFGMM
 @45=>2_ÿ;><9_                                                                                                CEDFOHGEM
 Q?J9ÿ@><Y                                                                                                    NODPMNGHL
 12V8<>236
  g>?V6<ÿS482Y>9?42ÿ[6>X9Aÿ;X>2                                                                               N`DHOFGF`
  0?e6<9_ÿc898>Xÿ12V8<>236                                                                                    NPDPE`GHH
  c?VV?42ÿa6V9ÿ12V8<>236ÿI4X89?42V                                                                            PNDMOFGFO
 ]4eÿ5><B69?2K                                                                                                   OPNGCC
                                     0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ
                                                                                                           EXHIBIT 5
                                                                                                            Page 16
              Case 19-10655-JKO                Doc 148         Filed 11/04/19            Page 232 of 478


      Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 26 of 101 Page ID
                                         #:4120                                                                 !"!#$
%&'(('ÿ*&+',                                                                                                    -./0//
%'&+1,2+,3                                                                                                      45/0//
678((8                                                                                                       59:9/50;5
$+7<(867                                                                                                        4=>04?
@A7,3('                                                                                                         5>>0//
B1CA+ÿD+(3ÿB(E,F&F('                                                                                             >5054
G+F'(H'C+3('                                                                                                    5->0//
$(1&2ÿIÿJ'AK(,,+A7&2ÿL('M+H(,                                                                                    N;0-=
 #OJÿJ&P'A22ÿL('M+H(ÿQRF(7,(                                                                                 -;:.;>0>4
 QM&?ÿSTÿ%A7,C23+71                                                                                          ==:?5;0./
 SC73+713A7ÿ$(1&2ÿLA2C3+A7,                                                                                  ./:.4/0;.
 $(1&2ÿ$&Eÿ%(73('                                                                                                >.0/;
 $+332('ÿ@(78(2,A7ÿJ%                                                                                        99:.;-0//
 UPAV+71ÿ%A'FA'&3+A7ÿL3&'3CFÿ%A,3,                                                                            =:.>.0//
@(&2,ÿIÿQ73('3&+7V(73                                                                                         -:?950>-
"KK+H(ÿLCFF2+(,ÿIÿLAK3E&'(                                                                                        ;0>?
6!ÿLCFF2+(,                                                                                                     >5-0/;
"KK+H(WX(7('&2ÿ#8V+7+,3'&3+M(ÿQRF(7,(,                                                                        9:;/=0-=
YA7C,ÿJAA2                                                                                                   -=:///0//
%AF+('ÿT(73&2ÿ*Y@                                                                                               49509-
O(F&'3V(73ÿ#22AE&7H(
 STÿ#22AE&7H(,                                                                                                =:=./0//
*AA8ÿ'(+VZC',(V(73                                                                                           9/:?-/0>5
[&7+3A'ÿL('M+H(,                                                                                             9?:=9?059
@AM+71ÿ"KK+H(                                                                                                 5:?-.0>;
"KK+H(ÿQ\C+FV(73                                                                                             99:5990=/
"KK+H(ÿLCFF2+(,                                                                                              -9:4./04=
 #V&]A7                                                                                                      ;?:=/.0-5
 J&'<,ÿ%AKK((                                                                                                =5:5?40.9
T(+VZC',(V(73ÿQRF(7,(,                                                                                        5:9=-0.9
L(HC'+3P                                                                                                      5:-//0//
T(8'AH<ÿL('HC'+3P                                                                                               =./0//
!'&+7+71ÿ%AC',(                                                                                               9:/-90?.
 @&,3('Pÿ!(H^7A2A1+(,ÿ67H0                                                                                   94:4?40-/

"3^('ÿ@+,H(22&7(AC,ÿL('M+H(ÿ%A,3                                                                              5:/;?0-=
#8(HHA                                                                                                       9.:4;>0=/
%^(H<ÿJ'+73ÿ&78ÿL3&VF                                                                                         9:99;0>=
B(3EA'<ÿIÿ%AVVC7+H&3+A7ÿL('M+H(,
 %ARI%AV                                                                                                     =4:5-/0//


                                     0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ
                                                                                                           EXHIBIT 5
                                                                                                            Page 17
              Case 19-10655-JKO           Doc 148         Filed 11/04/19            Page 233 of 478


       Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 27 of 101 Page ID
                                          #:4121                                                           !"!#$
%&'()*'+,-.                                                                                                /0012/
3*4ÿ6*,7&8*9                                                                                             :;<=<1><
?@A-BBC                                                                                                  /;==D1</
E@9+ÿ?-+@,                                                                                                 >/F10:
$*8G&ÿ3*4ÿ6*,7&8*9                                                                                         H/:1D:
I-+4-@ÿ)@,J@,-+&@'                                                                                       F;HF21<2
%*4,-'B.C                                                                                                  0>=122
3*4G@9+                                                                                                    00=10>

K-C,@..ÿLMJ*'9*9
!-M*9                                                                                                   :/<;:/01DD
3-(*9                                                                                                 :;FDF;:=F12F
KG@'*ÿ-'BÿN'+*,'*+
#'9O*,&'(ÿ6*,7&8*                                                                                      F><;>0=10H
%*'+ÿPÿ$*-9*
A&98@7*,CÿQR9&'*99ÿ)*'+*,                                                                              H0H;0<H1FF
N,7&'*ÿ%-'8GÿLM*8R+&7*ÿ6R&+*9                                                                              F>2122
6G&JJ&'(;ÿS,*&(G+ÿPÿA*.&7*,C
TK6                                                                                                      D;0<:1>H
6@U+O-,*                                                                                                 =;H:21=/
#JJ98*'9&@'ÿ$+B                                                                                            /0<1/:
#36                                                                                                      <;F/:1F2
QR,*-R                                                                                                   /;2>2122
E*..@ÿ6&('                                                                                               >;2FF1F2
N'+R&+                                                                                                   F;=/F1FH
I&8,@9@U+                                                                                               =:;<H<1/F
I@'B-C18@V                                                                                               F;<=D1<2
K-BB.*                                                                                                     0HF10F
68,**'ÿ)@''*8+&@'                                                                                          /<2122
!*8G6V&+G                                                                                                   0D1D>
!*,-V&'B                                                                                                   :F<1F>
!O&.&@                                                                                                      =212H
W@G@ÿ)@,J@,-+&@'                                                                                         /;2F=1D2
6+-UU&'(ÿ6*,7&8*9
#JJ.*"'*                                                                                                00;2D=1<2
!-M*9ÿPÿ$&8*'9*9                                                                                         <;=0F122
!,-7*.                                                                                                  ==;>F=1>=
!,-7*.ÿI*-.9                                                                                             =;=DH1DH
T'8-+*(@,&X*BÿLMJ*'9*                                                                                      /0/1=D
T+&.&+&*9
 3-+*,ÿ6@R,8*                                                                                            F;:D>1>=

                                0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ
                                                                                                      EXHIBIT 5
                                                                                                       Page 18
           Case 19-10655-JKO        Doc 148         Filed 11/04/19            Page 234 of 478


      Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 28 of 101 Page ID
                                         #:4122                                                      !"!#$

%&!ÿ"(&)#!*%+ÿ*%,"-&
%&!ÿ*%,"-&




                          0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ
                                                                                                EXHIBIT 5
                                                                                                 Page 19
              Case 19-10655-JKO             Doc 148         Filed 11/04/19            Page 235 of 478



                                          96!ÿ0"28#6"$ÿ%%0
       Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 29 of 101 Page ID
                                          #:4123

                                                 5&%&'0(ÿ)*((7
                                                       &##ÿ+12
                                                                                                             ,-,./
.001,0
 2344567ÿ.99579
 :;6<ÿ.==>3679
  ?4@A5ÿ2>693B7@6CD036E597                                                                                FGHGGGIGG
  ,-,./ÿ:J0ÿ2KLÿMGNOPQ                                                                                   RNSHPSGITF
 -7U54ÿ2344567ÿ.99579
 ?;V4>BBÿ=B5;4@6C                                                                                         FOHWOPIXW

 Y@Z5[ÿ.99579
  Y346@7345ÿ\ÿY@Z73459
   2>A]3754ÿ1^3@]A567                                                                                    FWXHTPWIGN

 -7U54ÿ.99579
 05=34@7Vÿ_5]>9@79
  _@9=>`54Vÿ:39@6599ÿ256754ÿ//2                                                                          FPRHTWRIGG


/a.:a/a,a10ÿ.b_ÿ1cJa,d
 1^3@7V
 -]56@6Cÿ:;B;6=5ÿ1^3@7V                                                                                    WHOTRIPG
 -E654e9ÿa6`597A567                                                                                        OHWWPIGG
 f57;@65[ÿ1;46@6C9
 b57ÿa6=>A5                                                                                             FHGRPHFORING




                                  0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ
                                                                                                        EXHIBIT 5
                                                                                                         Page 20
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 236 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 30 of 101 Page ID
                                   #:4124




                       Exhibit B




                                                                          EXHIBIT 5
                                                                           Page 21
               Case 19-10655-JKO               Doc 148         Filed 11/04/19            Page 237 of 478



                                            798ÿ08!ÿ"1##6!$ÿ%!
       Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 31 of 101 Page ID
                                          #:4125

                                                   & '%7ÿ()*ÿ+ ""
                                                          (,,ÿ*12
                                                                                                                 -.-/0
123456
  74385629ÿ;<6=><>9?42ÿ123456
  @ABA@CBAAAB@CDE                                                                                           EFGHBFIG@JGA
  KL63M                                                                                                           NACJAI
  OPQÿP6<3L>29ÿ/334829                                                                                      AFEDHFICAJ@G
  R4<?S42ÿK42T8U9>29ÿ00K                                                                                      HBBFBBBJBB
  P6<3L>29ÿ/334829ÿCNHDBBBBBBBAAHC                                                                          @FGNAFIGAJIC
  P6<3L>29ÿ/334829ÿCNHDBBBBBBBAA@D                                                                             C@FCENJBN
  VPKÿAÿP6<3L>29ÿ/334829                                                                                    CFHHHFGDCJCE
  VPKÿEÿP6<3L>29ÿ/334829                                                                                   HBFCHGFBNNJEE
 W6X82YTÿ>2Yÿ/UU4Z>236T
 KL63Mÿ<6X82YTÿ>2Yÿ>UU4Z>236T                                                                              [AFAGIFCI@J@N
 OPQÿW6X82YTÿ>2Yÿ/UU4Z>236T                                                                                   [EBFEEAJB@
 OPQÿW6T6<\6ÿ]82YTÿO^=62T6                                                                                    [ICFGDCJGD
 OPQÿW698<2Tÿ>2Yÿ/UU4Z>236T                                                                                  [AE@FGAEJCC
 VPKÿAÿW6X82YTÿ>2Yÿ/UU4Z>236T                                                                                 [ECFCN@JGI
 VPKÿAÿW6T6<\6ÿ]82YTÿO^=62T6                                                                                 [HHHFGGGJEH
 VPKÿAÿW698<2Tÿ>2Yÿ/UU4Z>236T                                                                                [ABEFANDJHC
 VPKÿEÿW6X82YTÿ>2Yÿ/UU4Z>236T                                                                              [AFEDHFEHBJBA
 VPKÿEÿW6T6<\6ÿ]82YTÿO^=62T6                                                                               [AFHACFCHBJNG
 VPKÿEÿW698<2Tÿ>2Yÿ/UU4Z>236T                                                                              [AF@BHFD@HJGD
 Q98Y629ÿ;<?\>96ÿ04>2TÿW6X6<<>Uÿ123456                                                                        ACFBI@JHA
_W.QQÿ;W.]1-
O^=62T6T
 ABCCT
  KL<?T9?>2ÿ̀>UY6S                                                                                                EBBJBB
  7?2LÿO296<=<?T6Tÿ123                                                                                         HEFAGHJE@
  R4UYÿ9L6ÿ744<ÿK4<=                                                                                        AFBBIFCHBJBB
  12X?2?96ÿP>2>a65629ÿQ4U89?42T                                                                               DEIFNDDJ@B
  P><?TT>ÿPÿQ>U>S><                                                                                               NCHJEB
  P42?b86ÿ7?2L                                                                                                AI@FDEIJN@
  c8>U?9dÿK429>39ÿQ4U89?42Tÿ123                                                                                EBFI@BJBB
  W6=89>9?42ÿP>2>a65629ÿK45=>2d                                                                                G@FEEBJBB
  WL42Y>ÿ/TM6U>2Y                                                                                               HFCC@JBB
  QL?<62>ÿR8?S><                                                                                               EGFH@AJE@
  Q8T>2>ÿOTb8?e6U                                                                                                 INGJBB
 @ABA@CBAAAB@CDEÿ;<436TT?2aÿ]66                                                                               DIF@HDJCE
 /7;ÿ;>d<4UUÿQ6<\?36ÿO^=62T6                                                                                  EGFIICJED
 /Y\6<9?T?2aÿfÿP><M69?2a

                                     0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ
                                                                                                           EXHIBIT 5
                                                                                                            Page 22
              Case 19-10655-JKO                Doc 148         Filed 11/04/19            Page 238 of 478


       Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 32 of 101 Page ID
                                          #:4126                                                                 !"!#$
#%%ÿ'()*+,(ÿ-+./.,+/%ÿ$$0                                                                                         112344
-+)56ÿ7)+8)+69ÿ$$0                                                                                                  4344
"%+*(ÿ:)/.,;ÿ$(.<+.=                                                                                              >2?344
78@()5ÿA/)B(6+.=ÿC)8DEÿF.,                                                                                      ?G1?H344
I/6(J(<+/ÿA/)B(6+.=                                                                                            K2G?44344
:/.Bÿ0;/)=(5ÿLÿ-((5                                                                                            M2G412342
NA'ÿ7)8,(55+.=ÿ-((5                                                                                            OHGOHM3?P
C/6(@/9                                                                                                        H1G1?M3??
A(),;/.6ÿ#,,8D.6ÿHM>Q4444444OO>Hÿ7)8,(55+.=ÿ-((5                                                               MHG12234P
A(),;/.6ÿ#,,8D.6ÿHM>Q4444444OO?Qÿ7)8,(55+.=ÿ-((5                                                                2GPP13>4
RA0ÿOÿA(),;/.6ÿ#,,8D.6ÿA(),;/.6ÿ7)8,(55+.=ÿ-((5                                                               MHHG>423Q1
RA0ÿ2ÿA(),;/.6ÿ#,,8D.6ÿ7)8,(55+.=ÿ-((5                                                                      OGMOOG1PQ3HH
08SS+55+8.5TI(U())/%ÿNVE(.5(
08.5DS()ÿ#<*8,/,9ÿ0(.6()ÿF.,                                                                               O2GM2OG>2P3>4
7)+S(ÿ08.5D%6+.=                                                                                           2PGH?OG>1Q3>2
W+5E85/%ÿ'()*+,(5                                                                                             O4G>44344
W8./6+8.                                                                                                         244344
NU/V                                                                                                          2>G2MM32?
NSE%89((ÿ(VE(.5(ÿ)(+SXD)5(S(.6                                                                                O>GO4131Q
-+./.,(ÿ,8565
 0/E+6/%ÿ$855ÿ:RYÿA(%%8.ÿ'68,Bÿ$855(5                                                                         11G1?Q32P
Z(/%6;ÿ/.<ÿ-+6.(55                                                                                             1GHH>34H
F.+6+/%ÿ5(6KDEÿ(VE(.5(5
 $/S58.                                                                                                       2OGMH?344
F.5D)/.,(
 -/)S()5                                                                                                       MG4O2344
 C)((.ÿ/.<ÿ#558,+/6(5                                                                                         O2GQ?43>O
 [/+5()ÿC)8DE                                                                                                 21G2O43MH
 $+X()69ÿAD6D/%                                                                                               O>G>H1344
 A+55+8.ÿ\(56ÿF.5D)/.,(ÿ'8%D6+8.5GÿF.,                                                                        2MGQP?3Q2
 IK!ÿ'E(,+/%69ÿN7$!                                                                                           2MGO>Q3>P
 I$FÿF.5D)/.,(                                                                                                 OGQOH344
 !;(ÿZ/)6U8)<                                                                                                 O>GP>M344
 !)D(ÿ08D.6ÿ\8)B()]5ÿ08SEÿF.5D)/.,(                                                                           K>GHP4344
^/.+68)+/%ÿ'()*+,(5                                                                                           OOG4QP3OM
^8XÿS/)B(6+.=ÿ(VE(.5(
 0)/+=%+56                                                                                                     OG4O?344
 F.<((<                                                                                                       OOG2?>3PM
$(=/%ÿLÿ7)8U(55+8./%ÿ'()*+,(5                                                                                    OM?3P>
 #B()S/.ÿ$$0ÿ$/@ÿ-+)S                                                                                         >2G1OH31>
 :/B()ÿA/)_D/)6ÿ$$7                                                                                           2?G444344
 :()B(%(9ÿI(5(/),;ÿC)8DEÿ$$0                                                                                 O42GH443M2
                                     0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ
                                                                                                           EXHIBIT 5
                                                                                                            Page 23
              Case 19-10655-JKO               Doc 148         Filed 11/04/19            Page 239 of 478


      Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 33 of 101 Page ID
                                         #:4127                                                                !"!#$
%&'(&')*+&,-ÿ!&/)0ÿ1,2                                                                                          34566
%')778'ÿ#22&9,*+,:ÿ;8'<+28-                                                                                 4=>??@543
A<)BÿCDÿ%&,-9E*+,:                                                                                           B>=BF536
C%G!ÿ#22&9,*+,:ÿ;8'<+28-                                                                                     H>666566
C9,*+,:*&,ÿ$8:)Eÿ;&E9*+&,-                                                                                  @6>6H65HH
I2%&'7+2Jÿ$)KÿL+'7                                                                                             3?3566
I2M9+'8N&&/-ÿ$$O                                                                                             ?>4P4544
I8E<8,0ÿ),/ÿI08'-ÿ$$O                                                                                      ?4P>6H?53=
O),-J0ÿQÿI)'JE8                                                                                              ?>@B=5@@
!R9'7),ÿ$8:)E                                                                                                  4==5==
!Sÿ#22&9,*+,:ÿÿ1,2                                                                                         4PB>BB45@P
G8,)TE8ÿ$$O                                                                                                =@?>FP@5P6
I8)E-ÿQÿA,*8'*)+,78,*                                                                                       4B>@BP566
I+-28EE),&9-ÿAU(8,-8                                                                                         H>=3656=
"VV+28ÿ;9((E+8-                                                                                            4HP>6F=5H?
"VV+28WM8,8')Eÿ#/7+,+-*')*+<8ÿAU(8,-8-                                                                       P>4P4533
%R82Jÿ"'/8'                                                                                                  =>64B5H@
%&(+8'ÿD8,*)E                                                                                               H4>3?=5==
1'<+,8ÿ"VV+28                                                                                                @>3HP5H3
1'<+,8ÿD),2RÿAU829*+<8ÿ;9+*8-                                                                                  F36566
I)+ET&U                                                                                                         P6566
 S8U*F                                                                                                       4>?36566
I+E8):8ÿD8+7T9'-878,*                                                                                        H>?B?5P6
I&,*RE0ÿX&,9-ÿO&&E                                                                                           4>666566
O)'J-ÿ%&VV88ÿ%)E+V&',+)                                                                                     H@>@6?5PB
;*)7(-                                                                                                      H3>6=45HP
"*R8'ÿI+-28EE),8&9-ÿ;8'<+28ÿ%&-*                                                                             =>@B6563
L&'7-+*8                                                                                                       B335@H
I)+Eÿ;8'<+28-
 O&-*)E),,8U                                                                                                   F64543
 Y7T')Eÿ$$%                                                                                                  H>H3@54P
I)+EZ8*                                                                                                        F=H5FF
S8*K&'JQ%&779,+2)*+&,ÿ;8'<+28-
%&UQ%&7                                                                                                    H63>H==56H
D+,:ÿ%8,*')E                                                                                                4F>3635PF
O)'J+,:                                                                                                         335F3
D8:9-                                                                                                        H>6HF5?3
;R+((+,:                                                                                                       =BP5PF
;*)VV+,:ÿ;8'<+28
#/822&                                                                                                     H==>3F453F
#((E8",8ÿA7(E&078,*ÿ;8'<+28-                                                                               HP3>3=?5B=
G&E*ÿI),):878,*ÿ%&'(                                                                                         H>@P?5HF
;9'<80ÿI&,J80                                                                                                  ?BH566

                                    0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ
                                                                                                          EXHIBIT 5
                                                                                                           Page 24
             Case 19-10655-JKO           Doc 148         Filed 11/04/19            Page 240 of 478


      Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 34 of 101 Page ID
                                         #:4128                                                           "#"$%
&'()*+'ÿ-'./*0')                                                                                          123413
567.899ÿ:;<'=)')
"6;')                                                                                                  >>2?@3A42>
&6B')                                                                                                1?A>@?13C4D@
5E8='ÿ:;<'=)'
$"F"                                                                                                      CD3433
G699'..'6H7ÿ-69'ÿ%%G                                                                                  IAI?@3D4JA
K8=69*+7                                                                                              D32?3I>4D1
5*=58*=+                                                                                               @A?JD14A1
5.8L8+*8=69ÿ:;<'=)'                                                                                     I?JCD4JC
M'N'.69ÿO*N+ÿG6.Hÿ:;<'=)'                                                                             DDD?DD>433
M'*L(P.)6(9'ÿ:;<'=)')                                                                                     D3J4J@
M'=+ÿFÿ%'6)'                                                                                              1A3433
CÿQPBE')
 -+*/'.)ÿR=/')+L'=+ÿO.8P<                                                                             >DD?DCA4CI
$99*6=0'                                                                                               DJ?2DC43D
OP6.6=+'HÿM6+'                                                                                         CI?13343I
M'<6*.)ÿFÿS6*=+'=6=0'                                                                                     >CA433
-'0P.*+7                                                                                                I?2234CC
M'H.80T                                                                                                D3?2A24C3
-'++9'L'=+ÿ$=HÿU6L6B'                                                                                   A?333433
-8N+V6.'ÿ';<'=)'
$H8('                                                                                                   @?23>4CI
GE6.B'(60TÿWS5R                                                                                         A?333433
U'(+<67<.8                                                                                            212?J1J4@D
U.8<(8;                                                                                                 D?2CI43>
:;<.'))ÿW5X                                                                                             D?2JA42@
O8H6HH7                                                                                                 2?2@@4>D
Q8)+ÿO6+8.                                                                                              D?A3I4J>
R=N8.L6+*/'ÿM')'6.0E                                                                                    @?J2C411
RV.*+'.                                                                                                    13433
S6*90E*L<                                                                                                 DD3433
S*0.8)8N+                                                                                              >I?CC>41>
56HH9'4='+ÿO*LL'<.8;7ÿ%8=H8=                                                                            2?CCA4CD
YP*0T(88T)ÿ#=9*='                                                                                         C23433
-8N+%67'.                                                                                              2@?1D>4J2
"6LE8=/=                                                                                                D?1I14>3
"V*9*8                                                                                                 DD?>DJ4@D
-P<<9*')                                                                                                  IJJ4>@
Z87.*H'ÿG8NN''                                                                                         >1?JCI4CD
5P.'ÿO.''=ÿG8.<                                                                                           >3A4D>
-<6.T9'++)                                                                                                IDJ4I2
                               0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ!
                                                                                                     EXHIBIT 5
                                                                                                      Page 25
              Case 19-10655-JKO              Doc 148         Filed 11/04/19            Page 241 of 478


       Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 35 of 101 Page ID
                                          #:4129                                                              !"!#$
 !%&'(ÿ*ÿ$+,'-('(                                                                                          ./0123456
  "7%-8'ÿ9:;-<=ÿ!%&                                                                                         >06.14?.
 !7%@'A                                                                                                    1205?/416
 B-%CCA+'Dÿ9%(EÿF+AAÿG%=H'-<ÿI&C'-('                                                                            ?4??
 B<+A+<+'(                                                                                                  .0?65452
JI!ÿ"GIK#!LJMÿLJ9"NI
JI!ÿLJ9"NI




                                   0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ
                                                                                                         EXHIBIT 5
                                                                                                          Page 26
              Case 19-10655-JKO                Doc 148         Filed 11/04/19            Page 242 of 478



                                            798ÿ08 ÿ!1""6#ÿ$
       Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 36 of 101 Page ID
                                          #:4130

                                                    5%&%'0(ÿ!)((7
                                                          %**ÿ+12
                                                                                                                ,-,./
.001,0
 2344567ÿ.99579
 :;6<ÿ.==>3679
  :?@ÿA5BB>6ÿ:;6<                                                                                             CDECFGHC
  I;J65ÿ1KL5695                                                                                                   FGFF
  036M597ÿ,2ÿCNOO                                                                                           PCQDRESGQQ
  036M597T,2ÿUSHQFV                                                                                          NHDSQCGCR
  ,>Wÿ1KL5695                                                                                                     FGFF
  ,-,./ÿ:X0ÿ2YIÿUSSCHV                                                                                      ZFSDZFHGHN
 -7[54ÿ2344567ÿ.99579
 Y367J6\7>6ÿ/5\;Bÿ0>B37J>69ÿ]57;J654                                                                         SCSDRSFGNF
 ^;_4>BBÿ2B5;4J6\                                                                                           PCSQDRSRGQH
 ,>7;Bÿ]5954`5ÿa36b9
  OZNHFFFFFFFSSNOÿ]5954`5ÿa36bÿ.9957                                                                         CEZDOQSGSO
  OZNHFFFFFFFSSRHÿ]5954`5ÿa36bÿ.9957                                                                           RDCZCGCH
  1A0ÿ]5954`5ÿa36b9                                                                                          SNNDNNHGZQ
  ?A2ÿSÿA54=[;67ÿ.==>367ÿ]5954`5ÿa36b                                                                      CDCFCDNSFGOO
  ?A2ÿCÿA54=[;67ÿ.==>367ÿ]5954`5ÿa36b                                                                      CDFQZDSHFGNC


 aJK5bÿ.99579
  2>WL3754ÿ1c3JLW567                                                                                          SDNHCGRH
  Y567J3W                                                                                                   SHEDHERGEO
  65M5\\                                                                                                     ZEDHHHGHZ

 -7[54ÿ.99579
 EÿY3\[59ÿ07J̀549ÿ05=34J7_ÿd5L>9J7                                                                           SCDHEOGHF

/e.:e/e,e10ÿ.?dÿ1fXe,@
 /J;gJBJ7J59
  2344567ÿ/J;gJBJ7J59
   -7[54ÿ2344567ÿ/J;gJBJ7J59
   ,>7;Bÿ]5954`5ÿa36b9ÿ^;_;gB5
    OZNHFFFFFFFSSNOÿ]5954`5ÿa36bÿ^;_;gB5                                                                     CEZDOQSGSO
    OZNHFFFFFFFSSRHÿ]5954`5ÿa36bÿ^;_;gB5                                                                       RDCZCGCH
    1A0ÿ]5954`5ÿa36b9ÿ^;_;gB5                                                                                SSQDQORGNH
    ?A2ÿSÿ]5954`5ÿa36bÿ^;_;gB5                                                                             CDCFCDNSFGOO
    ?A2ÿCÿ]5954`5ÿa36b9ÿ^;_;gB5                                                                            CDFOODESSGZZ

                                     0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ
                                                                                                           EXHIBIT 5
                                                                                                            Page 27
            Case 19-10655-JKO       Doc 148         Filed 11/04/19            Page 243 of 478


      Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 37 of 101 Page ID
                                         #:4131                                                       ! "#



$%&'()
!*+,',-ÿ/010,2+ÿ$%&'()                                                                           34567464855
9+(0',+:ÿ$0;,',-<
=+(ÿ>,2?@+                                                                                      A7ABC7D5E85C




                          0123ÿ51262ÿÿ738921 ÿ9ÿÿÿÿÿ7                           ÿÿ
                                                                                                EXHIBIT 5
                                                                                                 Page 28
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 244 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 38 of 101 Page ID
                                   #:4132




                            EXHIBIT 6
           Case 19-10655-JKO                     Doc 148             Filed 11/04/19   Page 245 of 478




                 Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 39 of 101 Page ID
                                                    #:4133



From:                      Adam Sthay <adams@pubclubleads.com>
Sent:                      Tuesday, August 27, 2019 11:08 AM
To:                        Advisor
Cc:                        Kaine Wen
Subject:                   wsj 8/26 student debt scams



                       x   U.S. Edition
                       o
                       o
                       o
                       o
                       o
                       o
                August 26, 2019
                Print Edition
                Video
               Home
               World
               U.S.
               Politics
               Economy
               Business
               Tech
               Markets
               Opinion
               Life & Arts
               Real Estate
               WSJ. Magazine

               Searc


           o

                SAVE
           o

                SHARE
           o


                                                                 1
                                                                                                        EXHIBIT 6
                                                                                                         Page 29
Case 19-10655-JKO                  Doc 148          Filed 11/04/19     Page 246 of 478




         Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 40 of 101 Page ID
                                            #:4134
         TEXT
    o

         213
x       MARKETS
x       FINANCE


        Soaring Student Debt Opens Door to
        Relief Scams
        Same testimonials appeared across 26 websites of supposedly different companies;
        former employee says company submitted claims based on false information




                                                2
                                                                                           EXHIBIT 6
                                                                                            Page 30
Case 19-10655-JKO                          Doc 148               Filed 11/04/19                Page 247 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 41 of 101 Page ID
                                      #:4135




  Student debt has soared to nearly $1.5 trillion, offering fertile ground to companies that promise to help stretched
  borrowers by navigating the maze of federal programs that can reduce or forgive debts. PHOTO: DREW
  ANGERER/GETTY IMAGES

                By
                Jean Eaglesham,
                Michael Tobin and
                Coulter Jones
                Aug. 26, 2019 9:40 am ET




                Financial Preparation Services of Irvine, Calif. boasts on its website three glowing
                testimonials for its debt-relief services for student loans. It quotes Anthony
                Zwichirowski of California, Dawn Robinson of New Hampshire and a smiling
                                                             3
                                                                                                                         EXHIBIT 6
                                                                                                                          Page 31
Case 19-10655-JKO              Doc 148              Filed 11/04/19          Page 248 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 42 of 101 Page ID
                                      #:4136
            Dean Edelman of Virginia, who says using the company “was the smartest move I
            have made since graduating.”

            One or more of the three ostensibly happy borrowers also appears, with slight
            variations, on at least 25 other websites of purportedly different companies
            offering student-loan debt-relief in the last four years, The Wall Street Journal
            found.

            Student debt is soaring—it is now nearly $1.5 trillion—and defaults are at a
            record. That has been fertile ground for companies that promise to help stretched
            borrowers by navigating the maze of federal programs that can reduce or forgive
            debts for those who qualify, such as public-service workers or people on low
            incomes.
            SHARE YOUR THOUGHTS

            Have you, or someone you know, worked with a student loan debt relief company?
            How was that experience? Share your story below.



            Some companies operate legally, although there is nothing they offer that
            borrowers can’t get free, regulators say. Other firms are outright scams, or make
            promises to borrowers that are illegal, regulators and consumer advocates warn.
            Financial Preparation Services has submitted claims for federal relief based on
            fictitious information, according to a former employee. Sales teams within the
            company also switched regularly to using new corporate names and websites, the
            former employee said. The company is one of several about which federal
            regulators are demanding information, according to a bankruptcy court filing.


                                                4
                                                                                                EXHIBIT 6
                                                                                                 Page 32
Case 19-10655-JKO              Doc 148            Filed 11/04/19         Page 249 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 43 of 101 Page ID
                                      #:4137
            Many of the websites on which the three testimonials are featured appear to be
            carbon copies, with only the company’s name changed. A few companies
            attributed the same quote to different people: Dean Edelman becomes Dean
            Ederman of California, for example. Other websites used the same names and
            photos with different quotes.




                                              5
                                                                                             EXHIBIT 6
                                                                                              Page 33
Case 19-10655-JKO           Doc 148          Filed 11/04/19     Page 250 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 44 of 101 Page ID
                                      #:4138




                                         6
                                                                                    EXHIBIT 6
                                                                                     Page 34
Case 19-10655-JKO                  Doc 148                 Filed 11/04/19               Page 251 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 45 of 101 Page ID
                                      #:4139
            Testimonials on the Financial Preparation Services website appeared on at least 25 other websites.
            "Dean Edelman," who gave the same endorsement on Premier Student Loan Center's website, was
            listed as "Mark Peterson" on Clear Student Loan Debt's site and “Dean Ederman” on another.


            Financial Preparation Services didn’t respond to emails requesting comment, and
            couldn’t be reached by phone at the number listed on its website. The Journal
            wasn’t able to find Mr. Edelman, Mr. Zwichirowski and Ms. Robinson or
            ascertain whether they were indeed real people.

            A record $89.2 billion of student loans was in default at the end of June, New
            York Federal Reserve data show. Of the $1.48 trillion outstanding, 11%, or $160
            billion, was at least 90 days behind on repayments—and the true rate is likely
            double that, because only half the loans are currently in repayment.

            “We’ll do the work for you,” Financial Preparation Services says on its website.
            “No more drowning in a sea of confusing paperwork and processing!” Its fee:
            $1,195 for document preparation, then $40 a month for almost 20 years—a total
            of $10,555—according to a 2018 client agreement reviewed by the Journal.

            Regulators, including the Federal Trade Commission and the Consumer Financial
            Protection Bureau, share oversight of such companies. One issue they face is the
            sheer number of small firms offering these services, many using several names.

            “This is a relatively target-rich environment,” Michelle Grajales, an FTC attorney,
            said in an interview. “There are unfortunately a lot of companies that still appear
            to violate the law.” Ms. Grajales didn’t comment on Financial Preparation
            Services specifically.



                                                       7
                                                                                                                 EXHIBIT 6
                                                                                                                  Page 35
Case 19-10655-JKO                       Doc 148                    Filed 11/04/19                      Page 252 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 46 of 101 Page ID
                                      #:4140
            The regulator has filed nine civil cases against alleged student-loan debt-relief
            scams since 2017, involving a total of 77 different companies. Financial
            Preparation Services isn’t among those companies being sued.

            Many of the FTC cases allege that the companies charged upfront fees for debt
            relief, which is illegal, or engaged in other prohibited practices such as
            masquerading as being government-approved, or faking information on
            applications for federal relief.

            Stephanie Beger of Moscow Mills, Mo., a former teacher turned paralegal, says
            Financial Preparation Services promised to help reduce payments on her $109,000
            of student loans when she contacted them in October in response to a text
            message. “I told them I was married, and we have two incomes and no children,”
            she said.



            Student-loan balance outstanding, quarterlySource: Federal Reserve Bank of New YorkNote: As of 2Q 2019
            .trillionAmount 90 or moredays delinquent2004’06’08’10’12’14’16’180.00.20.40.60.81.01.2$1.4


            Ms. Beger signed up. In April, she says she got a notice from the government that
            a payment was due, and discovered when she called up that Financial Preparation
            Services had used false information about her to apply for debt relief. “I was told
            the paperwork said I was a single mother of six,” she said. She said she made
            clear that she had no idea what the company had submitted.

            She complained to the Better Business Bureau. In response, Financial Preparation
            Services refunded the fees she had paid. The company wrote an online response
            on the BBB’s website: “We apologize for your negative experience…We will
                                                               8
                                                                                                                         EXHIBIT 6
                                                                                                                          Page 36
Case 19-10655-JKO                Doc 148               Filed 11/04/19           Page 253 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 47 of 101 Page ID
                                      #:4141
             continue to perfect our process so mistakes do not happen on our clients
             accounts.”

             A report by the Government Accountability Office in June identified “indicators
             of potential fraud or error” in the income-related student loan relief program,
             including 40,900 plans that were approved based on family sizes of nine or more.

             Salespeople at Financial Preparation Services until recently often submitted
             claims showing a family size of six or seven to qualify callers for debt relief,
             without the borrower’s knowledge, a former employee told the Journal. It
             couldn’t be determined exactly why it changed the practice, but a company email
             seen by the Journal said that too many of its claims were being rejected.

             Financial Preparation Services operates under several different identities, creating
             new websites every few months, the former employee said. A copy of a sales
             script, reviewed by the Journal, instructs salespeople when they call customers
             about payments: “MAKE SURE YOU HAVE THE RIGHT COMPANY NAME:
             Hi this is NAME with [COMPANY].” The Journal couldn’t determine the date of
             the script.

             RED FLAGS FOR A STUDENT LOAN DEBT-RELIEF SCAM

             The Federal Trade Commission says borrowers should beware of companies that:

         x   Charge upfront fees. It is illegal for companies to make you pay before they help
             you.
         x   Promise fast loan forgiveness. Scammers may pretend to offer an easy way to wipe
             out loans—it doesn’t exist.


                                                   9
                                                                                                    EXHIBIT 6
                                                                                                     Page 37
Case 19-10655-JKO                 Doc 148           Filed 11/04/19              Page 254 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 48 of 101 Page ID
                                                 #:4142
         x Pretend to have official endorsements, such as using Department of Education
             logos. The government doesn’t approve any debt relief companies: it advises if you
             have federal loans to go direct to https://studentaid.ed.gov/sa/
          x   Try to rush you into signing up. Companies may say you have to act fast to qualify
              for programs: Check them out before you commit to anything.
          x   Demands your student loan ID, or asks you to sign a power of attorney, to deal with
              the government on your behalf. You can lose control of your finances, and be cut
              off from information on what’s happening to your loans.



              Consumer Advocacy Center—doing business as Premier Student Loan Center,
              whose website quoted identical testimonials to Financial Preparation Services—
              filed for chapter 11 bankruptcy in January.

              It shut down because of lawsuits by former clients and “investigations from
              different state attorney generals,” according to a court filing. Despite pretax
              revenues last year of more than $19.4 million, the company had only $24,500 in
              its bank account when it filed the petition, the bankruptcy trustee said.

              Albert Kim, the company’s owner, told a bankruptcy court hearing “the
              possibility of getting into a big lawsuit with, you know, federal regulators made it
              basically not worth it to continue at that point.”

              Mr. Kim didn’t respond to requests for comment. His lawyer, Peter Levitt, didn’t
              respond to specific questions but said in a statement that Mr. Kim is committed to
              ensuring all the businesses he is affiliated with operate legally and to “identifying
              and correcting any compliance deficiencies.”


                                                   10
                                                                                                      EXHIBIT 6
                                                                                                       Page 38
Case 19-10655-JKO              Doc 148          Filed 11/04/19             Page 255 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 49 of 101 Page ID
                                      #:4143
            After the bankruptcy, Premier Student Loan Center’s operations appear to have
            carried on as Financial Preparation Services. In addition to the testimonials on
            multiple sites, both companies use the same Irvine address on their business
            license. The Journal also identified several employees who worked for companies
            with those names according to their social media accounts.

            In July, the CFPB filed a subpoena in the Premier Student Loan bankruptcy case,
            demanding information be sent to the regulator and U.S. Attorney for the
            Southern District of Florida. The subpoena named eight companies, including
            Prime Consulting LLC, which does business as Financial Preparation Services,
            and 11 people, including Mr. Kim.

            The CFPB didn’t respond to a request for comment. A spokeswoman for the U.S.
            Attorney for the Southern District of Florida declined to comment.

            One of the companies named in the subpoena is True Count Staffing Inc., which
            does business as SL Account Management, also based in Irvine.

            A representative declined to comment and the company didn’t respond to an
            email seeking comment.

            Since the start of 2018, SL Account Management has racked up more than 70
            complaints with the FTC, according to a public records request.

            One borrower, who described himself as a “war veteran who just wanted to go to
            college to pursue happiness,” said last year in an FTC complaint that his tax
            returns and wages have been garnished, he has lost his truck, and “not 1 single
            cent of my debt has been diminished.”
                                               11
                                                                                               EXHIBIT 6
                                                                                                Page 39
Case 19-10655-JKO                 Doc 148            Filed 11/04/19   Page 256 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 50 of 101 Page ID
                                      #:4144
             —Lisa Schwartz contributed to this article.

             MORE


         x   The Red Flags for Student-Loan Scams
         x   M.B.A. Students Have Billions in Federal Loans



             Write to Jean Eaglesham at jean.eaglesham@wsj.com and Coulter Jones
             at Coulter.Jones@wsj.com
             Copyright ©2019 Dow Jones & Company, Inc. All Rights Reserved.
             87990cbe856818d5eddac44c7b1cdeb8




             RECOMMENDED VIDEOS
         x




             Water Cannons Deployed in Hong Kong for First Time
         x




             Trump Clashes With World Leaders Over Trade at G-7
         x




                                                   12
                                                                                        EXHIBIT 6
                                                                                         Page 40
Case 19-10655-JKO                  Doc 148              Filed 11/04/19                Page 257 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 51 of 101 Page ID
                                      #:4145
             Science of Work: The Health Costs of Stress
         x




             Amid Signs of a Recession, Government Is Running Out of Tools
         x




             Flipping for Profit: Meet the Couple Making Six Figures by Reselling
             MOST POPULAR ARTICLES


         x
             Americans Have Shifted Dramatically on What Values Matter Most



         x
             Wisconsin Congressman Sean Duffy to Resign



         x
             The Wisdom of Andrew Luck’s Retirement



         x
             Trump Softens Tone on China, Iran at G-7 Summit



         x
             Cities Are Saying No to 5G, Citing Health, Aesthetics—and FCC Bullying




                                                      13
                                                                                                        EXHIBIT 6
                                                                                                         Page 41
Case 19-10655-JKO                    Doc 148                     Filed 11/04/19       Page 258 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 52 of 101 Page ID
                                      #:4146
              WSJ MEMBER MESSAGE

              Redeem Your Free Ticket Club Membership
              Get the tickets you want, when you want them, without the surprise service fees and receive $10
              off your first purchase.
              REDEEM NOW

                          S H OW CO N V ER S A TI O N(2 1 3 )




                         WHAT TO READ NEXT...



                         WORLD
                         Australian Citizen Yang Hengjun Is Arrested in China
                         on Suspicion of Spying



                         REVIEW & OUTLOOK
                         Opinion | Smearing Steven Menashi




                         TELEVISION REVIEW
                         ‘On Becoming a God in Central Florida’ Review:
                         Pyramid Power
                                                                14
                                                                                                                EXHIBIT 6
                                                                                                                 Page 42
Case 19-10655-JKO                     Doc 148               Filed 11/04/19     Page 259 of 478




    Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 53 of 101 Page ID
                                       #:4147


                             LETTERS
                             Opinion | Student Loan Fiasco Is a Lesson for
                             BernieCare



                             JOURNAL REPORTS: WEALTH MANAGEMENT
                             Two Ways to Simplify Your Student-Loan Debt

                             Independent of The Wall Street Journal newsroom

                             MARKETWATCH
                             How the 'halo effect' is driving e-tailers to brick and
                             mortar




                             MANSION GLOBAL ARTICLE
                             SoHo Penthouse Designed by Renzo Piano Headed to
                             Market With $42.5 Million Price Tag


    JOIN THE CONVERSATION
x   Afghan Withdrawal Plan Faces New Challenges




                                                          15
                                                                                                 EXHIBIT 6
                                                                                                  Page 43
Case 19-10655-JKO                       Doc 148              Filed 11/04/19             Page 260 of 478




    Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 54 of 101 Page ID
                                       #:4148




x   Diverging Paths of Stocks and Data Vex Investors

x   Carlos Ghosn Ran a Tech Fund—Using Millions From an Executive at a Nissan Partner




x   Americans Have Shifted Dramatically on What Values Matter Most

x   Private Jets Ferried Relatives of NRA Chief Executive




x   Central Bankers Worry About Trump’s Tactics to Reorder Global Trade




                                                            16
                                                                                                          EXHIBIT 6
                                                                                                           Page 44
Case 19-10655-JKO                       Doc 148              Filed 11/04/19   Page 261 of 478




    Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 55 of 101 Page ID
                                       #:4149




x   Ferdinand Piëch, Who Transformed Volkswagen, Dies at 82




x   Tension Between Trump, World Leaders Takes Spotlight at G-7 Summit




x   Big Tech Shares Lose Their Luster




x   Leave Your Lunch at Home. This is Shanghai Disneyland.


                                                        17
                                                                                                EXHIBIT 6
                                                                                                 Page 45
Case 19-10655-JKO                        Doc 148    Filed 11/04/19   Page 262 of 478




        Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 56 of 101 Page ID
                                           #:4150




        x The Wall Street Journal
        x U.S. Edition
o
o
o
o
o
o
        x x Sign Out
        x BACK TO TOP«



    x   WSJ Membership
    x   WSJ+ Membership Benefits
    x   Digital Subscription
    x   Print Subscription
    x   Print and Digital Subscription
    x   Why Subscribe?
    x   Corporate Subscriptions
    x   Professor Journal
    x   Student Journal
    x   WSJ Amenity Program
    x   Customer Service
    x Customer Center
    x Contact Us
    x Tools & Features

    x   Emails & Alerts
    x   Guides
    x   My News
    x   RSS Feeds
    x   Video Center
    x   Watchlist
    x   Podcasts
    x   Ads
    x   Advertise
    x   Commercial Real Estate Ads
    x   Place a Classified Ad
    x   Sell Your Business
    x   Sell Your Home
    x   Recruitment & Career Ads

                                                   18
                                                                                         EXHIBIT 6
                                                                                          Page 46
Case 19-10655-JKO                          Doc 148          Filed 11/04/19     Page 263 of 478




                  Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 57 of 101 Page ID
                                                     #:4151
    x             More
    x             About the Newsroom
    x             Content Partnerships
    x             Corrections
    x             Jobs at WSJ
    x             Masthead
    x             News Archive
    x             Register for Free
    x             Reprints
    x             Buy Issues
x    Facebook




x    Twitter




x    Instagram




x    YouTube




x    Podcasts




x    Snapchat




x   Google Play




x   App Store




                                                 x Dow Jones Products

                                                      x Barron's

                                                      x BigCharts

                                                   x Dow Jones DNA

                                                x Dow Jones Newswires

                                                       x Factiva

                                                   x Financial News

                                                   x Mansion Global

                                                    x MarketWatch

                                                   x Private Markets

                                                     x realtor.com

                                                  x Risk & Compliance

                                                   x Venturesource
                                                          19
                                                                                                   EXHIBIT 6
                                                                                                    Page 47
Case 19-10655-JKO              Doc 148              Filed 11/04/19                     Page 264 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 58 of 101 Page ID
                                      #:4152
                                          x WSJ Conference

                                      x WSJ Pro Central Banking

                                             x WSJ Video

                                             x WSJ Wine

                                            x Privacy Policy
                                            x Cookie Policy
                                           x Copyright Policy
                                              x Data Policy
                                 x Subscriber Agreement & Terms of Use
                                           x Your Ad Choices
                    x Copyright ©2019 Dow Jones & Company, Inc. All Rights Reserved.




                                                  20
                                                                                                         EXHIBIT 6
                                                                                                          Page 48
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 265 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 59 of 101 Page ID
                                   #:4153




                            EXHIBIT 7
      Case 19-10655-JKO                    Doc 148            Filed 11/04/19       Page 266 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 60 of 101 Page ID
                                   #:4154

  From:             Eric Ortiz
  To:               Sal Avila; Kenny Nguyen; Erica Tabin
  Cc:               Kaine Wen; Isabel Banda; Calvin Ho; albert@slaccountmgmt.com
  Subject:          Compliance Meeting 8/27/2019
  Date:             Tuesday, August 27, 2019 5:58:03 PM


  Hello,

  Here is a recap of the compliance meeting.

  Topic: Compliance
  Location: SLAM
  Time: 4:00 pm

  Present: Kaine Wen, Albert Kim, Isabel Banda, Sal Avila, Kenny Nguyen & Eric Ortiz

  Effective immediately all sales and marketing will be paused until further notice (estimated
  time frame three weeks). The purpose of the pause is to allow for retaining purposes. During
  this period the company and each department will work on re-training, compliance, and
  policies. In addition, each department will work together to address any and all mistakes on all
  client files.

  Listed below is a summary but not limited of what is to be considered grounds for
  suspension/termination with or without notice.

           Zero tolerance for accessing NSLDS
           Zero tolerance for accessing FSA
           Zero tolerance for changing FS (family size)
           Zero tolerance for signing documents on behalf of clients
           Zero tolerance for misrepresentation of the company
                 Example: We work with the DOE/servicer
           Zero tolerance for submitting clients as unemployed on recerts
           Zero tolerance for final pay without ROA/confirmation documents uploaded

  *If servicer login credentials are obtain from client. Servicer access will be granted.

  If you have any questions or concerns, please contact upper management.

  Thank you,

  Eric Ortiz




                                                                                                     EXHIBIT 7
                                                                                                      Page 49
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 267 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 61 of 101 Page ID
                                   #:4155




                            EXHIBIT 8
     Case 19-10655-JKO                   Doc 148             Filed 11/04/19                Page 268 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 62 of 101 Page ID
                                   #:4156

  From:           Isabel Banda
  To:             Christian Stark; Nicole Balestreri; Adon Janse; Amber Alarcon; Carolina Cazarez; Dawn Schoenbein; Dorothy
                  Tipre; Hawalul Hassan; Heather Miklos; Karla Garcia; Kurt Zehrung; Larryce Hedgeman; Leode Ramirez; Mayte
                  Gomez; Mark Christian; Nolan Chiavetta; Oscar Salazar; Paul Burstrom; Ra"anne Naea; Tauemua Faauli; Mike
                  Nguyen; Davidson King; Felicia Ramirez; Leonardo Kiyabu; Nancy Bernal; Sarah Tagatauli; Shubhangi Vyawahare
  Subject:        URGENT MEMO
  Date:           Wednesday, August 28, 2019 1:32:08 PM
  Attachments:    Image-1.png


  Hi Team-
  Please be aware of the following temporary changes and see the script below:

  Customer Service Script
  As our announcement states on our website, we are upgrading our technology and other
  systems to ensure that clients have received and continue to receive high-quality services from
  us. While our acceptance of new clients has been temporarily put on pause, we are absolutely
  continuing to work with current clients who have paid at least one installment for our services.
        If no further questions, thank the client for the call.
        If asked for more description on changes/upgrades:
            1. We are working on a variety of upgrades, including to the way we process
               payments and other operational processes.
            2. Improved quality control to ensure that 100% of our customers received the
               services that they paid for and are in the right loan modification, repayment or
               forgiveness plan.
        If the client wants to cancel – process the cancellation without hesitation.




                                                                                                                            EXHIBIT 8
                                                                                                                             Page 50
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 269 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 63 of 101 Page ID
                                   #:4157




                                                                          EXHIBIT 8
                                                                           Page 51
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 270 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 64 of 101 Page ID
                                   #:4158




                            EXHIBIT 9
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 271 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 65 of 101 Page ID
                                   #:4159




                                                                          EXHIBIT 9
                                                                           Page 52
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 272 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 66 of 101 Page ID
                                   #:4160




                           EXHIBIT 10
Case 19-10655-JKO           Doc 148       Filed 11/04/19        Page 273 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 67 of 101 Page ID
                                      #:4161




                                                                                    EXHIBIT 10
                                                                                      Page 53
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 274 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 68 of 101 Page ID
                                   #:4162




                           EXHIBIT 11
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 275 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 69 of 101 Page ID
                                   #:4163




                                                                          EXHIBIT 11
                                                                            Page 54
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 276 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 70 of 101 Page ID
                                   #:4164




                                                                          EXHIBIT 11
                                                                            Page 55
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 277 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 71 of 101 Page ID
                                   #:4165




                                                                          EXHIBIT 11
                                                                            Page 56
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 278 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 72 of 101 Page ID
                                   #:4166




                                                                          EXHIBIT 11
                                                                            Page 57
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 279 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 73 of 101 Page ID
                                   #:4167




                                                                          EXHIBIT 11
                                                                            Page 58
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 280 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 74 of 101 Page ID
                                   #:4168




                                                                          EXHIBIT 11
                                                                            Page 59
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 281 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 75 of 101 Page ID
                                   #:4169




                                                                          EXHIBIT 11
                                                                            Page 60
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 282 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 76 of 101 Page ID
                                   #:4170




                                                                          EXHIBIT 11
                                                                            Page 61
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 283 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 77 of 101 Page ID
                                   #:4171




                                                                          EXHIBIT 11
                                                                            Page 62
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 284 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 78 of 101 Page ID
                                   #:4172




                                                                          EXHIBIT 11
                                                                            Page 63
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 285 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 79 of 101 Page ID
                                   #:4173




                                                                          EXHIBIT 11
                                                                            Page 64
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 286 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 80 of 101 Page ID
                                   #:4174




                                                                          EXHIBIT 11
                                                                            Page 65
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 287 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 81 of 101 Page ID
                                   #:4175




                                                                          EXHIBIT 11
                                                                            Page 66
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 288 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 82 of 101 Page ID
                                   #:4176




                           EXHIBIT 12
          Case 19-10655-JKO                 Doc 148        Filed 11/04/19        Page 289 of 478


  Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 83 of 101 Page ID
                                     #:4177
                                                                                         WyomingRegisteredAgent.com
                                                                                         1621 Central Avenue
                                                  WyomingRegisteredAgent.com             Cheyenne, WY 82001
                                                                                         307-637-5151

Purchasing Information:
E-mail Address:      michaelt@trustedaccountservices.com
Billing Address:                                           Shipping Address:
TRUSTED ACCOUNT SERVICES                                   TRUSTED ACCOUNT SERVICES
KENNY HUANG                                                KENNY HUANG
17011 BEACH BLVD, SUITE 900                                17011 BEACH BLVD, SUITE 900
HUNTINGTON BEACH, CA 92647                                 HUNTINGTON BEACH, CA 92647

Billing Phone:                                             Shipping Phone:
866-363-6383                                               866-363-6383
Order Grand Total: $29.00
Payment Method:      Other
Invoice Summary:
Shipping Details:
Invoice #:              65326
Invoice Date:           2019-07-10 10:43
Shipping Method:        Standard delivery
Products Subtotal:      $29.00
                        ------
Total for this Invoice: $29.00


Products on invoice:
1 x Virtual Office (Bronze) - Month - $29.00
    SKU: VOBRM
       Name of the company: Trusted Account Services
       Street Address: 109 E. 17th St.
       Virtual Suite Number: 5656




This order is PAID IN FULL.




                                                                                                           EXHIBIT 12
                                                                                                             Page 67
            Case 19-10655-JKO           Doc 148   Filed 11/04/19         Page 290 of 478


     Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 84 of 101 Page ID
                                        #:4178

                                            Wyoming Registered Agent <info@wyomingregisteredagent.com>



Receipt for Order Virtual Office - ch_1EuC8ZDMWj8AjnwYCL0Eec25
1 message

no-reply@wufoo.com <no-reply@wufoo.com>                                        Mon, Jul 8, 2019 at 11:51 PM
Reply-To: info@wyomingregisteredagent.com
To: michaelt@trustedaccountservices.com




             Jul 8, 2019                          Transaction ID
             11:45pm                              ch_1EuC8ZDMWj8AjnwYCL0Eec25



             Receipt for Order Virtual Office -
             ch_1EuC8ZDMWj8AjnwYCL0Eec25


             Billing Address
             Kenny Huang

             Arcadia,CA 91006
             US


              Description                                             Price

              Service Level:
                                                                      $29.00
              Monthly Bronze $29/mo

                                                             Total   $29.00


             Credit Card : ****9394                                  Amount Paid : $29.00




                                                                                              EXHIBIT 12
                                                                                                Page 68
         Case 19-10655-JKO           Doc 148       Filed 11/04/19      Page 291 of 478


   Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 85 of 101 Page ID
                                      #:4179

                                 
                           

                             
                        
                 
                 
                  

! " #  $ ! #% & ' ()!*+## %* ,!!#,$
! ! ,  '' *!"- 

. ,! ( /!*
                  
                              
     
! ( (  
            
        !"# $"%"!                       
         &   ' (

/! !( (       + * 
                 
     )         *
        +  *,,     ,
       - &              * 
         .         &                     
                  ' (
       $ / 
0 1/$*! 2!, 3
 )  0                    *
           +  *,,     ,  , 
          - .        * 
            /. 
4 !  $$ 
 &   0         
 '      (  ' !"# "%1%1( ' !"# $"%"!(




                                                                                             EXHIBIT 12
                                                                                               Page 69
            Case 19-10655-JKO         Doc 148     Filed 11/04/19         Page 292 of 478


      Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 86 of 101 Page ID
                                         #:4180

                                          Wyoming Registered Agent <info@wyomingregisteredagent.com>



Order Virtual Office [#133]
1 message

Wufoo <no-reply@wufoo.com>                                                    Mon, Jul 8, 2019 at 11:43 PM
Reply-To: no-reply@wufoo.com
To: info@wyomingregisteredagent.com

                                       Trusted Account Services

                                       Monthly Bronze $29/mo

                                       Kenny Huang

                                       michaelt@trustedaccountservices.com

                                       8663636383

                                           17011 Beach Blvd, Suite 900
                                           Huntington Beach, CA 92647
                                           United States




                                                                                             EXHIBIT 12
                                                                                               Page 70
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 293 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 87 of 101 Page ID
                                   #:4181




                           EXHIBIT 13
        Case 19-10655-JKO                         Doc 148             Filed 11/04/19                 Page 294 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 88 of 101 Page ID
                                   #:4182

  From:                  Keneth Hu
  To:                    Thu Quach
  Cc:                    Calvin Ho
  Subject:               FW: TAS
  Date:                  Wednesday, June 19, 2019 5:27:21 PM
  Attachments:           Credit Card Authorization .pdf
                         image002.png
                         image003.png
                         image004.png
                         image007.png




  Keneth Hu
  System and Data Manager
  IT Department




                                                                  SL Account Management
                                                                  Email: khu@slaccountmgmt.com
                                                                  Phone: (415) 640 - 5133




  ***** Email confidentiality notice *****
  CONFIDENTIALITY STATEMENT: The information contained in this electronic transmission, and any attachments, may contain
  CONFIDENTIAL information. The information is intended only for use by the addressee named above. Any unauthorized use, disclosure,
  dissemination or copying of the contents of the information and any attachments contained in this electronic transmission is strictly
  prohibited. If you are not the intended addressee, please notify the sender immediately and delete this message.


  From: Keneth Hu
  Sent: Friday, June 14, 2019 2:10 PM
  To: Thu Quach <thuq@financialpreparationservices.com>
  Cc: Calvin Ho <calvin.ho@slaccountmgmt.com>
  Subject: TAS

  Hi,

  Please fill for billing information for TAS. Thank you!


  Keneth Hu
  System and Data Manager
  IT Department




                                                                  SL Account Management
                                                                  Email: khu@slaccountmgmt.com


                                                                                                                                      EXHIBIT 13
                                                                                                                                        Page 71
       Case 19-10655-JKO                          Doc 148             Filed 11/04/19                 Page 295 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 89 of 101 Page ID
                                   #:4183

                                                                  Phone: (415) 640 - 5133




  ***** Email confidentiality notice *****
  CONFIDENTIALITY STATEMENT: The information contained in this electronic transmission, and any attachments, may contain
  CONFIDENTIAL information. The information is intended only for use by the addressee named above. Any unauthorized use, disclosure,
  dissemination or copying of the contents of the information and any attachments contained in this electronic transmission is strictly
  prohibited. If you are not the intended addressee, please notify the sender immediately and delete this message.




                                                                                                                                      EXHIBIT 13
                                                                                                                                        Page 72
        Case 19-10655-JKO                        Doc 148             Filed 11/04/19                Page 296 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 90 of 101 Page ID
                                    #:4184
                            Credit Card Payment Authorization



 By signing this form you give Debt Pay, Inc permission to perform scheduled or periodic
 charges to your account by Credit Card for payments due for monthly DebtPayPro Software
 invoices or when applicable.


 Please complete the information below:


 I                     , authorize Debt Pay, Inc to charge my credit card account indicated below.


 Billing Address ____________________________                                       Phone#_____________________

 City, State, Zip ____________________________                                      Email     ________________________




     Account Type: ▢ Visa                     ▢ MasterCard                  ▢ AMEX            ▢ Discover



     Cardholder Name _________________________________________________



     Account Number        _____________________________________________



     Expiration Date      ____________



     CVV2 (3 digit number on back of Visa/MC, 4 digits on front of AMEX) ______




 SIGNATURE                                                                                    DATE

 I authorize the above named business to charge the credit card indicated in this authorization form according to the terms outlined
 above. This payment authorization is for the goods/services described above. I certify that I am an authorized user of this credit card
 and that I will not dispute the payment with my credit card company; so long as the transaction corresponds to the terms indicated in
 this form.




 Debt Pay, Inc     3501 Algonquin Rd, Suite 500, Rolling Meadows, IL 60008                                                  EXHIBIT 13
                                                                                            P:(877) 800-5577 F: (800) 694-3530
                                                                                                                                       Page 73
     Case 19-10655-JKO                    Doc 148       Filed 11/04/19         Page 297 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 91 of 101 Page ID
                                   #:4185

  From:            Khanh Truong
  To:              Calvin Ho
  Cc:              Alex La
  Subject:         TAS - Form of ID Additional
  Date:            Monday, July 08, 2019 10:58:34 AM
  Attachments:     image001.png




  Hi A
  Alex ‘s signing up virtual office for TAS at Huntington Beach, they required another form of ID from
  Kenny Huang( Beside Driver License). Can be Passport, Business License ,Etc. With name and address
  matched with driver license .

     logo


                                             Khanh Quoc Truong
                                             Operation ,IT & Programming
                                             phone: (916) 303-6776
                                             ktroung@financialpreparationservices.com
                                             financialpreparationservices.com




                                                                                                   EXHIBIT 13
                                                                                                     Page 74
      Case 19-10655-JKO                    Doc 148          Filed 11/04/19   Page 298 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 92 of 101 Page ID
                                   #:4186

  From:            Alex La
  To:              Calvin Ho
  Subject:         New Virtual Office At Huntington Beach
  Date:            Monday, July 08, 2019 10:32:45 AM


  Hi anh Calvin,

  Day la dia chi Virtual Office tai Huntington Beach: 17011 Beach Blvd Suite 900,
  Huntington Beach, CA 92647

  Nguoi ta hoi cai email and phone number. Anh muon tao mot cai email moi hay la
  dung email nao anh noi em biet. Nguoi ta noi can them can them 1 form ID nua, co
  the passport, Car Registaration, Business License…. Co gi anh gui copy cho em nha.
  Cam on anh !




                                                                                               EXHIBIT 13
                                                                                                 Page 75
            Case 19-10655-JKO                                    Doc 148    Filed 11/04/19   Page 299 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 93 of 101 Page ID
                                   #:4187

 From:          Thu Quach
 To:            Calvin Ho
 Subject:       bank info
 Date:          Wednesday, July 03, 2019 1:20:43 PM



                                                             Expiration
   Name of card holder                 Card No                 Date              CVV                    Address
                                                                                                            Arcadia CA
  Kenny Tingkai Huang                                 9394           4/24                       91006




                                                                                                                         EXHIBIT 13
                                                                                                                           Page 76
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 300 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 94 of 101 Page ID
                                   #:4188




                           EXHIBIT 14
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 301 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 95 of 101 Page ID
                                   #:4189




                                                                          EXHIBIT 14
                                                                            Page 77
     Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 302 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 96 of 101 Page ID
                                   #:4190




                           EXHIBIT 15
      Case 19-10655-JKO                    Doc 148            Filed 11/04/19            Page 303 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 97 of 101 Page ID
                                   #:4191

  From:             Donald Cook
  To:               "Kaine Wen"; "Calvin Ho"; Calvin Ho; "Tom Nguyen"; "Thien Nguyen"
  Cc:               "Rey Pasinli"
  Subject:          RE: Commitment to move forward for ACH payment processing....
  Date:             Tuesday, February 26, 2019 8:00:56 AM
  Attachments:      image003.png
                    image004.png


  Good morning Kaine,

  We can get True Count an approved ACH account BUT,
      •   https://www.consumer.ftc.gov/articles/1028-student-loans
              o It’s illegal for companies to charge you before they help you The first step is to complete
                   the Free Application for Federal Student Aid (FAFSA) form at fafsa.gov

  Other:
     • https://studentaid.ed.gov/sa/repay-loans/consolidation

      •   There is only one federal loan consolidation program.

      •   You can visit the Consumer Financial Protection Bureau’s “Repay Student Debt” tool, which
          helps narrow down your options for both private and federal loan repayment. There is also an
          exhaustive list of student loan repayment options on the Office of Federal Student Aid website.

      •   Finally, you can report suspected fraud activity to the CFPB (855-411-CFPB) or to the Federal
          Trade Commission’s online Complaint Assistant.

  Although it’s illegal to “Receive” payment in advance. It’s not illegal for the Students to “Pay” in
  advance – as long as the accrued fees are held by an independent, non-related 3rd party…
  Accordingly, we can/will process for True Count as long as Federal (and applicable state mandates)
  are adhered to.

  I also recommend to start using a 3rd party accommodator to monitor and service your existing
  50,000 students currently paying you via credit cards. We can also facilitate this.

  Sincerely,

  Don
  Donald@DepositChecks.com
  (866) 927-7180
  (619) 450-5800
  (603) 947-5197 - eFax




  From: Kaine Wen [mailto:kwen@slaccountmgmt.com]
  Sent: Tuesday, February 26, 2019 3:38 AM
  To: Donald Cook; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
  Cc: 'Rey Pasinli'
  Subject: Re: Commitment to move forward for ACH payment processing....




                                                                                                              EXHIBIT 15
                                                                                                                Page 78
        Case 19-10655-JKO                                Doc 148                 Filed 11/04/19                      Page 304 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 98 of 101 Page ID
                                   #:4192

  1. True Count can be approved for ACH debit / credit processing for business
  purposes other than federal student loan document preparation and processing
  services and monthly re-certification fees.

  TC only does federal student loan document preparation and processing services. You are not
  able to get TC an ACH account for that business type? Please confirm so we can look for other
  options.

  Thank you.



  Best,

  Kaine Wen

  Confidentiality Disclaimer: This e-mail correspondence and its attachments (if any) are intended exclusively for the above named addressee(s) and
  intended to be privileged and confidential. If they have come to you in error, please immediately notify the sender about the error and delete all copies of
  this e-mail correspondence along with its attachments. Thank you.


  From: Donald Cook <Donald@DepositChecks.com>
  Sent: Monday, February 25, 2019 7:59:36 PM
  To: Kaine Wen; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
  Cc: 'Rey Pasinli'
  Subject: RE: Commitment to move forward for ACH payment processing....

  Good evening Kaine,

  You’re welcome – together, we can make True Count sustaining.

        1. True Count can be approved for ACH debit / credit processing for business
           purposes other than federal student loan document preparation and
           processing services and monthly re-certification fees.
        2. Great, the services we propose, work for both Credit Card and ACH.
        3. Negotiations are currently in place to integrate with either/both NMI and
           USAePay. Non-integration will not impede us from performing our duties set
           forth below.

  Sincerely,

  Don
  Donald@DepositChecks.com
  (866) 927-7180
  (619) 450-5800
  (603) 947-5197 - eFax




                                                                                                                                                           EXHIBIT 15
                                                                                                                                                             Page 79
        Case 19-10655-JKO                                Doc 148                 Filed 11/04/19                      Page 305 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 99 of 101 Page ID
                                   #:4193

  From: Kaine Wen [mailto:kwen@slaccountmgmt.com]
  Sent: Monday, February 25, 2019 6:32 PM
  To: Donald Cook; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
  Cc: 'Rey Pasinli'
  Subject: Re: Commitment to move forward for ACH payment processing....

  Hi Donald,

  Thank you for the comprehensive proposal. It is a large-scale project and transition that we
  don't have any data on yet. This is what we're looking for in the short-term:

        1.    Obtain an ACH account for True Count.
        2.    We will attempt to enroll new clients using ACH.
        3.    We will gather data on what % of clients agree to ACH (vs credit/debit).
        4.    We will gather data on what % of payments get approved/NSF'ed, client refund
              requests, etc.

  Is the plan still for you to integrate with NMI or USAePay?



  Best,

  Kaine Wen

  Confidentiality Disclaimer: This e-mail correspondence and its attachments (if any) are intended exclusively for the above named addressee(s) and
  intended to be privileged and confidential. If they have come to you in error, please immediately notify the sender about the error and delete all copies of
  this e-mail correspondence along with its attachments. Thank you.


  From: Donald Cook <Donald@DepositChecks.com>
  Sent: Monday, February 25, 2019 2:37:11 PM
  To: Kaine Wen; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
  Cc: 'Rey Pasinli'
  Subject: Commitment to move forward for ACH payment processing....

  Good afternoon everyone,

  Congratulations, after meeting and consultations, we have decided to move forward in processing
  your ACH transactions and those of your referred Clients. It is our current belief that “true
  integration” with DebtPayPro, or any CRM of your choice, is not necessary for us to complete our
  work.

  We need for all involved to understand the operating procedures in moving forward. Please read
  the entire text below and be prepared to ask questions and add input in the initial conference call.
  We would like to have all representative on this first call. Please provide us with 2 dates/times this
  week that are convenient for your team.


  Process
        •     No advance fees are taken/received/controlled by the Doc Prep Company.

                                                                                                                                                           EXHIBIT 15
                                                                                                                                                             Page 80
     Case 19-10655-JKO               Doc 148        Filed 11/04/19         Page 306 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 100 of 101 Page ID
                                    #:4194

     •   The Doc Prep Company assists the students completing the required forms, depending on
         what type of loan, etc.
     •   The students sign a Recurring ACH Authorization form in favor of the Trustee, not the Doc
         Prep Company.
     •   The Trustee debits the students over a period of time agreed upon by the parties [e.g. of 3
         months for the $1,200 fee ($400 per month)] plus $6.95 per month for the Trustee fees. At
         all times the accumulated funds are owned by the student in the trust account held in the
         Trustee’s name until such time as evidence is provided, to the Trustee, that the contracted
         work has been performed by the Merchant.
     •   Upon evidence of completed work, Trustee will send accumulated fees to Doc Prep
         Company either by wire, ACH or paper check.
     •   Upon receipt of Cancellation / Refund Request by the Student – Trustee will notify Doc Prep
         Company and return all then accumulated fees to the Student.
     •   The student always pays “loan” payments directly to the Lender/Government.
     •   The Trustee never receives “loan” payments, and, in turn never pays the
         Lender/Government.
     •   The Doc Prep Company currently uses the CRM of DebtPayPro.com and may switch CRMs at
         their discretion.
     •   The Doc Prep Company currently does not process ACH.
     •   The Doc Prep Company currently uses GroupISO for Credit Card processing.
     •   The Doc Prep Company will provide Deposit Checks, Inc a daily ACH processing file. In
         return, Deposit Checks, Inc. will provide Doc Prep Company a Results file.
     •   The ACH “Merchant” is the Trustee (i.e. Deposit Checks, Inc.).
     •   Deposit Checks, Inc will be the Trustee to administer payments.
     •   The Student signs a Recurring ACH Authorization in favor of Deposit Checks, Inc. Deposit
         Checks, Inc will be a processing client of Today Payments, Inc., dba: TrusteePay.com (site to
         be completed by month’s end).
     •   The Doc Prep Company may assign a unique “Descriptor” that is presented to the Student
         on his/her bank statement.
     •   Upon certified completion of work – the Doc Prep company will receive it’s accumulative
         fees held by Trustee.


  My, in-house, programmers have already constructed the layout of the database to be used and we
  are ready to become the Trustee or assist a Trustee.


  Considerations
         The students sign a Recurring Credit Card Authorization form in favor of the Trustee, not the
         Doc Prep Company.


  Descriptors
          ACH descriptor to be agreed upon by Doc Prep Company and Trustee.


  Credit Card

                                                                                                    EXHIBIT 15
                                                                                                      Page 81
      Case 19-10655-JKO               Doc 148        Filed 11/04/19         Page 307 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-1 Filed 11/01/19 Page 101 of 101 Page ID
                                    #:4195

          Credit card processor will be provided the Trust bank information for deposits

  Pricing
  Services rendered to Company and its Students
          1. $60 Application Fee.

             ACH Processing
          2. 0.00% Discount Fee
          3. $0.50 Transaction Fee for federal student loan document preparation and processing
             services and monthly re-certification fees (this is paid for by the Doc Prep Company for
             all transactions initiated by referred Students)
          4. $30 Monthly Fee – per Doc Prep Company depository Trust account
          5. $2.50 Return Fee (NSF) (this is paid for by the student)
          6. $25 Revocation Fee (RO 5, 7, 10) (this is paid for by the Doc Prep Company)
          7. $6.95/month Student Escrow Fee, via ACH or Card payments, for collection of Doc Prep
             Company federal student loan document preparation and processing services (this is
             paid for by the student)

              Other Fees
          8. Company Payment Gateway access $100 Monthly Fee Services rendered to Company’s
              Clients
          9. Settlement Disbursement Fee using ACH: $5.00
          10. Per occurrence fee for any other appropriate service which includes but is not limited to:
              $25 Wire Transfer Fee, Certified Check, Cashier’s Check Depository Fee $10 Paper Check,
              Money Order

  Upon an agreement to move forward by all parties agreements will be transmitted to Doc Prep
  Company for review, completion, execution and return.

  A $10,000 setup fee, payable in two installments: initial payment upon Execution and return of the
  Company agreement, second installment collected upon “testing sign-off” by both Doc Prep
  Company and Deposit Checks, Inc.

  Respectfully,

  Don

  Donald@DepositChecks.com
  (866) 927-7180
  (619) 450-5800
  (603) 947-5197 - eFax




                                                                                                     EXHIBIT 15
                                                                                                       Page 82
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 308 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 1 of 80 Page ID
                                 #:4196




                          EXHIBIT 16
    Case 19-10655-JKO                  Doc 148        Filed 11/04/19   Page 309 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 2 of 80 Page ID
                                 #:4197

 From:           Calvin Ho
 To:             Advisor; Kaine Wen; Tom Nguyen
 Subject:        DAP Flowchart
 Date:           Sunday, March 03, 2019 11:00:00 PM
 Attachments:    DAP Flowchart.pdf


 Please see attached for DAP Flowchart




                                                                                         EXHIBIT 16
                                                                                           Page 83
                  Case 19-10655-JKO           Doc 148          Filed 11/04/19         Page 310 of 478


           Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 3 of 80 Page ID
                                            #:4198


                                              DAP FlowChart




                                                                    DAP
                                                                                                  Processing
Enrolled client      1      Debt Pay Pro            2          (GateWay + DAP           3         company
                                                                  combined)


                                              DPP auto sends
                                               PoW to DAP



                            Proof of Work                                  6
                                                    5                                                  4
                           submitted to DPP



                                                                      Once PoW
                                                                     verified, DAP
                                                                    verify merchant

                                                                                                DAP's merchant
                                                                                                   account
                                                                                                (hold CL funds)




                                                                                Release Funds

                            Our merchant                        7




                                                                                                            EXHIBIT 16
                                                                                                              Page 84
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 311 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 4 of 80 Page ID
                                 #:4199




                          EXHIBIT 17
    Case 19-10655-JKO                 Doc 148            Filed 11/04/19       Page 312 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 5 of 80 Page ID
                                 #:4200

 From:          Calvin Ho
 To:            "Thu Quach"; Keneth Hu; Khanh Truong; Long Le; Thien Nguyen
 Subject:       TAS
 Date:          Monday, March 11, 2019 7:12:00 PM
 Attachments:   Trusted Account Services.docx




                                                                                                EXHIBIT 85
                                                                                                  Page 85
    Case 19-10655-JKO             Doc 148        Filed 11/04/19   Page 313 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 6 of 80 Page ID
                                 #:4201


      TAS – Trusted Account Services Functions
   1. Transaction Report:
          a. Customer View:
          x Merchant Account ID
          x Company Name
          x Paid Amount
          x Pending Payment
          x Refund Amount
          x Release/Payout Amount
          b. Internal View:
          x Deposit Summary:
                   o Batch Amount
                   o Deposit
                   o Adjustment
                   o Reserves
                   o Net Deposit
   2. CC/ACH Payment:
          a. Charge
          b. Refund
          c. Void
   3. Options Setting:
          a. API Configuration
          b. Card ID verification
          c. Address Verification
          d. Settlement Schedule
          e. Transaction Routing
   4. Pre-chargeback & Chargeback Alert:
   5. Proof of Work Upload
   6. Client Profile/Database:
          a. Full Name (First, Last Name)
          b. CC/DB Card
          c. DPP ID
          d. Address
          e. Uploaded Files
          f. Contracts
   7. Client’s View
   8.




                                                                                    EXHIBIT 85
                                                                                      Page 86
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 314 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 7 of 80 Page ID
                                 #:4202




                          EXHIBIT 18
     Case 19-10655-JKO                     Doc 148            Filed 11/04/19          Page 315 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 8 of 80 Page ID
                                 #:4203

 From:              Kaine Wen
 To:                Donald Cook; Calvin Ho; Calvin Ho; Tom Nguyen; Thien Nguyen
 Cc:                "Rey Pasinli"
 Subject:           Re: Closure of Horizon processing account....
 Date:              Friday, April 12, 2019 2:50:39 AM
 Attachments:       image004.png
                    image005.png
                    image003.png


 Hi Donald,

 The new application has been submitted under "TAS 2019 LLC".



 Best,

 Kaine Wen


 Confidentiality Disclaimer: This e-mail correspondence and its attachments (if any) are intended exclusively for the
 above named addressee(s) and intended to be privileged and confidential. If they have come to you in error,
 please immediately notify the sender about the error and delete all copies of this e-mail correspondence along with
 its attachments. Thank you.

 From: Donald Cook <donald@todaypayments.com>
 Sent: Thursday, April 4, 2019 12:50:55 PM
 To: Kaine Wen; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
 Cc: 'Rey Pasinli'
 Subject: RE: Closure of Horizon processing account....

 Hi Kaine,

 Sorry for the inconvenience.

 We have to await the opening of the “Accommodator” account for testing….

 Don
 Donald@TodayPayments.com
 (866) 927-7180
 (603) 947-5197 – eFax




 From: Kaine Wen [mailto:kwen@slaccountmgmt.com]
 Sent: Thursday, April 04, 2019 2:14 AM
 To: Donald Cook; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
 Cc: 'Rey Pasinli'


                                                                                                                  EXHIBIT 18
                                                                                                                    Page 87
       Case 19-10655-JKO                                Doc 148                 Filed 11/04/19                      Page 316 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 9 of 80 Page ID
                                 #:4204

 Subject: Re: Closure of Horizon processing account....


 Hi Don,

 Can you keep the Horizon account open so we can continue testing? Don't worry, we are
 working on getting the new application in. I'm not sure if you can view it but I have it mostly
 completed - just waiting on the bank account information.



 Best,

 Kaine Wen

 Confidentiality Disclaimer: This e-mail correspondence and its attachments (if any) are intended exclusively for the above named addressee(s) and
 intended to be privileged and confidential. If they have come to you in error, please immediately notify the sender about the error and delete all copies of
 this e-mail correspondence along with its attachments. Thank you.



 From: Donald Cook <donald@todaypayments.com>
 Sent: Wednesday, April 3, 2019 1:18:24 PM
 To: Kaine Wen; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
 Cc: 'Rey Pasinli'
 Subject: RE: Closure of Horizon processing account....

 Good afternoon Kaine,

 The account has seen $-0- processing since inception and we haven’t heard from you for several
 weeks.

 Just “cleaning up the ledgers”….

 We are standing ready to receive your new application and processing account!

 Respectfully,

 Don
 Donald@TodayPayments.com
 (866) 927-7180
 (603) 947-5197 – eFax




 From: Kaine Wen [mailto:kwen@slaccountmgmt.com]
 Sent: Wednesday, April 03, 2019 1:07 PM
 To: Donald Cook; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
 Cc: 'Rey Pasinli'


                                                                                                                                                          EXHIBIT 18
                                                                                                                                                            Page 88
       Case 19-10655-JKO                                Doc 148                 Filed 11/04/19                      Page 317 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 10 of 80 Page ID
                                  #:4205

 Subject: Re: Closure of Horizon processing account....


 Hi Don,

 Why is the Horizon ACH account closed?

 We are in the process of submitting the new application, just waiting on the business bank
 account to be set up.



 Best,

 Kaine Wen

 Confidentiality Disclaimer: This e-mail correspondence and its attachments (if any) are intended exclusively for the above named addressee(s) and
 intended to be privileged and confidential. If they have come to you in error, please immediately notify the sender about the error and delete all copies of
 this e-mail correspondence along with its attachments. Thank you.



 From: Donald Cook <donald@todaypayments.com>
 Sent: Wednesday, April 3, 2019 9:05:32 AM
 To: Kaine Wen; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
 Cc: 'Rey Pasinli'
 Subject: RE: Closure of Horizon processing account....

 Good morning Gentlemen,

 Your Horizon processing account has been closed.

 Sincerely,

 Don
 Donald@TodayPayments.com
 (866) 927-7180
 (603) 947-5197 – eFax




                                                                                                                                                          EXHIBIT 18
                                                                                                                                                            Page 89
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 318 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 11 of 80 Page ID
                                  #:4206




                          EXHIBIT 19
      Case 19-10655-JKO                       Doc 148             Filed 11/04/19         Page 319 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 12 of 80 Page ID
                                  #:4207

 From:                 Michael T
 To:                   Kaitlyn Dorsey
 Cc:                   Calvin Ho; Kaine Wen; Carrie Brown; Advisor; Tom Nguyen
 Subject:              Re: Integration with Trusted Account Services
 Date:                 Wednesday, June 19, 2019 5:47:05 PM
 Attachments:          image001.png
                       image002.png


 Hi Kaitlyn,

 I sent you the signed documents. Let me know if there's anything else.

 Thanks you,

 Michael Tabin
 Chief Technology Officer


 Trusted Account Services
 30 N Gould St, Ste R
 Sheridan, WY 82801
 t: (307) 200-2961
 e: michaelt@trustedaccountservices.com



 The content of this email is confidential and intended for the recipient specified in
 message only. It is strictly forbidden to share any part of this message with any
 third party, without a written consent of the sender. If you received this message
 by mistake, please reply to this message and follow with its deletion, so that we
 can ensure such a mistake does not occur in the future.


 From: Kaitlyn Dorsey <kaitlyn@debtpaypro.com>
 Sent: Friday, June 14, 2019 11:27:32 AM
 To: Michael T
 Cc: Calvin Ho; Kaine Wen; Carrie Brown; Advisor; Tom Nguyen
 Subject: Re: Integration with Trusted Account Services

 Hi Michael,

 I have attached the updated scope below. Kaine mentioned your company will be the ones
 being invoiced and paying? If this is correct, I will also attach our CC Form below as well.

 Thank you!

 Kaitlyn Dorsey
 Software Specialist
 kaitlyn@debtpaypro.com




 Phone: (855)874-8222 x109
 Sales: (630)394-6260



                                                                                                           EXHIBIT 19
                                                                                                             Page 90
      Case 19-10655-JKO                             Doc 148              Filed 11/04/19                    Page 320 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 13 of 80 Page ID
                                  #:4208
 Fax: (800) 694 3530
 DebtPay Inc
 1900 E Golf Rd, Suite 550
 Schaumburg, IL 60173
 http://www.debtpaypro.com


 CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail messages attached to it may contain
 confidential information that is legally privileged. If you are not the intended recipient, or a person responsible for delivering it to the
 intended recipient, you are hereby notified that any disclosure, copying, distribution or use of any of the information contained in or
 attached to this transmission is STRICTLY PROHIBITED. If you have received this transmission in error, please immediately notify the
 sender. Please destroy the original transmission and its attachments without reading or saving in any manner.




 On Wed, Jun 12, 2019 at 11:24 AM Kaitlyn Dorsey <kaitlyn@debtpaypro.com> wrote:
  Hi All,

    I am waiting on the Team to review the documentation so I can update our scope to resend
    your way. I will be in touch shortly.

    Kaitlyn Dorsey
    Software Specialist
    kaitlyn@debtpaypro.com




    Phone: (855)874-8222 x109
    Sales: (630)394-6260
    Fax: (800) 694 3530
    DebtPay Inc
    1900 E Golf Rd, Suite 550
    Schaumburg, IL 60173
    http://www.debtpaypro.com


    CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail messages attached to it may
    contain confidential information that is legally privileged. If you are not the intended recipient, or a person responsible for delivering it
    to the intended recipient, you are hereby notified that any disclosure, copying, distribution or use of any of the information contained in
    or attached to this transmission is STRICTLY PROHIBITED. If you have received this transmission in error, please immediately notify
    the sender. Please destroy the original transmission and its attachments without reading or saving in any manner.




    On Wed, Jun 12, 2019 at 11:24 AM Michael T <michaelt@trustedaccountservices.com>
    wrote:
     Hi Mr Calvin,

       Full API Documentation was sent to Kaitlyn.

       Thanks,



       Michael Tabin
       Chief Technology Officer


       Trusted Account Services
       30 N Gould St, Ste R
       Sheridan, WY 82801


                                                                                                                                              EXHIBIT 19
                                                                                                                                                Page 91
    Case 19-10655-JKO                       Doc 148            Filed 11/04/19               Page 321 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 14 of 80 Page ID
                                  #:4209

    t: (307) 200-2961
    e: michaelt@trustedaccountservices.com



    The content of this email is confidential and intended for the recipient specified in
    message only. It is strictly forbidden to share any part of this message with any
    third party, without a written consent of the sender. If you received this message
    by mistake, please reply to this message and follow with its deletion, so that we
    can ensure such a mistake does not occur in the future.


    From: Calvin Ho <calvin@financialpreparationservices.com>
    Sent: Monday, June 10, 2019 11:57:19 PM
    To: Kaitlyn Dorsey; Michael T
    Cc: Kaine Wen; Carrie Brown; Advisor; Tom Nguyen
    Subject: RE: Integration with Trusted Account Services

    Hi Michael,

    Have you sent fully updated API Documentation to Kaitlyn yet?

    Hi Kaitlyn,

    Can you guys expedite this for us instead of 20 days?

    From: Kaitlyn Dorsey <kaitlyn@debtpaypro.com>
    Sent: Tuesday, June 4, 2019 8:58 AM
    To: Michael T <michaelt@trustedaccountservices.com>
    Cc: Kaine Wen <kwen@slaccountmgmt.com>; Calvin Ho
    <calvin@financialpreparationservices.com>; Carrie Brown <carrie@debtpaypro.com>;
    Advisor <advisor@financialpreparationservices.com>; Tom Nguyen
    <tom@slaccountmgmt.com>
    Subject: Re: Integration with Trusted Account Services

    HI Michael,

    Thank you for sending, I need to take this back to the team to update our original scope. It
    looks like the only thing added is the "GET transaction/create" - I don't see any updates on
    here regarding ACH transactions which I know you mentioned in the previous email you
    were going to update that.

    The api documentation, is this final? No more updates needed? I rather make sure now
    before we have to go back and forth with a new scope / timeline. I know this is pretty
    urgent for them.

    Thanks,

    Kaitlyn DorseySoftware Specialist kaitlyn@debtpaypro.com



    Phone: (855)874-8222 x109
    Sales: (630)394-6260



                                                                                                              EXHIBIT 19
                                                                                                                Page 92
    Case 19-10655-JKO                           Doc 148             Filed 11/04/19                  Page 322 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 15 of 80 Page ID
                                  #:4210
    Fax: (800) 694 3530

    DebtPay Inc
    1900 E Golf Rd, Suite 550
    Schaumburg, IL 60173
    http://www.debtpaypro.com
    Facebook   LinkedIn




            CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail messages attached to
    it may contain confidential information that is legally privileged. If you are not the intended recipient, or a person responsible for
    delivering it to the intended recipient, you are hereby notified that any disclosure, copying, distribution or use of any of the
    information contained in or attached to this transmission is STRICTLY PROHIBITED. If you have received this transmission in error,
    please immediately notify the sender. Please destroy the original transmission and its attachments without reading or saving in any
    manner.




    On Mon, Jun 3, 2019 at 2:24 PM Michael T <michaelt@trustedaccountservices.com>
    wrote:

               Hi Kaitlyn,

               Attached is an updated copy of our API. We included API for requesting transaction
               status. Please review.

               Thank you,

               Michael Tabin
               Chief Technology Officer

                                                  T: (307) 200-2961
                                                  michaelt@trustedaccountservices.com
                                                  www.trustedaccountservices.com
                                                  30 N Gould St, Ste R Sheridan, WY 82801




               From: Kaine Wen <kwen@slaccountmgmt.com>
               Sent: Thursday, May 30, 2019 6:32:59 PM
               To: Kaitlyn Dorsey; Michael T
               Cc: Calvin Ho; Carrie Brown; Advisor; Tom Nguyen
               Subject: Re: Integration with Trusted Account Services

               Hi Kaitlyn,

               Please invoice Trusted Account Services for their integration development. Thank you.


               Best,

               Kaine Wen

               Confidentiality Disclaimer: This e-mail correspondence and its attachments (if any) are intended
               exclusively for the above named addressee(s) and intended to be privileged and confidential. If they
               have come to you in error, please immediately notify the sender about the error and delete all copies of
               this e-mail correspondence along with its attachments. Thank you.




                                                                                                                                      EXHIBIT 19
                                                                                                                                        Page 93
    Case 19-10655-JKO                          Doc 148              Filed 11/04/19                   Page 323 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 16 of 80 Page ID
                                  #:4211

      From: Kaitlyn Dorsey <kaitlyn@debtpaypro.com>
      Sent: Thursday, May 30, 2019 10:01:20 AM
      To: Michael T
      Cc: Calvin Ho; Carrie Brown; Kaine Wen; Advisor; Tom Nguyen
      Subject: Re: Integration with Trusted Account Services

      Michael,

      Sounds good, we will update our scope and quote for Calvin once we receive your
      updated documentation.

      Thanks!

      Kaitlyn DorseySoftware Specialist kaitlyn@debtpaypro.com



      Phone: (855)874-8222 x109
      Sales: (630)394-6260
      Fax: (800) 694 3530

      DebtPay Inc
      1900 E Golf Rd, Suite 550
      Schaumburg, IL 60173
      http://www.debtpaypro.com
      Facebook   LinkedIn




               CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail messages attached
      to it may contain confidential information that is legally privileged. If you are not the intended recipient, or a person responsible
      for delivering it to the intended recipient, you are hereby notified that any disclosure, copying, distribution or use of any of the
      information contained in or attached to this transmission is STRICTLY PROHIBITED. If you have received this transmission in
      error, please immediately notify the sender. Please destroy the original transmission and its attachments without reading or
      saving in any manner.




      On Wed, May 29, 2019 at 6:15 PM Michael T <michaelt@trustedaccountservices.com>
      wrote:

                 Carrie,

                 I spoke with Keneth from Calvin's team regarding adding new API for getting
                 transaction statuses. Also, we'll be updating transaction/create API to be able to
                 process ACH transactions.



                 Thank you,

                 Michael Tabin
                 Chief Technology Officer

                                                     T: (307) 200-2961
                                                     michaelt@trustedaccountservices.com
                                                     www.trustedaccountservices.com
                                                     30 N Gould St, Ste R Sheridan, WY 82801




                                                                                                                                        EXHIBIT 19
                                                                                                                                          Page 94
    Case 19-10655-JKO                         Doc 148               Filed 11/04/19                   Page 324 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 17 of 80 Page ID
                                  #:4212


        From: Calvin Ho <calvin@financialpreparationservices.com>
        Sent: Tuesday, May 28, 2019 1:36:53 PM
        To: Carrie Brown
        Cc: Michael T; Kaine Wen; DebtPayPro Support; Advisor; Tom Nguyen; Kaitlyn
        Dorsey
        Subject: RE: Integration with Trusted Account Services

        Hi Carrie,

        Perfect. Thanks Carrie.

        Please keep me posted.

        Best regards,


        From: Carrie Brown <carrie@debtpaypro.com>
        Sent: Tuesday, May 28, 2019 1:06 PM
        To: Calvin Ho <calvin@financialpreparationservices.com>
        Cc: Michael T <michaelt@trustedaccountservices.com>; Kaine Wen
        <kwen@slaccountmgmt.com>; DebtPayPro Support <support@debtpaypro.com>;
        Advisor <advisor@financialpreparationservices.com>; Tom Nguyen
        <tom@slaccountmgmt.com>; Kaitlyn Dorsey <kaitlyn@debtpaypro.com>
        Subject: Re: Integration with Trusted Account Services

        Hi Calvin,

        We have a scope and quote. Kaitlyn in sales is finalizing the proposal and will reach
        out soon to review.'

        Regards,

        Carrie BrownClient Success Manager
        carrie@debtpaypro.com




        Phone: (855) 874 8222 x.115

        DebtPay Inc
        1900 E Golf Rd, Suite 550
        Schaumburg, IL 60173
        http://www.debtpaypro.com
        Facebook   LinkedIn




        CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail messages attached to it
        may contain confidential information that is legally privileged. If you are not the intended recipient, or a person responsible
        for delivering it to the intended recipient, you are hereby notified that any disclosure, copying, distribution or use of any of the
        information contained in or attached to this transmission is STRICTLY PROHIBITED. If you have received this transmission
        in error, please immediately notify the sender. Please destroy the original transmission and its attachments without reading
        or saving in any manner.




        On Thu, May 23, 2019 at 1:00 PM Carrie Brown <carrie@debtpaypro.com> wrote:
         Hi Calvin,


                                                                                                                                        EXHIBIT 19
                                                                                                                                          Page 95
    Case 19-10655-JKO                       Doc 148              Filed 11/04/19                   Page 325 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 18 of 80 Page ID
                                  #:4213

          We just recently received the API documentation and it is being reviewed by
          development. No work has or will be started on it until a scope and quote are
          complete and a proposal for the work is signed off on. Please feel fre to contact me
          if you have any questions but this is our standard integration procedure.

          Regards,

          Carrie BrownClient Success Manager
          carrie@debtpaypro.com




          Phone: (855) 874 8222 x.115

          DebtPay Inc
          1900 E Golf Rd, Suite 550
          Schaumburg, IL 60173
          http://www.debtpaypro.com
          Facebook   LinkedIn




          CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail messages attached
          to it may contain confidential information that is legally privileged. If you are not the intended recipient, or a person
          responsible for delivering it to the intended recipient, you are hereby notified that any disclosure, copying, distribution or
          use of any of the information contained in or attached to this transmission is STRICTLY PROHIBITED. If you have
          received this transmission in error, please immediately notify the sender. Please destroy the original transmission and its
          attachments without reading or saving in any manner.




          On Thu, May 23, 2019 at 12:55 PM Calvin Ho
          <calvin@financialpreparationservices.com> wrote:
                     Hi Carrie and Michael,

                     How’s everything with the integration? When can we start using TAS? Do you
                     guys have any timeframes for that ? Do you guys need anything from us?

                     Please let me know if we can help with anything else.

                     Best regards,

                     From: Carrie Brown <carrie@debtpaypro.com>
                     Sent: Wednesday, May 8, 2019 1:29 PM
                     To: Calvin Ho <calvin@financialpreparationservices.com>
                     Cc: Michael T <michaelt@trustedaccountservices.com>; Kaine Wen
                     <kwen@slaccountmgmt.com>; DebtPayPro Support
                     <support@debtpaypro.com>; Advisor
                     <advisor@financialpreparationservices.com>; Tom Nguyen
                     <tom@slaccountmgmt.com>
                     Subject: Re: Integration with Trusted Account Services

                     Michael,

                     Actually, if it's going to be NMI we'd like to get a VAR sheet instead of
                     credentials. If it's Auth.net then credentials are all we need.

                     Thank you,

                     Carrie BrownClient Success Manager


                                                                                                                                     EXHIBIT 19
                                                                                                                                       Page 96
    Case 19-10655-JKO                             Doc 148       Filed 11/04/19                    Page 326 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 19 of 80 Page ID
                                  #:4214
            carrie@debtpaypro.com




            Phone: (855) 874 8222 x.115

            DebtPay Inc
            1900 E Golf Rd, Suite 550
            Schaumburg, IL 60173
            http://www.debtpaypro.com
            Facebook   LinkedIn




            CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail messages
            attached to it may contain confidential information that is legally privileged. If you are not the intended recipient, or a
            person responsible for delivering it to the intended recipient, you are hereby notified that any disclosure, copying,
            distribution or use of any of the information contained in or attached to this transmission is STRICTLY PROHIBITED.
            If you have received this transmission in error, please immediately notify the sender. Please destroy the original
            transmission and its attachments without reading or saving in any manner.




            On Tue, May 7, 2019 at 3:38 PM Carrie Brown <carrie@debtpaypro.com>
            wrote:
              No, not for this meeting. Thanks Calvin!

                       On Tue, May 7, 2019, 1:15 PM Calvin Ho
                       <calvin@financialpreparationservices.com> wrote:
                                  Hi Carrie,

                                  Do you want us to join the meeting as well ?

                                  Best regards,

                                  From: Michael T <michaelt@trustedaccountservices.com>
                                  Sent: Monday, May 6, 2019 5:19 PM
                                  To: Carrie Brown <carrie@debtpaypro.com>
                                  Cc: Calvin Ho <calvin@financialpreparationservices.com>; Kaine Wen
                                  <kwen@slaccountmgmt.com>; DebtPayPro Support
                                  <support@debtpaypro.com>; Advisor
                                  <advisor@financialpreparationservices.com>; Tom Nguyen
                                  <tom@slaccountmgmt.com>
                                  Subject: Re: Integration with Trusted Account Services

                                  1:00pm on Wednesday will work.

                                  From: Michael T
                                  Sent: Monday, May 6, 2019 5:15:15 PM
                                  To: Carrie Brown
                                  Cc: Calvin Ho; Kaine Wen; DebtPayPro Support; Advisor; Tom Nguyen
                                  Subject: Re: Integration with Trusted Account Services

                                  Yes, that will be fine.

                                  Thank you.

                                  From: Carrie Brown <carrie@debtpaypro.com>
                                  Sent: Monday, May 6, 2019 10:04:33 AM

                                                                                                                                     EXHIBIT 19
                                                                                                                                       Page 97
    Case 19-10655-JKO                   Doc 148             Filed 11/04/19                    Page 327 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 20 of 80 Page ID
                                  #:4215

               To: Michael T
               Cc: Calvin Ho; Kaine Wen; DebtPayPro Support; Advisor; Tom Nguyen
               Subject: Re: Integration with Trusted Account Services

               Hi Michael,

               I am out of the office at appointments until Wednesday. I could do 9:00 or
               1:00 PST on Wednesday. If one of those times works I'll send out a meeting
               invite to block the time.

               Regards,

               Carrie BrownClient Success Manager
               carrie@debtpaypro.com




               Phone: (855) 874 8222 x.115

               DebtPay Inc
               1900 E Golf Rd, Suite 550
               Schaumburg, IL 60173
               http://www.debtpaypro.com
               Facebook   LinkedIn




               CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail messages
               attached to it may contain confidential information that is legally privileged. If you are not the intended recipient,
               or a person responsible for delivering it to the intended recipient, you are hereby notified that any disclosure,
               copying, distribution or use of any of the information contained in or attached to this transmission is STRICTLY
               PROHIBITED. If you have received this transmission in error, please immediately notify the sender. Please
               destroy the original transmission and its attachments without reading or saving in any manner.




               On Mon, May 6, 2019 at 8:49 AM Michael T
               <michaelt@trustedaccountservices.com> wrote:
                          Carrie,

                          You can contact me at (307) 200-2961.

                          Lets schedule a meeting for tomorrow (5/7) 1:00pm MDT.

                          From: Carrie Brown <carrie@debtpaypro.com>
                          Sent: Friday, May 3, 2019 1:20:57 PM
                          To: Calvin Ho; Michael T
                          Cc: Kaine Wen; DebtPayPro Support; Advisor; Tom Nguyen
                          Subject: Re: Integration with Trusted Account Services

                          Michael,

                          What phone number can I reach you to discuss this?

                          Regards,

                          Carrie BrownClient Success Manager
                          carrie@debtpaypro.com




                                                                                                                                 EXHIBIT 19
                                                                                                                                   Page 98
    Case 19-10655-JKO                                Doc 148     Filed 11/04/19                  Page 328 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 21 of 80 Page ID
                                  #:4216



                 Phone: (855) 874 8222 x.115

                 DebtPay Inc
                 1900 E Golf Rd, Suite 550
                 Schaumburg, IL 60173
                 http://www.debtpaypro.com
                 Facebook      LinkedIn




                 CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail
                 messages attached to it may contain confidential information that is legally privileged. If you are not the
                 intended recipient, or a person responsible for delivering it to the intended recipient, you are hereby notified
                 that any disclosure, copying, distribution or use of any of the information contained in or attached to this
                 transmission is STRICTLY PROHIBITED. If you have received this transmission in error, please
                 immediately notify the sender. Please destroy the original transmission and its attachments without reading
                 or saving in any manner.




                 On Thu, May 2, 2019 at 5:16 PM Calvin Ho
                 <calvin@financialpreparationservices.com> wrote:
                            Hi Carrie,

                            Here is Michael contact: michaelt@trustedaccountservices.com

                            Best regards,

                            From: Carrie Brown <carrie@debtpaypro.com>
                            Sent: Thursday, May 2, 2019 2:25 PM
                            To: Calvin Ho <calvin@financialpreparationservices.com>
                            Cc: Kaine Wen <kwen@slaccountmgmt.com>; DebtPayPro Support
                            <support@debtpaypro.com>; Advisor
                            <advisor@financialpreparationservices.com>; Tom Nguyen
                            <tom@slaccountmgmt.com>
                            Subject: Re: Integration with Trusted Account Services

                            Thanks, Calvin!

                            Do you have contact info?

                            Carrie BrownClient Success Manager
                            carrie@debtpaypro.com




                            Phone: (855) 874 8222 x.115

                            DebtPay Inc
                            1900 E Golf Rd, Suite 550
                            Schaumburg, IL 60173
                            http://www.debtpaypro.com
                            Facebook      LinkedIn




                            CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail
                            messages attached to it may contain confidential information that is legally privileged. If you are not the
                            intended recipient, or a person responsible for delivering it to the intended recipient, you are hereby
                            notified that any disclosure, copying, distribution or use of any of the information contained in or
                            attached to this transmission is STRICTLY PROHIBITED. If you have received this transmission in error,
                            please immediately notify the sender. Please destroy the original transmission and its attachments
                            without reading or saving in any manner.




                                                                                                                                   EXHIBIT 19
                                                                                                                                     Page 99
    Case 19-10655-JKO        Doc 148        Filed 11/04/19        Page 329 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 22 of 80 Page ID
                                  #:4217


                   On Thu, May 2, 2019 at 12:05 PM Calvin Ho
                   <calvin@financialpreparationservices.com> wrote:
                     Hi Carrie,

                     You can reach out for Micheal Tabin.

                     Please let me know if there are anything that I can help.

                     Best regards,

                     From: Carrie Brown <carrie@debtpaypro.com>
                     Sent: Thursday, May 2, 2019 9:52 AM
                     To: Calvin Ho <calvin@financialpreparationservices.com>
                     Cc: Kaine Wen <kwen@slaccountmgmt.com>; DebtPayPro Support
                     <support@debtpaypro.com>; Advisor
                     <advisor@financialpreparationservices.com>; Tom Nguyen
                     <tom@slaccountmgmt.com>
                     Subject: Re: Integration with Trusted Account Services

                     Hi Calvin,

                     Thanks for sending this over. Is there a person there you've been
                     working with that I can ask reach out to specifically?

                     On Wed, May 1, 2019, 6:06 PM Calvin Ho
                     <calvin@financialpreparationservices.com> wrote:
                       Hi Carrie,

                       Here is the website from Trusted Account Services:
                       https://trustedaccountservices.com/

                       Contact from Trusted Account Services:
                       technicalsupport@tasportal.com

                       Let me know if you need any other information.

                       Best regards,

                       From: Carrie Brown <carrie@debtpaypro.com>
                       Sent: Wednesday, May 1, 2019 6:43 AM
                       To: Kaine Wen <kwen@slaccountmgmt.com>
                       Cc: DebtPayPro Support <support@debtpaypro.com>; Advisor
                       <advisor@financialpreparationservices.com>; Tom Nguyen
                       <tom@slaccountmgmt.com>; Calvin Ho
                       <calvin@financialpreparationservices.com>
                       Subject: Re: Integration with Trusted Account Services

                       Hi Kaine,


                                                                                         EXHIBIT 19
                                                                                          Page 100
    Case 19-10655-JKO       Doc 148           Filed 11/04/19             Page 330 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 23 of 80 Page ID
                                  #:4218

                      What is the website for this company? Is there a direct contact
                      there I can speak with?

                      On Wed, May 1, 2019, 3:56 AM Kaine Wen
                      <kwen@slaccountmgmt.com> wrote:
                        Dear Support,

                        Please provide detailed answers and explanations to the
                        following questions from Trusted Account Services. We are
                        testing out their dedicated account provider services (same
                        services as Reliant Account Management or Account
                        Management Plus). Thank you in advance.


                           1. How can we integrate with DPP?
                           2. Do you have any document that details what
                              information we need to receive from DPP's end or pass to
                              DPP from our end?
                           3. Do you have any API to use for integration?
                           4. How can we manage the transactions and clients between
                              our systems and DPP?



                        Best,

                        Kaine Wen

                        Confidentiality Disclaimer: This e-mail correspondence and its attachments
                        (if any) are intended exclusively for the above named addressee(s) and
                        intended to be privileged and confidential. If they have come to you in error,
                        please immediately notify the sender about the error and delete all copies of
                        this e-mail correspondence along with its attachments. Thank you.




                                                                                                     EXHIBIT 19
                                                                                                      Page 101
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 331 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 24 of 80 Page ID
                                  #:4219




                          EXHIBIT 20
     Case 19-10655-JKO                   Doc 148         Filed 11/04/19   Page 332 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 25 of 80 Page ID
                                  #:4220

 From:            Long Le
 To:              Calvin Ho
 Subject:         Tas questions for DPP
 Date:            Wednesday, April 24, 2019 2:22:09 PM


 Hi a,

 Day la cau hoi cua em va a Thinh.

     1. How can we integrate with DPP? Do you guys have any document that help us to know which
        info that we need to receive from your end or pass to yours from our end?
     2. Do you have any API to use for integration?
     3. How can we manage the transactions and clients between our systems and DPP?




                                                                                             EXHIBIT 20
                                                                                              Page 102
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 333 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 26 of 80 Page ID
                                  #:4221




                          EXHIBIT 21
Case 19-10655-JKO          Doc 148                   Filed 11/04/19                           Page 334 of 478




              Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 27 of 80 Page ID
                                                #:4222




                                                                                                                EXHIBIT 21
                                                                                                                 Page 103
Case 19-10655-JKO          Doc 148                   Filed 11/04/19                           Page 335 of 478




              Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 28 of 80 Page ID
                                                #:4223




                                                                                                                EXHIBIT 21
                                                                                                                 Page 104
Case 19-10655-JKO          Doc 148                   Filed 11/04/19                           Page 336 of 478




              Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 29 of 80 Page ID
                                                #:4224




                                                                                                                EXHIBIT 21
                                                                                                                 Page 105
Case 19-10655-JKO          Doc 148                   Filed 11/04/19                           Page 337 of 478




              Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 30 of 80 Page ID
                                                #:4225




                                                                                                                EXHIBIT 21
                                                                                                                 Page 106
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 338 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 31 of 80 Page ID
                                  #:4226




                          EXHIBIT 22
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 339 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 32 of 80 Page ID
                                     #:4227




                                                                                   EXHIBIT 22
                                                                                    Page 107
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 340 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 33 of 80 Page ID
                                  #:4228




                          EXHIBIT 23
     Case 19-10655-JKO                    Doc 148       Filed 11/04/19      Page 341 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 34 of 80 Page ID
                                  #:4229

 From:             Thien Nguyen
 To:               Keneth Hu
 Subject:          RE: ACH Processing using Green
 Date:             Tuesday, April 23, 2019 2:22:01 PM


 Yes. But not for FPS. We will contact them again as TAS.

 From: Keneth Hu <khu@financialpreparationservices.com>
 Sent: Tuesday, April 23, 2019 1:58 PM
 To: Thien Nguyen <thien@slaccountmgmt.com>
 Subject: RE: ACH Processing using Green

 Is this still one of your options?


 From: Thien Nguyen <thien@slaccountmgmt.com>
 Sent: Monday, April 8, 2019 12:03 PM
 To: Keneth Hu <khu@slaccountmgmt.com>; Keneth Hu <khu@financialpreparationservices.com>
 Cc: Khanh Truong <ktroung@financialpreparationservices.com>
 Subject: FW: ACH Processing using Green

 Hi Keneth,
 Could you skim through the documents? We’re trying to find a new processing company. This is one
 that I found that is provide lots of details on contract and how to post API. Please give me your
 thought.
 Thanks,
 Thien Nguyen
 From: Frank Lewis <frankl@ncms-inc.com>
 Sent: Monday, April 8, 2019 11:15 AM
 To: Thien Nguyen <thien@slaccountmgmt.com>
 Subject: FW: ACH Processing using Green


 Thien
 I talked with the head underwriting and he is all in to get this done. He looked at your website and
 his comment was this is the first website that is doing this correctly.
 Give me a call and I will work through this with you.

 Frank Lewis
 Independent Account Executive
 National Cash Management Systems
 www.ncms-inc.com
 6850 TPC Drive | Suite 208 | McKinney, Texas 75070
 Toll Free 877.370.9645 x 100 | Direct 214.544.2245 x 100
 Cell 972.880.8997 | Company Fax 214.544.2246




                                                                                                    EXHIBIT 23
                                                                                                     Page 108
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 342 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 35 of 80 Page ID
                                  #:4230




                          EXHIBIT 24
     Case 19-10655-JKO                    Doc 148          Filed 11/04/19             Page 343 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 36 of 80 Page ID
                                  #:4231

 From:              Keneth Hu
 To:                Kaine Wen
 Subject:           RE: QUANTUM HORIZON CONSULTANTS - PSLC APPLICATION
 Date:              Tuesday, December 11, 2018 9:47:28 AM
 Attachments:       Quantum Horizon Consultants - PSLC.pdf


 Signed



 From: Kaine Wen <kwen@slaccountmgmt.com>
 Sent: Monday, December 10, 2018 11:35 PM
 To: Keneth Hu <khu@slaccountmgmt.com>
 Subject: Fw: QUANTUM HORIZON CONSULTANTS - PSLC APPLICATION


 Please sign on page 6 (twice) and page 7.



 Kaine Wen
 SL Account Mgmt

 Confidentiality Disclaimer: This e-mail correspondence and its attachments (if any) are intended exclusively for the
 above named addressee(s) and intended to be privileged and confidential. If they have come to you in error,
 please immediately notify the sender about the error and delete all copies of this e-mail correspondence along with
 its attachments. Thank you.




 From: Jimmy Lai <jimmy.lai@swiftpaymentsinc.com>
 Sent: Monday, December 10, 2018 11:09 PM
 To: Kaine Wen; Tom Nguyen
 Subject: QUANTUM HORIZON CONSULTANTS - PSLC APPLICATION

 Please review for accuracy, sign, and return.

 Thanks,

 Jimmy Lai
 President
 Swift Payments
 Office: (949) 596-7550
 Mobile: (949) 302-3248
 Fax: (949) 328-7535



 The information contained in this transmission may contain privileged and confidential information. It is intended
 only for the use of the addressee. If the person actually receiving this communication or any other reader of the
 communication is not the named recipient, or the employee or agent responsible to deliver it to the recipient, any


                                                                                                                  EXHIBIT 24
                                                                                                                   Page 109
     Case 19-10655-JKO                     Doc 148           Filed 11/04/19             Page 344 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 37 of 80 Page ID
                                  #:4232

 use, dissemination, distribution or copying of this communication is strictly prohibited. If you have received this
 communication in error, please immediately notify us by return e-mail, and destroy this communication and all
 copies thereof, including all attachments.




                                                                                                                       EXHIBIT 24
                                                                                                                        Page 110
                      Case 19-10655-JKO                          Doc 148            Filed 11/04/19              Page 345 of 478


             Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 38 of 80 Page ID
                                               #:4233 MERCHANT PROCESSING APPLICATION & AGREEMENT
                                                                                             PAGE 1




1. GENERAL INFORMATION | BUSINESS LOCATION INFORMATION | BUSINESS STRUCTURE                                              Sales Agent ID:


   Premier Student Loan Ctr                                                        8 Whatney, Ste 100, #8
   Client Business Name (Doing Business As)                                    Location Address (physical location)
   Irvine                               CA                       92618                    1-855-757-7727
   City                                 State                    Zip                      Location Phone                        Location Fax
   1-855-757-7727                                          www.slaccountmgt.com                                       info@slaccountmgmt.com
  Customer Service Phone                               Business Website Address                                       Business Email

   Horizon Consultants LLC                                                         2522 Chambers Rd, Ste 100, Rm 209
   Client Corporate Name/Legal Name                                            Corporate Address (if different than location)
   Tustin                              Ca                   92780                  Kaine Wen                           +1 855-757-7727
   City                                State               Zip                     Contact Name                       Contact Phone


   Fed Tax ID                          Tax Filing Name (if different)                              Prior Security Breach? Yes       No   ■



   Date Business Started                    Send Retrieval/Chargeback Requests to: Corporate Address            ■               Location Address


   Multiple Locations?           Yes        No      If Yes, enter # of locations                   Additional Location to existing MID

   Indicate Company Structure:
          Sole Prop       Partnership             C Corp             S Corp    501 C/Tax Ex          LLC/LLP        Govt. (Local/State/Federal)

   State Filing
                  CA                                   I certify that I am a foreign entity/nonresident alien (If checked, please attach IRS Form W-8)

   NOTE: Failure to provide accurate information may result in a withholding of merchant funding per: IRS regulations (See Part IV, Section A.3
   of your Program Guide for further information)


2. BANKING ACCOUNT INFORMATION AND MEMBER BANK DISCLOSURE


   Bank Name
                      Sunwest Bank
                                                                                          Visa and MasterCard Member Bank Information as indicated
                                                                                                below by agent: Commercial Bank of California
   Bank Phone

   Routing #          122228003

   Account #

   ACH Method:            Combined                         Individual
                                                                                                   Mailing Address: 19752 MacArthur Blvd.,
                                                                                                                    Suite 100, Irvine, CA 92612
   (Must be a checking account. Savings accounts are not permitted.)




  Prior Bankruptcies?       Yes              No            If Yes:      Business                     Personal

  Date Discharged


3. TRADE REFERENCE


 Trade Reference Business Name                                                         Contact

 Business Address                                                                      Telephone

 City                    State                       Zip                               Account No.



                              Quantum Electronic Payments LLC is a registered ISO of Commercial Bank of California                             EXHIBIT 24
                                                                                                                                                Page 111
                          Case 19-10655-JKO                                                      Doc 148                                Filed 11/04/19                                Page 346 of 478


              Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 39 of 80 Page ID                                                                                                                                            PAGE 2
4. OWNERS | PARTNERS | OFFICERS                 #:4234
                                                                                              OWNER | PARTNER | OFFICER 1

Name
         Keneth Hu                                                            Title
                                                                                           Owner                                                    % Ownership*
                                                                                                                                                                           100               Guarantor** Yes                 No

Home Address
                   2522 Chambers Rd, Ste 100, Rm 209
                                                                                                       City
                                                                                                                    Tustin                                            State
                                                                                                                                                                                 Ca                                  Zip
                                                                                                                                                                                                                             92780
                                  | PARTNER | OFFICER 3                                                                                                                                                    khu@slaccountmgmt.com
Cell Phone                                          Social Security                                                                         Date of Birth                               Email Address

                                                                                              OWNER | PARTNER | OFFICER 2
 Name                                                                          Title                                                                    % Ownership*                         Guarantor** Yes                 No

 Home Address                                                                                           City                                                             State                                        Zip
                      OWNER | PARTNER | OFFICER 3
 Cell Phone                                          Social Security                                                                         Date of Birth                              Email Address

                                                                                              OWNER | PARTNER | OFFICER 3

 Name                                                                         Title                                                                     % Ownership*                         Guarantor** Yes                 No

 Home Address                                                                                           City                                                           State                                          Zip
                      OWNER | PARTNER | OFFICER 3
 Cell Phone                                         Social Security                                                                          Date of Birth                              Email Address

                                                                                              OWNER | PARTNER | OFFICER 4

Name                                                                          Title                                                                 % Ownership*                             Guarantor** Yes                 No

Home Address                                                                                           City                                                           State                                          Zip
                      OWNER | PARTNER | OFFICER 3
Cell Phone                                          Social Security                                                                         Date of Birth                               Email Address




 * Each individual who owns, directly or indirectly through any contract, arrangement, understanding relationship or otherwise, 25% or more of the equity interests of
   the Client, or who is the Client’s sole proprietor, must be added.

 ** A control prong owner means a “beneﬁcial owner” who is a single individual (e.g. Chief Executive Officer, Chief Financial Officer, Chief Operating Officer, Managing
    Member, General Partner, President, Vice President, Treasurer) with signiﬁcant responsibility to control, manage, or direct Client’s legal entity. The control prong
    owner must also serve as the Guarantor in connection with the Merchant Processing Agreement.



5. NATURE OF BUSINESS | TRANSACTION INFORMATION


  Business Type:                 Retail                                       Restaurant                                 Healthcare                          Lodging                  Supermarket                 Government

                                 Internet                                      QSR                                       Education                           Utilities                Petroleum                  Charity/Non Proﬁt

                                 B2B                                  ■       Mail / Telephone Order                                                        Other


 Requested Monthly V/MC/DS Card Volume
                                                 500,000                               American Exp Monthly Volume                                                   Card Present Swiped              %      Sales to Consumers
                                                                                                                                                                                                                                   100    %


 Requested Average V/MC/DS Card Ticket
                                                 30.00                                 American Exp Average Ticket
                                                                                                                                                                     Card Present Keyed               %
                                                                                                                                                                                                            Sales to Business              %
                                                                                                                                                                     MOTO                   100
 Requested Highest Payment Card Ticket
                                                 50.00                                                                                                                                                %
                                                                                                                                                                                                            Sales to Govt.                %
                                                                                                                                                                     Internet (Ecommerce)             %


 Seasonal Merchant: Yes     No          Months Closed                                                                      Previous Processor
                                                                                                                                                           National Merchant Center
                                                                                                                                                                                      Reason For Leaving
                                                                                                                                                                                                           Currently Processing

 Has the Merchant or Owner been terminated from accepting payment cards from any payment network for this business or any other business? Yes                                                                                     No

 If yes, please explain the reason for termination:



 Description of Products or Services Sold:
                                                        Recurring Recertification Fees of $30, $40, and $50 for
 Describe your Return Policy:
                                  Full refund (no questions asked) if the client's enrollment is not approved, or if company makes a material mistake
                                                                                                                                                          Days to delivery       31-90 days




                                    Quantum Electronic Payments LLC is a registered ISO of Commercial Bank of California                                                                                               EXHIBIT 24
                                                                                                                                                                                                                        Page 112
                       Case 19-10655-JKO                            Doc 148              Filed 11/04/19                      Page 347 of 478


                Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 40 of 80 Page ID
6. SERVICE ACCEPTANCE | FEE SCHEDULES AND OTHER CARD TYPES
                                                  #:4235                                                                                                                            PAGE 3


  Request to Accept Card Types:                                                                                                 Select VI/MC/Discover Network
                                                                                                                                Discount Plan:
                Visa Credit                MasterCard Credit                   Discover Network              PIN Debit
                                                                                                                                        Tiered Basic                   Pass Through
                Visa Debit                 MasterCard Debit                    AMEX Network
                                                                                                                                        I/C Flat Rate                  CDP Flat Rate


    Assessments & Brand Fees: Included               ■      Billed Separately ■                 Requested Discount Payment Method:                   Daily       ■      Monthly


                  DISCOUNT FEES: Visa, MasterCard, Discover, Pin Debit                                                    American Express OPT Blue or AMEX Direct

                                                                                                                Opt Blue Discount Plan:                        AMEX Direct:
  Tiered                %       Per Item          Pass Through                      %          Per Item
                                                                                                                  Tiered Basic                            Order New No.
Qualiﬁed                                                                                                                                                  Existing SE No.
Discount =                                   Pass Through IC+ =                   1.25          0.09              Pass Through Program
                                                                                                                  Pricing                              Use Existing
Mid Qual =                                                                                                                                             Cap No.
(Qual+)
                                             Debit PassThrough IC+ =              1.25          0.09              Flat Rate
                                                                                                                                             (Flat fee of $7.95 or Discount Rate may apply)

Non Qual =
(Qual+)
                                             Pin Debit Pass Through+ =            1.25          0.09                                                  %                  Per Item

Debit Qual                                          Flat Rate                       %                           Credit Qual =
Discount =
                                                                                                                Credit Mid-Qual =
Debit Midƫ1(ƫœ                             Flat Rate =
(Qual+)                                                                                                         Credit Non-Qual =
Debit Nonƫ1(ƫœ
                                             Debit Flat Rate =
(Qual+)                                                                                                         Pass Through IC =



                                                                Authorization, Monthly AND Miscellaneous Fees


   Authorization & Per Item Fees                           Monthly Fees                                    Miscellaneous Fees                                 Gateway Fees
   Visa/MC/Discover Networks         $
                                         0.09              Monthly Service          $
                                                                                        20.00             Chargeback Fee  $
                                                                                                                            25.00
                                                                                                                                                          Gateway Setup Fee
                                                                                                          (Per Occurrence)
   AMEX/Fleet/Other                  $
                                         0.09                                           250.00                                      15.00                 $
                                                                                                                                                              150.00
                                                           Monthly Minimum          $                     Retrieval Fee         $
   Pin Debit                         $
                                         0.09                                                             (Per Occurrence)
                                                                                                                                                          Gateway Monthly Fee
                                                           Wireless Fee             $                                               30.00
                                                                                                          ACH Reject Fee        $
   EBT                               $
                                         0.09                                                             (Per Occurrence)                                $
                                                                                                                                                              25.00
                                                           Pin Debit Monthly        $
                                                                                                          Annual Fee            $
                                                                                                                                    199.00
   FCS#                                                    EBT Monthly              $                                                                     Gateway Transaction Fee
                                                                                                                          December
   Electronic AVS                    $
                                         0.05                                           35.00             Month to Bill
                                                                                                                                                          $   0.25
                                                           PCI Non-Compliance       $
                                                                                                                                    250.00
   Voice Auth                        $
                                         1.00              Govt Compliance          $
                                                                                        3.95              PCI Annual Fee        $
                                                                                                                                                          Gateway Batch Fee
                                         1.25                                                             Risk Monitoring       $
                                                                                                                                    50.00                     0.10
   Voice AVS                         $                     TIN Mis-Match                                                                                  $
                                                                                        49.00
   Sales Transaction Fee             $
                                         0.09              (until validated)        $                     POS Software          $
                                                                                                                                    200.00
                                         0.50              Licensing Fee            $                     SPM Setup Fee         $
   Return Transactions               $
                                                                                        20.00                                       200.00
   Batch Fee                        $ 0.09                 PCI Monthly Fee          $                     SPM Monthly Fee $
   (Per Item)                                                                           14.95
                                                           Security Software        $
   Micros Fee                       $
   (Per Transaction)


 Association fees will be passed through to the merchant. Fees include, but are not limited to, Visa’s FANF and APF, Acqr ISA and MasterCard’s NABU, Acqr Support,
 Cross Border Fee and Discover IPF, ISF, Data Usage, AMEX Network, AMEX Non-Swipe, AMEX downgrade, Assessments (MC,Visa Credit,Visa Debit, Discover,MC >
 $1,000), MC AVS Acqr Access (CNP), MC AVS Acqr Access, MC License, MC KiloByte, Visa AFD Partial Auth, Non Participant, Visa File Transmission, MC CVC2, DISC
 Network Auth, Visa Acqr Processing (CR), Visa International Acqr, Visa Acqr International Service Assessment, Visa Misuse Auth, Visa Zero Floor, MC Digital Enablement,
 MC Reversal, Visa Return Data Processing (CR & DB), Visa Acqr Data Processing (Debit), Visa Tran Integrity, Visa Network Part CT, Visa Network CNP. Association fees are
 set by Associations and are subject to change from time to time.

 0.30% non-swiped transaction fee will be charged by American Express for transactions whenever a CNP or Card Not Present Charge occurs. CNP means a charge which
 the card is not presented at the point of purchase (e.g., Charges by mail, telephone, fax or the Internet). Note: The CNP Fee is applicable to all transactions made on all
 American Express Cards, including Prepaid Cards.

 An inbound fee of 0.40% will be applied on any Charge made using a Card, and including Prepaid Cards that was issued outside the United States (As used herein the
 United States does not include Puerto Rico, Virgin Islands and other US Territories and possessions).

  ■ By checking this box, Guarantor opts out of receiving future commercial marketing communications from American Express. Note that you may continue to receive
 marketing communications while American Express updates its records to reﬂect your choice. Opting out of commercial marketing communications will not preclude you
 from receiving important transactional relationship messages from American Express.




                                 Quantum Electronic Payments LLC is a registered ISO of Commercial Bank of California                                                 EXHIBIT 24
                                                                                                                                                                       Page 113
                    Case 19-10655-JKO                       Doc 148             Filed 11/04/19               Page 348 of 478


           Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 41 of 80 Page ID                                                                PAGE 4
                                             #:4236

     Next Day Funding* $
                              5.00
                                     Per Month: *NDF is subject to approval and all POS Device batch(es) must be closed by 4:30pm PST/7:30,m
 EST Monday-Saturday and by 3pm PST/6pm EST on Sunday. All payments are provisional and are subject to, including but not limited to:
 additional fees, chargebacks, withholding, set off, security and reserve rights. Processor or Bank will not be liable for any delay in receipt of
 funds, fees for any delays, or errors in debit and credit entries caused by third parties, including by not limited to, any Association or your
 ﬁnancial institution.
 In the event that this Agreement is terminated early, Merchant will be responsible for the payment of a $ 495 Early Termination Fee in
 accordance with Part III Section A.3. of the Merchant Program Guide. In the event QEP is unable to price match a competitor offer for similar
 services in the future, QEP will waive Merchant’s ETF. QEP reserves the right to verify proposal and activation.

     Merchant Club:ƫ$!ƫ.!,.!/!*00%2!ƫ$/ƫ!4,(%*! ƫ0$!ƫ !.$*0ƫ(1ƫ,.+#.)ƫ0+ƫ)!ƫ* ƫ ƫ!(!0ƫ0+ƫ+,0ƫ+10ƫ+"ƫ0$!ƫ,.+#.)ċƫ ƫ1* !./0* ƫ
 ƫ*ƫ+,0ƫ%*0+ƫ0$!ƫ,.+#.)ƫ0ƫ*5ƫ0%)!ƫ* ƫ!*!ü0ƫ".+)ƫ0$!ƫ,.+#.)Čƫ3$%$ƫ%*(1 !/ƫ!-1%,)!*0ƫ/1,,+.0ƫ* ƫ.!,(!)!*0ƫ,!.ƫ0!.)%*(ĥ
 ,!.%,$!.(ƫĨ3$!.!ƫ,,(%(!ĩČƫ/ƫ3!((ƫ/ƫ#.!0ƫ %/+1*0/ƫ"+.ƫ%0!)/ƫ/1$ƫ/ƫ.ƫ.!*0(/Čƫ$+0!(/Čƫ+""%!ƫ/1,,(%!/Čƫ$!(0$ƫ* ƫ(!#(ƫ/!.2%!/ƫ* ƫ
 )+.!ƫ"+.ƫ)5ƫ+),*5ƫ* ƫ!),(+5!!/ƫ"+.ƫ*ƫ %0%+*(ƫ"!!ƫ+"ƫĸāąċĊĆƫ,!.ƫ)+*0$ċƫ *%0%(/č

7. EQUIPMENT | PROCESSING METHOD


  Application Type: Retail            Retail w/Tip    MOTO          Quick Serve Restaurant (no tip)      Restaurant w/Tip       Hotel      Auto Rental




                                                      Terminal Features: Choose Desired Functions


  Fraud Check (last 4-digits)                    Purchasing Card               Time Zone                                    IP Connection

  AVS + CVV2                          ■          Server / Clerk #              Auto Close                                   Dial
                                                                               If yes, what time?
  EBT Food Stamps                                Order Gift Card                                                            Wireless

  EBT Cash Beneﬁt                                                              Wireless MAN/Serial
                                                 Invoice / PO #                                                             Special Request
  ACH / Check Services                                                         SIM Card #
                                                 CDP Discount



       TYPE OF EQUIPMENT                                 PRODUCT NAME                        QUANTITY                         DEPLOYMENT

   Terminal       Pin Pad   Printer ■ VAR*           Quantum Gateway                    1                        Existing   ■ Agent      New Order (Attach Form)


   Terminal       Pin Pad   Printer       VAR*                                                                   Existing     Agent      New Order (Attach Form)


   Terminal       Pin Pad   Printer       VAR*                                                                   Existing     Agent      New Order (Attach Form)


 * Manufacturer/product/version of PC/Internet Software:               NMI


 Do you use any third party to store, process or transmit cardholder data?             Yes          ■   No
 If yes, please provide name/address:



  For software or VAR users, by checking yes below MERCHANT certiﬁes that it has used a certiﬁed Qualiﬁed Integrator or Reseller (QIR) to install or
  re-program MERCHANT’s software systems. Notwithstanding MERCHANT’s use of a QIR as described herein above, MERCHANT acknowledges that is,
  and shall remain, fully responsible for compliance with PCI-DSS standards at all times in accordance with the Program Terms and Conditions (Program
  Guide).
              ■   Yes             No


8. SITE INSPECTION (COMPLETED BY SALES AGENT)


 I have personally conducted a Site Inspection for this merchant, visually inspected the merchant’s inventory (if applicable), veriﬁed the merchant’s
 payment application is PA-DSS (Payment Application Data Security Standards) validated (if applicable) and represent that the information in this
 merchant application is accurate, as to the best of my knowledge. I am subject to criminal penalties and/or ﬁnancial losses for false or misleading
 information.
 Sales Agent Name (printed)     Jimmy Lai                                          Signature


                             Quantum Electronic Payments LLC is a registered ISO of Commercial Bank of California                         EXHIBIT 24
                                                                                                                                           Page 114
                   Case 19-10655-JKO                         Doc 148               Filed 11/04/19               Page 349 of 478


           Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 42 of 80 Page ID                                                                    PAGE 5
9. CARD NOT PRESENT INFORMATION              #:4237
 If you process more than 20% of your bankcard transactions or volume, without swiping, and/or examining the credit card, please
 complete this section:
       1. Please submit your product catalog; brochures; promotional materials; a current price list; and a copy of your service agreement
          with card holder, if applicable. If on the internet, please include screen-prints of your website address if your site is not active yet.
       2. If internet, please check your type of business: Selling Hard Goods                          Digital Products                    Services

              Other:


       3. How will the product be advertised or promoted?
                                                                   Internet

      4. How often will you bill your customer?            Monthly    100      %       Yearly   100     %     One Time             %

       5. List the name(s) and address(es) of the vendors(s) from which supplies are purchased:


       6. Who performs product/service fulﬁllment? If direct from vendor, please provide vendor name, address and phone number in full:


       7. Please describe how a sale takes place from beginning of order until completion of fulﬁllment:




10. SIGNATURES


 Client certiﬁes that all information set forth in this completed Merchant Processing Application is true and correct and that Client has received a copy of
 the version of the Program Guide stated on this Merchant Processing Application which includes the Processor & Bank Conﬁrmation Page (“Conﬁrma-
 tion Page”), which Conﬁrmation Page is hereby incorporated by reference into this Merchant Processing Application and Agreement. Client acknowl-
 edges and agrees that we, our Affiliates and our third-party subcontractors and/or agents may use automatic telephone dialing systems to contact
 Client at the telephone number(s) Client has provided in this Merchant Processing Application and/or may leave a detailed voice message in the event
 that Client is unable to be reached, even if the number provided is a cellular or wireless number or if Clients has previously registered on a Do Not Call
 list or requested not to be contacted for solicitation purposes. Client hereby consents to receiving commercial electronic mail messages from us, our
 Affiliates and our third-party subcontractors and/or agents from time to time. Client further agrees that Client will not accept more than 20% of its
 card transactions via mail, telephone or internet order. However, if your Application is approved based upon contrary information stated in Section 7
 you are authorized to accept transactions in accordance with the percentages indicated in that section. Client, and each individual signing below on
 behalf of the Client or as Guarantor, authorizes Quantum Electronic Payments (“Processor) and Commercial Bank of California (“Bank”) and their
 respective agents to investigate the references, statements and other data contained herein and to obtain additional information from credit bureaus
 and other lawful sources, including persons and companies named in this Merchant Processing Application. Client, and each individual signing below
 on behalf of the Client or as Guarantor, authorizes Processor and Bank and their respective agents (a) to procure information from any credit reporting
 agency bearing on Client’s credit standing, credit capacity, general reputation, or characteristics, and to obtain consumer reports from consumer
 reporting agencies on each individual signing below on behalf of Client or as a Guarantor (if such individual asks Processor or Bank whether such a
 report was requested, Processor or Bank will tell such individual and if Processor or Bank requests a report, Processor or Bank will give such individual
 the name and address of the agency that furnished it), and (b) to contact all previous references. Client also authorizes us and our Affiliates to provide
 amongst each other the information contained in the Merchant Processing Application and Agreement and any information received from all referenc-
 es, including banks and credit reporting agencies.

 Client authorizes Processor and Bank and their affiliates to debit Client’s designated bank account via Automated Clearing House (ACH) for costs
 associated with the equipment hardware, software and shipping.

 Client certiﬁes and agrees that Client does not and will not provide, offer or facilitate gambling services, including offering or facilitating internet
 gambling services, or establishing quasi-cash, credit or monetary value of any type that may be used to conduct gambling.

 &,3&DUG,GHQWL´FDWLRQ3URJUDPIMPORTANT INFORMATION ABOUT PROCEDURES FOR OPENING A NEW ACCOUNT
 To help the government ﬁght the funding of terrorism and money laundering activities, Federal law requires all ﬁnancial institutions to obtain, verify, and
 record information that identiﬁes each person who opens an account. What this means for you: When you open an account, we will ask for your name,
 address, date of birth, and other information that will allow us to identify you. We will also ask for a copy of your driver’s license or other identifying
 documents.

 Client certiﬁes, under penalties of perjury, that the federal taxpayer identiﬁcation number and corresponding ﬁling name provided herein are correct.
 Client agrees to all terms of this Merchant Processing Application and Agreement. This Merchant Processing Application and
 Agreement shall not take effect until Client has been approved and this Agreement has been accepted by Processor and Bank.




                              Quantum Electronic Payments LLC is a registered ISO of Commercial Bank of California                              EXHIBIT 24
                                                                                                                                                 Page 115
                  Case 19-10655-JKO                         Doc 148           Filed 11/04/19               Page 350 of 478


            Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 43 of 80 Page ID                                                             PAGE 6
                                              #:4238

&HUWL´FDWLRQRI%HQH´FLDO2ZQHU V
Persons opening an Account on behalf of a legal entity must provide the following information:

a. Name and title of natural person opening Account,
b. Name, address and entity type of legal entity for which the account is being opened as provided in section 2,
c. The following information (Name, Date of Birth, Address, and a Social Security Number for a US person or, for a non-US person, a Social Security
Number or unexpired alien ID card number, or the number and country of issuance of an unexpired passport or other government-
issued document evidencing nationality or residence and bearing a photograph or similar safeguard) for each individual, if any, who, directly or
indirectly, through any contract, arrangement, understanding, relationship or otherwise, owns 25 percent or more of the equity interests of the legal
entity (provided in Section 4 above), and
d. The following information (Name, Date of Birth, Address, and a Social Security Number for a US person or, for a non-US person, a Social Security
Number or unexpired alien ID card number, or the number and country of issuance of an unexpired passport or other government-
issued document evidencing nationality or residence and bearing a photograph or similar safeguard) for one individual (referred to herein as the
“control prong” for purposes of the FinCen Rule) with signiﬁcant responsibility for managing the legal entity listed on the Merchant Processing Applica-
tion and Agreement such as: An executive officer or senior manager (e.g., Chief Executive Officer, Chief Financial Officer, Chief Operating Officer,
Managing Member, General Partner, President, Vice President, Treasurer), or any other individual who regularly performs similar functions. The under-
signed individual opening the Account on behalf of the Client legal entity, has identiﬁed the Guarantor as the “control prong” for the Client legal entity,
and the Guarantor, by his or her signature below acknowledges that he or she is so regarded.


I, the signer and person opening this Account, hereby certify that I am authorized to open accounts for the Client at ﬁnancial institutions, and, to the
best of my knowledge, that the information provided on this Merchant Processing Application and Agreement is complete and correct. Client agrees to
all the terms of this Merchant Processing Application and Agreement. This Merchant Processing Application and Agreement shall not take effect until
Client has been approved and this Agreement has been accepted by Processor and Bank. Client certiﬁes, under penalties of perjury, that the federal
taxpayer identiﬁcation number and corresponding ﬁling name provided herein are correct.
           VLQHVV3ULQFLSDO2I
                            2 ´FHU
&OLHQW­V%XVLQHVV3ULQFLSDO2I´FHU


Signature                                         Title
                                                          Owner                 Signature                                   Title

Print Name
              Keneth Hu                           Date    12/11/18              Print Name                                  Date


Personal Guarantee
In exchange for Quantum Electronic Payments, LLC (“Processor”) AND Commercial Bank of California (“Bank”) (the Guaranteed Parties) acceptance of
the Merchant Processing Application and Agreement with the Client named therein (which Merchant Processing Application and Agreement is hereby
incorporated by reference into this Personal Guaranty), the undersigned unconditionally and irrevocably guarantees the full payment and performance
of Client’s obligations under the foregoing agreements, as applicable, as they now exist or as modiﬁed from time to time, whether before or after
termination or expiration of such agreements and whether or not the undersigned has received notice of any
amendment of such agreements. The undersigned waives notice of default by Client and agrees to indemnify the Guaranteed Parties for any and all
amounts due from Client under the foregoing agreements. The Guaranteed Parties shall not be required to ﬁrst proceed against Client to enforce any
remedy before proceeding against the undersigned. This is a continuing personal guaranty and shall not be discharged or affected for any reason. The
undersigned understands that this is a Personal Guaranty of payment and not of collection and that the
Guaranteed Parties are relying upon this Personal Guaranty in entering in to the foregoing agreements, as applicable. The undersigned authorizes
Processor and Bank, and their respective agents, (a) to investigate the references, statements, and other data contained in the Merchant Processing
Application and to obtain additional information (including, but not limited to, consumer credit reports) from credit bureaus, consumer reporting
agencies and other lawful sources bearing on his or her personal credit worthiness, credit standing, credit capacity, character, general reputation,
personal characteristics, mode of living (if the undersigned asks Processor or Bank whether a consumer report was requested, Processor or Bank will tell
such person, and if a report was requested will provide the name and address of the agency which furnished the report), and (b) to contact all previous
employers, personal references, and educational institutions as well as to provide amongst each other, the information contained in the Merchant
Processing Application as well as any information received from references including banks and consumer reporting agencies. If the Application is
approved, the undersigned authorizes Processor and Bank to obtain subsequent consumer reports in connection with the maintenance, updating,
renewal or extension n of the Agreemen
                                     e t.
                              Agreement.

Signature                                                         Print Name     Keneth Hu                       Title   Owner
                essor
Accepted By Processor                                                            Accepted By Commercial Bank of California
625 The City Drive S. #420, Orange, CA 92868                                      19752 MacArthur Blvd., Suite 100, Irvine, CA 92612

Signature                                                                        Signature


Title                                      Date                                  Title                                      Date




                            Quantum Electronic Payments LLC is a registered ISO of Commercial Bank of California                           EXHIBIT 24
                                                                                                                                            Page 116
                   Case 19-10655-JKO                     Doc 148            Filed 11/04/19             Page 351 of 478


           Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 44 of 80 Page ID
                                                #:4239
                                      PART IV: CONFIRMATION PAGE

   ISO INFORMATION:                                Name: Quantum Electronic Payments LLC
                                                   Address: 625 The City Drive S. #420, Orange, CA 92868


   Please read the Program Guide in its entirety. It describes the terms under which we will provide merchant processing Services to you.
                               Program Guide: https://www.quantumelectronicpayments.com/2018-program-guide/
   From time to time you may have questions regarding the contents of your Agreement with Bank and/or Processor. The following information
   summarizes portions of your Agreement in order to assist you in answering some of the questions we are most commonly asked.

   1. Your Discount Rates are assessed on transactions that qualify for certain reduced interchange rates imposed by Visa, MasterCard,
   American Express and/or Discover. Any transactions that fail to qualify for these reduced rates will be charged an additional fee.
   2. We may debit your bank account from time to time for amounts owed to us under the Agreement.
   3. There are many reasons why a Charge-back may occur. When they occur we will debit your settlement funds or settlement account. For a
   more detailed discussion, see the Chargebacks Section of the Program Guide.
   4. If you dispute any charge or funding, you must notify us within 60 days of the date of the statement where the charge or funding appears
   for Card Processing.
   5. The Agreement limits our liability to you. For a detailed description, see the Limitation of Liability section of the Program Guide.
   6. We have assumed certain risks by agreeing to provide you with Card processing or check services. Accordingly, we may take certain
   actions to mitigate our risk, including termination of the Agreement, and/or hold monies otherwise payable to you, under certain
   circumstances as described in the Term, Events of Default, Reserve Account, and Security Interest sections of the Program Guide.
   7. By executing this Agreement with us you are authorizing us and our Affiliates to obtain ﬁnancial and credit information regarding your
   business and the signers and guarantors of the Agreement until all your obligations to us and our Affiliates are satisﬁed.
   8. The Agreement contains a provision that in the event you terminate the Agreement prior to the expiration of your term, you will be
   responsible for the payment of an early termination fee as set forth in the "Additional Fee Information" section of the Program Guide.
   9. You may elect to lease equipment from Processor or third parties under a separate lease agreement not included in the Program Guide.
   Notwithstanding anything to the contrary herein, Commercial Bank of California neither sells nor leases any equipment to Client and has no
   responsibility or liability for equipment you obtain through Processor or from others
   10. For questions regarding your Merchant Processing Application and Agreement, please contact Customer Service at 1-888-858-1678,
   and /or refer to Important Phone Numbers on the Additional Important Information Page.
   11. Card Organization Disclosure
   Visa and MasterCard Member Bank Information: Commercial Bank of California
   The Bank’s mailing address is 19752 MacArthur Blvd., Suite 100, Irvine, CA 92612, and its phone number is (310) 882-4800.
   Important Member Bank Responsibilities:
   a) The Bank is the only entity approved to extend acceptance of Visa and MasterCard products directly to a Merchant.
   b) The Bank must be a principal party to the Merchant Agreement.
   c) The Bank is responsible for educating Merchants on pertinent Visa and MasterCard rules with which Merchants must comply; but this
   information may be provided to you by Processor.
   d) The Bank is responsible for and must provide settlement funds to the Merchant.
   e) The Bank is responsible for all funds held in reserves that are derived from settlement.
   Important Merchant Responsibilities:
   a) Ensure compliance with Cardholder data security and storage requirements.
   b) Maintain fraud and Chargebacks below Card Organization thresholds.
   c) Review and understand the terms of the Merchant Agreement.
   d) Comply with Card Organization rules and applicable law and regulations.
   e) Retain assigned copy of this Disclosure Page.
   f) You may download “Visa Regulations from Visa’s website at: http://usa.visa.com/merchants/operations/op_regulations.html
   g) You may download “MasterCard Regulations” from MasterCard’s website at: http://www.mastercard.com/us/merchant/support/rules/html

   Print Client’s Business Name:
   By its signature below, Client acknowledges that it has received (either in person, by facsimile, or by electronic transmission) the complete
   3URJUDP*XLGHLQFOXGLQJWKLVFRQ´UPDWLRQ¢

   Client further acknowledges reading and agreeing to all terms in the Program Guide, which shall be incorporated into Client’s Agreement.
   Upon receipt of a signed facsimile or original of this Conﬁrmation Page by us, Client’s Application will be processed. Client understands that a
   copy of the Program Guide is also available for downloading from the Internet using the Program Guide link above.

                               NO ALTERATIONS    STRIKE-OUTS
                                          ONS OR STRIKE    S TO THE PROGRAM
                                                      E-OUTS        PR      GUIDE WILL BE ACCEPTED.

   Client’s Business Principal: Signature                                                Title   Owner
   Print Name of Signer   Keneth Hu                                                      Date    12/11/18

                              Accepted By Commercial Bank of California 19752 MacArthur Blvd., Suite 100, Irvine, CA 92612

   Signature                                               Title                                            Date                     EXHIBIT 24
QEP0418
                                                                                                                                      Page 117
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 352 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 45 of 80 Page ID
                                  #:4240




                          EXHIBIT 25
            Case 19-10655-JKO                                   Doc 148                      Filed 11/04/19              Page 353 of 478


    Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 46 of 80 Page ID
                                      #:4241
    NATIONAL MERCHANT CENTER
    2955 E MAIN STE 100
    IRVINE, CA
    926124



                                                                          MERCHANT STATEMENT
    1428  0100  1100            01                                   SUMMARY OF BANKCARD DEPOSITS
    MERCHANT NUMBER             5101               5962                   MONTH ENDING 02/28/2019



           HORIZON CONSULTANTS LLC                                      114838          07


           RIVERSIDE CA 92505-2776

                                                                                                                   STUDENTLOANMGMT

                                                                                                                   RIVERSIDE CA 92505-2776
           ATDTDATDTTTAAFDAFTFTADFDDADDFDFADAFFATTTFDDFADDDTAAFDADAFDADDDATF




    CUSTOMER SERVICE TEL #: 800-662-8448
0




              TOTAL CHARGE TO YOUR ACCOUNT IS                                                                                                                 17,915.77

                                                                         SUMMARY OF CARD DEPOSITS

       CARD TYPE                                 SALES                                                       RETURNS                                                       NET
                                              ADJUSTMENTS                                                    EXCL ADJ
       MASTERCARD                       145                       20,903.24                            3                         447.00                                    20,456.24
                                          0                            0.00                            1 -                       207.50 -
       MC OFLN DB                       705                      103,656.02                           24                       4,614.89                                    99,041.13
       AMEXCT043                         42                        5,588.37                            5                       1,037.50                                     4,550.87
       VISA                             222                       32,555.24                            6                       1,160.50                                    31,394.74
                                          0                            0.00                            4 -                       652.50 -
       VS OFLN DB                     2,262                      338,857.25                           47                       9,769.18                                   329,088.07
       DCVR ACQ                          34                        5,214.97                            1                         207.50                                     5,007.47
       BANKCD TOT                     3,368                      501,186.72                           81                      16,199.07                                   484,987.65
                                          0                            0.00                            5                         860.00 -

       TOTAL                          3,410                      506,775.09                           86                      17,236.57                                   489,538.52
                                          0                            0.00                            5 -                       860.00 -

           TOTAL RESERVE AMOUNT                                                                                                                                           181,434.38



                                                                      SUMMARY OF INTERCHANGE FEES

    INTERCHANGE                                                                RATE            ITEM              COUNT                   VOLUME                       FEE
    MASTERCARD
      MERIT 1                                                                   .0189           .10                      69                    9,482.05                   186.14
      CREDIT REFUND 3                                                           .0195                                     3   -                  447.00   -                 8.72     -
      WC MERIT 1                                                                .0205           .10                      25                    3,499.01                    74.20
      WCELITE MERIT1                                                            .0250           .10                       9                    1,603.68                    41.01
      ENHANCEDMERIT 1                                                           .0204           .10                      28                    4,313.83                    90.81
      HIGHVAL MERIT 1                                                           .0250           .10                       2                      239.17                     6.18
      REGCORPDATA1LF                                                            .0005           .22                       2                       80.00                     0.48
      CP RATE 1 BUS                                                             .0265           .10                      10                    1,685.50                    45.67
    MC OFLN DB
      MERIT 1 DEBIT                                                             .0160           .15                     353                  53,457.20                    908.23
      DEBIT REFUND 3                                                            .0140                                    15   -               3,190.38    -                44.73     -
      MERIT1PREPDDBTC                                                           .0176           .20                      34                   5,228.75                     98.78
      REGREFUND USFA                                                                                                      9   -               1,424.51    -
      REGULATDMIDMT1                                                            .0005           .21                       7                     606.67                       1.77
      REGULATFMIDMT1                                                            .0005           .22                     311                  44,363.40                      90.47
    AMEXCT043
      B2BNSWP1                                                                  .0185           .10                      35                    4,064.50                     78.69
      PPNSWP2                                                                   .0200           .10                       7                    1,523.87                     31.17
      OPTREFND                                                                                                            5   -                1,037.50   -
    VISA
       CPS MAIL PHONE                                                           .0180           .10                      45                    6,427.75                   120.19

    5345    0001      CC01        001         07          20190228             Page 1 of 6                                        1428      0100    U1D                     114838



                                                                                                                                                                 EXHIBIT 25
                                                                                                                                                                  Page 118
       Case 19-10655-JKO                Doc 148                Filed 11/04/19        Page 354 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 47 of 80 Page ID
                                  #:4242

NATIONAL MERCHANT CENTER
5101       5962
MONTH ENDING 02/28/2019
Page 2



                                              SUMMARY OF INTERCHANGE FEES

INTERCHANGE                                      RATE            ITEM       COUNT                    VOLUME                         FEE
   EIRF CR                                        .0230           .10                 1                  207.50                         4.87
   US CRDT VCR-ME                                 .0205                               6   -            1,160.50      -                 23.79     -
   CPS REWARDS 2                                  .0195           .10               121               16,260.53                       329.18
   US BUS TR1 B2B                                 .0210           .10                 3                  277.50                         6.12
   US VSP B2B                                     .0210           .10                48                8,865.46                       190.97
   US BUS TR3 B2B                                 .0240           .10                 2                   60.00                         1.64
   LAC SPR PREMIUM                                .0197                               1                  207.50                         4.08
   US BUS TR4 B2B                                 .0250           .10                 1                  249.00                         6.32
VS OFLN DB
   CPS CARD NP DB                                 .0165           .15               637               96,634.22                      1,690.01
   EIRF DB                                        .0175           .20                12                2,572.25                         47.41
   US CV DB                                                                          47   -            9,769.18      -
   CPS CNP PP                                     .0175           .20                80               15,411.53                       285.70
   EIRF PP                                        .0180           .20                 3                  654.00                        12.37
   USREGULATED CNP                                .0005           .22              1484              215,499.45                       434.23
   USREGULATEDEIRF                                .0005           .22                18                3,661.80                         5.79
   INTR STANDARD                                  .0160                               1                  239.00                         3.82
   US BUS CNP DB                                  .0245           .10                 4                  478.32                        12.11
   REG BUS CNP DB                                 .0005           .22                20                3,042.68                         5.92
   REG BUS ST DB                                  .0005           .22                 3                  664.00                         0.99
DCVR ACQ
  P CNP RW                                        .0197           .10                21                 3,121.32                        63.57
  CMRCL EL                                        .0230           .10                 7                 1,129.00                        26.66
  CMADJVR1                                        .0225                               1   -               207.50     -                   4.67    -
  PCNPPRM                                         .0200           .10                 1                    40.00                         0.90
DCVR AQ DB
  P CNP DB                                        .0175           .20                 4                     717.15                      13.35
  P CNP DF                                        .0005           .22                 1                     207.50                       0.32
  TOTAL INTERCHANGE                                                                                                                  4,838.20

                                                 SUMMARY OF CARD FEES
MASTERCARD
  DISC 1                                            20,903               0.02000                                      418.06
  OTHER ITEM FEES                                      148               0.10730                                       15.88
  DUES & ASSESSMENTS                                                                                                   28.06
AUTHS & AVS
  CPU GTWY                                           1,158               0.1500                                       173.70
  AVS CPU-G                                          1,100               0.1000                                       110.00
  INTERCHANGE                                                                                                         444.49
  LICENSE RATE                                   20,903.24               0.0000710                                      1.48
  NABU FEES                                          1,103               0.01950                                       21.51
  BIN ICA FEE                                                                                                           1.13
  MC ICA AVS CARD NOT PRSNT                          1,100               0.01000                                       11.00
  MC CVC2 FEE                                        1,080               0.00250                                        2.70
  MC DIGITAL ENABLEMENT                         124,559.26               0.00010                                       12.46
  MC KILOBYTE FEE                                      447               0.00350                                        1.56
  LOCATION FEE                                                                                                          1.25
 TOTAL                                                                                                                               1,243.28

MC OFLN DB
  DISC 1                                           103,656               0.02000                                     2,073.12
  OTHER ITEM FEES                                      729               0.10730                                        78.22
  DUES & ASSESSMENTS                                                                                                   139.05
  INTERCHANGE                                                                                                        1,099.25
  LICENSE RATE                                  103,656.02               0.0000710                                       7.36
  NABU FEES                                             24               0.01950                                         0.47
  BIN ICA FEE                                                                                                            5.49
 TOTAL                                                                                                                               3,402.96
AMEXCT043
  DISC 1                                             5,588
  OTHER ITEM FEES                                       47               0.10723                                          5.04
  OTHER VOLUME FEES                               4,550.87               0.02000                                         91.02

AUTHS & AVS
  CPU GTWY                                                67             0.1500                                        10.05
  AVS CPU-G                                               62             0.1000                                         6.20
  INTERCHANGE                                                                                                         109.87

5345   0001   CC01    001     07   20190228      Page 2 of 6                                  1428   0100      U1D                      114838



                                                                                                                                 EXHIBIT 25
                                                                                                                                  Page 119
           Case 19-10655-JKO             Doc 148                 Filed 11/04/19         Page 355 of 478


    Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 48 of 80 Page ID
                                      #:4243

    NATIONAL MERCHANT CENTER
    5101       5962
    MONTH ENDING 02/28/2019
    Page 3


                                                   SUMMARY OF CARD FEES
      NETWORK FEE                                   5,588.37                  0.00450                             25.15
     TOTAL                                                                                                                     247.33

    VISA
       DISC 1                                         32,555                  0.02000                            651.10
       OTHER ITEM FEES                                   228                  0.10728                             24.46

    AUTHS & AVS
      CPU GTWY                                           279                  0.1500                              41.85
      AVS CPU-G                                          272                  0.1000                              27.20
      INTERCHANGE                                                                                                663.41
      ACQ ISA FEE                                     207.50                  0.00800                              1.66
      ACQR PROCESSOR FEES                                279                  0.01950                              5.44
      INTERNTL ACQUIRER FEE                           207.50                  0.00448                              0.93
      TRAN INTEGRITY FEE                                   1                  0.10000                              0.10
      FIXED NETWORK CNP FEE                                2                                                     160.00
      BIN ICA FEE                                                                                                  0.22
      CR DUES AND ASSESS                           32,555.24                  0.00140                             45.58
      FILE TRANSMISSION FEE                                                                                        4.58
0




     TOTAL                                                                                                                    1,626.53
    VS OFLN DB
       DISC 1                                        338,857                  0.02000                        6,777.15
       OTHER ITEM FEES                                 2,309                  0.10730                          247.76

    AUTHS & AVS
      CPU GTWY                                         2,942                  0.1500                           441.30
      AVS CPU-G                                        2,878                  0.1000                           287.80
      INTERCHANGE                                                                                            2,498.37
      ACQ ISA FEE                                     239.00                  0.00799                            1.91
      ACQR PROCESSOR FEES                              2,942                  0.01550                           45.60
      INTERNTL ACQUIRER FEE                           239.00                  0.00451                            1.08
      TRAN INTEGRITY FEE                                  37                  0.10000                            3.70
      BIN ICA FEE                                                                                                2.26
      ACQ DATA PROC RTN D                                                                                        0.73
      DB DUES AND ASSESS                          338,857.25                  0.00130                          440.51
     TOTAL                                                                                                                   10,748.17
    DCVR ACQ
      DISC 1                                           5,215                  0.02000                            104.30
      OTHER ITEM FEES                                     35                  0.10733                              3.76
    AUTHS & AVS
      CPU GTWY                                             39                 0.1500                               5.85
      AVS CPU-G                                            38                 0.1000                               3.80
      INTERCHANGE                                                                                                104.80
      DSCV DATA USAGE FEE                                  35                 0.01950                              0.68
      DISC NETWORK AUTH FEE                                38                 0.00250                              0.10
     TOTAL                                                                                                                      223.29
    TOTAL CARD FEES                                                                                                          17,491.56


                                               SUMMARY OF MISCELLANEOUS FEES

    TOTAL CARD FEES                                                                                                          17,491.56
    BATCH HEADER                                           28                            0.3000                                   8.40
    RETURNS                                                86            AT              0.1500                                  12.90
    CHARGEBACKS                                             5            AT              35.000                                 175.00
    SERVICE FEE                                                                                                                  20.00
    REGULATORY FEE                                                                                                                4.95
    ANNUAL FEE                                                                                                                   99.00
    WIRELESS FEE                                                                                                                 15.00
    COMPLIANCE FEE                                                                                                                3.96
    MERCHANT CLUB                                                                                                                50.00
    AMEX DISPUTE                                            1            AT              35.00000                                35.00


            TOTAL CHARGES                                                                                                    17,915.77




    5345   0001   CC01   001   07   20190228       Page 3 of 6                            1428      0100   U1D                   114838



                                                                                                                          EXHIBIT 25
                                                                                                                           Page 120
        Case 19-10655-JKO                     Doc 148                 Filed 11/04/19               Page 356 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 49 of 80 Page ID
                                  #:4244

NATIONAL MERCHANT CENTER
5101       5962
MONTH ENDING 02/28/2019
Page 4



                                                    SUMMARY OF MONETARY BATCHES

                                                                  BATCHES

                 GROSS                               R&C                                 NET                 DATE                  REF
                         40.00 -                       0.00                                40.00 -            01/27          021019MOADJ
                       207.50 -                        0.00                              207.50 -             02/04          022119MOADJ
                  12,755.92                            0.00                         12,755.92                 02/04          98003541603
                      3,440.98                         0.00                             3,440.98              02/04          98003541604
                      5,525.87                         0.00                             5,525.87              02/04          98003541605
                         73.72 -                       0.00                                73.72 -            02/05          98003641612
                      5,149.46                         0.00                             5,149.46              02/05          98003641613
                      4,573.34                         0.00                             4,573.34              02/06          98003741626
                      4,720.31                         0.00                             4,720.31              02/07          98003841672
                       207.50 -                        0.00                              207.50 -             02/08          021319MOADJ
                      5,537.30                         0.00                             5,537.30              02/08          98003941673
                       207.50 -                        0.00                              207.50 -             02/11          022019MOADJ
                  37,001.36                            0.00                         37,001.36                 02/11          98004241624
                  15,754.76                            0.00                         15,754.76                 02/11          98004241625
                  35,325.88                            0.00                         35,325.88                 02/11          98004241626
                  21,050.85                            0.00                         21,050.85                 02/12          98004341657
                  15,158.98                            0.00                         15,158.98                 02/13          98004441654
                  19,084.40                            0.00                         19,084.40                 02/14          98004541638
                         30.00 -                       0.00                                30.00 -            02/15          022219MOADJ
                  24,571.65                            0.00                         24,571.65                 02/15          98004641654
                 103,226.55                            0.00                        103,226.55                 02/15          98004611127
                         40.00                         0.00                                40.00              02/17          021719MOADJ
                  13,009.36                            0.00                         13,009.36                 02/18          98004941607
                  20,707.66                            0.00                         20,707.66                 02/18          98004941608
                  21,026.51                            0.00                         21,026.51                 02/19          98005041627
                  14,508.15                            0.00                         14,508.15                 02/20          98005141631
                  22,430.18                            0.00                         22,430.18                 02/21          98005241664
                  22,493.91                            0.00                         22,493.91                 02/22          98005341667
                  42,857.93                            0.00                         42,857.93                 02/25          98005641631
                      8,354.55                         0.00                             8,354.55              02/25          98005641632
                  14,307.35                            0.00                         14,307.35                 02/25          98005641633
                         26.79                         0.00                                26.79              02/26          98005741638
                      1,538.71 -                       0.00                             1,538.71 -            02/27          98005841662
                       207.50 -                        0.00                              207.50 -             02/28          022819PA001
                      1,449.05 -                       0.00                             1,449.05 -            02/28          98005941658



                                                      SUMMARY OF DAILY DEPOSITS
                                                          ALL CARD TYPES

                        SALES                                                RETURNS
                      CHRGBK/ADJ                                             EXCL ADJ                              DAILY TOTAL
DATE            COUNT          AMOUNT                             COUNT                   AMOUNT
02/04            126                    22,408.27                        3                 685.50
                   0                         0.00                        0                   0.00                                21,722.77
TOTAL RESERVE AMOUNT                     2,240.79                                   TOTAL AFTER RESERVE                          19,481.98
02/05             32                     5,149.46                        2                  73.72
                   0                         0.00                        0                   0.00                                 5,075.74
TOTAL RESERVE AMOUNT                       514.94                                   TOTAL AFTER RESERVE                           4,560.80
02/06             38                     4,971.68                        2                 398.34
                   0                         0.00                        0                   0.00                                 4,573.34
TOTAL RESERVE AMOUNT                       497.16                                   TOTAL AFTER RESERVE                           4,076.18

5345    0001   CC01        001     07    20190228       Page 4 of 6                                  1428   0100      U1D              114838



                                                                                                                            EXHIBIT 25
                                                                                                                             Page 121
            Case 19-10655-JKO               Doc 148              Filed 11/04/19         Page 357 of 478


    Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 50 of 80 Page ID
                                      #:4245

    NATIONAL MERCHANT CENTER
    5101       5962
    MONTH ENDING 02/28/2019
    Page 5



                                                  SUMMARY OF DAILY DEPOSITS
                                                      ALL CARD TYPES

                            SALES                                         RETURNS
                          CHRGBK/ADJ                                      EXCL ADJ                        DAILY TOTAL
    DATE            COUNT          AMOUNT                    COUNT                   AMOUNT
    02/07             32               4,927.81                     1                   207.50
                       0                   0.00                     0                     0.00                           4,720.31
    TOTAL RESERVE AMOUNT                 492.77                                  TOTAL AFTER RESERVE                     4,227.54
    02/08             33               5,786.30                     1                   249.00
                       0                   0.00                     0                     0.00                           5,537.30
    TOTAL RESERVE AMOUNT                 578.61                                  TOTAL AFTER RESERVE                     4,958.69
    02/10              0                   0.00                     0                     0.00
                       0                   0.00                     1 -                  40.00 -                            40.00 -
    02/11            608              88,819.17                     5                   737.17
                       0                   0.00                     0                     0.00                          88,082.00
    TOTAL RESERVE AMOUNT               8,881.88                                  TOTAL AFTER RESERVE                    79,200.12
0




    02/12            142              22,569.69                     7                 1,518.84
                       0                   0.00                     0                     0.00                          21,050.85
    TOTAL RESERVE AMOUNT               2,256.96                                  TOTAL AFTER RESERVE                    18,793.89
    02/13            106              16,486.98                     6                 1,328.00
                       0                   0.00                     1 -                 207.50 -                        14,951.48
    TOTAL RESERVE AMOUNT               1,648.69                                  TOTAL AFTER RESERVE                    13,302.79
    02/14            128              19,761.61                     3                   677.21
                       0                   0.00                     0                     0.00                          19,084.40
    TOTAL RESERVE AMOUNT               1,976.14                                  TOTAL AFTER RESERVE                    17,108.26
    02/15            885             129,287.25                     8                 1,489.05
                       0                   0.00                     0                     0.00                      127,798.20
    TOTAL RESERVE AMOUNT              12,928.71                                  TOTAL AFTER RESERVE                114,869.49
    02/17              0                   0.00                     0                     0.00
                       0                   0.00                     1                    40.00                              40.00
    02/18            270              34,123.69                     2                   406.67
                       0                   0.00                     0                     0.00                          33,717.02
    TOTAL RESERVE AMOUNT               3,412.36                                  TOTAL AFTER RESERVE                    30,304.66
    02/19            136              21,848.18                     4                   821.67
                       0                   0.00                     0                     0.00                          21,026.51
    TOTAL RESERVE AMOUNT              21,026.51                                  TOTAL AFTER RESERVE                         0.00
    02/20            103              15,836.15                     6                 1,328.00
                       0                   0.00                     1 -                 207.50 -                        14,300.65
    TOTAL RESERVE AMOUNT              14,508.15                                  TOTAL AFTER RESERVE                       207.50 -
    02/21            187              23,546.06                     6                 1,115.88
                       0                   0.00                     1 -                 207.50 -                        22,222.68
    TOTAL RESERVE AMOUNT              22,430.18                                  TOTAL AFTER RESERVE                       207.50 -
    02/22            137              24,456.29                    10                 1,962.38
                       0                   0.00                     1 -                  30.00 -                        22,463.91
    TOTAL RESERVE AMOUNT              22,493.91                                  TOTAL AFTER RESERVE                        30.00 -
    02/25            420              65,926.50                     2                   406.67
                       0                   0.00                     0                     0.00                          65,519.83
    TOTAL RESERVE AMOUNT              65,519.83                                  TOTAL AFTER RESERVE                         0.00
    02/26             27                 870.00                     4                   843.21
                       0                   0.00                     0                     0.00                              26.79
    TOTAL RESERVE AMOUNT                  26.79                                  TOTAL AFTER RESERVE                         0.00
    02/27              0                   0.00                     7                 1,538.71
                       0                   0.00                     0                     0.00                           1,538.71 -
    02/28              0                   0.00                     7                 1,449.05
                       0                   0.00                     1                   207.50 -                         1,656.55 -




    5345    0001   CC01   001   07     20190228    Page 5 of 6                              1428   0100    U1D                114838



                                                                                                                  EXHIBIT 25
                                                                                                                   Page 122
       Case 19-10655-JKO                               Doc 148                   Filed 11/04/19                     Page 358 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 51 of 80 Page ID
                                  #:4246

NATIONAL MERCHANT CENTER
5101       5962
MONTH ENDING 02/28/2019
Page 6



                                                   TAX GROSS REPORTABLE SALES BY TIN

              MONTH                        DESCRIPTION                                                                                                     TOTAL
              FEB                          Gross Reportable Sales - TIN #        \\\\\ 1582                                                             $506,775.09


                                           2019 YTD GROSS REPORTABLE SALES                                                                             $633,035.84

               TAX GROSS REPORTABLE SALES: Per IRC 6050W, the total dollar amount of aggregate reportable payment card and third party

               network transactions for each participating payee, without regard to any adjustments for credits, cash equivalents, discount amounts,

                                     fees, refunded amounts, or any other amounts per respective tax identification number.



                                                                BACKUP WITHHOLDING

              MONTH                        ENTITY                                                                                       AMOUNT WITHHELD
              FEB                          FED                                                                                                                $0.00


              YTD                          FED                                                                                                                $0.00


                                                                  LAST PAGE OF THIS STATEMENT




5345   0001    CC01       001         07          20190228         Page 6 of 6                                            1428      0100      U1D                     114838



                                                                                                                                                           EXHIBIT 25
                                                                                                                                                            Page 123
         Case 19-10655-JKO                                  Doc 148                         Filed 11/04/19                             Page 359 of 478




                 Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 52 of 80 Page ID
                                                   #:4247
0123124105                                                                                  6789 7ÿ7 8ÿ 8

                                                                                                                                     !"#$%&'ÿ)*+ÿ,-../-012
                                                                                                                                     34567849:;8<=<4
                                                                                                                                          >>>01ÿ?%@AB!CÿD'
                                                                                                                                         EBA!"FBG!ÿDHÿ.,2I2
                                                                                                                                              022J000J-.I0

                                                              4MRY[RTSNOYÿ3XWWRMsÿÿÿÿQRSTUÿ3XWWRMsÿÿÿÿ6LZO[NS[ÿ3XWWRMsÿÿÿÿ3LRMTU
                                      ÿ
                                      KLMNOP               QRSTUÿ;WOXYS          6LZO[NS[    ;P\X[SWLYS[         ]L[LM^L[     6N[TOXYS[        8LSÿ6LZO[NS
                                      >I_,._,I>.                   IJII                 ÿ            IJII                ÿ          IJII             IJII
                                      `#'ab!"cÿ,I>.           >Ic1d2J,.        e,0cd.>J.,     e-.1c11dJII             IJII          IJII      e2,/c>/-J.,
                                      f!%"ÿ,I>.           >Ic2I0c11/J01     >>cI/Ic2-2J,2      e>.c-d2J,1     >c02-c>,-J1,          IJII    >>cI->c>I.J.0

                                       ghijÿlmnoÿpÿqLrMXRMstÿuvwxÿ]LZOMS
                                      KLMNOP              QRSTUÿ;WOXYS          6LZO[NS[     ;P\X[SWLYS[          ]L[LM^L[    6N[TOXYS[        8LSÿ6LZO[NS
                                      I,_I-_,I>.                  IJII        >.c-0>J.0             IJII         ,c,-IJ1.           IJII        >.c-0>J.0
                                      I,_I2_,I>.                  IJII         -c2/IJ0I             IJII           2>-J.-           IJII         -c2/IJ0I
                                      I,_I/_,I>.                  IJII         -cI1/J>0             IJII           -.1J>/           IJII         -cI1/J>0
                                      I,_I1_,I>.                  IJII         -c,,1J2-             IJII           -.,J11           IJII         -c,,1J2-
                                      I,_I0_,I>.                  IJII         -c.20J/.             IJII           210J/>           IJII         -c.20J/.
                                      I,_>I_,I>.                  IJII             IJII             IJII             IJII           IJII             IJII
                                      I,_>>_,I>.                  IJII        1.c,IIJ>,             IJII         0c00>J00           IJII        1.c,IIJ>,
                                      I,_>,_,I>.                  IJII        >0c1.dJ0.             IJII         ,c,2/J./           IJII        >0c1.dJ0.
                                      I,_>d_,I>.                  IJII        >dc2>IJ,.             IJII         >c/-0J/.           IJII        >dc2>IJ,.
                                      I,_>-_,I>.                  IJII        >1c>I0J,/             IJII         >c.1/J>-           IJII        >1c>I0J,/
                                      I,_>2_,I>.                  IJII       >>-c0/.J-.             IJII        >,c.,0J1>           IJII       >>-c0/.J-.
                                      I,_>1_,I>.                  IJII             IJII            -IJII             IJII           IJII            -IJII
                                      I,_>0_,I>.                  IJII        dIcdI-J//             IJII         dc->,Jd/           IJII        dIcdI-J//
                                      I,_>._,I>.                  IJII             IJII             IJII        ,>cI,/J2>           IJII             IJII
                                      I,_,I_,I>.                  IJII             IJII             IJII        >-c2I0J>2           IJII             IJII
                                      I,_,>_,I>.                  IJII             IJII             IJII        ,,c-dIJ>0           IJII             IJII
                                      I,_,,_,I>.                  IJII             IJII             IJII        ,,c-.dJ.>           IJII             IJII
                                      I,_,2_,I>.                  IJII             IJII             IJII        /2c2>.J0d           IJII             IJII
                                      I,_,/_,I>.                  IJII             IJII             IJII            ,/J1.           IJII             IJII
                                      I,_,1_,I>.                  IJII        e>c2d0J1>             IJII             IJII           IJII        e>c2d0J1>
                                      I,_,0_,I>.                  IJII        e>c--.JI2          e,I1J2I             IJII           IJII        e>c/2/J22
                                      =MRYPÿ4OSRyz               {v|vv     {}v~twv|w        {w|v      {w~wt}|}~           {v|vv     {}vtx}|




8822 922 98 7870                                                                                                                   020
                                                                                                                                                              EXHIBIT 25
                                                                                                                                                               Page 124
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 360 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 53 of 80 Page ID
                                  #:4248




                          EXHIBIT 26
     Case 19-10655-JKO                   Doc 148      Filed 11/04/19       Page 361 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 54 of 80 Page ID
                                  #:4249

 From:            Jimmy Lai
 To:              Kenny Huang; Kaine Wen
 Subject:         FW: New Application: TAS
 Date:            Tuesday, June 25, 2019 3:54:02 AM


 Kaine/Kenny,


 There are a lot of things missing that we need to obtain before we can send to First Data for review
 and approval.




        The application was electronically signed with an adobe mouse. Not able to accept unless
        they use DocuSign or they physically sign the application. I will send you a electronic
        application for e-signature upon receipt of missing info
        The principle also missed a signature on last page under “clients business Principles,”
        signature 1. E-signed application will resolve
        Missing Customer Service Phone number and Contact Number for the Company.
        Missing Mobile number for Kenny Huang
        Business Address at 30 North Gould St Ste R Sheridan WY 82801 is a mail forwarding and
        violates Visa and Mastercard rules. We need their physical address. Please provide. Also,
        please provide a utility bill for the business address.
        Require Copy of Driver’s License
        Contract must be updated to say Convivence fee because they can’t charge a credit card fee.
        That is a surcharge fee which would mean they must be registered with Visa and MasterCard
        as a surcharge merchant. I will update




 Website:

        Website has a page which contains Integration setup for NMI, Authorize.net and other
        processing payment systems. This suggests they collect credit card payments and could be
        see as a payment service provided. Why would they need to show API integration for their
        Clients? This suggests third party processing.
        Contact page lists an address that is not a valid business address.
        Contact page doesn’t provide a customer service phone number
        Missing Terms and Conditions and refund policy




 Thank you,



                                                                                                    EXHIBIT 26
                                                                                                     Page 125
     Case 19-10655-JKO               Doc 148        Filed 11/04/19          Page 362 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 55 of 80 Page ID
                                  #:4250



 John Thompson
 Associate Director of
 Risk & Underwriting




 office:
 toll free:
 fax:
 email:
 949. 419. 8400 x 1110
 800. 662. 8448
 949. 861. 6201
 jfthompson@nationalmerchant.com
 The information contained in this transmission may contain privileged and confidential information.
 It is intended only for the use of the addressee. If the person actually receiving this communication
 or any other reader of the communication is not the named recipient, or the employee or agent
 responsible to deliver it to the recipient, any use, dissemination, distribution or copying of this
 communication is strictly prohibited. If you have received this communication in error, please
 immediately notify us by return e-mail, and destroy this communication and all copies thereof,
 including all attachments.

 Go Green! Please, consider the environment before printing this email.




 -----Original Message-----
 From: Jimmy Lai <jimmy.lai@swiftpaymentsinc.com>
 Sent: Wednesday, June 19, 2019 6:18 PM
 To: John F. Thompson <jfthompson@NationalMerchant.com>
 Subject: New Application: TAS

 John,

 Attached is the complete application pkg.
 Please review and let me know if you need anything.

 Thanks,

 Jimmy




                                                                                                    EXHIBIT 26
                                                                                                     Page 126
     Case 19-10655-JKO               Doc 148        Filed 11/04/19          Page 363 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 56 of 80 Page ID
                                  #:4251

 Your message is ready to be sent with the following file or link attachments:

 TAS 2019 NMC Application
 TAS Agreement revised
 Manager Managed LLC -- TAS 2019 LLC
 TAS 2019 LLC - Voided Check
 TAS 2019 LLC AOO


 Note: To protect against computer viruses, e-mail programs may prevent sending or receiving
 certain types of file attachments. Check your e-mail security settings to determine how attachments
 are handled.




                                                                                                 EXHIBIT 26
                                                                                                  Page 127
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 364 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 57 of 80 Page ID
                                  #:4252




                          EXHIBIT 27
             Case 19-10655-JKO              Doc 148        Filed 11/04/19         Page 365 of 478


      Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 58 of 80 Page ID
                                        #:4253



From:               Jimmy Lai <jimmy.lai@swiftpaymentsinc.com>
Sent:               Monday, July 08, 2019 11:57 PM
To:                 Kaine Wen
Subject:            FW: TAS Bank Statement
Attachments:        Application.pdf


Kaine,

Seebelow

From:JohnF.Thompson<jfthompson@NationalMerchant.com>
Sent:Monday,July8,20193:28PM
To:JimmyLai<jimmy.lai@swiftpaymentsinc.com>
Subject:RE:TASBankStatement

ReviewandapprovaloftheaccountmustbeminimumofInterchangeand199Bps.

Also,theyshouldhavetheircustomerserviceteamansweringcallsduringnormalbusinesshours.

IupdatedthelocationaddresstohishomeaddressandtheyWyomingaddressisthemailingaddress.

Inaddition,thewebsiteisnowdownandisnolongeractive.

Pleaseadvise.

Thankyou,







                                                          1
                                                                                                       EXHIBIT 27
                                                                                                        Page 128
        Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 366 of 478


    Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 59 of 80 Page ID
                                      #:4254









                                          2
                                                                             EXHIBIT 27
                                                                              Page 129
               Case 19-10655-JKO                Doc 148          Filed 11/04/19                  Page 367 of 478


         Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 60 of 80 Page ID
                                           #:4255

               John Thompson
                 Associate Director of
                 Risk & Underwriting                                                                                        




office:      949. 419. 8400 x 1110                The information contained in this transmission may contain privileged and
toll free:   800. 662. 8448                       confidential information. It is intended only for the use of the addressee. If the
fax:         949. 861. 6201                       person actually receiving this communication or any other reader of the
                                                  communication is not the named recipient, or the employee or agent responsible to
email:       jfthompson@nationalmerchant.com
                                                  deliver it to the recipient, any use, dissemination, distribution or copying of this
                                                  communication is strictly prohibited. If you have received this communication in
                                                  error, please immediately notify us by return e-mail, and destroy this communication
                                                  and all copies thereof, including all attachments.


                                                  GoGreen!Please,considertheenvironmentbeforeprintingthisemail.




From:JimmyLai<jimmy.lai@swiftpaymentsinc.com>
Sent:Monday,June24,201912:04PM
To:JohnF.Thompson<jfthompson@NationalMerchant.com>
Subject:Fwd:TASBankStatement



Get Outlook for Android


From:KennyHuang<tas2019llc@gmail.com>
Sent:Wednesday,June19,20197:43:36PM
To:JimmyLai
Subject:TASBankStatement






                                                               3
                                                                                                                                EXHIBIT 27
                                                                                                                                 Page 130
         Case 19-10655-JKO                 Doc 148      Filed 11/04/19   Page 368 of 478


     Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 61 of 80 Page ID
                                       #:4256


                                                                                                      4004




TAS 2019 LLC                                           Trusted Account Services
                    Ste R                 Arcadia
                                          Sheridan             WY
                                                               CA 82801
                                                                  91006     trustedaccountservices.com

2614  El Capitan
30 N Gould St Ste R Ave                   Arcadia
                                          Sheridan             CA 91006
                                                               WY 82801 tas2019llc@gmail.com
8663636383     (866) 363-6383                   8364                 Kenny Huang
      0057
                                                                  WY                03/22/2019




Trust account services




                                  TAS 2019 LLC




          {{*SignHere_es_:Signer2:Signature}}          Owner               {{Dte_es_:signer2:date}}

                                     Kenny Huang


                                                                                                 EXHIBIT 27
                                                                                                  Page 131
       Case 19-10655-JKO              Doc 148    Filed 11/04/19   Page 369 of 478


  Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 62 of 80 Page ID
                                    #:4257
                                      25000.00
                                      200.00                                          100
                                      1500.00
                                                                                      100




                                                             10      90
                                                             10      90
                                 100




                100




{{*SignHere_es_:Signer1:Signature}}     Shih-Hao Lai                      {{Dte_es_:signer1:date}}



            HSBC
            122240861
                      0413




             NMI




                                                                                     EXHIBIT 27
                                                                                      Page 132
       Case 19-10655-JKO                           Doc 148            Filed 11/04/19                     Page 370 of 478


   Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 63 of 80 Page ID
                                     #:4258

                Int+ 199bp            0.2500
                                                        Int+ 150bp   0.2500
                Int+ 199bp            0.2500                                                Int+ 150bp
                                                   0.2500
                Int+ 199bp            0.2500
                Int+ 199bp            0.2500
                                                                            NMI
                                                                                        20.00                                  100.00
                                                                                        0.2500                                 0.2500
                                                                                                                               10.00




                                                                                                                                   250.00
                              10.00
                              500.00                                                        0.2000                                 0.00
                              0.2500
                                                    0                                       0.30                                   20.00
                              0.25                                                          35.00                                  30.00
                                                                                            20.00                                  198.00
                                               0.00                                         20.00                                   0.00


3.96                          69.95                                     20.00


       575.00                              75.00                             0.10                                                  4.95
                                                                     0.25




                      Kenny Huang                                                   Owner                  100             /1982
                                                    Arcadia                                 CA           91006              8364
                             0041        CA-8/2022 tas2019llc@gmail.com




                                                                                                                           EXHIBIT 27
                                                                                                                            Page 133
         Case 19-10655-JKO                     Doc 148       Filed 11/04/19   Page 371 of 478


  Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 64 of 80 Page ID
                                    #:4259




                                          Kenny Huang

                       {{*SignHere_es_:Signer2:Signature}}                              {{Dte_es_:signer2:date}}




{{*SignHere_es_:Signer2:Signature}}    Owner                            Kenny Huang       {{Dte_es_:signer2:date}}




 {{*SignHere_es_:Signer2:Signature}}                           Kenny Huang                 {{Dte_es_:signer2:date}}




                                                                                                 EXHIBIT 27
                                                                                                  Page 134
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 372 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 65 of 80 Page ID
                                  #:4260




                                                                         EXHIBIT 27
                                                                          Page 135
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 373 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 66 of 80 Page ID
                                  #:4261




                          EXHIBIT 28
     Case 19-10655-JKO                      Doc 148         Filed 11/04/19             Page 374 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 67 of 80 Page ID
                                  #:4262

 From:               Jimmy Lai
 To:                 Kaine Wen
 Subject:            TAS - REVISED APP
 Date:               Tuesday, July 09, 2019 1:14:41 AM
 Attachments:        Application-Revised.pdf


 Kaine,

 Please execute with Wet Signature.

 Thanks,



 Jimmy Lai
 President
 Swift Payments
 Office: (949) 596-7550
 Mobile: (949) 302-3248



 The information contained in this transmission may contain privileged and confidential information. It is intended
 only for the use of the addressee. If the person actually receiving this communication or any other reader of the
 communication is not the named recipient, or the employee or agent responsible to deliver it to the recipient, any
 use, dissemination, distribution or copying of this communication is strictly prohibited. If you have received this
 communication in error, please immediately notify us by return e-mail, and destroy this communication and all
 copies thereof, including all attachments.




                                                                                                                   EXHIBIT 28
                                                                                                                    Page 136
         Case 19-10655-JKO                 Doc 148      Filed 11/04/19   Page 375 of 478


     Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 68 of 80 Page ID
                                       #:4263


                                                                                                      4004




TAS 2019 LLC                                           Trusted Account Services
                    Ste R                 Arcadia
                                          Sheridan             WY
                                                               CA 82801
                                                                  91006     trustedaccountservices.com

2614  El Capitan
30 N Gould St Ste R Ave                   Arcadia
                                          Sheridan             CA 91006
                                                               WY 82801 tas2019llc@gmail.com
8663636383     (866) 363-6383                   8364                 Kenny Huang
      0057
                                                                  WY                03/22/2019




Trust account services




                                  TAS 2019 LLC




          {{*SignHere_es_:Signer2:Signature}}          Owner               {{Dte_es_:signer2:date}}

                                     Kenny Huang


                                                                                                 EXHIBIT 28
                                                                                                  Page 137
       Case 19-10655-JKO              Doc 148    Filed 11/04/19   Page 376 of 478


  Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 69 of 80 Page ID
                                    #:4264
                                      25000.00
                                      200.00                                          100
                                      1500.00
                                                                                      100




                                                             10      90
                                                             10      90
                                 100




                100




{{*SignHere_es_:Signer1:Signature}}     Shih-Hao Lai                      {{Dte_es_:signer1:date}}



            HSBC
            122240861
                      0413




             NMI




                                                                                     EXHIBIT 28
                                                                                      Page 138
       Case 19-10655-JKO                           Doc 148            Filed 11/04/19                     Page 377 of 478


   Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 70 of 80 Page ID
                                     #:4265

                Int+ 199bp            0.2500
                                                        Int+ 150bp   0.2500
                Int+ 199bp            0.2500                                                Int+ 150bp
                                                   0.2500
                Int+ 199bp            0.2500
                Int+ 199bp            0.2500
                                                                            NMI
                                                                                        20.00                                  100.00
                                                                                        0.2500                                 0.2500
                                                                                                                               10.00




                                                                                                                                   250.00
                              10.00
                              500.00                                                        0.2000                                 0.00
                              0.2500
                                                    0                                       0.30                                   20.00
                              0.25                                                          35.00                                  30.00
                                                                                            20.00                                  198.00
                                               0.00                                         20.00                                   0.00


3.96                          69.95                                     20.00


       575.00                              75.00                             0.10                                                  4.95
                                                                     0.25




                      Kenny Huang                                                   Owner                  100             /1982
                                                    Arcadia                                 CA           91006              8364
                             0041        CA-8/2022 tas2019llc@gmail.com




                                                                                                                           EXHIBIT 28
                                                                                                                            Page 139
         Case 19-10655-JKO                     Doc 148       Filed 11/04/19   Page 378 of 478


  Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 71 of 80 Page ID
                                    #:4266




                                          Kenny Huang

                       {{*SignHere_es_:Signer2:Signature}}                              {{Dte_es_:signer2:date}}




{{*SignHere_es_:Signer2:Signature}}    Owner                            Kenny Huang       {{Dte_es_:signer2:date}}




 {{*SignHere_es_:Signer2:Signature}}                           Kenny Huang                 {{Dte_es_:signer2:date}}




                                                                                                 EXHIBIT 28
                                                                                                  Page 140
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 379 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 72 of 80 Page ID
                                  #:4267




                                                                         EXHIBIT 28
                                                                          Page 141
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 380 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 73 of 80 Page ID
                                  #:4268




                          EXHIBIT 29
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 381 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 74 of 80 Page ID
                                  #:4269




                                                            NMC - 8:19-cv-01998 JVS - 1737

                                                                            EXHIBIT 29
                                                                             Page 142
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 382 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 75 of 80 Page ID
                                  #:4270




                                                            NMC - 8:19-cv-01998 JVS - 1738

                                                                            EXHIBIT 29
                                                                             Page 143
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 383 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 76 of 80 Page ID
                                  #:4271




                                                            NMC - 8:19-cv-01998 JVS - 1739

                                                                            EXHIBIT 29
                                                                             Page 144
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 384 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 77 of 80 Page ID
                                  #:4272




                                                            NMC - 8:19-cv-01998 JVS - 1740

                                                                            EXHIBIT 29
                                                                             Page 145
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 385 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 78 of 80 Page ID
                                  #:4273




                          EXHIBIT 30
    Case 19-10655-JKO                    Doc 148            Filed 11/04/19      Page 386 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 79 of 80 Page ID
                                  #:4274
    Business Entity Detail - Wyoming Secretary of State                                          Page 1 of 2




    Business Center                                                             Online Services Search



      DETAIL                                     RETURN TO YOUR SEARCH          FILE YOUR ANNUAL REPORT


          TAS 2019 LLC

        This detail reflects the current data for the filing in the system.                              Print
          Name
          TAS 2019 LLC
          Filing ID                                        Status                              Fictitious Name
          2019-000846927                                   Active
          Type                                             Sub Status
          Limited Liability Company - Domestic             Current
                                                           Initial Filing
                                                           03/20/2019

          Standing - Tax
                                                           Term of Duration
          Good                                             Perpetual
          Standing - RA
                                                           Formed In
          Good                                             Wyoming
          Standing - Other
          Good
                                                           Principal Office
                                                           30 N Gould St
                                                           Ste R
                                                           Sheridan, WY 82801
                                                           USA

          Mailing Address
          30 N Gould St
          Ste R
          Sheridan, WY 82801
          USA



         Additional Details

          Registered Agent:                                Latest AR/Year
          Registered Agents Inc.                           AR Exempt
          30 N Gould St Ste R                              License Tax Paid
          Sheridan, WY 82801 USA



         History




    https://wyobiz.wy.gov/business/FilingDetails.aspx?eFNum=054255229084190056176031... 9/19/2019
                                                                           NMC - 8:19-cv-01998 JVS - 1785
                                                                                                           EXHIBIT 30
                                                                                                            Page 146
    Case 19-10655-JKO                    Doc 148           Filed 11/04/19       Page 387 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-2 Filed 11/01/19 Page 80 of 80 Page ID
                                  #:4275
    Business Entity Detail - Wyoming Secretary of State                                           Page 2 of 2




         Initial Filing - See Filing ID                                                Date: 03/20/2019

         Public Notes
       No Public Notes Found...
         Parties

               (Organizer)                                                         Organization: Registered Agent
                             Address: 30 N Gould St Ste R, Sheridan, WY 82801




    https://wyobiz.wy.gov/business/FilingDetails.aspx?eFNum=054255229084190056176031... 9/19/2019
                                                                           NMC - 8:19-cv-01998 JVS - 1786
                                                                                                          EXHIBIT 30
                                                                                                           Page 147
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 388 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 1 of 91 Page ID
                                 #:4276




                          EXHIBIT 31
          Case 19-10655-JKO                         Doc 148            Filed 11/04/19                Page 389 of 478


 Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 2 of 91 Page ID
                                  #:4277

   NATIONAL MERCHANT CENTER
   2955 E MAIN STE 100
   IRVINE, CA 926124




      YOUR CARD PROCESSING STATEMENT
                                                                                  Page 1 of 5          THIS IS NOT A BILL
       026567/000001/863669/STMT/26567/0000/162080 000 01 000000                  Statement Period     09/01/19 - 09/30/19
       KENNY                                                                      Merchant Number      5101         6085
       TAS 2019 LLC                                                               Customer Service     800-662-8448
       30 N GOULD ST STE R
       SHERIDAN WY 82801-6317
                                                                                  Chain Code 06119
                                                                                  Location:
                                                                                       TRUSTED ACCOUNT SERVICES MAINT

                                                                                       NORTH TUSTIN CA 92705




   SUMMARY            An overview of account activity for the statement period.


   Page     4        Amounts Submitted                                                  0.00
   Page     4        Third Party Transactions                                           0.00
   Page     4        Adjustments/Chargebacks                                            0.00
   Page     4
                     Fees Charged                                                       0.00
   Total Amount Funded to Your Bank                                                    0.00
   See page 2 for Key Definition of Terms

  (Amount Submitted - Third Party) + Adjustments + Chargebacks + Fees Charged = Amount Funded




    IMPORTANT INFORMATION ABOUT YOUR ACCOUNT
     !ATTENTION!
     EFFECTIVE NOVEMBER 2019, THE STAR MERCHANT LOCATION FEE WILL INCREASE FROM $12.00 TO $16.00. AS A
     RESULT OF THIS FEE AND OUR OWN PRICING CONSIDERATION, YOU WILL BE ASSESSED A STAR ANNUAL FEE IN
     THE AMOUNT OF $18.00. THIS FEE IS ASSESSED PER PARTICIPATING LOCATION OR WEBSITE THAT IS ENABLED
     WITH AND/OR ACCEPTS STAR TRANSACTIONS AND COVERS AN ANNUAL PERIOD BEGINNING JUNE 1 OF EACH
     YEAR. THIS FEE WILL APPEAR ON YOUR NOVEMBER MONTH-END STATEMENT. CONTINUING YOUR MERCHANT
     ACCOUNT WITH US OR USE OF YOUR MERCHANT ACCOUNT AFTER THE EFFECTIVE DATE WILL CONSTITUTE
     YOUR ACCEPTANCE TO THESE TERMS.




2955 E MAIN STE 100, IRVINE, CA 926124



                                                                                                            nnnnnn 01 05 026567 162080R


                                                                                                      NMC - 8:19-cv-01998 JVS - 1741
                                                                                                                             EXHIBIT 31
                                                                                                                              Page 148
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 390 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 3 of 91 Page ID
                                 #:4278




                          EXHIBIT 32
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 391 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 4 of 91 Page ID
                                 #:4279




                                                                         EXHIBIT 32
                                                                          Page 149
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 392 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 5 of 91 Page ID
                                 #:4280




                                                                         EXHIBIT 32
                                                                          Page 150
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 393 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 6 of 91 Page ID
                                 #:4281




                                                                         EXHIBIT 32
                                                                          Page 151
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 394 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 7 of 91 Page ID
                                 #:4282




                                                                         EXHIBIT 32
                                                                          Page 152
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 395 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 8 of 91 Page ID
                                 #:4283




                                                                         EXHIBIT 32
                                                                          Page 153
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 396 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 9 of 91 Page ID
                                 #:4284




                                                                         EXHIBIT 32
                                                                          Page 154
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 397 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 10 of 91 Page ID
                                  #:4285




                                                                         EXHIBIT 32
                                                                          Page 155
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 398 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 11 of 91 Page ID
                                  #:4286




                                                                         EXHIBIT 32
                                                                          Page 156
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 399 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 12 of 91 Page ID
                                  #:4287




                          EXHIBIT 33
     Case 19-10655-JKO                   Doc 148            Filed 11/04/19              Page 400 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 13 of 91 Page ID
                                  #:4288

 From:            Jimmy Lai
 To:              Tom Nguyen
 Subject:         FW: Trusted Account Services Merchant Statements for September 2019
 Date:            Monday, October 07, 2019 2:16:41 PM
 Attachments:     Trusted Account Services Maint Sept 2019 MID 51015901106085.pdf
                  Trusted Account Services West Sept 2019 MID 510159011106549.pdf
                  Trusted Account Services Sept 2019 MID 510159011106333.pdf
                  Trusted Account Services East Sept 2019 MID 510159011106481.pdf


 See attached for NMC version of merchant stmts

 From: John F. Thompson <jfthompson@NationalMerchant.com>
 Sent: Monday, October 7, 2019 2:09 PM
 To: Jimmy Lai <jimmy.lai@swiftpaymentsinc.com>
 Cc: Jimmy Lai <jimmy.lai@nationalmerchant.com>
 Subject: Trusted Account Services Merchant Statements for September 2019

 Trusted Account Services Merchant Statements for September 2019




          John Thompson
            Associate Director of
            Risk & Underwriting



 office: 949. 419. 8400 x 1110                   The information contained in this transmission may contain privileged
 toll    800. 662. 8448                          and confidential information. It is intended only for the use of the
 free: 949. 861. 6201                            addressee. If the person actually receiving this communication or any
                                                 other reader of the communication is not the named recipient, or the
         jfthompson@nationalmerchant.com
                                                 employee or agent responsible to deliver it to the recipient, any use,
 fax:                                            dissemination, distribution or copying of this communication is strictly
 email:                                          prohibited. If you have received this communication in error, please
                                                 immediately notify us by return e-mail, and destroy this communication
                                                 and all copies thereof, including all attachments.
                                                 Go Green! Please, consider the environment before printing this
                                                 email.




                                                                                                                       EXHIBIT 33
                                                                                                                        Page 157
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 401 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 14 of 91 Page ID
                                  #:4289




                          EXHIBIT 34
      Case 19-10655-JKO                 Doc 148          Filed 11/04/19           Page 402 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 15 of 91 Page ID
                                  #:4290



  HKF;0.3-0531-
  BXzX~OqXOnwkYu[P]_uPl{YOVWcW_XuziOrV_OVOkzYQWXq|uklXV_cn~Xl[cruOI?H8M@P
  ---c_..nur_TzXWcu_cYznkXr]_


  L_c~wcTPkk{Y~lcq6
  .+ AkkJX[qVku~Pll_XnurXwOcVuuO{W~kORu{Tunnc~cuswzuTX~~uzPrWKF8
  / Fu~coYOsWXrXz]u[uzKF8HzuTY~~uzOrV<KIzXw~uruRurVPrVcrRurVTOll~
  0 FucoXu[uzRcklcq]WXwOznXrC~~cq]zX[rV~oORX`Ocr]uc~~XT`XTi~T`Oz]XSPTj~
  1 HuXqdPk[u{TunwkOcs~c_9::AL;uzWv[pua
  4 HuXscOl[u{nPrO]XnXqcrulXnXrRXTO~XbXTlcXq[YXk~bXO~nc~kXVuRYkcXY_XP~^ucr]
  cruPrXqczXl~YwOzPXwzu]{On


  Gzcq~XOWXTOT_cw[{uqXwkOcraO]ucr]uqw{uwYzlOrVkY_cniruX VRX_OwwuVu
  _X{XTXzc[cTOcur[uz_dn~u`XWuXr _PXuu{{PRuePqVc[_X{YO{XOrrXw{u]zOn~uz
  RXX{uxcuqXukWzYPT`uu_cn!NXTPrTbO{]X_cn1/"--nur_k\uz{XTXzc[cTOcuqPqW
  wXOTXu[ocqWiqucq]_X c_PTunwPr_OkY_cniqu_O ~]ufr]urOrVaO_XTPsz#


 L`cTukVzXmcr7
 ., Fus]XzoBOww<lcXr
 /$ =XTzXOXVY[[u|OrWlORu{Uu~[u{PkkWXwP|nYr~
 0% NuzWu[ou`{X[XzzOk~
 2& HuYqcOk[uzxuccX{XcX~


 COoTX}Pcr_c_PRXXrWcT~XVw{X culOrVD nruzcr]uzXcq Xs_X_XXk_X{X_uXXzC
 OqXVuOVWzX~~Xlkcr]IX[dVC>IuzIX;OkTkPXWD=IO~PVc~TurXVuwcur[uzTlcXq~aP
 TunYcqOl{XOVXrzukkYWcruPrErTunX>{cYrIXwPnYr'


 L_XXTlcXq~O|X]Xcr]ulV`XOnXOOTlgYr`O`PX.-{OWXlcqX~_PrYXWuRXoPqOll
 Tur~ulcVOXVPrVXt{ukkXWcruPHKFA(
 L_Oc~ycXPRcnuzXu{iOqVu[Tu{~X[uz_XTkcXqXOzX|ZOkkVucr]YzlckX&N_XrOTkgXqc~
 ~ukVurTurukhVPcuru[_Yc{luOr~OrVYr{ulkoXrcruOluPr[uz]cXrX~w{u]zOnOrV_XzYPlcXOkk
 XVcVc~aO_XVcVRX[uzXRXTaOz]XW_XnPknu.0--)--uWuc_YcnnYWcOXl[XXk
 ~TOonXV*




                                                                                                             EXHIBIT 34
                                                                                                              Page 158
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 403 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 16 of 91 Page ID
                                  #:4291




                                                                         EXHIBIT 34
                                                                          Page 159
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 404 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 17 of 91 Page ID
                                  #:4292




                          EXHIBIT 35
                Case 19-10655-JKO             Doc 148             Filed 11/04/19      Page 405 of 478


       Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 18 of 91 Page ID
                                         #:4293



                             <le 3S{Nj !xmf#wbAHHl{jxeTfxHlg"
                               ={NwKA $quX_    52
                               /lwNqV %m`Aj &B_~Zj +l $KYwnu 1AZjN @Nj
                            9A`Nw 'A`b ${KZx
                         wA_Nw HA`c A{LZx_w


,O__o 0owOrW

6aOCwO vO_[wxNk xo xWO IC__w - W[UW_[UWxOM [k vOM   6_OCwO aNx hO ^ko [P - hCMO C e[wyD^N [k Ck lQ xWOg
,mONv . Ch rvNxx zWlvl|UW [k a[wyNk[kU Rlv xWO (: - M[M e C}M[y G _[wyOk[kU xl Ia[Ojxw xWCx WCw C ): oP  ov W[UWOv
>WOwO Jd[Ojxw NvO Okvo__OM ok 
4ja  rCwwNM Pov *: n}x oP xWN  - _[wxOjOM xl    6aOCwO v[xO }s xWN wC_OwgCj DkM aOy yWOe ^ko xW[w ICkx
GO WCrrNj[jU el[kU PovCvM ;OO e klxNw CkM aOx eN ^jo [P l| WCN Ck t|Owx\okw 7_ODwO xW[j^ oP D s_Ek WOvN
xW[w lkx oJI{v Cx w|JW C W[UW vCxO io]kU PpvFvM Cawl ?WCk^ o|


8OUCvMw

>lh




                                                             
                                                                                                                EXHIBIT 35
                                                                                                                 Page 160
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 406 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 19 of 91 Page ID
                                  #:4294




                          EXHIBIT 36
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 407 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 20 of 91 Page ID
                                     #:4295




                                                                                   EXHIBIT 36
                                                                                    Page 161
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 408 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 21 of 91 Page ID
                                     #:4296




                                                                                   EXHIBIT 36
                                                                                    Page 162
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 409 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 22 of 91 Page ID
                                     #:4297




                                                                                   EXHIBIT 36
                                                                                    Page 163
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 410 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 23 of 91 Page ID
                                     #:4298




                                                                                   EXHIBIT 36
                                                                                    Page 164
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 411 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 24 of 91 Page ID
                                     #:4299




                                                                                   EXHIBIT 36
                                                                                    Page 165
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 412 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 25 of 91 Page ID
                                     #:4300




                                                                                   EXHIBIT 36
                                                                                    Page 166
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 413 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 26 of 91 Page ID
                                     #:4301




                                                                                   EXHIBIT 36
                                                                                    Page 167
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 414 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 27 of 91 Page ID
                                     #:4302




                                                                                   EXHIBIT 36
                                                                                    Page 168
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 415 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 28 of 91 Page ID
                                     #:4303




                                                                                   EXHIBIT 36
                                                                                    Page 169
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 416 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 29 of 91 Page ID
                                     #:4304




                                                                                   EXHIBIT 36
                                                                                    Page 170
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 417 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 30 of 91 Page ID
                                     #:4305




                                                                                   EXHIBIT 36
                                                                                    Page 171
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 418 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 31 of 91 Page ID
                                     #:4306




                                                                                   EXHIBIT 36
                                                                                    Page 172
Case 19-10655-JKO          Doc 148       Filed 11/04/19        Page 419 of 478




   Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 32 of 91 Page ID
                                     #:4307




                                                                                   EXHIBIT 36
                                                                                    Page 173
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 420 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 33 of 91 Page ID
                                  #:4308




                                                                         EXHIBIT 36
                                                                          Page 174
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 421 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 34 of 91 Page ID
                                  #:4309




                          EXHIBIT 37
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 422 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 35 of 91 Page ID
                                  #:4310




                                                                         EXHIBIT 37
                                                                          Page 175
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 423 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 36 of 91 Page ID
                                  #:4311




                                                                         EXHIBIT 37
                                                                          Page 176
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 424 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 37 of 91 Page ID
                                  #:4312




                                                                         EXHIBIT 37
                                                                          Page 177
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 425 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 38 of 91 Page ID
                                  #:4313




                                                                         EXHIBIT 37
                                                                          Page 178
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 426 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 39 of 91 Page ID
                                  #:4314




                                                                         EXHIBIT 37
                                                                          Page 179
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 427 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 40 of 91 Page ID
                                  #:4315




                          EXHIBIT 38
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 428 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 41 of 91 Page ID
                                  #:4316




                                                                         EXHIBIT 38
                                                                          Page 180
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 429 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 42 of 91 Page ID
                                  #:4317




                                                                         EXHIBIT 38
                                                                          Page 181
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 430 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 43 of 91 Page ID
                                  #:4318




                          EXHIBIT 39
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 431 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 44 of 91 Page ID
                                  #:4319




                                                                         EXHIBIT 39
                                                                          Page 182
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 432 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 45 of 91 Page ID
                                  #:4320




                          EXHIBIT 40
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 433 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 46 of 91 Page ID
                                  #:4321




                                                                         EXHIBIT 40
                                                                          Page 183
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 434 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 47 of 91 Page ID
                                  #:4322




                                                                         EXHIBIT 40
                                                                          Page 184
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 435 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 48 of 91 Page ID
                                  #:4323




                          EXHIBIT 41
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 436 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 49 of 91 Page ID
                                  #:4324




                                                                         EXHIBIT 41
                                                                          Page 185
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 437 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 50 of 91 Page ID
                                  #:4325




                                                                         EXHIBIT 41
                                                                          Page 186
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 438 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 51 of 91 Page ID
                                  #:4326




                          EXHIBIT 42
    Case 19-10655-JKO                Doc 148        Filed 11/04/19         Page 439 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 52 of 91 Page ID
                                  #:4327



                                    ,?,;1-BC(59(1/7C*;19=17/C
                                          +2<83#> <+32u
 1C; ;<C&'''C=01<CSfBA3>8         20% oThQu=>+,7=C 8(7C(7(/,5,7=C*(4417/C
 87C),0(4-C8-C 3072Au20%u u ,u(5C*(4417/CB8>C=8+(BC87C(C;,*8;+,+C417,C=8C,7<>;,C=0,C
 (**>;(*BC8-C(44C+,=(14<C87CB8>;C(**8>7=C !,C(;,C*87=(*=17/C(44C8>;C,A1<=17/C*41,7=<C=8C*8594,=,C(C
 ;8>=17,C-8448@C>9C(<C9(;=C8-C8>;C7,@4BC;,:>1;,+C*86941(7*,C9841*1,<C(7+C9;8*,+>;,<C
 #89BC(7+C(<=,C087,CC17=8C,)=C(BC;8C.8;C41,7=C,(;*0C(7+C,4,*=187$C
 +Mu23<uFYLui`u `]cYLiLu 41*3C24=u!516.'%$u
                                    +2(380<+32u)<*%8+2)u
 <`u EYYLdu E^uq`lucYLEgLunLdUMquq`lduG`_iEJuU_M`d]EiU`_uMbduq`ldugLGldUiqu
  ,;2-BC;89,;C9,4417/C8-C1;<=C(5,C(<=C(5,C(7+C ,;1-BC41,7=<CC(7+C4(<=C C8-C=0,1;C
 <8*1(4C
 <`u EZYLdu+uE]ugR`pU_PupLuREnLuq`ld MUdgiu_E]LugcLYYLKuEgC C C Cr E_Kuq`lduYEgiu_E]Lu
 gcLYYLKuEgC C C C Cu_KuM`duq`ldugLGldUiqu+uE]ugR`pU_Puq`ldu#EiLu`MuUdiRuZUgiLKuEgD su
 /EgiYq u+uREnLuiRLuYEgiuu`Muq`ldug`GUEZuZUgiLKuEguZguiREiuEZZuH`ddLGiu
 #,/17C,?1,@C8-C,9=C(BC;8CA1<=17/C8=,<C,*=187C-8;C58<=C;,*,7=C*8;;,<987+17/C
 7-8;5(=187 C,;?1*,;C(5,C8-C014+;,7C8-C,9,7+,7=<C ,9(B5,7=C4(7C1417/C=(=><%C
 3WEq u_`pu+uE]uP`U_Pui`ugL_Kuq`luEuYU_WupRUGRupUZYuU_GYlKLuEYYu`NuiRLuK`Gl]L_igucdLcEdLKuFqu
 `lduG`]cZUE_GLuKLcEdi]L_iuEgucEdiu`Nu`leuYEiLgiucaYUGULgui`uL_gmdLuq`lduEGG`l_iuUgulcui`uKEiLu
 E_KuEGGldEiLupUiRuEY[u`NuiRLuG`ddLGiuU_M`d]EiU`_u@REiuUguiRLuFLgiupEqui`ugL_Ku`liuiRLu
 K`Gl]L_igui`uq`luN`duq`lui`ugUP_ uFquL]EVYu`du;0;ui`uq`lducR`_Lu
 # ,;1-BC),<=C5,=08+C=8C<,7+C?1(CC8;C5(14C(7+C,7<>;,C,44C087,C1,4+C1<C!"C-144,+C8>=C
 *8;;,*=4BC17C,)=C(BC;8 C87-1;5C,5(14C1-C,5(14C,7+C>= $C
 7ZLEgLu`cL_uiRLu7EGWEPLu;L_iui`uq`luE_KuGYUGWu`_u ZUGWu*LdLtuA`luGE_uiRL_uGYUGWu`_u)Liu
 ;iEdiLKuE_KuGYUGWu`_uiRLu YUGWui`u;UP_uFlii`_ui`uNUYYu`liuq`ldugUP_EildLu7ZLEgLugLYLGiu+2;%8<u
 i`uFLuEFYLui`ugUP_ uU_UjUEZuE_KudLnULpuLEGRucEPLu3_GLuq`luREnLuG`]cYLiLKugUP_U_PuGZUGWu
  `_iU_lLuE_KuiRL_u+uPdLLuE_Ku+udLGLUnLuiRLugUP_LKuG`cqu`OuiRLuK`Gl]L_iguM`duq`luMUYLu
 g`upLuGE_uG`]cYLiLuiRLuGEYY u


                                           #+; 8%72 Au
 +(u23u8594,=,C(7+C"\SIX9%?%:+(-&ku1<98<1=187C17C(44,;C,(+BC
 #;,9(;,C-8;C,A=C(44$C




                                                                                                    EXHIBIT 42
                                                                                                     Page 187
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 440 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 53 of 91 Page ID
                                  #:4328




                                                                         EXHIBIT 42
                                                                          Page 188
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 441 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 54 of 91 Page ID
                                  #:4329




                                                                         EXHIBIT 42
                                                                          Page 189
     Case 19-10655-JKO               Doc 148        Filed 11/04/19          Page 442 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 55 of 91 Page ID
                                  #:4330



 0&0&5.!!35$(+4525&5%&,5, 5.(*&%,5+5,5$%+5,,5.%,!53&.*5(*&*$5+5
 ((*&15%35(3$%,+53&.5*5$ %5*5&%5%,&55+(*,5,*.+,5&.%,5&*53&.5.%,!5
 3&.5*5("5%5,5(*&*$5%,!!35&.,!%52,5,5(3$%,5,!+5%,"!35+.++5+5
 +5&*53&.*5&$&*,5%5+.*,35 %&2%5,,5.%,"525%5&$(!,5,52&* 5%++*353&.5
 15++5,&5%35.%+5,*%+**5%,&53&.*5&.%,5
   (0/&,0,""/0*+!*!0.!+ 0&,(0*(-!*
 0&0+5.+,5$%+5,,53&.5*5."!35+,+52,5,5+*15&.,!%5.(5.%,!5,+5(&%,5
 &.!53&.55.!!35+,+5 %&2%5,,5.%,!53&.5*5(!5%5,5+,5(*&*$52,5,5
 !&2+,5&*5+,5$&%,!35(3$%,5&(,&%5 25*5%&,5&%5,&5&!!,5&%5%35.%+5,*%+**5
 %,&53&/*5,5!%,5&.%,5
   00  0 0   0&0/&,0,%(*+%0+ +0/&,(0"&%0.!""0%&+0,+&$+!""/0
 &(!-%0+0+ +0+(0+ 0*,**,"0&$'#+!&%0&0/&,(0'(&)$0/&,0.!""0 -0+&0*,$!+00
  0&%0 &(!-%**0&($0+&0+ 0 '(+$%+0&0 ,+!&%0+&0&$'"+0/&,(0"&%0
 &(!-%**0
 0&0&.5*5"*35&%53&.*5235,&5&$(!,%5,5*).*5$&%,!35(3$%,+5,&5153&.*5
 *$%%5!&%5!%5+*5 53&.5*5 5!!53&.52!!515%5,.*%%5%5,5
   $("&3$%,5 *,,&%5 &*$5,&5%+.*5,*5+55((*5,*!5&53&.*5).!3%5$(!&3$%,5
 +5&*1%++5&*$5+50+,5,5!+,5+-(5 %5,5,$5&$+5,&5&*153&.*5!&%+5252!!5
 !(53&.5,&5+.$,5,,5%!5&*$5%5,5*+,5+5, %5*5'535 #&%5&*5,5 (*,$%,5
 &5 .,&%5




                                                                                                       EXHIBIT 42
                                                                                                        Page 190
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 443 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 56 of 91 Page ID
                                  #:4331




                          EXHIBIT 43
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 444 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 57 of 91 Page ID
                                  #:4332




                                                                         EXHIBIT 43
                                                                          Page 191
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 445 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 58 of 91 Page ID
                                  #:4333




                          EXHIBIT 44
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 446 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 59 of 91 Page ID
                                  #:4334




                                                                         EXHIBIT 44
                                                                          Page 192
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 447 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 60 of 91 Page ID
                                  #:4335




                                                                         EXHIBIT 44
                                                                          Page 193
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 448 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 61 of 91 Page ID
                                  #:4336




                                                                         EXHIBIT 44
                                                                          Page 194
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 449 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 62 of 91 Page ID
                                  #:4337




                          EXHIBIT 45
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 450 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 63 of 91 Page ID
                                  #:4338




                                                                         EXHIBIT 45
                                                                          Page 195
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 451 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 64 of 91 Page ID
                                  #:4339




                                                                         EXHIBIT 45
                                                                          Page 196
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 452 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 65 of 91 Page ID
                                  #:4340




                                                                         EXHIBIT 45
                                                                          Page 197
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 453 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 66 of 91 Page ID
                                  #:4341




                          EXHIBIT 46
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 454 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 67 of 91 Page ID
                                  #:4342




                                                                         EXHIBIT 46
                                                                          Page 198
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 455 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 68 of 91 Page ID
                                  #:4343




                                                                         EXHIBIT 46
                                                                          Page 199
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 456 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 69 of 91 Page ID
                                  #:4344




                                                                         EXHIBIT 46
                                                                          Page 200
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 457 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 70 of 91 Page ID
                                  #:4345




                                                                         EXHIBIT 46
                                                                          Page 201
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 458 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 71 of 91 Page ID
                                  #:4346




                                                                         EXHIBIT 46
                                                                          Page 202
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 459 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 72 of 91 Page ID
                                  #:4347




                                                                         EXHIBIT 46
                                                                          Page 203
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 460 of 478

Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 73 of 91 Page ID
                                  #:4348




                                                                         EXHIBIT 46
                                                                          Page 204
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 461 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 74 of 91 Page ID
                                  #:4349




                                                                         EXHIBIT 46
                                                                          Page 205
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 462 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 75 of 91 Page ID
                                  #:4350




                                                                         EXHIBIT 46
                                                                          Page 206
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 463 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 76 of 91 Page ID
                                  #:4351




                          EXHIBIT 47
     Case 19-10655-JKO                  Doc 148         Filed 11/04/19   Page 464 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 77 of 91 Page ID
                                  #:4352

 From:           R     Yoder
 To:             Student Loan Mgmt
 Subject:        Payment amount
 Date:           Tuesday, October 15, 2019 4:51:44 PM


 I emailed and called several times today with no response. The payments that are being taken
 each month are not the payments I agreed to and not an amount I can manage. I need to hear
 back from someone asap and get this resolved.




                                                                                            EXHIBIT 47
                                                                                             Page 207
     Case 19-10655-JKO                  Doc 148        Filed 11/04/19   Page 465 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 78 of 91 Page ID
                                  #:4353

 From:           M       Plumley
 To:             Student Loan Mgmt
 Subject:        Questions about our contact.
 Date:           Sunday, October 13, 2019 7:54:00 AM


 If I'm paying $40/month, WHY has my student loan increased from $52k to $54k?
 Your noncommunication with me and my difficulty getting in touch with a human has caused
 me to lose confidence and TRUST in your company. I urge you to start communicating more
 effectively.

 Change my phone number to                   -4476
 Change my address to:                      , Annapolis MD 21403

 I need clarification for the following questions by Mon, Oct 14, 2919 by 5pm EST

 1. Instead of paying $52k to Nelnet, at the end of 240 payments, I will pay a total of
 $10,555 to Premier Student Loans? Will the balance be expunged from my financial
 obligation?




 2. Can I pay the $10,555 off sooner and is there a penalty for paying it off early?

 3. How does this debt forgiveness affect my credit rating?

 4. If my income situation improves, does it change the terms of this contract?


 Yours in service,
 M       Plumley
 Business cell:          -4476



 "One person driven with purpose, fueled with passion and defined by pride..."
 -Steve Gilliland


    ----- Forwarded Message -----
    From: "studentloanmgmt@trustedaccountservices.com"
    <studentloanmgmt@trustedaccountservices.com>
    To:                  @yahoo.com"                @yahoo.com>
    Sent: Sun, Oct 13, 2019 at 10:21 AM
    Subject: Your Payment Has Been Posted
    Dear M       ,

    We received your Automatic Payment of $40.00 for student loan management and
    dedicated client account services.

                                                                                          EXHIBIT 47
                                                                                           Page 208
    Case 19-10655-JKO               Doc 148         Filed 11/04/19        Page 466 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 79 of 91 Page ID
                                  #:4354


    If you have any questions, please email us at
    studentloanmgmt@trustedaccountservices.com.

    Thank you for your payment!

    Please do not reply directly to this message.

    This information message has been sent to you based on your existing relationship with
    Trusted Account Services.

    If you are not the intended recipient or received this email in error, please call us at
    (888)-564-4336 and then delete this email from your system.

    Trusted Account Services

    18261 Alexandra Place

    North Tustin, CA 92705




                                                                                               EXHIBIT 47
                                                                                                Page 209
     Case 19-10655-JKO                Doc 148         Filed 11/04/19   Page 467 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 80 of 91 Page ID
                                  #:4355

 From:          M       Reddick
 To:            Student Loan Mgmt
 Subject:       Re: Your Payment Has Been Posted
 Date:          Monday, October 14, 2019 1:47:36 PM


 I have spoken to Navinet - who hlds my student loan perNavinet they have nothing from you
 concerning my student loan and they are now delinquent. I need answer’s and I am stoping
 Payment.


  On Oct 14, 2019 at 10:15 AM, <Studentloanmgmt> wrote:

  Dear M       ,


  We received your Automatic Payment of $40.00 for student loan management and
  dedicated client account services.


  If you have any questions, please email us at
  studentloanmgmt@trustedaccountservices.com.


  Thank you for your payment!


  Please do not reply directly to this message.


  This information message has been sent to you based on your existing
  relationship with Trusted Account Services.


  If you are not the intended recipient or received this email in error, please
  call us at (888)-564-4336 and then delete this email from your system.


  Trusted Account Services


  18261 Alexandra Place


  North Tustin, CA 92705




                                                                                         EXHIBIT 47
                                                                                          Page 210
    Case 19-10655-JKO      Doc 148    Filed 11/04/19   Page 468 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 81 of 91 Page ID
                                  #:4356




                          EXHIBIT 47
     Case 19-10655-JKO                  Doc 148          Filed 11/04/19   Page 469 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 82 of 91 Page ID
                                  #:4357

 From:           S        Hauschild
 To:             Student Loan Mgmt
 Subject:        Student loan
 Date:           Thursday, October 24, 2019 9:45:51 AM


 I am asking for a full refund of the money that I have paid you all. This is a scam and I want
 all of my money returned or I am prepared to legal action. My student loans are still showing
 up as unpaid on my credit report.

 Thank you,
 S       Hauschild




                                                                                              EXHIBIT 47
                                                                                               Page 211
     Case 19-10655-JKO                   Doc 148          Filed 11/04/19   Page 470 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 83 of 91 Page ID
                                  #:4358

 From:            Student Loan Mgmt
 To:              Sarah Tagatauli
 Subject:         Fw: Confusion
 Date:            Saturday, October 19, 2019 1:53:09 PM


 Please reach out to client.


 From: Support <support@trustedaccountservices.com>
 Sent: Friday, October 18, 2019 11:36 AM
 To: Student Loan Mgmt <studentloanmgmt@trustedaccountservices.com>
 Subject: Fw: Confusion

 Hello Slam

 Please handle.

 TAS Customer Support.




 From: L           Harris          @gmail.com>
 Sent: Friday, October 18, 2019 10:37 AM
 To: Support <support@trustedaccountservices.com>
 Subject: Confusion

 If I am going through this organization for my student loans, and if you are charging me
 $42.00 per month, I have two questions that are confusing me?
 1. My loan amount has increased by $5,000 since I turned my information over to you.
 2. Fed Loan just sent me an email saying they are going to deduct $131 from my account each
 month starting November.

 Can someone please explain all of this to me, and why did my amount increase?




                                                                                             EXHIBIT 47
                                                                                              Page 212
     Case 19-10655-JKO                      Doc 148          Filed 11/04/19              Page 471 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 84 of 91 Page ID
                                  #:4359

 From:               C           Collins
 To:                 Student Loan Mgmt
 Subject:            Re: Your Payment Has Been Posted
 Date:               Friday, October 11, 2019 8:11:46 AM




 This is a scam. You’ve been reported. Stop contacting me.

 Sent from my iPhone

 > On Oct 11, 2019, at 10:06 AM, studentloanmgmt@trustedaccountservices.com wrote:
 >
 > Dear C          ,
 >
 > We received your Automatic Payment of $20.00 for student loan management and dedicated client account
 services.
 >
 > If you have any questions, please email us at studentloanmgmt@trustedaccountservices.com.
 >
 > Thank you for your payment!
 >
 > Please do not reply directly to this message.
 >
 > This information message has been sent to you based on your existing relationship with Trusted Account
 Services.
 >
 > If you are not the intended recipient or received this email in error, please call us at (888)-564-4336 and then
 delete this email from your system.
 >
 > Trusted Account Services
 >
 > 18261 Alexandra Place
 >
 > North Tustin, CA 92705




                                                                                                                      EXHIBIT 47
                                                                                                                       Page 213
     Case 19-10655-JKO                  Doc 148         Filed 11/04/19       Page 472 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 85 of 91 Page ID
                                  #:4360

 From:            S
 To:              Student Loan Mgmt
 Subject:         Re: Your Payment Has Been Posted
 Date:            Monday, October 14, 2019 2:47:43 PM


 STOP TAKING THE AUTOMATIC PAYMENT IMMEDIATELY. I WANT A REFUND.

 The Department of Education called me - you are a fraud!

 I will be filing complaints anywhere I can on you!

 S          Newman.

 Get Outlook for Android


 From: studentloanmgmt@trustedaccountservices.com
 <studentloanmgmt@trustedaccountservices.com>
 Sent: Monday, October 14, 2019 9:17:04 AM
 To:              @hotmail.com               @hotmail.com>
 Subject: Your Payment Has Been Posted

 Dear S       ,

 We received your Automatic Payment of $40.00 for student loan management and dedicated client
 account services.

 If you have any questions, please email us at studentloanmgmt@trustedaccountservices.com.

 Thank you for your payment!

 Please do not reply directly to this message.

 This information message has been sent to you based on your existing relationship with Trusted
 Account Services.

 If you are not the intended recipient or received this email in error, please call us at (888)-564-4336
 and then delete this email from your system.

 Trusted Account Services

 18261 Alexandra Place

 North Tustin, CA 92705




                                                                                                       EXHIBIT 47
                                                                                                        Page 214
     Case 19-10655-JKO                  Doc 148        Filed 11/04/19   Page 473 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 86 of 91 Page ID
                                  #:4361

 From:           J      Crespo
 To:             Student Loan Mgmt
 Subject:        I am receiving a bill from fedloan.
 Date:           Sunday, October 20, 2019 5:16:12 PM


 I am just trying to figure out why I am still receiving bills from fedloan. They are saying I am
 behind and that i am not paying. I was told that I wouldn’t have to worry about them once I
 sign on with you guys. Can you please explain.

 Thank you
 J     Crespo




                                                                                                EXHIBIT 47
                                                                                                 Page 215
     Case 19-10655-JKO                 Doc 148             Filed 11/04/19   Page 474 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 87 of 91 Page ID
                                  #:4362

 From:           L     Reimers
 To:             Student Loan Mgmt
 Subject:        Inquiry on payment
 Date:           Wednesday, October 16, 2019 11:16:04 AM


 Hello,

 This service was set up to help me with the payments at FEDLOAN SERVICING. I
 keep getting emails and phone calls saying my account is past due. Are the
 payments you're pulling from my account not being sent to the FEDLOAN
 SERVICING? What do I need to do to get this taken care of?

 I look forward to hearing from you and getting this resolved.

 Thanks you,

 L    Reimers

 Sterling, CO 80751
          -4633




                                                                                              EXHIBIT 47
                                                                                               Page 216
       Case 19-10655-JKO                 Doc 148         Filed 11/04/19       Page 475 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 88 of 91 Page ID
                                  #:4363

 From:             N     THERAPY
 To:               Student Loan Mgmt
 Subject:          Re: Your Payment Has Been Posted
 Date:             Monday, October 14, 2019 7:46:14 AM


 Hi!

 Who is this payment going to? I just logged into my FEdloan Servicing Account, and none of
 my $40 monthly payments are showed as posting to my actual student loans. I am wondering
 who I am paying?

 Thank you so much.

 Sincerely,
 L Tahir
         -4443




       Go to https://linktr.ee/                 and with one click you can access:

    1.   Therapy Sessions
    2.   Podcast
    3.   My Book
    4.   Join Email List
    5.   Glass Art
    6.   Non-Profit & US Patent
    7.   Patreon Crowdfunding
    8.   My Social Media

         Receive a free audiobook download, and free month subscription from my Podcast
         sponsor, Audible at https://audibletrial.com/


 EMERGENCY POLICY:
 If you are in crisis or having an emergency, please call 911 or go to your nearest hospital
 emergency room.

 CONFIDENTIALITY NOTICE:
 This email and any files transmitted with it are confidential and intended only for the use of
 the individual(s) to which they are addressed. Any distribution, reading, copying, or use of
 this communication and any attachments by anyone other than the individual(s) they were
 addressed is strictly prohibited and may be unlawful. If you have received this email in error,
 please notify L Tahir,            at:                        or         -4443 and permanently
 destroy or delete the original message and any copies or printouts of this email and any
 attachments.


 On Mon, Oct 14, 2019 at 9:08 AM <studentloanmgmt@trustedaccountservices.com> wrote:


                                                                                                EXHIBIT 47
                                                                                                 Page 217
    Case 19-10655-JKO               Doc 148        Filed 11/04/19         Page 476 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 89 of 91 Page ID
                                  #:4364

   Dear L    ,

   We received your Automatic Payment of $40.00 for student loan management and dedicated
   client account services.

   If you have any questions, please email us at
   studentloanmgmt@trustedaccountservices.com.

   Thank you for your payment!

   Please do not reply directly to this message.

   This information message has been sent to you based on your existing relationship with
   Trusted Account Services.

   If you are not the intended recipient or received this email in error, please call us at
   (888)-564-4336 and then delete this email from your system.

   Trusted Account Services

   18261 Alexandra Place

   North Tustin, CA 92705




                                                                                              EXHIBIT 47
                                                                                               Page 218
     Case 19-10655-JKO                     Doc 148          Filed 11/04/19           Page 477 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 90 of 91 Page ID
                                  #:4365

 From:              j           davis
 To:                Student Loan Mgmt
 Subject:           Student loans
 Date:              Tuesday, October 15, 2019 12:05:09 PM




 I have a question. Why am I paying y’all money and fed loan servicing is reporting missed payments to the credit
 bureaus. It’s messing up my credit score and I really do not need that
 Sent from my iPhone




                                                                                                                    EXHIBIT 47
                                                                                                                     Page 219
      Case 19-10655-JKO                   Doc 148         Filed 11/04/19        Page 478 of 478


Case 8:19-cv-01998-JVS-JDE Document 75-3 Filed 11/01/19 Page 91 of 91 Page ID
                                  #:4366

 From:              L    Bloom
 To:                Student Loan Mgmt
 Subject:           Student loans
 Date:              Monday, October 21, 2019 5:57:16 PM




 Is Navient aware that I am paying my student loans through this company now?

 -L    Bloom




                                                                                                  EXHIBIT 47
                                                                                                   Page 220
